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                     EXHIBIT 1




                     EXHIBIT 1
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                           Northern District of I1linois
                In re FICO Antitrust Litigation
                                                                               )
                               Plaintiff
                                  v.                                           )       Civil Action No. 1:20-cv-02114
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:     VantageScore Solutions, LLC, c/o Corporation Service Company - 251 Little Falls Drive, Wilmington, DE 19808

                                                       (Name ofperson to whom this subpoena is

    ~ Prodttction: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:



 Place: vantagescore Solutions, LLC                                                     Date and Time:
           601 Gateway Blvd., Suite 1210
           South San Francisco, CA 94080                                                                    01/11/2024 11:00 am


     Q Inspection ofPrenzises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        12/21/2023

                                   CLERK OF COURT
                                                                                            • '~
                                                                                                                /s/ Matthew D. Provance
                                           Signature of Clerk or Deputy Clerk                                        Attorney's signature


The name, address, e-mail address, and telephone number of the attorney representing (na,ne ofparty)     Fair Isaac
Corporation                                                             , who issues or requests this subpoena, are:
Matthew D. Provance, Mayer Brown LLP, 71 S. Wacker Dr., Chicago, IL 60606; Telephone: (312) 701-8598;

                                Notice to the person who issues or requests this subpoena
If this subpoena  commands    the production of documents, electronically stored information, or tangible things or the
inspection  of premises before  trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom     it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection ofPremises in a Civil Action (Page 2)

Civil Action No. 1:20-cv-02114

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of indtvidual and title, i}'any)
on (date)

            EI I served the subpoena by delivering a copy to the named person as follows:


                                                                                          on (date)                                   ; or

            E1 I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $

My fees are $                                     for travel and $                             for services, for a total of $                0.00



            I declare under penalty of perjury that this information is true.


Date:
                                                                                                  Server's signature



                                                                                                Printed naine and title




                                                                                                   Server's address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                               (ii) disclosing an unretained expert's opinion or information that does
                                                                                  not describe specific occurrences in disptite and results from the expert's
  (1) For a Trial, Hearing, orDeposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                    (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles ofwhere the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                        modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly       conditions if the serving party:
transacts business in person, if the person                                            (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party's officer; or                                     otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial              (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Otlter Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (1) Producing Documents or Electrotrically Stored Ibtformation. These
tangible things at a place within 100 miles of where tlie person resides, is      procedrues apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                          information:
   (B) inspection of premises at the premises to be inspected.,                      (A) Docuinents. A person responding to a subpoena to produce doctiments
                                                                                  must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                       must organize and label them to correspond to the categories in the demand.
                                                                                     (B) Form for Producing Electronically Stored Inforn:ation Not Specified.
 (1) Avoidbtg Undue Bnrden or Expetrse; Sanctions. A party or attomey             If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps         information, the person responding must produce it in a fonn or fonns in
to avoid imposing undue burden or expense on a person subject to the              wliich it is ordinarily maintained or in a reasonably usable fonn or fonns.
subpoena. The court for the district where compliance is required must               (C) Electronically Stored Infornnation Prodetced in Only One Forni. The
enforce this duty and impose an appropriate sanction—which may include            person responding need not produce the same electronically stored
lost eamings and reasonable attorney's fees—on a party or attomey who             information in more than one form.
fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Comnurnd to Produce Materials or Permit Irtspection.                         from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to           order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of      reasonably accessible because of undue biuden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,        made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or           (2) Clainting Privilege or Protectiott.
sampling any or all of the materials or to inspecting the premises—or to           (A) Infornaation YVithheld A person withholding subpoenaed infonnation
         a Plertrnnirally stnrPil infnrmatinn in the fnrm nr fnrmc reqnrcted
nrnrlurinb                                                                        unrlPr a rlaim that it ic ~r ivileged nr cn ' gtn
                                                                                                                                 rt   prntectinn ac trial_prenaratinn
The objection must be served before the earlier of the time specified for         material must:
compliance or 14 days after the subpoena is served. If an objection is made,          (i) expressly make the claim; and
the following rules apply:                                                            (ii) describe the nature of tlie withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party        taiigible tliings in a manner that, without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                          (B) Information Produced if information produced in response to a
     (ii) These acts may be required only as directed in the order, and the       stibpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from     trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                    that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly retum, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            infonnation and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                      infonnation if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the infonnation under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the infonnation must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no     resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a             The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                              who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,               stibpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

  In re FICO Antitrust Litigation
                                                  Case No. 20-cv-02114

                                                  Honorable Edmond E. Chang
  This document relates to:
  ALL ACTIONS                                     Magistrate Judge M. David Weisman



           NOTICE OF SUBPOENA TO VANTAGESCORE SOLUTIONS, LLC

        Through the serving of this document, Defendant Fair Isaac Corporation ("FICO")

 hereby gives notice of its intent to serve on VantageScore Solutions, LLC a Subpoena to Produce

 Documents, Inforination, or Objects in a Civil Action, pursuant to Rule 45 of the Federal Rules of

 Civil Procedure. A copy of the subpoena is attached to this Notice.




  Dated: December 21, 2023                         Respectfully submitted,

                                                   /s/Matthew D. Provance
                                                   Britt M. Miller
                                                   Matthew D. Provance
                                                   J. Gregory Deis
                                                   MAYER BROWN LLP
                                                   71 South Wacker Drive
                                                   Chicago, IL 60606-4637
                                                   (312) 782-0600
                                                   bmiller@mayerbrown.com
                                                   mprovance@mayerbrown.com
                                                   gdeis@mayerbrown.com

                                                   Counsel for Defendant
                                                   Fair Isaac Corporation
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                                           SCHEDULE A

         Pursuant to the foregoing subpoena duces tecum, You are required to produce, by the date

 stated on the subpoena and in accordance with the following Defmitions and Instructions, the

 documents and things requested in the following Requests.

                                           DEFINITIONS

         For the purposes of these Requests, the following terms have the following meanings:

         1.      The term "Action" means the above-captioned consolidated action Iri re FICO

 Antitrust Litigation, Case No. 1:20-CV-02114, pending in the Northern District of Illinois.

         2.      "DPP Amended Complaint" means the First Amended Complaint filed by the

 Direct Purchaser Plaintiffs in the above-captioned matter on October 30, 2023 (Dkt. 184). For

 Your reference, a copy of the DPP Amended Complaint is attached hereto as Exhibit 1.

         3.      "IPP Amended Complaint" means the Second Amended Complaint filed by the

 Indirect Purchaser Plaintiffs in the above-captioned matter on October 30, 2023 (Dkt. 185). For

 Your reference, a copy of the IPP Amended Complaint is attached hereto as Exhibit 2.

         4.      "Communications" means the transmittal of information of any kind by any means,

  and includes, without limitation, any transfer or exchange between two or more persons or entities

 of any information, whether by document or oral means, including, but not limited to, in-person

  conversation, correspondence, telephone calls, electronic mail, text messages, and video

  conference.

         5.       "Documents" is used in its broadest sense allowed by Rule 34 of the Federal Rules

  of Civil Procedure, and includes any kind of written, typewritten, printed, or recorded material, all

  communications, and all other writings, including, without limitation, any drawings, graphs,

  charts, photographs, phonograph records, tape recordings, notes, diaries, calendars, checkbooks,




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 books, papers, accounts, electronic or videotape recordings, internal or external websites, compact

 discs, computer files and disks, and electronically stored information.

        6.      "Defendant" or "FICO" means Fair Isaac Corporation and its Affiliates, as well as

 the officers, directors, members, principals, employees, agents, representatives, contractors,

 subsidiaries, parents, successors and predecessors of any of the foregoing, and all persons or

 entities acting on behalf of any of the foregoing.

        7.      "Equifax" means Equifax Inc., Equifax Information Services, LLC, and their

 Affiliates, as well as the officers, directors, members, principals, employees, agents,

 representatives, contractors, subsidiaries, parents, successors and predecessors of any of the

 foregoing, and all persons or entities acting on behalf of any of the foregoing.

        8.      "Experian" means Experian Information Solutions, Inc., Experian PLC, and their

 Affiliates, as well as the officers, directors, members, principals, employees, agents,

 representatives, contractors, subsidiaries, parents, successors and predecessors of any of the

 foregoing, and all persons or entities acting on behalf of any of the foregoing.

        9.      "TransUnion" means TransUnion, LLC and its Affiliates, as well as the officers,

 directors, members, principals, employees, agents, representatives, contractors, subsidiaries,

 parents, successors and predecessors of any of the foregoing, and all persons or entities acting on

 behalf of any of the foregoing.

        10.     "Credit Bureaus" means Equifax, Experian, and TransUnion.

        11.     "Credit Reporting Agency" means the Credit Bureaus, as well as any other entity

 (other than a Reseller) that is a "consumer reporting agency" as that term is defined under Fair

 Credit Reporting Act, 15 U.S.C. § 1681(f).




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         12.     "VantageScore," "You," and "Your" means VantageScore Solutions LLC and its

  Affiliates, as well as the officers, directors, members, principals, employees, agents,

  representatives, contractors, subsidiaries, parents, successors and predecessors of any of the

  foregoing, and all persons or entities acting on behalf of any of the foregoing.

         13.     "Reseller" means any entity that distributes Credit Scores or Credit Reports from a

  Credit Bureau and includes, without limitation, any "reseller" as that term is used in the Fair Credit

  Reporting Act, 15 U.S.C. § 1681(u).

         14.     "End User" means any business or consumer that uses Credit Scores.

         15.     "Credit Score" means any numerical representation of credit risk generated by

  applying a scoring model to aggregated credit information, and has the same breadth of meaning

  as that term is used in the DPP Amended Complaint and IPP Amended Complaint.

         16.     "Credit Report" means any product, report, document, or data sold, distributed,

  delivered, or generated pursuant to a transaction between a Credit Reporting Agency or Reseller

  and an End User. "Credit Report" includes, without limitation, any "consumer report" as that term

  is used in the Fair Credit Reporting Act, 15 U.S.C. § 1681a(d).

          17.    "FICO Score" means any Credit Score generated using a credit scoring model

  developed by or on behalf of FICO.

          18.    "VantageScore Credit Score" means any Credit Score generated using a credit

  scoring model developed by VantageScore.

          19.     "VantageScore Market Study Report" means, without limitation, the 2017

  VantageScore Market Study Report,l            2018 VantageScore Market Study Report,2 2019



  'https://www.vantagescore.com/w-content/up1oads/2O22/O2/2O17-VantageScore-Market-
  Studv Public FINAL.pdf.
  2 https://www.vantagescore.com/wp-content/uploads/2022/02/2018-VS-Market-Adoption-Study-FINAL.pdf.




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 VantageScore Market Study Report,3 2022 VantageScore Market Study Report,4 the 2023 Market

 Adoption Study,5 and any similar studies or reports on the use or adoption of VantageScore during

 the Relevant Time Period conducted by Oliver Wyman, Charles River, or another consultant.

            20.    "Regarding" is to be construed broadly and includes anything in connection with,

 constituting, concerning, reflecting, referring to, discussing, describing, identifying, stating,

 quoting, incorporating, attaching, analyzing, or otherwise relating in any way to the topic identified

 in the discovery request.

            21.    "Person" and "entity" mean individuals and entities, including, but not limited to,

 all natural persons, businesses, firms, partnerships, associates, organizations, governmental units,

 joint ventures, corporations, and any other entities.

            22.    "Affiliate" means, with respect to any entity, any person or entity that, directly or

  indirectly, controls, is controlled by, or is under common control with, such entity.

            23.    The use of singular shall be deemed to include the plural, and the use of one gender

  shall include all others as are appropriate in the context.

            24.    The use of the verb in any tense shall be construed as the use of the verb in all other

  tenses.

            25. ."Or" is defined to include "and," and "and" is defined to include "or."

                                             INSTRUCTIONS

            The following instructions apply to each Request contained herein:

            1.     In providing the documents or things called for by these Requests, You shall

  produce them as they are kept in the usual course of business, including all file folders, envelopes,



  3  https://www.vantagescore.com/wp-content/uploads/2022/O1/2019-VantageScore-Market-Adoption-Study-FINAL-
  1,vdf.
  `~ https•//www vantagescore com/wp-content/uploads/2022/08/2022-VS-Market-Adoption-Study-Public-Report pdf.
  5 https://www.vantagescore.com/vantagescore-credit-score-usage-up-30-in-2022/.



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  labels, indices, or other identifying or organizing material in which such documents are stored or

  filed, under which they are organized, or which accompany such documents or organize and label

  them to correspond with the specific request(s) to which they relate.

         2.      You are instructed to produce all Documents and Communications identified by

  these Requests that are in Your actual or constructive possession, custody, or control, including

  Documents and Communications held by Oliver Wyman, Charles River Associates, or Berens &

  Miller at the direction of You or Your Affiliates.

         3.      Each Request shall be construed independently, and no Request shall be viewed as

  limiting the scope of any other Request, except that Documents responsive to more than one

  Request need be produced only once.

         4.      A11 responsive Documents are to be produced in accordance with the Stipulation

  and Order Establishing the Protocol for Production of Documents and Electronically Stored

  Information ("ESI Order") entered in this Action (Dkt. 207) and attached hereto as Exhibit 3.

         5.      A11 responsive Documents are to be produced in accordance with the

  Confidentiality Order entered in this Action (Dkt. 199) and attached hereto as Exhibit 4. Please

  indicate whether any documents produced in response to this subpoena should be designated as

  Confidential or Highly Confidential pursuant to the Confidentiality Order. In addition, please be

  advised of the Court's admonition that parties and non-party subpoena recipients should make

  "careful and reasonable designations rather than over-designations" pursuant to the Confidentiality

  Order. See 11/16/2023 Minute Entry (Dkt. 198).

          6.     Each and every draft and non-identical copy of a Document, whether different from

  the original because of stamps, indications of the recipient(s), handwritten notes, marks,

  attachments, or any other reason, is a separate Document that must be produced.




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         7.      If You find the meaning of any term set forth in a Request or Definition to be

  unclear, You should assume a reasonable meaning, state what that assumed meaning is, and answer

  the Request on the basis of that assumed meaning.

         8.      If you cannot respond to any of the following Requests in full, respond as

  completely as possible, specifying the nature (if known) and reasons why you are unable to respond

  in full, and provide whatever information You have concerning the unprovided things, documents,

  or portions of documents, including the source or sources from which the things, documents, or

  portions of documents can be obtained and that portion of the documentation that can be produced.

         9.      If You become aware of any Documents or Communications requested in these

  Requests that have been destroyed, lost, or misplaced, or otherwise cannot be produced, You are

  instructed to respond by providing the following information:

         a.      The type of Document (e.g., e-mail, notes, letters, memoranda);

         b.      A description of the Document and its contents;

         c.      The identity of the author(s) of the Document;

         d.      The circumstances under which the Document was destroyed, lost, misplaced, or

                 otherwise rendered incapable of production; and

         e.      The identity of all persons having knowledge of the Document or the circumstances

                 under which the Document was destroyed, lost, misplaced, or otherwise rendered

                 incapable of production.

         10.     Unless otherwise indicated, all Requests relate to the time period January 1, 2013

  to the present (the "Relevant Time Period").




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         11.     These Requests shall be deemed continuing in accordance with Federal Rule of

  Civil Procedure Rule 26(e). If you obtain or become aware of any further Documents responsive

  to these Requests, you are required to promptly produce those Documents.

         12.     To the extent you obj ect to responding to any Requests in full or in part, FICO is

  willing to meet and confer in order to determine whether a compromise as to the Request might be

  reached to eliminate the need for motions practice concerning the Request.

                                 REQUESTS FOR PRODUCTION

         1.      A11 LLC agreements or operating agreements of VantageScore Solutions, LLC that

  have been in effect during the Relevant Time Period.

         2.      The license agreements under which You have licensed credit scoring analytics,

  software, or intellectual property to Credit Bureaus during the Relevant Time Period.

         3.      Documents sufficient to show the number and type of VantageScore Credit Scores

  generated or distributed by Credit Reporting Agencies, including the Credit Bureaus, or Resellers,

  broken out by category of End User, distribution channel (e.g., business-to-business, direct-to-

  consumer, or other), and, if known, by type of use case (e.g., prescreen activities, pre-qualification

  activities, credit origination, account review, consumer disclosures, marketing, or other) during

  each year of the Relevant Time Period.

          4.     Documents sufficient to show the number and identity of End Users and Resellers

  that use or distribute VantageScore, broken out by category referenced in the VantageScore Market

  Study Reports (i.e. credit card issuers, personal and installment loan companies, auto lenders,

  mortgage lenders, credit unions, banks, tenant screening, telecommunications screening, utility

  screening, consumer websites, government entities, other), and the type of use case (e.g., prescreen




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  activities, pre-qualification activities, credit origination, account review, consumer disclosures,

  marketing, or other) during each year of the Relevant Time Period.

         5.      A11 Documents that analyze, reflect, calculate, or estimate the number or share, on

  a percentage basis or otherwise, of VantageScore Credit Scores used by End Users of any kind

  (including businesses and consumers) in the United States.

         6.      A11 Documents and Communications related to any market studies of VantageScore

  Credit Scores or FICO Scores, including but not limited to studies relating to brand awareness,

  consumer understanding or sentiment, or use and adoption by End Users. For the avoidance of

  doubt, this Request includes but is not limited to all Documents and Communications related to

  the VantageScore Market Study Reports (including, specifically, the 2017, 2018, 2019, and 2022

  VantageScore Market Study Reports and the 2023 Market Adoption Study).

         7.      A11 data and information You received from TransUnion, Equifax and Experian, or

  otherwise provided to Oliver Wyman or Charles River, which provides the basis of the statistics

  referenced in the VantageScore Market Study Reports (including, specifically, the 2017, 2018,

  2019, and 2022 VantageScore Market Study Reports and the 2023 Market Adoption Study).

          8.     All long-form summaries that were prepared in connection with the VantageScore

  Market Study Reports (including, specifically, the 2017, 2018, 2019, and 2022 VantageScore

  Market Study Reports and the 2023 Market Adoption Study).

          9.     A11 Documents and Communications related to competitive assessments or

  comparisons between FICO Scores and VantageScore Credit Scores, including but not limited to

  assessments or comparisons of model design, reason codes, predictive capability, accuracy,

  reliability, consistency, value, marketing, brand equity or awareness, or price.




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         10.    All Documents and Communications related to any study, evaluation, assessment,

  or attempt (whether consummated or not) to align the odds-to-score relationship between any

  VantageScore Credit Score and FICO Score, including but not limited to any study, evaluation or

  assessment of the need to align the odds-to-score relationship of VantageScore Credit Scores to

  the odds-to-score relationship of FICO Scores.

         11.    All Documents and Communications related to any study, evaluation, assessment,

  or attempt (whether consummated or not) to align the reason codes between any VantageScore

  Credit Score and FICO Score, including but not limited to any study, evaluation or assessment of

  the need to replicate or copy FICO Score reason codes.

         12.    All Documents and Communications related to the terms, conditions, or provisions

  in FICO's license agreements with the Credit Bureaus, including but not limited to the "No

  Equivalent Products," "Dynamic Royalty Schedule," "Pre-Qualification," and "Level Playing

  Field" provisions referenced in the DPP and IPP Amended Complaints. See DPP Amended

  Complaint ¶¶ 111-139; IPP Amended Complaint ¶¶ 124-155.

         13.     All Documents and Communications—including but not limited to all Documents

  and Communications that were sent, authored, or received by Barrett Burns, Silvio Tavarez, Dr.

  Rikard Bandebo, Susan Fahy, Anthony Hutchinson, Dr. Andrada Pacheco, Jeff Richardson,

  Benjamin Tagoe, Emre Sahingur, or anyone who has held predecessor or successor roles to the

  foregoing individuals—related to the following statements, press releases, and publications

  attributed to You during the Relevant Time Period:




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                      a. VantageScore Solutions, Myth: VantageScore Is Not Accepted by Investors

                          Securitization Markets (Mar. 23, 2016). See DPP Amended Complaint ¶ 83;

                          IPP Amended Complaint ¶ 98.6

                      b. Press Release, • VantageScore, VantageScore Solutions Issues Statement

                          Reacting to FHFA's Proposed Rules for Validating and Approving New

                          Credit Scoring Models (Dec. 17, 2018). See DPP Amended Complaint ¶ 52;

                          IPP Amended Complaint ¶ 64.~

                      c. VantageScoreO Credit Scores and The Mortgage Market (2018). See DPP

                          Amended Complaint ¶ 82; IPP Amended Complaint ¶ 97.8

                      d. Press Release, VantageScore, The FICO score is losing ground to a different

                          credit score (November 25, 2015).9

                      e. Press Release, VantageScore, VantageScore Threatens FICO Credit Score

                          Dominance (December 1, 2015).10

                      f. Press Release, VantageScore, Annual Usage of VantageScore Credit Scores

                          Surges Past 8 Billion (October 21, 2016).11




  6 https://vantagescore.com/education/blog/myth-vantagescore-is-not-accepted-by-investors-in-
  securitization-markets.
  ' https://vantagescore.com/press/vantagescore-solutions-issues-statement-reactina-to-fhfas-proposed-
  rules-for-validating-and-approving-new-credit-scorina-models.
  8 https://www.vantagescore.com/wp-content/uploads/2022/02/FAQs-VantageScore-Credit-Scores-and-
  the-Mortgage-Market.pdf.
  9 ht~ts://www.vantagescore.com/press releases/the-fico-score-is-losing-ground-to-a-different-credit-
  score/.
  10 https://www.vantagescore.com/press releases/vantaQescore-threatens-fico-credit-score-dominance/.
   ~1 https://www.vantagescore.com/press releases/annual-usage-of-vantagescore-credit-scores-surges-past-
  8-billion/.


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                     g. Press release, VantageScore, Usage of VantageScore Credit Scores Surges

                          More than 20 percent versus the Previous Year and Over 300 percent over

                          the Past Five Years (October 15, 2018).12

                     h. Press Release, VantageScore, VantageScore Solutions Announces Score

                          Use Grows to More than 12 Billion (Oct. 29, 2019).13

                          Press Release, VantageScore, Momentum of third-party credit scores to

                          challenge FICO (October 31, 2019).14

                     j. VantageScore Newsletter, Market Adoption: 12.3 Billion & Counting (June

                          22, 2020).15

                     k. VantageScore Newsletter, Model usage surges 20+ percent (June 22,

                          2020).16

                     1.   Press Release, VantageScore, FICO Score's Hold on the Credit Market Is

                          Slipping (July 26, 2021).17

                     m. Press Release, VantageScore, 14.5 Billion VantageScore® Credit Scores

                          Used by Over 3,000 Companies (August 2, 2022).18




  12 https•//www vantagescore.com/press releases/usage-of-vantagescore-credit-scores-surges-more-than-
  20-percent-versus-the-previous-year-and-over-300-percent-over-the-past-five-years/.
  13
     https•//www vantagescore com/press releases/vantagescore-solutions-announces-score-use-Qrows-to-
  more-than-l2-billion/.
  14 https://www.vantagescore.com/press releases/momentum-of-third-party-credit-scores-to-challenge-

  fico/.
  15 https://www.vantagescore.com/newsletter/market-adoption-12-3-billion-counting/.

  16 https•//www vantagescore.com/newsletter/model-usage-sur e~       percent/.
  "https•//www.vantagescore.com/press releases/fico-scores-hold-on-the-credit-market-is-slipping/.
  18 https•//www.vantagescore.com/press releases/14-5 -billion-vantagescore-credit-scores-used-by-over-

  3000-companies/.


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                    n. VantageScore, 14.5 Billion Scores Used in 12-Months ... VantageScore's
                                                                                   19
                        Usage Grows by 18% According to New Study (August 2, 2022).

                    o. Press Release, VantageScore, VantageScore® Credit Score Usage Up 30%

                        in 2022, VantageScore Press Release (June 1, 2023).20

                    p. VantageScore, More Lenders Than Ever Are Accessing The Capital

                        Markets with VantageScore (June 22, 2023).21

                    q. VantageScore, Automotive News: VantageScore Used for More Auto

                        Finance Credit Checks In 2022 (August 9, 2023).22

                     r. VantageScore, Record Adoption of VantageScore in the ABS Market for

                        2023 (September 13, 2023).23

         14.     All audited financial statements, including consolidated financial statements,

  prepared for You, that pertain to the Relevant Time Period.

         15.     Your annual budgets for each year of the Relevant Time Period.

         16.     All Documents sufficient to show Your operating costs, capital expenses, R&D

  expenses, and investments in or by You during each year of the Relevant Time Period.

         17.     All Documents, including letters, comments, white papers, presentations, or written

  Communications that You have provided any state or federal agency or trade association that relate

  to the use, adoption, acceptance, or competitive standing of VantageScore Credit Scores.




  19 https://www.vantagescore.com/2022-market-adoption-studY.
  20 https://www.vantagescore.com/press releases/vantagescore-credit-score-usage-up-30-in-2022/.
  Z1
     https://www.vantagescore.com/more-lenders-than-ever-are-accessina-the-capital-markets-with-
  vantagescore/.
  22
     https://www.vantagescore.com/automotive-news-vantagescore-used-for-more-auto-finance-credit-
  checks-in-2022/.
  23
     httns://www.vantagescore.com/abs-market-adoption-vantagescore-2023/.


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         18.     All Documents provided in response to any governmental request or demand

  related to competition or business practices regarding Credit Scores or Credit Reports.




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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                            )
   IN RE FICO ANTITRUST LITIGATION )            Judge Edmond E. Chang

                                                Magistrate Judge David E. Weisman
   This Document Relates to the Following
   Cases:                                       No. 1:20-CV-02114

   DIRECT PURCHASER CASES                       JURY TRIAL DEMANDED


                         DIRECT PURCHASER PLAINTIFFS'
              FIRST AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
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          Plaintiffs Sky Federal Credit Union, Alcoa Community Federal Credit Union,

   Amalgamated Bank, City of Boston Credit Union, First Choice Federal Credit Union, Getten

   Credit Company, and Holmes County Bank & Trust Company ("Plaintiffs"), on behalf of

   themselves and all similarly situated entities in the United States and its territories, bring this

   action pursuant to Sections 1, 2, and 3 of the Sherman Act (15 U.S.C. §§1, 2, 3) and Sections 4

   and 16 of the Clayton Act (15 U.S.C. §§15, 26), as well as certain state antitrust and consumer

   protection laws, against Defendants Fair Isaac Corporation ("Fair Isaac"), Equifax, Inc.

   ("Equifax"), Experian Information Solutions, Inc. ("Experian"), and TransUnion, LLC

   ("TransUnion") (collectively "Defendants," with the latter three referred to collectively as the

   "Credit Bureaus," the "Credit Rating Agencies," or the "Credit Bureau Defendants"), resulting

   from their restraining trade and Fair Isaac's monopolizing the B2B Credit Score Market from

   October 1, 2006 through the date by which the anticompetitive effects of Defendants' violations

   of law shall have ceased (the "Class Period"). The allegations of this Complaint are based on

   personal knowledge as to the allegations concerning each Plaintiff and on information and belief

   as to all other matters.

                                    NATURE OF THE ACTION

         1.      A "credit score" is a three-digit numerical summary of a customer's

  creditworthiness based on factors such as payment history and the duration of that history;

  balances, available credit, and the percentage of existing credit lines being utilized; public records

  like bankruptcies or adverse judgments; and the assumption of new debt. There are two distinct

  markets for such scores. The first is the market for the sale of such scores to banks, mortgage

  companies, credit unions, and other businesses that assess individual credit risk— i.e., business-to-

  business sales. That market is referred to herein as the "B2B Credit Score Market." The second




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  is the market for the sale of such scores to the individual who is the subject of them — i.e., business-

  to-consumer. That market is referred to herein as the "B2C Credit Score Market."

         2.        This case concems the B2B Credit Score Market, which Defendant Fair Isaac has

  dominated for nearly three decades (and continues to dominate) with its FICO® Scores. FICO

  Scores are used routinely by lenders and others to assess individual credit risks. Fair Isaac

  executives have bragged that their FICO Scores are "the 800-pound gorilla" and are "deeply

  embedded in the system in North America."1 Fair Isaac advertises that its FICO Scores are used

  for 90% of all lending decisions in the United States and that Fair Isaac sells four times more FICO

  Scores per year than McDonald's sells hamburgers worldwide. The dominance of FICO Scores is

  reflected in the following chart taken from a December 2019 "Investor Overview" presentation

  that is available on Fair Isaac's corporate website:2


           FICO® Score - The Standard Measure of Consumer Credit Risk




                  c!~s.~n.,..~m.o....tz.nr..~:•..re..w...vnuwro~.~.~.,+.
           PICO        ee.abr.nnwc                ecafoxw~rnr.s.~ec




  1        Trans Union LLC's Redacted Counterclaims, Dkt. 38, Fair Isaac Corp. v. Trans Union
  LLC, No. 1:17-cv-08318, ¶2 (N.D. Ill. Feb. 12, 2018) ("TransUnion Counterclaims").
  2        Fair Isaac, FICO: The Decisions Company Investor Overview, at 5 (Dec. 2019),
  https://fico.gcs-web.com/static-files/946e4204-cdbb-4797-b7e0-24d71191698b.


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          3.     TransUnion, Experian, and Equifax are credit reporting agencies that collect,

  standardize, and distribute information on the credit and financial history of individuals. Those

  Credit Bureaus sell lenders, financial institutions, and other businesses credit reports and credit

  scores — including Fair Isaac's FICO Scores — that are used to make decisions about whether and

  on what terrns to evaluate and extend credit. Credit Bureaus sell those credit reports and credit

  scores to businesses in every state. The three Credit Bureau Defendants control virtually 100% of

  aggregate credit-related data formed by aggregating credit data collected from businesses, and they

  jointly dominate the market for B2B credit reports.

          4.     For decades, the Credit Bureaus have worked with Fair Isaac, including by entering

  into licensing agreements with Fair Isaac, and distribution agreements with businesses and/or Fair

  Isaac to broker sales of FICO Scores.

          5.     Fair Isaac also directly sells FICO Scores to creditors and other businesses —

  bypassing the Credit Bureaus, and competing with them, when it does so.

           6.    In 2006, the Credit Bureaus banded together to launch VantageScore Solutions,

  LLC ("VantageScore Solutions") through ajoint venture. The Credit Bureaus own VantageScore

  Solutions. The Credit Bureaus' purpose behind their joint venture was to create a competitor to

 . the FICO Score, known as the "VantageScore."3




  3       See Third Amended Complaint, Dkt. 436, Fair Isaac Corporation v. Experian Info. Sols.,
  No. 06-CV-4112, ¶63 (D. Minn. Nov. 10, 2008) ("VantageScore is owned by Equifax, Experian,
  and TransUnion."); Dkt. 477, Credit Bureaus' Answer to Third Amended Complaint, Fair Isaac
  Corporation v. Experian Info. Sols., No. 06-CV-4112, ¶63 (D. Minn. Dec. 4, 2008) (admitting
  same); Business Wire, VantageScore Solutions Hires Capital Markets Expert Latonia Haibbs as
  Senior Vice President (Sept. 7, 2021),
  https://www.businesswire.com/news/home/20210907005583/en/VantageScore-Solutions-Hires-
  Capital-Markets-Expert-Latonia-Hubbs-as-Senior-Vice-President.


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           7.    From the outset, VantageScore was competitively priced, highly predictive, and

  scored millions more Americans than Fair Isaac's FICO Score. VantageScore Solutions is capable

  ofproviding credit scores for 30 million more Americans than Fair Isaac can. Notably, Fair Isaac

  leaves many people of color and lower-income individuals unscored. Were VantageScores widely

  adopted by businesses, millions more creditworthy Americans would have the opportunity to apply

  for a home mortgage, car loan, or credit card, and to obtain credit at a lower cost.

           8.    Rather than compete on the merits with VantageScore, Fair Isaac undertook a

  decades-long campaign of anticompetitive conduct to discourage the adoption of VantageScore

  and preserve its own monopoly. Fair Isaac also entered into contracts with each Credit Bureau

  that contained anticompetitive provisions, including provisions that would necessarily eliminate

  or drastically reduce the competitive threat posed by VantageScore, thus unreasonably restraining

  trade.

           9.    First, in 2006, Fair Isaac filed a lawsuit against TransUnion, Equifax, and Experian

  with the intended purpose of driving VantageScore Solutions out of business. Experian settled in

  2008 and entered into a lucrative partnership with Fair Isaac following the settlement. TransUnion

  and Equifax fought on, eliminated most of Fair Isaac's claims through a summary judgment motion

  and won a jury trial on the remaining trademark claim.

           10.   Second, when the litigation gambit failed, Fair Isaac entered into contracts with the

  Credit Bureaus containing anticompetitive restrictions aimed at extracting supracompetitive

  profits from B2B Purchasers. Those contracts include contractual provisions that: (1) prohibit

  Credit Bureaus from marketing non-FICO credit scores (i.e., VantageScore); (2) charge

  discriminatory and prohibitively high prices for FICO Scores if a Credit Bureau customer

  purchases a FICO Score while providing the consumer with a competing score (i.e., a




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  VantageScore); and (3) eliminate price competition among the Credit Bureaus thereby

  disincentivizing the Credit Bureaus from negotiating a lower price for FICO Scores.              The

  agreements had the effect of hobbling VantageScore Solutions' ability to compete and forcing

  B2B Purchasers to pay supracompetitive prices for credit scores.

          11.    Finally, Fair Isaac commenced a public smear campaign intended to dissuade

  potential customers from using VantageScore.

          12.    By unlawfully maintaining its monopoly through such anticompetitive tactics, Fair

  Isaac, with the agreement of the Credit Bureaus, has been able to exclude VantageScore from

  competing for customers in the B2B Credit Score Market. The effect of this exclusion has been

  Fair Isaac's ability to niaintain the pricesfor FICO Scores at a supracompetitive levelfor decades

  and raise prices with impunity for its credit scoring products. For example, Fair Isaac's net

  income for the third quarter of 2021 was more than doacble that of the previous year period,

  increasing from $64.1 million in the third quarter of 2020 to $151.2 million in the third quarter of

  2021.4 Over time, Fair Isaac's net income has remained very high, with $236 million net income

  in 2020, $392 million in 2021, and $374 million in 2022. Sources in the financial industry have

  attributed Fair Isaac's profitability to "[p]rice increases in its credit scoring segment and gains in




  4      Press Release, Fair Isaac, FICO Announces Earnings of $5.18 per Sharefor Third Quarter
  Fiscal 2021 (Aug. 3, 2021), https://investors.fico.com/news-releases/news-release-details/fico-
  announces-earnings-518-share-third-quarter-fiscal-2021.
  5       Fair Isaac Corporation, Q4 2020 Earnings Ca11, BAMSEC (Nov. 10, 2020),
  https://www.bamsec.com/document-search?query=236&entityld=814547; Fair Isaac
  Corporation, Q4 2020 Earnings Call, BAMSEC (Nov. 10, 2020),
  https://www.bamsec.com/document-search?query=392&entityId=814547; Fair Isaac
  Corporation, Q4 2022 Earnings Call, BAMSEC (Nov. 9, 2022),
  https://www.bamsec.com/document-search?query=374&entityld=814547.

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  applications sold to banking institutions," which have "helped the company log year-over-year

  gains in revenue and profit."6

            13.   Fair Isaac's and the Credit Bureaus' conduct harmed competition and injured

  Plaintiffs and members of the class by forcing them to pay supracompetitive prices for FICO

  Scores.

            14.   Plaintiffs and the Class are the first purchasers from outside the Fair Isaac-Credit

  Bureaus conspiracies.

                                              PARTIES

  I.        PLAINTIFFS

            15.   Plaintiff Sky Federal Credit Union ("Sky FCU") is a federally chartered credit

  union with a principal place of business at 111 North B Street, Livingston, Montana. Sky FCU is

  a financial institution that provides financial services, including deposit accounts, credit and/or

  debit cards, and lending and other credit-related facilities for consumers. During the Class Period,

  Sky FCU directly purchased B2B credit scores from Fair Isaac and Experian. Sky FCU was

  injured in its business or property as a direct, proximate, and material result of Defendants'

  violations of law. Sky FCU is threatened with future injury to its business and property by reason

  of Defendants' continuing violations of law.

            16.   Plaintiff Alcoa Community Federal Credit Union ("Alcoa FCU") is a Federal Credit

  Union with its principal place of business at 1125 Military Road, Benton, Arkansas. Alcoa FCU

  makes loans and other credit-related facilities available to consumers. Alcoa FCU is a financial

  institution that provides financial services, including deposit accounts, credit and/or debit cards,



  6      Motley Fool, Fair Isaac Corporation Scores 13% Revenue Growth in the First Quarter
  (Jan. 31, 2019), https://www.fool.com/investing/2019/01/31/fair-isaac-corporation-scores-13-
  revenue-growth-in.aspx.


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  and lending and other credit-related facilities for consumers. During the Class Period, Alcoa FCU

  directly purchased B2B credit scores from Fair Isaac, TransUnion, and Experian. Alcoa FCU was

  injured in its business or property as a direct, proximate, and material result of Defendants'

  violations of law. Alcoa FCU is threatened with future injury to its business and property by

  reason of Defendants' continuing violations of law.

         17.     Plaintiff Amalgamated Bank ("Amalgamated Bank") is a New York State chartered

  commercial bank and trust company with a principal place of business at 275 Seventh Avenue,

  New York, New York. Amalgamated Bank is the largest union-owned bank in the United States.

  Workers United and affiliated organizations are the largest shareholders of Amalgamated Bank.

  Amalgamated Bank provides financial services, including personal banking services for

  consumers; services for businesses, non-profit organizations; and institutional investing services.

  During the Class Period, Amalgamated Bank directly purchased B2B credit scores from Fair Isaac,

  Expei-ian, and Equifax. Amalgamated Bank was injured in its business or property as a direct,

  proximate, and material result of Defendants' violations of law. Amalgamated Bank is threatened

  with future injury to its business and property by reason of Defendants' continuing violations of

  law.

         18.     Plaintiff City of Boston Credit Union ("City of Boston CU") is a credit union with

  its principal place of business at One Union Street, 3rd Floor, Boston, Massachusetts. City of

  Boston CU is a member-owned credit union that was established on November 15, 1915. City of

  Boston CU is one of the oldest credit unions in the United States. City of Boston CU is a financial

  institution that provides financial services, including deposit accounts, credit and/or debit cards,

  and lending and other credit-related facilities for consumers. During the Class Period, City of

  Boston CU directly purchased B2B credit scores from Fair Isaac and Experian. City of Boston




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  CU was injured in its business or property as a direct, proximate, and material result of Defendants'

  violations of law. City of Boston CU is threatened with future injury to its business and property

  by reason of Defendants' continuing violations of law.

         19.     Plaintiff First Choice Federal Credit Union ("First Choice FCU") is a federally

  chartered credit union with a principal place of business at 2209 West State Street, New Castle,

  Pennsylvania. First Choice FCU is a financial institution that provides financial services, including

  deposit accounts, credit and/or debit cards, and lending and other credit-related facilities for

  consumers. During the Class Period, First Choice FCU directly purchased B2B credit scores from

  Fair Isaac and TransUnion. First Choice FCU was injured in its business or property as a direct,

  proximate, and material result of Defendants' violations of law. First Choice FCU is threatened

  with future injury to its business and property by reason of Defendants' continuing violations of

  law.

         20.     Plaintiff Getten Credit Company ("Getten") is a corporation with its principal place

  of business at 1310 Sibley Memorial Highway, Mendota, Minnesota. Getten is a small, family-

  owned independent finance company that specializes in helping consumers with various financial

  needs including debt consolidation, purchasing vehicles, and rebuilding credit. During the Class

  Period, Getten directly purchased B2B credit scores from TransUnion. Getten was injured in its

  business or property as a direct, proximate, and material result of Defendants' violations of law.

  Getten is threatened with future injury to its business and property by reason of Defendants'

  continuing violations of law.

         21.     Plaintiff Holmes County Bank & Trust Company ("Holmes County Bank") is a

  bank with its principal place of business at 316 Court Square, Lexington, Mississippi. Holmes

  County Bank has provided fmancial services to its customers since 1932. During the Class Period,
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  Holmes County Bank directly purchased B2B credit scores from Equifax and TransUnion.

  Holmes County Bank was injured in its business or property as a direct, proximate, and material

  result of Defendants' violations of law. Holmes County Bank is threatened with future injury to

  its business and property by reason of Defendants' continuing violations of law.

 II.      DEFENDANTS

          22.    Defendant Fair Isaac is a Delaware corporation, with its principal place of business

  at 181 Metro Drive, Suite 700, San Jose, California.

          ~23.   Defendant Equifax is a Credit Bureau incorporated in Georgia that has its principal

  place of business at 1550 Peachtree St. NW, Atlanta, Georgia.

          24.    Defendant Experian is a Credit Bureau incorporated in Ohio that has its principal

  place of business in the United States at 475 Anton Blvd., Costa Mesa, California.

          25.    Defendant TransUnion is a Delaware limited liability Credit Bureau that has its

  principal place of business at 555 W. Adams St., Chicago, I1linois.

                 JURISDICTION, VENUE, AND INTERSTATE COMMERCE

          26.    This action arises under Sections 1 through 3 of the Sherman Act (15 U.S.C. §§ 1-3)

  and Sections 4& 16 of the Clayton Act (15 U.S.C. §§ 15 & 26).

          27.    This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331, 1332(d), and

  1337.

          28.    The Court has supplemental jurisdiction under 28 U.S.C. § 1367 over Plaintiffs'

  state law claims.

          29.    Venue is proper in this District under 15 U.S.C. §§ 15(a) & 22, and 28 U.S.C.

  § 1391(b), (c), and (d), because, during the Class Period, Defendants resided, transacted business,

  were found, or had agents in the United States, including in this District, and a substantial portion

  of the alleged activity affected interstate trade and commerce, including in this District.


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          30. . During the Class Period, Defendants' conduct was within the flow of, was intended

  to, and did, in fact, have a substantial effect on the interstate commerce of the United States and

  its territories, including in this District.

          31.     During the Class Period, Defendants used the instrumentalities of interstate

  commerce, including interstate wires, wireless spectrum, and the United States Mail, to effectuate

  their illegal scheme.

          32.     Defendants' conduct also had a substantial effect on the intrastate commerce of the

  states listed in counts Six and Seven of this Complaint.

          33.     This Court has personal jurisdiction over Defendants because Defendants

  transacted business, maintained substantial contacts, and are located and/or committed unlawful

  conduct in this District. Their unlawful scheme was directed at, and had the intended effect of,

  causing injury to persons residing in, located in, or doing business in this District.

                                       FACTUAL ALLEGATIONS

    I.    CREDIT SCORING AND REPORTING

          A.      Credit Scores

          34.     A credit score is a three-digit number, typically between 300 and 850, designed to

  represent an individual's credit risk or the likelihood the individual will pay bills on time.

          35.     Credit scores are calculated using information in an individual's credit reports,

  including an individual's payment history, the amount of debt the individual has, and the length of

  the individual's credit history. Higher scores mean the individual has demonstrated responsible

  credit behavior in the past, which may make potential lenders and creditors more confident when

  evaluating a request for credit. Credit scoring companies like Fair Isaac and VantageScore

  Solutions apply complex algorithms to arrive at a numerical credit score.




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         36.     Credit scores are accompanied by "reason codes," which explain to the potential

  lender or creditor why the score was not higher. VantageScore explains this process as follows:

         No matter where you get your score, the documents that accompany it will include
         up to four or five statements explaining why your score wasn't higher. These
         statements are called reason codes and sometimes go by several other names. Some
         people call them score factors, others call them adverse action codes. They're all
         the same thing.

         The next time you see your credit score, regardless of where it comes from, look
         for the reason codes. They'll be worded and displayed something like this:

         Your Credit Score Is: 705

         32: Balances on bankcard or revolving accounts too high compared to credit limits

         16: The total of all balances on your open accounts is too high

         85: You have too many inquiries on your credit report

         13: Your most recently opened account is too new

         The numbers preceding each statement are numeric identifiers; sometimes they
         appear with the text, and sometimes they do not.

         The four (or five) factors are listed in order of the impact they have. In this
         example, the number one reason the credit score is not higher is "Balances on
         bankcard or revolving accounts too high compared to credit limits." That means
         the consumer's credit card debt is too high relative to his or her credit limits.

         In our example, the reason with the second-greatest impact is "The total of all
         balances on your open accounts is too high." That means the consumer is
         carrying too much debt on his or her open accounts.         ,

         The third reason the score isn't higher is "You have too many inquiries on your
         credit report." This means the consumer has recently applied for credit several
         times, which led to some number of credit inquiries.

         The fourth reason the score isn't higher is "Your most recently opened account is
         too new." Clearly this means the consumer has a very new account on his or her
         credit report.7




  ~        VantageScore Solutions, Reason Codes 101, https://www.reasoncode.org/reasoncode101
  (last visited on Oct. 30, 2023).


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           37.   Fair Isaac has a webpage that sets forth its various "reason codes."8 VantageScore

  also has a dedicated website that explains its various "reason codes."9

           B.    Credit Reports

           38.   Credit Bureaus collect and store financial data about individuals that is submitted

  to them by creditors, such as lenders, credit card companies, and other financial companies.

  Creditors are not required to report to every credit-reporting company.

           39.   Utilizing these files, Credit Bureaus create a credit report, which is a statement that

  has information about an individual's credit activity and current credit situation, such as loan

  payment history and the status of credit accounts. The information contained in such reports is

  used to create credit scores.

           40.   Credit Bureaus sell these credit reports to lenders or creditors such as Plaintiffs and

  the Class ("B2B Purchasers") in the "B2B market." They also sell them to individuals wishing to

  monitor their own credit ("B2C Purchasers").

           41.   Fair Isaac works with the Credit Bureaus to perpetuate and extend its monopoly.

  Fair Isaac's relationship with B2B Purchasers is often dependent on B2B Purchasers' relationships

  with the Credit Bureaus: The Credit Bureaus facilitate the sale of FICO Scores to B2B Purchasers.

           42.   FICO Scores and credit reports are often sold to businesses as a bundle. Such

  bundles can be sold by Credit Bureaus, which are licensed by Fair Isaac to sell FICO Scores and

  in return, pay a royalty to Fair Isaac. Thus, when a B2B Purchaser requires a credit score, it

  purchases a credit report from a Credit Bureau and a credit score from that Credit Bureau and Fair


  8      Fair Isaac, US FICO® Score Reason Codes, https://www.fico.com/en/latest-
  thinking/solution-sheet/us-fico-score-reason-codes (link to download) (last visited on Oct. 30,
  2023).
  9      VantageScore Solutions, REASONCODE.ORG, https://www.reasoncode.org (last visited
  Oct. 26, 2023).


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  Isaac often through a contract with both Fair Isaac and the Credit Bureau. Although the payment

  for the credit report and the credit score may at times occur in a single transaction, the reality is

  that both the Credit Bureau and Fair Isaac act as the providers of the FICO Score. Indeed, certain

  Class members' contracts for the sale of FICO Scores and credit reports to B2B Purchasers specify

  that "in consideration of [the Credit Bureau]/Fair Isaac's performance" of their obligations to

  provide those products, the purchaser shall "pay [the Credit Bureau]/Fair Isaac fees" for those

  products.

         43.     In its 2020 Form 10-K filed with the Securities and Exchange Commission, Fair

  Isaac stated that, "[d]uring fiscal 2020, 2019 and 2018, revenues generated from our agreements

  with Experian, TransUnion and Equifax collectively accounted for 32%, 29% and 25% of our total

  revenues, respectively." 10   In its 2022 Form 10-K filed with the SEC, Fair Isaac disclosed

  significant increases of the revenue Fair Isaac generated from its agreements with the Credit

  Bureaus, reporting that "during fiscal 2022, 2021 and 2020, revenues generated from our

  agreements with Experian, TransUnion and Equifax collectively accounted for 39%, 38% and 33%

  of our total revenues, respectively."11 The same Form 10-K describes the Credit Bureaus as Fair

  Isaac's "partners in offering [FICO's] scoring solutions."12

          44.    The FICO Score and credit report bundles can also be sold by Fair Isaac to

  businesses. "In those situations, Fair Isaac requests a credit score and credit report from the Credit

  Bureau selected by the lender or consumer. The Credit Bureau applies Fair Isaac's Bureau-tailored



  10     Fair Isaac Corporation, Annual Report (Form 10-K), at 11 (Nov. 10, 2020), https://fico.gcs-
  web.comlnode/23951/html (hereinafter, "Fair Isaac 2020 10-K").
  11 ;
         Fair Isaac Corporation, Annual Report (Form 10-K), at 9 (Nov. 9, 2022), https://fico.gcs-
  web.com/static-files/9050c8f5-9c87-4d41-8ecd-6d9f3d179a8a (hereinafter, "Fair Isaac 2022 10-
  K") (emphasis added).
  12      Id.


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  FICO algorithm to a consumer's aggregated credit data and provides the consumer's credit report

  and credit score to Fair Isaac. Fair Isaac then delivers the bundle to the consumer or lender. Fair

  Isaac pays the Credit Bureau for the cost of processing and providing the bundle."13

         45.      Thus, Fair Isaac and the Credit Bureaus act as horizontal competitors and compete

  with each other for some B2B Purchasers — separate and apart -from Fair Isaac's competition with

  VantageScore.

         46.      This direct competition between Fair Isaac and the Credit Bureaus, as well as the

  close relationship among them, continues to this day. At an August 3, 2021 earnings conference,

  Fair Isaac's Chief Executive Officer and Director, William J. Lansing, said, "we stay close to it

  [B2B scores] through our channel pai-tners, the bureaus. But we also — certainly for all of the major

  institutions, we have direct sales relationships."14 TransUnion's 2022 Form 10-K acknowledges

  that it "compete[s] with FICO in the Financial Services" market for B2B Purchasers.15 Similarly,

  Equifax's 2022 Form 10-K acknowledges that it too "compete[s] with Fair Isaac Corporation with

  respect to certain of [its] analytical tools and solutions."l6 Experian has also recognized that its

  "comparator companies" include "FICO."17




  13      Fair Isaac Corp. v. Eqziifax, Inc., No. 06-4112, 2008 WL 623120, at *2 (D. Minn. March
  4, 2008).
  14      Motley Fool, Fair Isaac Corp. (FICO) Q3 2021 Earnings Call Transcript (Aug. 3, 2021)
  (hereinafter, "Q3 Earnings Ca11"), https://www.fool.com/earnings/call-transcripts/2021/08/
  03/fair-isaac-corporation-f co-q3-2021-earnings-call/.
  ts      TransUnion, Annual Report (Form 10-K), at 12 (Feb. 14, 2023).
  16      Equifax Inc., Annual Report (Form 10-K), at 8 (Feb. 23, 2023).
  17       Experian  Anniial    Report    2022,    EXPERIAN      PLC,     (2022),   at    139,
  https://www.experianplc.com/content/dam/marketing/global/plc/en/assets/documents/reports/202
  2/experian—ar2022 web.pdf.


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   II.   THE MARKETS FOR CREDIT SCORES IN THE UNITED STATES

         47.     As noted above, there are distinct B2B and B2C Credit Score Markets. The B2B

  Credit Score Market comprises sales from a business (a credit score generator, such as Fair Isaac,

  directly or through a Credit Bureau) to a lender, creditor, or financial institution. The B2C Credit

  Score Market comprises sales directly to an individual. The claims in this case concern the B2B

  Credit Score Market. The B2B Credit Score Market is the relevant product market in which the

  claims that require a market definition are to be assessed.

          48.     Fair Isaac has recognized the existence of the distinct B2B and B2C markets. For

  example, its 2020 Form-l0K states: "Scores. This segment includes our business-to-business

  scoring solutions and services, our business-to-consumer scoring solutions and services including
                             J
  myFIC0® solutions for consumers, and associated professional services."18 Likewise, Fair Isaac

  measures quarterly scores revenues with "the company's business-to-business (B2B) scoring

  solutions and associated professional services, and business-to-consumer (B2C) service," as

  reflected in its recent earnings report for the first quarter of 2020.19

          49.     The credit scores that lenders purchase often differ significantly from the credit

  scores that consumers purchase. The Consumer Financial Protection Bureau ("CFPB") noted in a

  2011 report to Congress that "many of the credit scores sold to lenders are not offered for sale to

  consumers."20 The agency went on to explain:

          When a consumer purchases a score from a CRA [Credit Rating Agency], it is likely


  18       Fair Isaac 2020 10-K, at 3.
  19 ' Press Release, Fair Isaac Corp., FICO Announces Earnings of $1.82 per Share for First
  QuarteY Fiscal 2020 (Jan. 30, 2020), https://fico.gcs-web.com/news-releases/news-release-
  details/fico-announces-earnings-182-share-first-quarter-fiscal-2020.
  20      ,Consumer Financial Protection Bureau, The impact of differences between consumer- and
  creditorptcrchased credit scores, at .1 (July 19, 2011), https://files.consumerfmance.gov/
  f/2011/07/Report_20110719 CreditScores.pdf.


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         that the credit score that the consumer receives will not be the same score as that
         purchased and used by a lender to whom the consumer applies for a loan. This
         could occur if the score the consumer purchased is an educational score that is not
         used by lenders, but differences between the score a consumer buys and the score
         a lender buys can occur for other reasons as well. Since so many scores are in use
         in the marketplace, it could also be the case that the particular lender to which the
         consumer applies uses a different scoring model than the one purchased by the
         consumer, or that the CRA from which the consumer obtains a score is not the same
         CRA that the lender uses to obtain scores, or that the underlying data in the
         consumer's credit report changes significantly between the time the consumer
         purchases a score and the time the lender obtains a score for that consumer. It is
         also possible that a consumer and a lender could access different reports from the
         CRA, if they were to use different identifying information about the consumer. Any
         of these differences could lead to differences between the credit score a consumer
         sees and the credit score a lender uses to assess that consumer.21

         50.     The United States (including its territories) is the relevant geographic market in

  which B2B credit scores are provided. The restraints on competition in the B2B Credit Score

  Market contained in Fair Isaac's contracts relate to the provision of B2B credit scores to businesses

  throughout the United States.

         51.     The B2B Credit Score Market exhibits high bairiers to entry. As noted in a 2018

  article: "The deep integration of FICO scores and products into companies' operations has raised

  switching costs."2z

         52.     Likewise, VantageScore Solutions has observed that in the residential mortgage

  sector, Fair Isaac's "imprint inhibits competition by raising switching costs and granting the

  irreplaceable brand value of utter ubiquity. It gives FICO unparalleled and highly controversial

  negotiating leverage with almost every participant in the industry."23


  21     Id.
  22      Fair Isaac: A Royalty on U.S. Credit Scoring (Sept. 25, 2018), https://seekingalpha.com/
  article/4208014-fair-isaac-royalty-on-u-s-credit-scoring.
  23      Press Release, VantageScore, VantageScore Solutions Issues Statement Reacting to
  FHFA's Proposed Ricles for Validating and Approving New Credit Scoring Models (Dec. 17,
  2018), https://vantagescore.com/press/vantagescore-solutions-issues-statement-reacting-to-fhfas-



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         53.      "Larger lenders use the [FICO] score as an input to customized models they've

  built for specific situations or portfolios. After a recent review one major US lender recently

  identified over 600 places they were using a FICO score in their business processes. Switching to

  a new score not only means proving the new score is better (a long process in itself) but extensive

  testing to ensure all of those moving parts are still working as designed. Citibank recently

  announced that after an 18 month review they've decided it's safe to switch to the latest version

  of tlie FICO score (FICO 8). This wasn't a migration to a new score mind you, just a more recent

  version of the score they're already using. The barriers to entry are indeed high ... and

  expensive."24

         54.      "Network effects" — i.e., the phenomenon where a product or service increases in

  value when the total number of customers increase — serve as a barrier to entry into the B2B Credit

  Score Market. As one analyst has noted: "The `network effects' keeping FICO's dominant

  position [are] indeed incredibly strong."25

         55.      In 2011, at Fair Isaac's Analyst/Investor Day, Fair Isaac's then-CEO, Mark Greene,

  explained: "In about 10 seconds, an entire commerce transaction taking place because 720 FICO

  was understood by the broker, by the mortgage banker on the other end of line and the customer

  to be shorthand for good credit risk, gave this guy a favorable mortgage rate. And that network




  proposed-rules-for-validating-and-approving-new-credit-scoring-models (emphasis added).
  24       John Ulzheimer, Why FICO Isn't Going Away Any Time Soon, Smart Credit (July 5, 2011),
  https://blog.smartcredit.com/2011/07/05/why-fico-isnt-going-away-any-time-soon/      (emphasis
  added).
  25       Harrison Schwartz, Fair Isaac: Share Buybacks Likely To End As Cash Reserves Run Low,
  Seeking Alpha (Dec. 17, 2019), https://seekingalpha.com/article/4312953-fair-isaac-share-
  buybacks-likely-to-end-cash-reserves-run-low.


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  effect, having everybody in the loop understand that shorthand and standardize on a FICO Score,

  that's magic."26

         56.     The anticompetitive conduct by Fair Isaac alleged herein accounts in significant

  part for the FICO Score's dominance in the B2B Credit Score Market.

         57.     The Credit Bureaus participate in a market for credit reports. A credit report

  contains detailed information about a consumer's credit activity and current credit situation. The

  detailed information in a credit report is used to generate a FICO Score for a specific customer,

  which B2B lenders can use in making their lending decisions.

         58.     On information and belief, the Credit Bureaus control virtually all of the credit

  report market (they have been called a"triopoly") and enjoy roughly equivalent market shares.27

         59.     The three Credit Bureaus are all members of a trade association called the

  Consumer Data Industry Association ("CDIA"). Through the CDIA, the three Credit Bureaus

  frequently work together, including to: (i) develop a standard electronic data reporting format

  called Metro 2®; (ii) issue joint statements on matters of public importance; (iii) provide guidelines

  to businesses that use credit reports; and (iv) respond to public criticisms of their industry. The

  three Credit Bureaus also cooperated in the establishment of VantageScore Solutions as a joint

  venture.28


  26       SA Transcripts, Seeking Alpha, Fair Isaac Corp. — Analyst/Investor Day (Nov. 3, 2011),
  https://seekingalpha.com/article/307417-fair-isaac-corp-analyst-investor-day.              -
  27      See Consumer Financial Protection Bureau, List of Consaimer Reporting Companies
  (2021),      https://files.consumerfinance.gov/f/documents/cfpb_consumer-reporting-companies-
  list 2021-06.pdf.
  28      See Consumer Data Industry Ass'n, About CDIA, https://www.cdiaonline.org/about/about-
  cdia/ (last visited Oct. 26, 2023); Consumer Data Industry Ass'n, Metro 2 Format for Credit
  Reporting,               https://www.cdiaonline.org/resources/furnishers-of-data-overview/metro2-
  information/ (last visited Oct. 26, 2023); Dana Fowle, Industry Pushes Back Against Claims of
  High Credit Reporting Errors, Fox5 Atlanta (Sept. 15 2021), https://www.fox5atlanta.com/


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  III.   FAIR ISAAC'S MONOPOLY POWER IN THE B2B CREDIT SCORE MARKET

         60.     Fair Isaac came into existence in 1956, possessed a monopoly on credit-scoring

  algorithms until the mid-1970s, and continues to wield a dominant market share.29

         61.     Fair Isaac states in its 2020 Form 10-K:

         Our products and services serve clients in multiple industries, including primarily
         banking, insurance, retail, healthcare and public agencies. End users of our
         products include 96 of the 100 largest fmancial institutions in the U.S., and two-
         thirds of the largest 100 banks in the world. Our clients also include more than 600
         insurers, including nine of the top ten U.S. property and casualty insurers; more
         than 300 retailers and general merchandisers; more than 200 government or public
         agencies; and more than 200 healthcare and pharmaceuticals companies, including
         nine of the world's top ten pharmaceuticals companies. Eight of the top ten
         companies on the 2020 Fortacne 500 list use one or more of our solutions. In
         addition, our consumer services are marketed to an estimated 200 million U.S.
         consumers whose credit relationships are reported to the three major U.S. credit
         reporting agencies.3o

         62.     Fair Isaac itself has touted its dominance, noting in its "About" page that FICO

  Scores are "the most widely used credit scores," used by "90% of top lenders," and have been the

  "industry standard for 30 years."31




  news/industry-pushes-back-against-claims-of-high-credit-reporting-errors;      Press     Release,
  Consumer Data    Industry Ass'n, Consacmer Data  Industry Association Releases Study on the Value
  of Credit Reporting in U.S. (June 15, 2020), https://cdia-news.s3.amazonaws.com/White+Paper+
  Press+Release+6.15.20.pdf; Kristina Poplawski, Equifax, Experian, & TransUnion Endorse
  CARES Act, CoNsuMER DATA I1vDusTRY Ass'N (Mar. 30, 2020), https://www.cdiaonline.org/
  equifax-experian-transunion-endorse-cares-act/; Consumer Data Industry Ass'n, COVID-19,
  https://www.cdiaonline.org/covid-19/ (last visited Oct. 26, 2023).
  29      Raymond Anderson, A History of Credit Scoring, at 75-76 (2019),
  https://www.researchgate.net/profile/Raymond_Anderson4/publication/331533 723_Chapter_B0
  6_History_of Credit Scoring/links/5c7ed843299bfl268d3ccc5d/Chapter-B06-History-of-
  Credit-Scoring.pdf?origin=publication detail.
  30      Fair Isaac 2020 10-K, at 10.
  31      Fair Isaac, About, https://www.ficoscore.com/about (last visited Oct. 26, 2023).


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                                        FICOA SCORES ARE USED BY 90% OF TOP LENDERS

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                                                                                          FICO Scores are used by


                             FICOtScaesarepurchesedr           ryear                                   90%


                                                                                                 of top lenders

                             FiCO Scores ae pu!chased every day                    ffi m ffim m mm ffi ffi


                               FICOScores have been an industry standard for 30 yearS



                                Hundreds of                        are participating in the FiCO Score Open
                                                                   Access program to provide FICb Scores to
                                 Lenders                           consumers for free.



                                                 AN INDUSTRY STANDARD FOR OVER 30 YEARS
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         63.    An infographic on Fair Isaac's website states: "10 BILLION FICO SCORES ARE

  SOLD EACH YEAR," which is "FOUR TIMES the number of hamburgers McDonald's sells

  WORLDWIDE in a year," and "27,400,000 FICO scores are sold every day," which is "OVER

  TWICE the number of cups of coffee Starbucks sells WORLDWIDE in a day."32




  32      Fair Isaac, Learn About the FICO Score and Its Long History,
  https://www.fico.com/25years/ (last visited Oct. 26, 2023) [https://web.archive.org/web/2018
  0602142433/https://www.fico.com/25years/].


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             64.     Fair Isaac's 2020 Form 10-K states that FICO Scores "are used in the majority of

      U.S. credit decisions, by nearly all of the major banks, credit card organizations, mortgage lenders

'     and auto loan originators," and it describes FICO Scores as "the standard measure in the U.S. of

      consumer credit risk."33

             65.     Fair Isaac's executives frequently tout FICO's dominance. In 2008, Craig Watts, a

      public affairs manager at Fair Isaac, described the FICO Score as the "800 pound gorilla."34 In

      November 2017, at the JPMorgan Ultimate Services Investor Conference, Fair Isaac's former

      33
             Fair Isaac 2020 10-K, at 3, 7.
      34       Dana Dratch, What Does `Good' Credit Really Mean?, CNBC (Oct. 30, 2008),
      https://www.cnbc.com1id127458815.


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  Chief Financial Officer and Executive Vice-President, Michael Pung, stated that Fair Isaac's FICO

  Scores are: the "most widely used credit scoring system here in the U.S.," used by "[v]irtually

  every major lender in the U.S.," and that Fair Isaac has "maintained a 90-plus percent market

  share for at least ...   13 years."35

          66.     A May 2021 report by Yale University's Thurman Amold Project, a collaborative

  project among Yale faculty and students, as well as other scholars dedicated to research on

  competition policy and antitrust enforcement, notes that Fair Isaac "enjoys a virtual monopoly in

  the credit score market" and that "[b]ecause of the lack of competition in this domain, there has

  been limited innovation in scoring methodology."36

          67.     Fair Isaac's monopoly in the B2B Credit Score Market has given it the power to

  control prices and impose monopoly rents. Indeed, Mr. Lansing, Fair Isaac's CEO, has noted that

  in the B2B Credit Score Market, Fair Isaac has "quite a bit of discretion in whether we want our

  margins to be higher or lower or where they are."37

          68.     In February 2013, at a Morgan Stanley Conference, Mr. Lansing explained that Fair

  Isaac's "Scores business, which is the cash generator, is a very, very high-margin business. It's

  deeply embedded into the systems of the bank customers who use it."38




  35      TransUnion Counterclaims, ¶32 (emphasis added).
  36     Yale University Thurman Arnold Project, Updating Antitrust and Competition Policy:
  Finance Isstces, at 14, 15 (May 2021), https://som.yale.edu/sites/defaultifiles/TeamFinance-
  Final.pdf (emphasis added).
  37      TransUnion Counterclaims, ¶34.
  38      Seeking Alpha, Fair Isaac's CEO Presents at Morgan Stanley Technology, Media &
  Telecom Conference (Transcript) (Feb. 27, 2013), https://seekingalpha.com/article/1231981-fair-
  isaacs-ceo-presents-at-morgan-stanley-technology-media-and-telecom-conference-transcript
  (emphasis added).


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            69.   And in a 2021 Earnings Call, in response to a question regarding an instance where

  Fair Isaac lost scoring business to a competitor, Mr. Lansing responded: "Our business in Scores

  is as strong as it has ever been. Our volumes are very strong. We have not seen a decline. And

  we don't see major issuers switching away. So I guess the best way to characterize that is a one-

  off."39

  IV.       VANTAGESCORE SOLUTIONS' ENTRY INTO THE B2B CREDIT SCORE
            MARKET AND ITS INNOVATIVE PRODUCT

            70.   In March 2006, the three Credit Bureau Defendants founded VantageScore

  Solutions as ajoint venture, with the purpose of offering a credit scoring model that would compete

  with FICO Scores. The three Credit Bureau Defendants continue to own VantageScore Solutions.

            71.    VantageScore Solutions offers its own credit scoring system and score called

  VantageScore. VantageScore Solutions does not sell or market its VantageScore credit models or

  credit scores; instead, it licenses them to the three Credit Bureau Defendants, which may

  incorporate VantageScores in their credit reports.

            72.    VantageScores are a competitor to FICO Scores in the B2B Credit Score Market.

            73.    VantageScore was a response to a recognized need. Many individuals receive no

  or lower scores under FICO. For example, the CFPB has found that, as of 2010, 26 million

  consumers in the United States were "credit invisible" — i.e., they lacked credit history with one of
                                                                                          41
  the nationwide credit reporting companies.40 Those individuals cannot be scored by FICO.




  39        Q3 Earnings Ca11, supra n.14.
  40       CFPB Office of Research, Data Point: Credit Invisibles, at 4, 6 (May 2015),
  https://files.consumerfinance.gov/f/201505 cfpb_data-point-credit-invisibles.pdf.
  41       Id.


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         74.     The CFPB's research suggests "a strong relationship between income and having a

  credit record. Almost 30 percent of consumers in low-income neighborhoods are credit invisible

  and an additional 16 percent have unscored records. These percentages are notably lower in

  higher-income neighborhoods. For example, in upper-income neighborhoods, only 4 percent of
                                                                                   42
  the population is credit invisible and another 5 percent has an unscored record."

         75.      Moreover, the CFPB found "significant differences in the incidence of having a

  limited credit history across racial and ethnic groups," specifically, while White and Asian

  individuals "are almost equally likely to be credit invisible or have an unscored record, the shares

  of Black[ ] and Hispanic[ ][individuals] with limited credit history are much larger," and
                                                                                          43
  individuals in those groups are thus less likely to be able to obtain a credit score.

          76.     According to the CFPB, "[a]bout 15 percent of Black[ ] and Hispanic[ ]

  [individuals] are credit invisible ... and an additional 13 percent of [Black individuals] and 12

  percent of [Hispanic individuals] have unscored records. ...             This elevated incidence ... is

  observed across ages, suggesting that these differences across racial and ethnic groups materialize
                                                                      44
  early in the adult lives of these consumers and persist thereafter."

          77.     The CFPB went on to conclude that "[t]hese results suggest that the problems that

  accompany having a lirriited credit history are disproportionally borne by Black[ ], Hispanic[ ], and

  lower-income consumers."45




  42      Id. at 24.
  43      Id.

  ~       Id. at 24-25.
  4s      Id. at 25.


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         78.    Credit Karma has summarized some of the key differences between FICO and

  VantageScore. One is the duration of credit history needed to obtain a VantageScore as opposed

  to a FICO Score:

         To have FICO® scores, consumers need to have one or more accounts that have
         been open for at least six months and at least one account that has reported to the
         credit bureaus within the past six months (plus no indication on your credit reports
         of being deceased). Otherwise, FICO won't generate your scores.

         On the other hand, the VantageScore® model may be able to score consumers who
         are new to credit or use credit infrequently. VantageScore can use data of just one
         month's history and one account reported within the previous 24 months.

         So if you're new to credit or you haven't used credit in a while, you may not have FICO®
                                                                             °
         credit scores, but you might have VantageScore® credit scores.46

         79.    Another difference concerns treatment of tax liens and civil judgments:

         In July 2017, changes to public-record reporting requirements were implemented
         that affected the information sent to consumer credit bureaus, leading them to
         eliminate many tax liens and civil judgments from consumers' credit reports. In
         response to the changes, tax liens aren't weighed as heavily (but can still have a
         significant impact) in the latest VantageScore version, VantageScore® 4.0. And
         they can still have a significant impact on FICO® scoring models.47

         80.    A third difference involves the treatment of credit inquiries:

         It's a Catch-22. Applying for new lines of credit — such as student loans, credit
         cards or mortgages — can negatively affect your credit scores. But applying for
         multiple lines in order to compare rates makes sense if you want to get the best deal.
         To minimize the impact that shopping for credit can have on your scores, newer
         FICO® versions count multiple credit inquiries of the same type within a 45-day
         period as a single inquiry. This can be especially helpful when you're shopping
         around for a major loan, like for a car, as multiple auto loan inquiries within that
         window should only count as one hard inquiry. For some older FICO® versions,
         the single-inquiry period can be 14 days.

         VantageScore counts multiple inquiries, even for different types of loans, within a
         14-day period as a single inquiry. Multiple inquiries on your reports for the same


  46     Jennifer Brozic, Credit Karma, VantageScore vs. FICO: What's the difference? (Sept. 1,
  2019), https://www.creditkar ma.com/advice/i/vantagescore-vs-fico/.
  4'
         Id.


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         type of loan or credit, spanning more than a 14-day period, may have a greater
         impact to your VantageScore® credit scores than to your FICO® scores.48

         81.     And the final difference of significance involves the use of trending data:

         Credit scores represent a snapshot of an individual's credit profile at the specific
         point in time when the scores are generated. The FICO® credit-scoring models, for
         example, use data about consumers' borrowing and credit utilization that's been
         reported to the credit bureaus at the time the scores are generated.

         VantageScore® 4.0, on the other hand, incorporates data that reflects patterns of
         behavior over time. The latest scores may include up to two years' worth of
         consumer spending and credit utilization data in its calculation.49

         82.     VantageScore has achieved some limited success. In a 2018 report, VantageScore

  Solutions stated:

         During the twelve months ending in July 2017, over 1.4 billion VantageScore credit
         scores were delivered directly to consumers by lenders like Chase and Capital One
         and educational websites like CreditKarma, Lending Tree, and Mint. These scores
         are calculated using the same VantageScore model used by lenders (i.e., not an
         "educational" model). They are most often provided free of charge as part of
         educational offerings that include simulators, credit reports, educational articles,
         and explanations.so

         83.     VantageScore Solutions went on to note that "[a]s lenders adopt VantageScore, we

  believe that such adoption will improve consumers' access to credit in certain segments and enable

  many more borrowers to obtain fairer pricing."51 VantageScore Solutions also reported that "many

  of the most sophisticated secondary market participants use the VantageScore model to help

  evaluate and monitor risk, and to price and benchmark deals more accurately."52



  48     Id.
  49     Id.
  50    VantageScore Solutions, VantageScore® Credit Scores and The Mortgage Market, at 8
  (2018) ("VantageScore Report"), https://www.vantagescore.com/wp-content/uploads/2022/
  02/FAQs-VantageScore-Credit-Scores-and-the-Mortgage-Market.pdf.
  51    Id. at 5.
  52     VantageScore Solutions, Myth: VantageScore Is Not Accepted by Investors in


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         84.     Despite VantageScore's innovations and advantages, Fair Isaac has maintained its

  monopoly in the B2B Credit Score Market and extracted monopoly rents through anticompetitive

  and exclusionary conduct and through anticompetitive agreements with each Credit Bureau.           ,

   V.    FAIR ISAAC'S ANTICOMPETITIVE AND EXCLUSIONARY CONDUCT

         85.     Fair Isaac anticipated the threat VantageScore could pose to its dominance in the

  B2B Credit Score Market. Fair Isaac's own models of future losses predicted "substantial double-

  digit declines" if the use of VantageScore continued to expand. 53

         86.     Faced with the prospect of a significant hit to its market dominance, and its profits,

  Fair Isaac used its monopoly power to launch a comprehensive attack on VantageScore that

  included filing anticompetitive litigation; signing licensing agreements with anticompetitive

  provisions with the Credit Bureaus; and undertaking a campaign of disparagement against, and

  disinformation about, VantageScore Solutions and VantageScore.

                 A.      Fair Isaac's Anticompetitive Litigation

          87.     Fair Isaac viewed the creation of VantageScore as a competitive threat and filed a

  lawsuit against the Credit Bureaus in October 2006, accusing them of copyright infringement (by

  using a three-digit credit score like Fair Isaac did), unfair advertising, and antitrust violations. As

  part of its requested relief, Fair Isaac asked that the Credit Bureaus "be ordered to dissolve

  VantageScore and/or to take all measures necessary to prevent VantageScore from having an




  Securitization Markets (Mar. 23, 2016), https://vantagescore.com/education/blog/myth-
  vantagescore-is-not-accepted-by-investors-in-securitization-markets.
  53     Fair Isaac Corp. v. Experian Info. Sols., Inc., No. CV 06-4112, 2008 WL 11348223, at *2
  (D. Minn. Nov. 3, 2008) (emphasis added).


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  unreasonable anticompetitive effect in any market."54 It made this claim even though, at the time,

  Fair Isaac had 94% of the B2B market.ss

         88.      VantageScore Solutions characterized the litigation Fair Isaac initiated as a "legal

  battle that soiight to put us out of business, even as we scrambled to establish a competitive

  foothold."56 Fair Isaac raised bogus antitrust claims that it knew lacked foundation, given its then-

  94% share of the B2B Credit Score Market. It also alleged trademark infringement that a jury

  found to be based on a trademark that Fair Isaac had fraudulently obtained from the U.S. Patent

  and Trademark Office ("PTO"). In addition, Fair Isaac's contention that the "300-850" marks

  were anything other than "merely" descriptive lacked all foundation because — as the U.S. Court

  of Appeals for the Eighth Circuit later held —"constimers in this market immediately understand

  `300-850' to describe the qualities and characteristics of FICO's credit score — that the credit score

  will be within the range of 300-850."57

         89.      Equifax settled the litigation in June 2008 and formed "a partnership [with Fair

  Isaac] to develop and sell advanced analytics and scoring solutions for businesses and

  consumers."58

          90.     The litigation against Equifax and TransUnion lasted into 2011. While it was

  ongoing, VantageScore Solutions remained under a cloud, with Fair Isaac's lawsuit hobbling its



  s4      Second Amended Complaint, Dkt. 81, Fair Isaac Corp. v. Equifax, Inc., No. 06 CV 4112,
  at 86 (D. Minn. Apr. 18, 2007).
  5s      Fair Isaac Corp. v. Experian Info. Sols. Inc., 645 F. Supp. 2d 734, 738 (D. Minn. 2009).
  56      VantageScore Solutions, Inc., 10 years, 10 milestones (June 30,                        2020),
  https://www.vantagescore.com/newsletter/10-years-10-milestones-1/ (emphasis added).
  57      Fair Isaac Corp. v. Experian Info. Sols., Inc., 650 F.3d 1139, 1148 (8th Cir. 2011).
  58     Fair Isaac, Eqtiifax and Fair Isaac Enter Partnership to Accelerate Development and
  Delivery ofNew Analytic Solutions (June 10, 2008), https://www.fico.com/en/newsroom/equifax-
  and-fair-isaac-enter-p artnership-accelerate-development-and-delivery-new-analytic.


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  commercial prospects: Potential B2B Purchasers for VantageScore had no way of being sure that

  the product might not be declared infringing on Fair Isaac's trademarks or that VantageScore

  Solutions would not be dissolved.

         91.     The district court entered summary judgment in favor of the Credit Bureaus on the

  antitrust and false advertising claims. A jury found against Fair Isaac on the remaining claim for

  trademark infringement, finding that the mark "300-850" (which denoted the range of FICO

  Scores) was merely descriptive. It also found that: (1) Fair Isaac made a false representation during

  the application process to the PTO for the registrations of the "300-850" marks; (2) Fair Isaac

  knew that representation to be false when it was made and intended to deceive the PTO; and (3) the

  PTO relied on the false representation in deciding to issue the registrations.s9

         92.     The district court upheld the verdict, noting that "[t]his extensive, expensive

  litigation seems to have been initiated largely in response to a perceived threat to Fair Isaac's

  dontinant position in the credit scoring industry."6o

          93.    In 2011, the United States Court of Appeals for the Eighth Circuit affirmed both

  that decision and the earlier summary judgment ruling.61

          94.    VantageScore Solutions' growth during its first few years was inhibited by the

  litigation, which was part of a continuing antitrust violation by Fair Isaac that goes on to this day.

         B.      Litigation Between Fair Isaac and TransUnion

          96.    In December 2017, Fair Isaac sued TransUnion for unpaid royalties.62


  s9     Fair Isaac, 650 F.3d at 1148-50.
  60    Fair Isaac Corp. v. Experian Info. Sols., Inc., 711 F. Supp. 2d 991, 1000 (D. Minn. 2010)
  (emphasis added).
  61    Fair Isaac Corp. v. Experian Info. Sols., Inc., 650 F.3d 1139 (8th Cir. 2011).
  62
        See Complaint, Dkt. 1, Fair Isaac Corp. v. Trans Union LLC, No. 1 :17-cv-08318 (N.D. I11.
  Nov. 16, 2017).


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         97.     In February 2018, TransUnion responded by filing antitrust counterclaims for, inter

  alia, monopolization against Fair Isaac. In paragraphs 42-60 of the counterclaims (which was

  partially redacted), the anticompetitive terms the Credit Bureaus and Fair Isaac had agreed upon

  were disclosed publicly for the first time. Those provisions are described in detail below.

         98.     Fair Isaac moved to dismiss the counterclaims. Judge Coleman denied the motion,

  ruling that "TransUnion has adequately pled actual and attempted monopolization" through

  allegations that "FICO engages in practices that are intended to drive out competition" through

  "exclusive dealing provisions [that] are unlawful attempts to `maintain monopoly power through

  exclusionary conduct.' "63

         99.     In November 2020, TransUnion and Fair Isaac settled on undisclosed terms. One

  effect of this settlement was to cut Plaintiffs off from obtaining further information about the

  anticompetitive agreements between Fair Isaac and the Credit Bureaus. Fair Isaac essentially

  bought TransUnion off. This inference is bolstered by the fact that, in August 2021, TransUnion

  announced that it had entered into a long-term (presumably lucrative) contract to distribute FICO

  Scores to lenders and consumers in Canada.64

         100.    The Antitrust Division of the United States Department of Justice took notice of

  Fair Isaac's conduct alleged in the TransUnion Action and instituted a civil investigation. That




  63      Fair Isaac Corp. v. Trans Union, LLC, No. 17:cv-83I8, 2019 WL 1382068, at *2 (N.D.
  I11. Mar. 27, 2019).
  64      See Press Release, TransUnion, TransUnion Enters New Long-term Agreement with FICO
  to Distribaite FICO® Score in Canada (Aug. 3, 2021), https://www.globenewswire.com/news-
  release/2021 /08/03/2273895/0/en/TransUnion-Enters-New-Long-term-Agreement-with-FICO-
  to-Distribute-FICO-Score-in-Canada.html.


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  investigation was closed without action in December 2020, shortly after TransUnion settled with

  Fair Isaac.65

          C.      Fair Isaac and the Credit Bureaus' Agreements to Restrain Competition

                  1.     Fair Isaac and the Credit Bureaus Agree to Anticompetitive Provisions
                         in Licensing Agreements

          101.    Rebuffed by the courts in its attempts to snuff out VantageScore in its infancy, Fair

  Isaac elected to take another approach. When its existing licensing agreements with each Credit

  Bureau expired in 2013 or 2015, Fair Isaac reentered into agreements with each Credit Bureaus

  containing new and anticompetitive provisions that aimed to crush the only real competition,

  (VantageScore), maintain Fair Isaac's monopoly, and extract monopoly rents from B2B

  Purchasers.

          102.    Fair Isaac and the Credit Bureaus entered into new or renewed agreements that

  contained new provisions designed to restrict the competitive reach of VantageScore. In their

  memorandum of law in support of their motion to dismiss, the Credit Bureaus characterized their

  licensing agreements with Fair Isaac as "vertical distribution agreements."66

          103.    The anticompetitive contract provisions targeted the only significant competing

  credit score — VantageScore. And they specifically restricted the Credit Bureaus' ability to market

  VantageScore to B2B Purchasers.

          104.    On information and belief, the Credit Bureaus agreed to those provisions in return

  for Fair Isaac's acquiescence to a clause that protected them from price competition (and




  65      See Press Release, Fair Isaac, FICO Statement Regarding Antitrust Investigation (Mar. 15,
  2020),      https://fico.gcs-web.com/news-releases/news-release-details/fico-statement-regarding-
  antitrust-investigation.
  66      See The Credit Bureaus' Motion to Dismiss Plaintiffs' Class Action Complaints, Dkt. 135,
  In re FICO Antitrust Litig., No.1:20=cv-02114, at 2 (Jan. 18, 2022).

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  potentially in exchange for other benefits as well). The benefit of the quidpro quo for the Credit

  Bureaus was that they were able to charge consumers, i.e., B2B Purchasers, supracompetitive

  prices for credit scores.

          105.    The Credit Bureaus and Fair Isaac entered into these anticompetitive licensing

  agreements after what Fair Isaac considered a "rough year." In its second quarter of 2013 earnings

  call, Fair Isaac's Chief Financial Officer Michael Joseph Pung admitted:

          [W]e've been experiencing a long period of time, as you know, where our Scores
          business, and the volumes underneath our Scores business on the origination side,
          have been going sideways, and we are starting to see some improvement on that
          end. It just so happens we had a tough comparable period for our B2B Scores
          business in that last yeaF.67

          106.    The agreements were consummated at a critical time. In 2011 through the first part

  of 2013, developments occurred that should have furthered VantageScore's ability to compete with

  FICO Scores.      In 2011, VantageScore Solutions formed a partnership with the Consumer

  Federation of America, "a nonprofit association of nearly 300 consumer groups founded in 1968

  to advance the consumer interest through research, advocacy, and education"; that alliance led to

  the "use of annual consumer surveys to gauge awareness of credit scoring related issues."68 In

  October 2012, "the Federal Deposit Insurance Corporation ["FDIC"] revised its rules for assessing

  default risk on loans issued by banks with deposits in excess of $10 billion. Instead of evaluating

  loans on a particular credit score, the revision calls for examining the underlying probability of

  default [] associated with those loans at the time of origination."69 In March 2013, VantageScore




  67       Q2 2013 FICO Earnings Conference Call — Final, SEEKING ALPHA (April 24, 2013),
  https://seekingalpha.com/article/1368671-fair-isaac-management-discusses-q2-2013-results-
  earnings-call-transcript (emphasis added).
  68      VantageScore Solutions, 10 Years, 10 Milestones, supra n.56.
  69      Id.


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  Solutions debuted a new scoring model, VantageScore 3.0, which "built on the strengths of its

  predecessors and drew extensive news coverage for its ability to score 98 percent of adult

  consumers in the U.S. (including 30-35 million who cannot get scores from conventional credit-

  scoring models [i.e., FICO]); its disregard of paid collections (including paid medical debt); and

  its simplified reason codes."70 And, in July 2013, VantageScore Solutions published a white paper

  explaining how VantageScore could be aligned with the FDIC's new rules for evaluating

  probability of default.7l

          107.    Fair Isaac's response to these developments — which signaled the possibility of

  increased competition between FICO Scores and VantageScore — was to agree on anticompetitive

  contract terms with the Credit Bureaus. The necessary consequence of the Credit Bureaus' and

  Fair Isaac's contracts was the stifling of competition in the B2B Credit Score Market.

          108.    Specifically, in May 2013, Fair Isaac and Experian entered into a contract

  containing anticompetitive terms (i.e., the No Equivalent Products and Dynamic Royalty Schedule

  provisions, among others, as explained infra). In October 2013, Fair Isaac and Equifax entered

  into a contract containing anticompetitive terms (i.e., the No Equivalent Products and Dynamic

  Royalty Schedule provisions, among others, as explained infra).         And in February 2015,

  TransUnion and Fair Isaac entered into an Analytic and Data License Agreement ("ADLA")

  containing anticompetitive terms (i. e., the No Equivalent Products and Dynamic Royalty Schedule

  provisions, among others, as explained infra).72


  70      Id.
  71     VantageScore Solutions, FDIC New Definition of High Risk Consiimer Loan Securities
  (July 2013), https://paperzz.com/doc/8033743/fdic-new-defmition-of-high-risk-consumer-loan-
  and-securi (last visited Oct. 27, 2023).
  72     Fair Isaac and the Credit Bureaus executed parallel anticompetitive contracts at the first
  available opportunity. TransUnion's original agreement with Fair Isaac did not expire until 2015.


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           109.   Mr. Lansing, Fair Isaac's CEO, confirmed that the "exclusive deal[s]" Fair Isaac

  and the Credit Bureaus entered into essentially sidelined VantageScore, which never gained "a lot

  of traction in the banking space," and that, even though VantageScore was a joint venture of the

  Credit Bureaus, working together with FICO has been "a good thing for both of us [i.e., both the

  Credit Bureaus and Fair Isaac]."73

           110.   According to Mr. Lansing, instead of being "at war" with one another, the Credit

  Bureaus decided instead "to be partnered" with Fair Isaac. Explaining the relationship with

  Experian, for example, Mr. Lansing stated that Experian and Fair Isaac "have a rev share

  arrangement with them that works for them and works for us really good." Similarly, with respect

  to its arrangement with Equifax, Mr. Lansing stated "it is a rev share model. We're in it together."

  Given Fair Isaac's own admission that all three Credit Bureaus have substantially similar contract

  terms, it follows that TransUnion would also have a similar revenue sharing arrangement with Fair

  Isaac.

                         2.      The Anticompetitive Terms of the Contracts Fair Isaac and the
                                 Credit Bureaus Entered into

           111.   The terms of the contracts Fair Isaac and the Credit Bureaus entered into were not

  publicly revealed until February 2018. Many of the contract terms remain confidential to this day.

           112.   The discussion that follows is based on TransUnion's description of its ADLA in

  its counterclaims against Fair Isaac. The ADLA was filed under seal in the TransUnion action and

  is unavailable to Plaintiffs beyond what TransUnion has quoted in its counterclaim.




  As a result, there is a temporal gap between TransUnion's agreement with Fair Isaac and Fair
  Isaac's agreements with the other Credit Bureaus.
  73      Remarks by William J. Lansing, President, CEO & Director, Fair Isaac, Fair Isaac Corp
  at Barclays Global Financial Services Conference (Sept. 25, 2015).


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         113.    While the counterclaims quote only the ADLA, TransUnion pled that "Fair Isaac

  represented to TransUnion that TransUnion's two major competitors, Experian and Equifax, had

  already agreed to materially similar new contracts with Fair Isaac."74

         114.    Fair Isaac itself admitted that Equifax, Experian, and TransUnion agreed to the

  same or similar terms. In FICO's Answer to Counterclaims in the TransUnion litigation, FICO

  "admit[ed] that prior to January 2015, it entered into separate contracts with Experian and Equifax

  that contained certain.terms that were similar to certain terms in the ADLA."75

         115.    In its April 2018 Answer to the Counterclaims, Fair Isaac "admit[ed] that Eqatifax

  and Experian have agreed to `No Eqiiivalent Products' provisions with terms similar to the terms

  agreed to by TransUnion in the ADLA."76 Fair Isaac also "admit[ted] that Eqttifax and Experian

  have agreed to `Dynanzic Royalty Schedule' ternis that are similar to the terms agreed to by

  TransUnion in the ADLA, and that Equifax and Experian are subject to royalty schedules that

  contain a "Pre-Qualification" royalty category similar to that to which TransUnion is subject in its

  royalty schedule."77 Finally, Fair Isaac "admit[ed] that Equifax and Experian have agreed to

  `Level Playing Field' terms similar to the term agreed to by TransUnion in the ADLA."78

         116.    Fair Isaac has made similar admissions about the contract terms in its Answer in

  this case. Fair Isaac admits that its agreement with TransUnion contains the "No Equivalent




  74      TransUnion Counterclaims, ¶43.
  75    Fair Isaac's Redacted Answer to TransUnion Counterclaims, Dkt. 62, Fair Isaac Corp. v.
  TransUnion LLC, No 1:17-cv-08318 at 21 (N.D. Ill. Apr. 10, 2018) ("FICO Answer to
  Counterclaims").
  76      FICO Answer to Counterclaims at 24.
  TI
         Id. at 27.
  78      Id. at 29-30.


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  Products" provision.79 It admits that the "Dynamic Royalty Schedule" and "Level Playing Field"

  terms appear in its agreements with all three Credit Bureaus, and that the latter requires it to offer

  the most favorable royalty pricing as to all three Credit Bureaus.80 And it admits that the "Pre-

  Qualification" royalty category has applied since 2015. 81        Thus, for the foregoing reasons,

  provisions substantially similar to the anticompetitive "No Equivalent Products" and "Dynamic

  Royalty Schedule" provisions that exist in the ADLA between TransUnion and Fair Isaac also

  exist in the agreement between Experian and Fair Isaac. Likewise, provisions substantially similar

  to the anticompetitive No Equivalent Products and Dynamic Royalty Schedule provisions that

  exist in the ADLA between TransUnion and Fair Isaac also exist in the agreement between Equifax

  and Fair Isaac. The allegations that follow therefore apply to all three Credit Bureau Defendants.

          117.   The restraints imposed in the contracts consist primarily of: (a) "No Equivalent

  Products" provisions; and (b) "Dynamic Royalty Schedule" provisions. A third set of provisions,

  the "Level Playing Field" provisions, compensated the Credit Bureaus for their agreement not to

  promote VantageScore under the former provisions, at the expense of B2B Purchasers.

          118.    In an order dated September 28, 2023, this Court held that "the No Equivalent

  [Products] Provision and the Dynamic Royalty Schedule clauses together qualify as sufficient

  allegations of anticompetitive effects" to allow the Sherman Act §2 claim against Fair Isaac to

  proceed to discovery. Those provisions are described in tum below.




  79     Fair Isaac's Answer and Affirmative Defenses to Direct Purchaser Plaintiffs' Consolidated
  Class Action Complaint, Dkt. 182, No. 1:20-cv-02114 ("FICO Answer to DPP Complaint"), (Oct.
  23, 2023) ¶109.
  80      FICO Answer to DPP Complaint, ¶¶116, 124.
  81      Id., ¶118.


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                               i.       The "No Equivalent Products" Provisions

         119. "Section 12.5 of the ADLA, the `No Equivalent Products' provision, provides that

  TransUnion may not 'intemally develop' a credit scoring system that is `aligned to the odds-to-

  score relationship of any Fair Isaac Analytic' or uses more than a limited number of reason codes

  that `match' reason codes used by any Fair Isaac Analytic. Section 12.5 of the TransUnion ADLA

  further prohibits TransUnion from distributing `any competing analytic' (i.e., credit scoring

  system) that is aligned with FICO Scores or uses too many of the same reason codes, and it

  expressly names VantageScore Solutions LLC as a developer of such a scoring system that may

  not be distributed if VantageScore were to offer an `Equivalent Product."82

         120.    The "No Equivalent Products" clause thus protects and sustains Fair Isaac's

  monopoly and unreasonably restrains trade.

         121.    In practice, for example, if a competing credit score product used a 700 score to

  indicate a less-than five percent risk of credit delinquency, and if a 700 FICO Score also indicated

  the same risk of delinquency, the "No Equivalent Products" clause would prevent a Credit Bureau

  from distributing the competing product. Similarly, if a competing credit score product used

  reason codes that match 20% or more of the reason codes used by FICO scoring systems, the "No

  Equivalent Products" clause would prohibit a Credit Bureau from distributing the product.

         122.    The "No Equivalent Products" clause undercuts VantageScore because it

  effectively prevents a Credit Bureau from offering an altemative to FICO Scores that would: (a) be

  compatible with many B2B Purchasers' systems, models, and processes; and (b) allow B2B

  Purchasers to have a legitimate choice between using FICO Scores and an altemative score. As

  noted above, many B2B Purchasers have spent substantial effort and resources to develop systems,



  82     Id., ¶109.


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 models, and processes that are designed for FICO Scores. B2B Purchasers' systems, models, and

  processes are tailored to FICO's odds-to-score relationship (i.e., each given score has a given ratio

  of non-defaulting consumers to defaulting consumers) and reason codes (the particular reasons

  cited for increased risk of default). For example, a bank's software might be designed to accept

  one or more FICO Scores and reason codes, combine this information with data it collects

  internally, and automatically produce a lending decision.

         123.    The odds-to-score relationship is an arbitrary mapping between risk and score and

  does not reflect protectable intellectual property. Similarly, the reason codes that may not be used

  by an "Equivalent Product" were not invented by Fair Isaac, but rather reflect well-established

  industry best practices for lending.

          124.   The "No Equivalent Products" clause is an effective restraint of trade because when

  one Credit Bureau stops using VantageScore, it becomes even less attractive to the other Credit

  Bureaus. B2B Purchasers will not want to use a credit scoring system unless all of the main Credit

  Bureaus use it. This phenomenon is often referred to as a "network effect." By imposing a "No

  Equivalent Products" term, Fair Isaac sought to block the Credit Bureaus from enabling B2B

  Purchasers to easily switch from FICO Scores to VantageScore without incurring the cost of

  redesigning their lending programs and systems and from using VantageScore alongside or

  interchangeably with FICO Scores.

          125.    B.y entering contracts containing anticompetitive "No Equivalent Products"

  provisions, the Credit Bureaus agreed to terms that had the effect of eliminating or drastically

  reducing the competitive threat posed by VantageScore, thus unreasonably restraining trade.

                               ii.       The "Dynamic Royalty Schedule" Provisions

          126.    The contracts between Fair Isaac and Equifax, Experian, and TransUnion,

  respectively, include a similar or identical "Dynamic Royalty Schedule" clause that allows Fair

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  Isaac to replace its existing royalty with a new one and thereby gives Fair Isaac the ability to

  control the prices of FICO Scores. The TransUnion ADLA Dynamic Royalty Schedule Provision

  (§ 9.2) provides that " once every twelve (12) months during the Term, Fair Isaac shall have the

  right to replace the Royalty Schedule by providing a new royalty schedule to TransUnion in

  writing. ' «83

           127.    According to TransUnion, "Fair Isaac has abused and exploited this provision in

  2015, 2016, and 2017 by not only raising prices, but also introducing entirely new and non-

  negotiated contract terms, royalty categories, and definitions."84

           128.    In 2015, Fair Isaac unilaterally imposed (in a footnote to its royalty schedule) a new

  "Pre-Qualification" royalty category, which Fair Isaac defines to "mean an End User's

  qualification of a potential consumer customer for an End User's own internal lending offering."

  This royalty category distinguishes between: "(1) lenders that use FICO Scores for 'Pre-

  Qualification' without providing any credit score or credit data to consumers; and (2) lenders that

  use FICO Scores for `Pre-Qualification' while also providing credit score or credit data to

  consumers `in connection' with `Pre-Qualification." Certain B2B Purchasers offer consumers

  opportunities to apply to qualify for credit opportunities (e.g., a credit card or loan) and, at the

  same time, receive their personal credit score. "The offer of a free credit score to a consumer can

  entice consumers to apply for credit opportunities."85

           129. "The royalty price associated with a FICO score used for `Pre-Qualification'

  depends on whether other credit score or credit data are provided to a consumer. If a lender




  83       TransUnion Counterclaims, ¶ 50.
  84       Id.
  85       Id., ¶ 51.


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  purchases a FICO Score for use in `Pre-Qualification' and does not provide any credit score or

  credit data to the consumer `in connection' with the `Pre-Qualification,' there is one per-score

  royalty rate. If the lender purchases a FICO score for use in `Pre-Qualification' and provides a

  VantageScore (or any other credit score) to the consumer `in connection' with the `Pre-

  Qualification," Fair Isaac charges the lender a seven times penalty rate for that FICO Score. That

  steep penalty is meant to dissuade lenders from providing competing credit scores, such as a

  VantageScore.86

         130.     "The penalty rate can be avoided in one of two ways, both of which involve

  paarchasing exclusively FICO Scores. First, the [B2B Purchaser] could purchase a FICO score

  for use in `Pre-Qualification' and provide no credit score or credit data to the consumer. Second,

  the [B2B Purchaser] could purchase a bundled FICO product from Fair Isaac. Fair Isaac offers

  bundled products to lenders that combine the use of scores by lenders (in the B2B market) with

  the provision of scores to consumers (in the B2C market)."s7

         131.     TransUnion accepted, complied with, and made royalty payments according to the

  new "Pre-Qualification" •royalty category. On information and belief, so have Experian and

  Equifax. g8

          132.    The Dynamic Royalty Schedule provisions in the contracts between Fair Isaac and

  Equifax, Experian, and TransUnion, respectively, unreasonably restrain trade. Indeed, there is no

  legitimate business justification for the penalty rate agreed upon by Fair Isaac and each of the

  Credit Bureaus and that is charged when the B2B Purchaser also purchases other credit scores



  86      Id., ¶ 52.
  87      Id., ¶ 53 (emphasis added).
  88      See id., ¶55.


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  (e.g., a VantageScore). The purpose of the "Pre-Qualification" royalty category is to drive all B2B

  Purchasers engaging in "Pre-Qualification" to purchase exclusively FICO Scores and make it cost-

  prohibitive for B2B Purchasers engaging in "Pre-Qualification" to purchase a competing credit

  score for disclosure to consumers.

           133.    According to TransUnion, "[t]his scheme has been effective, and no B2B

  Purchasers from TransUnion have opted to pay the penalty rate."89 The purpose and effect of this

  clause was to prevent VantageScore from obtaining market share, thereby unreasonably restraining

  trade.

                              iii.      The "Level Playing Field" Provisions

           134.    In exchange for agreeing to the "No Equivalent Products" and "Dynamic Royalty"

  provisions in their agreements with Fair Isaac — which effectively prevent the Credit Bureaus from

  marketing VantageScore to B2B Purchasers — Fair Isaac committed not to offer any Credit Bureau

  a more favorable price for FICO Scores than any other Credit Bureau. This commitment was

  embodied in the Level Playing Field clauses of the agreements with the Credit Bureaus. Those

  provisions forbid Fair Isaac to charge any Credit Bureau a price that is lower than the price it

  charges any other Credit Bureau.90

           135.    The Level Playing Field provision of the TransUnion ADLA is contained in §9.16.

  Fair Isaac's contracts with TransUnion, Equifax, and Experian include similar or identical "Level




  89       Id., ¶ 54.
  90       See id., ¶ 59.


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  Playing Field" and "Dynamic Royalty Schedule" provisions.91 The Credit Bureaus agreed to, and

  have complied with, these contract provisions.9z

         136.    The Credit Bureaus advanced Fair Isaac's interests by agreeing to the No

  Equivalent Products and Dynamic Royalty Schedule clauses, which sabotaged the Credit Bureaus'

  own competing VantageScore and gave FICO flexibility to raise prices. The Level Playing Field

  clause, in return, protected each Credit Bureau from the risk that Fair Isaac would selectively offer

  discounts that could expose it to price competition.

         137.    The Level Playing Field provision also functions as a cost-information-sharing

  mechanism among the Credit Bureaus. The Federal Trade Commission ("FTC") has determined

  that "when competing companies," like the Credit Bureaus, "exchang[e] price or other

  commercially sensitive information, that may facilitate collusion or otherwise harm competition

  and consumers in violation of the antitrust laws."93 Indeed, "the sharing of information relating to

  price, cost, output, customers, or strategic planning is more likely to be of competitive concern

  than the sharing of less competitively sensitive information.94

          138.   By ensuring that no one Credit Bureau receives a more favorable price than the

  other, the Level Playing Field provision essentially confirms to each Credit Bureau the price the

  other competing Credit Bureaus are paying for FICO's algorithm: Information about what their

  competitors are paying for this must-have product is valuable to the Credit Bureaus who can then



  91      FICO Answer to DPP Complaint, ¶116 (Dynamic Royalty Schedule), ¶124 (Level Playing
  Field).
  92      Id.
  93     Michael Bloom, Information exchange: be reasonable, FED. TRADE COMM'N (Dec. 11,
  2014), https://www.ftc.gov/enforcement/competition-matters/2014/12/information-exchange-be-
  reasonable (emphasis added).
  94     Id.


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  use this cost information to reduce price competition for the services they provide. As Fair Isaac

  has pointed out, previously, "a Credit Bureau could not be sure what its competitors' costs were

  and, consequently, to what extent its competitors could cut the price of their Credit Scores. This

  uncertainty could be used by Lenders to induce price competition among the Credit Bureaus."95

  Fair Isaac claimed in its earlier lawsuit that the Credit Bureaus sought to use VantageScore so that

  "each Credit Bureau will know that it is paying exactly the same cost as its competitors for its

  scoring algorithm, and Lenders will no longer be able to use this uncertainty to play one Credit

  Bureau against the others."96 In a rich irony, the Level Playing Field provision does exactly what

  Fair Isaac accused the Credit Bureaus of trying to accomplish through VantageScore: prevent their

  customers from playing one Credit Bureau against the others, thereby reducing price competition

  for credit reports. The contracts between Fair Isaac and Equifax, Experian, and TransUnion,

  respectively — which all contain Level Playing Field provisions — thus unreasonably restrain trade.

          139.   The provision is demonstrably important to the Credit Bureaus. As was revealed

  through Fair Isaac's suit against TransUnion, in the negotiations over its Canadian contract,

  TransUnion insisted that Fair Isaac include a "Level Playing Field" clause. That clause would

  have given TransUnion Canada a right to any discounts or special pricing terms that Fair Isaac

  might offer other Credit Bureaus for the license or distribution of FICO scores in Canada. The

  Level Playing Field clause was so valuable to TransUnion of Canada that it continued to insist on

  one until Fair Isaac threatened to withhold its Canadian business entirely.

          140.   Fair Isaac and the Credit Bureaus have used the "Level Playing Field" and

  "Dynamic Royalty Schedule" provisions to extract monopoly prices from B2B Purchasers. The



  9s     Third Amended Complaint, Dkt. 436, Fair Isaac Corp. v. Experian Info Sols., No. 06-cv-
  4112 (D. Minn. Nov. 10, 2008), ¶138.
  96     Id.

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  Level Playing Field clause, like a most-favored nation clause, reduces Fair Isaac's incentive to

  give any discounts to the Credit Bureaus given that, by the terms of that provision, the same

  discount would need to be extended to all Credit Bureaus. On the other hand, by the terms of the

  provision, if Fair Isaac were to give any one Credit Bureau a discount, it would have to offer the

  same discount to the other Credit Bureaus. Therefore, the provision ensures that no Credit Bureau

  could obtain a competitive price advantage, i.e., more favorable pricing. The provision thus

  substantially weakens the incentives the Credit Bureaus have to negotiate a lower price with Fair

  Isaac. As a result, Fair Isaac can freely increase prices with little resistance from the Credit

  Bureaus. And it has done so — Fair Isaac admitted in its Answer that "over the last several years"

  it has "increased the base (i. e., undiscounted) royalty prices that it charges to the Credit Bureaus."97

  That price increase is ultimately borne by B2B Purchasers who pay a higher price for FICO Scores

  than they would have but for the Credit Bureaus' agreements to anticompetitive contract

  provisions.

          141.    After entering into the contracts containing anticompetitive terms with the Credit

  Bureaus, Fair Isaac initiated multiple rounds of price increases. In 2019, Fair Isaac reported: "On

  the B2B side, reventtes were ttp 36% over the previous year, due primarily to the 2018 price

  adjttstments."98 Again, in 2021, Fair Isaac reported that:

         [R]evenues were $169 million, ttp 31% from the same period last year. B2B was
         up 25% over the same period last year, driven by continued high volumes in
         mortgage originations as well as some unit price increases across our different score




  97      FICO Answer to DPP Complaint, ¶142.
  98      Motley Fool Transcription, Fair Isaac Corporation (FICO) Q1 2019 Earnings Conference
  Call Transcript, MOTLEY FooL (Updated Apr. 24, 2019), https://www.fool.comlearnings/call-
  transcripts/2019/01 /30/fair-isaac-corporation-fico-q1-2019-earnings-confe.aspx.
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         categories. In the B2B business, we also had a royalty true-up and an annual license
         deal this, quarter that had a small positive impact on overall revenues.99

         142. As TransUnion has explained, taken together with the Dynamic Royalty Schedule

  provisions, the Level Playing Field provisions "enable Fair Isaac to unilaterally increase the

  royalty prices it charges [the Credit Bureaus] for FICO scores."100

         143. Notably, TransUnion has admitted that, to the extent the Level Playing Field

  provision resulted in higher rates, those costs were ultimately also borne by "banks [and] mortgage

  lenders" (i.e., B2B Purchasers). lol Thus, through their contracts containing anticompetitive terms,

  the Credit Bureaus and Fair Isaac extracted supracompetitive profits from consumers (i. e., B2B

  Purchasers).                           -

         144. In discussing the impact of "the FICO price increase" on Experian, Experian Vice

  President and Chief Financial Officer, John W. Gamble confirmed during a 2019 earnings call that

  Experian "pass[es] it through to [its] customers."1oz

         145. Equifax's Chief Executive Officer, Mark W. Begor confirmed the same: When

  FICO "put through a price increase ... Equifax[,] TU and Experian deliver[ed] that price increase
                                                                                                     lo3
  to the marketplace, when they increase the price of their credit score. So that rolled through."




  99      Motley Fool Transcribers, Fair Isaac Corp (FICO) Q2 2021 Earnings Call Transcript,
  MOTLEY FOOL (May 6, 2021), https://www.fool.com/earnings/call-transcripts/2021/05/06/fair-
  isaac-corp-fico-q2-2021-earnings-call-transcr/.
  100     TransUnion Counterclaims, ¶59.
  lol     Id., ¶60.
  102
          John W. Gamble, VP & CFO, Remarks at Q1 2019 Equifax Inc. Earnings Call (May 10,
  2019) (transcript available in Westlaw).
  103     Mark W.. Begor, CEO, Remarks at Q2 2023 Equifax Inc. Earnings Ca11 (July 20, 2023)
  (transcript available in Westlaw).


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         D.      Fair Isaac's Additional Efforts to Deter B2B Purchasers from Using
                 VantageScore

         146.    Having agreed with the Credit Bureaus to impose restrictions on VantageScore's

  ability to compete against FICO, Fair Isaac went even further and waged an aggressive public

  relations and advertising campaign to spread false statements, convey false impressions, and

  mislead B2B Purchasers about the qualities and characteristics of FICO Scores and VantageScore.

  In advertisements, letters, and blog posts, Fair Isaac disparaged VantageScore Solutions and

  VantageScore, falsely claiming that VantageScore is an unreliable measure of creditworthiness,

  and misrepresenting the information considered by VantageScore Solutions' credit scoring system.

         147.    On December 5, 2017, for example, Mr. Lansing criticized banks for using

  VantageScore, saying that credit score was "fako"; "looks like it, smells like it, feels like it — it's

  being presented as some kind of an indication of your health, but if you look at the fine print, you'll

  discover that it's not a FICO score."1o4

          148.   Media sources, financial blogs, and consumers have absorbed Fair Isaac's message

  that VantageScore is a "Fako" score merely because it is not a FICO Score. For example,

  thebalance.com — a website devoted to personal finance issues — posted at least as far back as

  August 2018: "If you purchased your Credit Score anywhere but myFICO.com, then it's a Fako

  score." The post remains on the site to this day. lo5

          149.    Similarly, on December 12, 2017, "Fair Isaac took out a full-page advertisement in

  The Wall Street Joicrnal addressed to `Lenders, Policymakers and Consumer Advocates' that

  disparaged VantageScore Solutions and VantageScore without identifying it by name. The


  104     Alistair Gray, Credit score row as FICO chief hits out at banks over 'Fako' rivals, FIN.
  TIMES (Dec. 5, 2017), https://www.ft.com/content/2222880c-cfa5-11e7-9dbb-291a884dd8c6.
  105     Latoya Irby, THE BALANCE, FICO & FAKO Credit Scores (Oct. 30, 2021),
  https://www.thebalance.com/fico-and-fako-credit-scores-960497.
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  advertisement contrasted Fair Isaac, which `is not owned by the credit bureaus' and whose FICO

  scores have been used `by lenders and securitization investors for decades,' with an alternative

  credit score, which is `owned by the credit bureaus,' is less reliable than FICO scores in evaluating

  credit risk, and fails to use `sound practices' or `science-based credit evaluation.' To anyone

  familiar with the market for credit scores, the advertisement unambiguously conveys the false

  message that VantageScore is `Weakening scoring standards, [and] harm[ing] consumers, and the

  lending system," particularly in the B2B Credit Score Market. lo6

         150.       "The Wall Street Journal advertisement directed readers to `[1]earn more at

  FICO.com/independent,' a Fair Isaac-owned website that connects visitors to articles and blog

  posts that disparage VantageScore by name."107 One such blog post, written in 2016 by Joanne

  Gaskin, the Vice-President of Scores and Analytics at Fair Isaac, asserted: "Despite claims by

  VantageScore, weakening the minimum scoring criteria will not empower millions of low-risk

  mortgage credit seekers."loa

          151.      Fair Isaac's disparagement and false or misleading statements are not limited to the

  "FICO.com/independent" page. Fair Isaac's own blog (FICO.com/blogs) also includes numerous

  disparaging and false or misleading statements about VantageScore Solutions, VantageScore, and

  related topics.

          152.      Fair Isaac executives have written multiple posts disparaging VantageScore

  Solutions and VantageScore.         Fair Isaac's Vice-President of FICO Scores and Predictive

  Analytics, Ethan Dornhelm, wrote: "We wanted to find out if it's possible to calculate a



  106     TransUnion Counterclaims, ¶66 (alterations in original).
  107     Id., ¶67.
  108
          Id.


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  meaningful, reliable score using credit bureau data alone. Spoiler alert: it's not. Research results

  consistently showed that scoring models relying solely on sparse or old credit data were weak and

  did a poor job forecasting future performance." lo9 Ms. Gaskin echoed those findings. l10 Those

  statements are false and misleading because studies have shown that VantageScore is strongly

  predictive. l l l

           153.       Another blog post written by Ms. Gaskin claims that whereas "FICO Score 9

  differentiates medical from non-medical collections," "VantageScore does not." 112                "This

  statement conveys the false message that VantageScore does not differentiate medical from non-

  medical collections. In fact, VantageScore 3.0 was the first credit scoring system to address

  medical debt. VantageScore 4.0, the most recent version of VantageScore, distinguishes medical

  collection accounts from non-medical collection accounts and penalizes medical collections less

  than non-medical ones."113

            154.      Similarly, Fair Isaac fought hard against the efforts to create a process that would

  allow altemative credit scoring models to be validated and approved by Fannie Mae and Freddie

  Mac when they purchase mortgages. Such a rule would clearly benefit VantageScore, which could



  109   Ethan Dornhelm, FICO BLOG, Why Bureau Data Alone Can't Score More Consumers
  (Nov.   16,   2015),   https://www.fico.com/blogs/why-bureau-data-alone-cant-score-more-
  consumers.
  l Io
         Joanne Gaskin, FICO BLOG, FICO Fact: Does FICO's Minimum Scoring Criteria Limit
  Constimers' Access to Credit? (Oct. 12, 2021), https://www.fico.com/blogs/fico-fact-does-ficos-
  minimum-scoring-criteria-limit-consumers-access-credit ("Our research has consistently found
  that models that rely solely on sparse and/or outdated credit information are less reliable at
  forecasting future performance.").
  111
           See VantageScore Report, supra n.50 at 2, 4-6.
  112
         Joanne Gaskin, FICO BLOG, Truth Squad: Is FICO Score 700 the Same as VantageScore
  700? (Feb. 6, 2017), https://www.fico.com/blogs/truth-squad-fico-score-700-same-vantagescore
  -700.
  113    TransUnion Counterclaims, ¶ 71.
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  then attempt to break Fair Isaac's 100% monopoly in this sector. Public sentiment favored this

  move.114 Fair Isaac did not. Indeed, it deployed Ms. Gaskin to give press interviews saying that

  Fair Isaac's alleged monopoly is a"myth."t ts Fair Isaac also hired a research group to present the

  argument that VantageScore's promise of home ownership to millions more Americans was

  deceptive and that the company's ownership by the Credit Bureaus was anticompetitive, an
                                                                       116 The FHFA ultimately
  argument that failed during the trademark litigation discussed above.

  adopted a fmal rule that permitted rival generators of credit scores to apply to serve Fannie Mae

  and Freddie Mac, saying that "FHFA has concluded that allowing all credit score model developers

  to submit applications is more consistent with [the applicable statute], which does not prevent any
                                                                                        117
  credit score model from being considered for potential use in the mortgage market."

         155.    The public statements described in the foregoing paragraphs were transmitted to

  and seen by a substantial number of businesses and consumers nationwide.




  114    See Bloomberg Business News, This Monopoly Is Holding Back the Mortgage Market,
  (Jan. 18, 2018), https://www.bloomberg.com/opinion/articles/2018-01-18/this-credit-score-
  monopoly-is-holding-back-the-mortgage-market; Paul Weinstein, Jr., No Company Should Have
  a Monopoly on Credit Scoring, The Hill (Dec. 7, 2017), https://thehill.com/opinion/
  finance/3 63755-no-company-should-have-a-monopoly-on-credit-scoring.
  115
          FICO: The `Credit Score Monopoly' is a Myth, DS News (Dec. 18, 2015),
  https://dsnews.com/news/ 12-18-2015/fico-the-credit-score-monopoly-is-a-myth.
  116     Quantilytic LLC, Risks and Opportunities in Expanding Mortgage Credit Availability
  Through New Credit Scores, at 22 (Dec. 2017), https://www.progressivepolicy.org/wp-
  contentluploads/2017/12RJpdatedCreditScoring2O17.pdf (research sponsored by Fair Isaac).
  117
          Fed. Hous. Fin. Agency, Validation and Approval of Credit Score Models Final Rtcle, 12
  C.F.R. 1254 at 23 (Aug. 16, 2019), https://www.fhfa.gov/SupervisionRegulation/Rules/Rule
  Documents/8-7-19%20Validation%20Approval%20Credit%20Score%20Models%20Fina1%20
  Rule to%20Fed%20Reg%20for%20Web.pdf.
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  VI.    THE CONTRACTS BETWEEN FAIR ISAAC AND EACH OF THE CREDIT
         BUREAUS CONTAINING ANTICOMPETITIVE TERMS, ALONG WITH FAIR
         ISAAC'S ANTICOMPETITIVE AND EXCLUSIONARY CONDUCT, HARM
         COMPETITION IN THE B2B CREDIT SCORE MARKET

         156.    The anticompetitive terms contained in the contracts between Fair Isaac and each

  of the Credit Bureaus, along with Fair Isaac's campaign of exclusionary conduct to maintain and

  expand its monopoly has harmed and continues to harm participants in the B2B Credit Score

  Market.   Fair Isaac's unlawful conduct, including its agreements with the Credit Bureaus

  containing anticompetitive contract terms, has foreclosed competition in the B2B Credit Score

  Market by limiting the ability of VantageScore to compete with Fair Isaac. The anticompetitive

  and exclusionary conduct unreasonably restrains trade and maintains Fair Isaac's monopoly by,

  among other things, allowing it to charge supracompetitive prices for B2B credit scores to B2B

  Purchasers during the Class Period.

         157:    Fair Isaac's Scores business operates with an incredibly high operating margin of

  86%.118 To maximize its monopoly rent, Fair Isaac has increased its prices for FICO Scores

  significantly in recent years. In 2018, after securing agreements from each of the three Credit

  Bureaus to abide by anticompetitive contract terms, FICO implemented a special pricing increase

  for mortgage customers that was an approximately 75% increase from $0.06/score to

  $0.10/score.119 In the following two years, FICO again rolled out special pricing increases to its

  auto customers and to some credit card customers.120 FICO admitted in its Answer that, "over the

  last several years," it has "increased the base (i.e., undiscounted) royalty prices that it charges to

  the Credit Bureaus."Izl

         158.    Fair Isaac's conduct and the anticompetitive provisions agreed upon in contracts

  between the Credit Bureaus and Fair Isaac, have reduced choice for B2B Purchasers. The

  anticompetitive terms agreed to between Fair Isaac and the Credit Bureaus have frustrated the



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  ability of B2B Purchasers to purchase VantageScore. Fair Isaac's media and advertising campaign

  against VantageScore Solutions and VantageScore has been successful in sowing fear, uncertainty,

  and doubt about VantageScore in the marketplace.

                                  CLASS ACTION ALLEGATIONS

            159. Plaintiffs bring this action on behalf of themselves, and, under Rules 23(a) and (b)

  of the~Federal Rules of Civil Procedure, on behalf of:

            All B2B Purchasers residing in the United States and its territories that directly
            purchased a FICO score from Fair Isaac and/or a Credit Bureau during the period
            from October 1, 2006 through the date by which the anticompetitive effects of
            Defendants' violations of law shall have ceased.

  Excluded from the Class are Defendants, their officers, directors, management, employees,

  subsidiaries, and affiliates. Also excluded are any natural persons who purchased their own credit

  score solely via myFico.com, the Credit Bureaus, or other entities for their personal use. Also

  excluded is the Judge presiding over'this action, his or her law clerks, spouse, and any person

  within the third degree of relationship living in the Judge's household or the spouse of such a

  person.

            160. Members of the Class are so numerous and geographically dispersed that joinder is

  impracticable. Further, members of the Class are readily identifiable from information and records

  in the possession of Defendants.




  118   Jose Karlo Mari Tottoc, Yahoo! Finance, Headwaters Capital: `Fair Isaac Corp (FICO)
  Can Grow Its Free Cash Flow by 15-20% Annually' (Jan. 23, 2021), https://finance.yahoo.com/
  news/headwaters-capital-fair-isaac-corp-202237954.html.
  119
            Id.
  120       Id.
  121       FICO Answer to DPP Complaint, ¶142.


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          161.    Plaintiffs' claims are typical of the claims of the members of the Class. Plaintiffs

  and members of the Class were damaged by the same wrongful conduct of Defendants.

          162.    Plaintiffs will fairly and adequately protect and represent the interests of members

  of the Class. The interests of Plaintiffs are coincident with, and not antagonistic to, those of

  members of the Class.

          163.   Plaintiffs are represented by counsel with experience in the prosecution and

  leadership of class action antitrust and other complex litigation, including class actions in the

  financial services industry.

          164.    Questions of law and fact common to the members of the Class predominate over

  questions that may affect only individual Class members, thereby making damages with respect to

  members of the Class as a whole appropriate. Questions of law and fact common to members of

  the Class include, but are not limited to:

                  a       whether Fair Isaac monopolized, and whether Defendants entered into

  contracts that unreasonably restrain trade, in violation of federal law;

                  b.      whether Fair Isaac monopolized, and whether Defendants entered into

  contracts that unreasonably restrain trade, in violation of certain state antitrust laws;

                  c.      whether Defendants engaged in unfair or deceptive trade practices in

  violation of certain state laws;

                  d.      the duration of the alleged unlawful conduct;

                  e.      injury suffered by Plaintiffs and members of the Class;

                  £       damages suffered by Plaintiffs and members of the Class; and




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                   g      whether Defendants have acted or refused to act on grounds generally

  applicable to members of the Class, thereby making appropriate final injunctive relief or

  corresponding declaratory relief with respect to members of the Class as a whole.

            165.   Class action treatment is a superior method for the fair and efficient adjudication of

  the controversy. Such treatment will permit a large number of similarly situated persons to

  prosecute their common claims in a single forum simultaneously, efficiently, and without the

  unnecessary duplication of evidence, effort, or expense that numerous individual actions would

  require.

            166.   The benefits of proceeding through the class mechanism, including providing

  injured persons or entities a method for obtaining redress on claims that could not practicably be

  pursued individually, substantially outweigh potential difficulties in management of this class

  action.

            167.   Plaintiffs know of no special difficulty to be encountered in the maintenance of this

  action that would preclude its maintenance as a class action.

            168.   Plaintiffs have defined the Class based on currently available information and

  hereby reserve the right to amend the definition of members of the Class, including, without

  limitation, the Class Period.

                          STATUTES OF LIMITATIONS AND TOLLING

    I.      THE STATUTES OF LIMITATIONS DID NOT BEGIN TO RUN BECAUSE
            PLAINTIFFS DID NOT DISCOVER, AND COULD NOT HAVE DISCOVERED,
            DEFENDANTS' UNLAWFUL SCHEME

            169.   Plaintiffs had no knowledge of the agreements, or of facts sufficient to place them

  on inquiry notice of the claims set forth herein, until (at the earliest) February 12, 2018, the date

  that TransUnion filed its Counterclaims against Fair Isaac. Prior to that time, no information in




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  the public domain or available to Plaintiffs suggested that any Defendant was involved in an

  anticompetitive scheme involving the distribution of credit scores.

         170.    Defendants repeatedly and expressly stated throughout the Class Period, including

  on their public websites, that they maintained policies that prohibited the type of anticompetitive

  conduct alleged in this First Amended Consolidated Complaint. For example:

                 a.      Fair Isaac's Code of Business Conduct and Ethics states: "We seek to

  outperform our competition fairly and honestly. We seek competitive advantages through superior

  performance, never through unethical or illegal business practices."22

                 b.      Equifax's Code of Ethics and Business Conduct states: "We believe in free

  and open competition and never engage in improper practices that may limit competition."Iz3

                 c.      Experian's Code of Conduct states: "We will not engage in any form of

  agreement with competitors to fix prices, rig bids, allocate customers and/or restrict supply in the

  market place." "We will comply with all applicable laws, rules, and regulations in every

  jurisdiction in which we operate, including but not limited to ... antitrust/competition."1z4

                 d.      TransUnion's Code of Business Conduct states: "All TransUnion Team

  Members must understand how competition and antitrust laws affect their daily work. You must

  fully and consistently comply with applicable competition and antitrust laws." l2s


  122     Fair Isaac, Code of Business Condaict and Ethics, https://fico.gcs-web.com/static-
  files/ed6519a4-2148-4166-82f2-4636e0713531 (last visited Oct. 27, 2023).
  123     Equifax,     Code    of   Ethics     and    Business      Condtict     (Aug.    2019),
  https://web.archive.org/web/20210326175746/https://assets.
  equifax.com/assets/corp/code_of ethics.pdf..
  124     Experian, Ozcr Code of Conditct (2019), https://www.experian.com/content/dam/
  marketing/na/assets/corp/procurement-documents/experian-code-of-conduct-final-board-
  approved.pdf.
  125     TransUnion, Code of Business Conduct (2017), https://investors.transunion.com/~/media/
  Files/T/Transunion-IR/governance-documents/code-of-business-conduct-150618.pdf.


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         171.    It was reasonable for Plaintiffs and members of the Class to believe that Defendants

  were complying with their own policies.

         172.    Moreover, upon information and belief, Plaintiffs and members of the Class could

  not have discovered the anticompetitive provisions in the licensing agreements between Fair Isaac

  and the Credit Bureaus, such as the TransUnion ADLA, as those agreements are subject to

  confidentiality provisions that have prohibited the credit reporting agencies from disclosing their

  terms to third parties absent written authorization from Fair Isaac. lz6

          173.   Finally, Plaintiffs and members of the Class, as customers of Defendants, had no

  means to discover the existence of Defendants' anticompetitive contract provisions.

          174.   For these reasons, the statutes of limitations applicable to Plaintiffs' claims did not

  begin to run until the date that TransUnion filed its counterclaims against Fair Isaac and have been

  tolled with respect to the claims that Plaintiffs have alleged in this First Amended Consolidated

  Complaint.

   II.    FRAUDULENT CONCEALMIENT TOLLED THE STATUTES OF LIMITATIONS

          175. , In the alternative, the doctrine of fraudulent concealment tolled the statutes of

  limitations on Plaintiffs' claims.       During the Class Period, Defendants wrongfully and

  affirmatively concealed their unlawful conduct. Plaintiffs and members of the Class had no

  knowledge of Defendants' anticompetitive contracts and could not have discovered them through

  the exercise of reasonable diligence until (at the earliest) February 12, 2018, when TransUnion

  filed its Counterclaims against Fair Isaac.



  1'-6    See Dkt. 32, Motion for Leave to File Under Seal, Fair Isaac Corp. v. Trans Union LLC,
  No. 1:17-cv-08318 (N.D. I11. Jan. 22, 2018), ¶2 ("contracts between the Parties ... are subject
  to confidentiality provisions that prohibit TransUnion from disclosing the terms of the contract to
  third parties absent written authorization from Fair Isaac").


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         176.    By their very nature, antitrust violations are inherently self-concealing. Throughout

  the Class Period, Defendants contracted through confidential agreements that did not put Plaintiffs

  or the Class on inquiry notice that there were contracts to restrain trade that raised the prices for

  credit scores above the competitive level. Credit scores are not exempt from antitrust regulation,

  and thus, before TransUnion filed its Counterclaims against Fair Isaac, Plaintiffs reasonably

  considered the market to be competitive. Moreover, Defendants employed deceptive tactics and

  techniques to avoid detection of, and to conceal, their anticompetitive scheme.

         177.     Defendants wrongfully and affirmatively concealed the existence of their

  anticompetitive contracts from Plaintiffs and members of the Class by, among other things:

                  a.      agreeing to confidentiality provisions that have prohibited the Credit

  Bureaus from disclosing the anticompetitive provisions in the licensing agreements between Fair

  Isaac and the Credit Bureaus, such as the TransUnion ADLA;

                  b.      concealing the fact that Fair Isaac and the Credit Bureaus agreed, through

  the "No Equivalent Products" clause, not to intemally develop a competing credit scoring system

  that is aligned with FICO Scores or uses too many of the same reason codes;

                  c.      concealing the fact that the purpose of the "No Equivalent Products" clause

  was to prevent the Credit Bureaus from offering credit scoring products that would allow business-

  consumers a legitimate choice between FICO Scores and VantageScore or another altemative

  scoring.product, thereby sustaining Fair Isaac's dominance in the market;

                  d.      concealing the fact that Fair Isaac and the Credit Bureaus agreed, through

  the "Level Playing Field" clauses, that prices made available to one credit bureau be made

  available to all the others;




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                 e.      concealing the fact that the purpose and effect of the "Level Playing Field"

  and "Dynamic Royalty Schedule" clauses is to disincentivize each Credit Bureau from negotiating

  lower royalty prices for FICO Scores; and

                 f.      as to Fair Isaac, engaging in a false and misleading campaign about

  VantageScore Solutions and VantageScore to misrepresent VantageScore's viability as a

  competitor to FICO Scores.

         178.    As a result of Defendants' affirmative acts, misrepresentations, and nondisclosures

  as alleged herein, any applicable statutes of limitation on claims asserted by Plaintiffs and members

  of the Class have been and are tolled, and Defendants are equitably estopped from raising statutes

  of limitations as a defense.

  III.   DEFENDANTS' ACTIONS CONSTITUTE A CONTINUING VIOLATION

         179.    In addition, and in the altemative, this Complaint alleges a continuing course of

  conduct (including conduct within the limitations periods), and Defendants' unlawful conduct has

  inflicted continuing and accumulating harm within the applicable statute of limitations.

         180.    A claim accrued for Plaintiffs each time FICO Scores were sold to Plaintiffs at

  prices artificially inflated by Defendants' anticompetitive conduct. Each sale of FICO Scores at a

  supracompetitive price constituted another overt act in furtherance of Defendants' agreements to

  restrain trade. Moreover, Defendants' statements and actions described above demonstrate that

  throughout the Class Period they engaged in new overt acts that further served the objectives of

  their anticompetitive agreements to restrain trade.

          181.   Defendants' new overt acts were more than the inertial consequences of

  Defendants' initial violation. Rather, their acts were new and independent acts that perpetuated

  their agreement and kept it current with market conditions, including by renewing agreements, or

  entering into new agreements, with anticompetitive terms. Defendants continuously renewed and


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  refined their agreement to reflect market conditions. With each refinement of their agreement,

  Defendants inflicted new and accumulating injury on Plaintiffs and members of the Class. For

  instance, as alleged above, Fair Isaac exploited the ADLA Royalty Schedule Provision in 2015,

  2016, and 2017 to introduce entirely new and non-negotiated contract terms, royalty categories,

  and definitions that expanded the anticompetitive scheme.

          182.    Therefore, Plaintiffs and members of the Class are entitled to recover damages they

  suffered during any applicable limitations period.

                                       CLAIMS FOR RELIEF

                   CLAIM ONE: UNREASONABLE RESTRAINT OF TRADE
                                  (15 U.S.C. §§1, 3)

          183.    Plaintiffs incorporate by reference and re-allege the preceding allegations as though

  fully set forth herein.

          184.    This Claim One is brought against Defendant Fair Isaac.

          185.    The relevant period of this Claim One is from May 2013 through the date by which

  the anticompetitive effects of Defendants' violations of law shall have ceased.

          186.    The agreements between Fair Isaac and each of the Credit Bureau Defendants

  violate Sections 1 and 3 of the Sherman Act (15 U.S.C §§ 1, 3) because they are agreements

  between Fair Isaac and the Credit Bureaus that restrained trade in the relevant market.

          187.    The relevant product market is the market for the sale of B2B credit scores.

          188.    The relevant geographic market for the sale of B2B credit scores is the United

  States and its territories.

          189.    Fair Isaac has had and continues to have at least a 90% market share in the B2B

  Credit Score Market.




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         190.       Fair Isaac has had and continues to have monopoly power in the B2B Credit Score

  •Market.

         191.       Fair Isaac has had and continues to have the power to control prices and/or exclude

  competition in the B2B Credit Score Market.

         192.       Fair Isaac entered into agreements with each of TransUnion, Experian, and Equifax

  that contained anticompetitive terms whereby each Credit Bureau agreed with Fair Isaac to

  contractual limitations that harmed the ability of the Credit Bureaus to market VantageScore, a

  competing product, to Plaintiffs and members of the Class and forestalled price competition in the

  B2B Credit Score Market.

         193.       The agreements between Fair Isaac and each of the Credit Bureaus had substantial

  anticompetitive effects.       The agreements excluded VantageScore, a would-be significant

  competitor, from a substantial portion of competition in the B2B Credit Score Market.

         194.       The agreements raised the price for credit scores above the competitive level and

  otherwise injured competition without any offsetting procompetitive benefit to consumers.

         195.       The aforesaid exclusionary and anticompetitive acts substantially affect interstate

  commerce and injure competition nationwide and in the territories of the United States.

         196.       Plaintiffs and members of the Class continue to suffer damage, and will continue

  to do so, if Defendants do not cease their anticompetitive conduct.

             197.   Plaintiffs and members of the Class have been injured in their business or property

  by reason of Defendants' violation of Sections 1 and 3 of the Sherman Act, within the meaning of

  Section 4 of the Clayton Act (15 U.S.C. §15).

             198.   Plaintiffs and members of the Class are threatened with future injury to their

  business and property by reason of Defendant Fair Isaac's violation of Sections 1 and 3 of the




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  Sherman Act (15 U.S.C §§1, 3), within the meaning of Section 16 of the Clayton Act (15 U.S.C.

  §26).

                   CLAIM TWO: UNREASONABLE RESTRAINT OF TRADE
                                  (15 U.S.C. §§1, 3)

          199.    Plaintiffs incorporate by reference and re-allege the preceding allegations as though

  fully set forth herein.

          200.    This Claim Two is brought against Defendants Fair Isaac and Experian.

          201.    The relevant period of this Claim Two is from May 2013 through the date by which

  the anticompetitive effects of Defendants' violations of law shall have ceased.

          202.    The anticompetitive agreement between Fair Isaac and Experian violates Sections

  1 and 3 of the Sherman Act (15 U.S.C § 1, 3), because it is a contract that unreasonably restrained

  trade — regardless of whether Experian shared Fair Isaac's anticompetitive purpose, and regardless

  of whether Experian accepted the agreement as a result of Fair Isaac's negotiating leverage.

          203.    The relevant product market is the market for the sale of B2B credit scores.

          204.    The relevant geographic market for the sale of B2B credit scores is the United

  States and its territories.

          205.    Fair Isaac has had and continues to have at least a 90% market share in the B2B

  Credit Score Market.

          206.    Fair Isaac has had and continues to have monopoly power in the B2B Credit Score

  Market.

          207.    Fair Isaac has had and continues to have the power to control prices and/or exclude

  competition in the B2B Credit Score Market.

          208.    Fair Isaac entered into an agreement with Experian that contained anticompetitive

  terms whereby Experian agreed with Fair Isaac to contractual limitations that harmed



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  VantageScore's ability to compete and forestalled price competition in the B2B Credit Score

  Market.

         209.      The agreement between Fair Isaac and Experian had substantial anticompetitive

  effects. The agreement excluded VantageScore, a significant competitor, from a substantial

  portion of competition in the B2B Credit Score Market.

         210.      The agreement between Fair Isaac and Experian raised the price for FICO Scores

  above the competitive level and otherwise injured competition without any offsetting

  procompetitive benefit to consumers.

         211.      The foregoing exclusionary and anticompetitive acts substantially affect interstate

  commerce and injure competition nationwide and in the territories of the United States.

         212.      Plaintiffs and members of the Class continue to suffer damage, and will continue

  to do so, if Fair Isaac and Experian do not cease their anticompetitive conduct.

         213.      Plaintiffs and members of the Class have been injured in their business or property

  by reason of Fair Isaac and Experian's violation of Sections 1 and 3 of the Sherman Act (15 U.S.C.

  §§1, 3), within the meaning of Section 4 of the Clayton Act (15 U.S.C. § 15).

            214.   Plaintiffs and members of the Class are threatened with future injury to their

  business and property by reason of Fair Isaac and •Experian's continuing violation of Sections 1

  and 3 of the Sherman Act (15 U.S.C §§ 1, 3), within the meaning of Section 16 of the Clayton Act

  (15 U.S.C. § 26).

            215.   In addition to competing with Experian in the credit scores market, Fair Isaac

  licenses its algorithm to Experian, which uses the algorithm to calculate credit scores for B2B

  Purchasers. As a result of the exclusionary contract terms, Experian discourages its customers

  from using or purchasing access to competing credit scores. Because Experian has substantial




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  market power, it can harm its customers in this way without taking the risk that they will switch to

  competing Credit Bureaus. In return for contracting with Fair Isaac to restrain trade in the credit

  scores market, Experian benefits from the Level Playing Field clause, which reduces competition

  among the Credit Bureaus in the B2B credit reports market.

                 CLAIM THREE: UNREASONABLE RESTRAINT OF TRADE
                                 (15 U.S.C. §§1, 3)

          216.    Plaintiffs incorporate by reference and re-allege the preceding allegations as though

  fully set forth herein.

          217.    This Claim Three is brought against Defendants Fair Isaac and Equifax.

          218.    The relevant period of this Claim Three is from November 2013 through the date

  by which the anticompetitive effects of Defendants' violations of law shall have ceased.

          219.    The anticompetitive agreement between Fair Isaac and Equifax violates Sections 1

  and 3 of the Sherman Act (15 U.S.C §§ 1, 3), because it unreasonably restrained trade — regardless

  of whether Equifax shared Fair Isaac's anticompetitive purpose, and regardless of whether Equifax

  accepted the agreement as a result of Fair Isaac's negotiating leverage.

          220.    The relevant product market is the market for the sale of B2B credit scores.

          221.    The relevant geographic market for the sale of B2B credit scores is the United

  States and its territories.

          222.    Fair Isaac has had and continues to have at least a 90% market share in the B2B

  Credit Score Market

          223.    Fair Isaac has had and continues to have monopoly power in the B2B Credit Score

  Market.

          224.     Fair Isaac has had and continues to have the power to control prices and/or exclude

  competition in the B2B Credit Score Market.
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         225.      Fair Isaac entered into an agreement with Equifax that contained anticompetitive

 terms whereby Equifax agreed with Fair Isaac to contractual limitations that harmed

 VantageScore's ability to compete and forestalled price competition in the B2B Credit Score

  Market.

         226.      The agreement between Fair Isaac and Equifax had substantial anticompetitive

  effects. The agreement excluded VantageScore, a significant competitor, from a substantial

  portion of competition in the B2B Credit Score Market.

         227.      The agreement between Fair Isaac and Equifax raised the price for FICO Scores

  above the competitive level and otherwise injured competition without any offsetting

  procompetitive benefit to consumers.

         228.      The aforesaid exclusionary and anticompetitive acts substantially affect interstate

  commerce and injure competition nationwide and in the territories of the United States.

         229.      Plaintiffs and members of the Class continue to suffer damage, and will continue

  to do so, if Fair Isaac and Equifax do not cease their anticompetitive conduct.

            230.   Plaintiffs and members of the Class have been injured in their business or property

  by reason of Fair Isaac and Equifax's violation of Sections 1 and 3 of the Sherman Act (15 U.S.C.

  §§1, 3), within the meaning of Section 4 of the Clayton Act (15 U.S.C. §15).

            231.   Plaintiffs and members of the Class are threatened with future injury to their

  business and property by reason of Fair Isaac and Equifax's continuing violation of Sections 1 and

  3 of the Sherman Act (15 U.S.C §§ 1, 3), within the meaning of Section 16 of the Clayton Act (15

  U.S.C. § 26).

            232.   In addition to competing with Equifax in the credit scores market, Fair Isaac

  licenses its algorithm to Equifax, which uses the algorithm to calculate credit scores for B2B




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  Purchasers. As a result of the exclusionary contract terms, Equifax discourages its customers from

  using or purchasing access to competing credit scores. Because Equifax has substantial market

  power, it can harm its customers in this way without taking the risk that they will switch to

  competing Credit Bureaus. In return for contracting with Fair Isaac to restrain trade in the credit

  scores market, Equifax benefits from the Level. Playing Field clause, which reduces competition

  among the Credit Bureaus in the B2B credit reports market.

                  CLAIM FOUR: UNREASONABLE RESTRAINT OF TRADE
                                  (15 U.S.C. §§1, 3)

          233.    Plaintiffs incorporate by reference and re-allege the preceding allegations as though

  fully set forth herein.

          234.    This Claim Four is brought against Defendants Fair Isaac and TransUnion.

          235.    The relevant period of this Claim Four is from February 2015 through the date by

  which the anticompetitive effects of Defendants' violations of law shall have ceased.

          236.    The anticompetitive agreement between Fair Isaac and TransUnion violates

  Sections 1 and 3 of the Sherman Act (15 U.S.C §§ 1, 3), because it unreasonably restrained trade

  — regardless of whether TransUnion shared Fair Isaac's anticompetitive purpose, and regardless of

  whether TransUnion accepted the agreement as a result of Fair Isaac's negotiating leverage.

          237.    The relevant product market is the market for the sale of B2B credit scores.

          238.    The relevant geographic market for the sale of B2B credit scores is the United

  States and its territories.

          239.    Fair Isaac has had and continues to have at least a 90% market share in the B2B

  Credit Score Market.

          240.    Fair Isaac has had and continues to have monopoly power in the B2B Credit Score

  Market.
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         241.     Fair Isaac has had and continues to have the power to control prices and/or exclude

  competition in the B2B Credit Score Market.

         242.     Fair Isaac entered into an agreement with TransUnion that contained

  anticompetitive terms whereby TransUnion agreed with Fair Isaac to contractual limitations that

  harmed VantageScore's ability to compete and forestalled price competition in the B2B Credit

  Score Market.

         243.     The agreement between Fair Isaac and TransUnion had substantial anticompetitive

  effects. The agreement excluded VantageScore, a significant competitor, from a substantial

  portion of competition in the B2B Credit Score Market.

         244.     The agreement between Fair Isaac and TransUnion raised the price for FICO Scores

  above the competitive level and otherwise injured competition without any offsetting

  procompetitive benefit to consumers.

         245.     The aforesaid exclusionary and anticompetitive acts substantially affect interstate

  commerce and injure competition nationwide and in the territories of the United States.

         246.     Plaintiffs and members of the Class continue to suffer damage, and will continue

  to do so, if Fair Isaac and TransUnion do not cease their anticompetitive conduct.

         247.     Plaintiffs and members of the Class have been injured in their business or property

  by reason of Fair Isaac and TransUnion's violation of Sections 1 and 3 of the Sherman Act (15

  U.S.C. §§1, 3), within the meaning of Section 4 of the Clayton Act (15 U.S.C. §15).

         248.     Plaintiffs and members of the Class are threatened with future injury to their

  business and property by reason of Fair Isaac and TransUnion's continuing violation of Sections

  1 and 3 of the Sherman Act (15 U.S.C §§1, 3), within the meaning of Section 16 of the Clayton

  Act (15 U.S.C. §26).




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          249.    In addition to competing with TransUnion in the credit scores market, Fair Isaac

  licenses its algorithm to TransUnion, which uses the algorithm to calculate credit scores for B2B

  Purchasers. As a result of the exclusionary contract terms, TransUnion discourages its customers

  from using or purchasing access to competing credit scores. Because TransUnion has substantial

  market power, it can harm its customers in this way without taking the risk that they will switch to

  competing Credit Bureaus. In return for contracting with Fair Isaac to restrain trade in the credit

  scores market, TransUnion benefits from the Level Playing Field clause, which reduces

  competition among the Credit Bureaus in the B2B credit reports market.

                                CLAIM FIVE: MONOPOLIZATION
                                         (15 U.S.C. §2)

          250.    Plaintiffs incorporate by reference and re-allege the preceding allegations as though

  fully set forth herein.

          251.    This Claim Five is brought against Defendant Fair Isaac.

          252.    The relevant product market is the market for the sale of B2B credit scores.

          253.    The relevant geographic market for the sale of B2B credit scores is the United

  States and its territories.

          254.    Fair Isaac has had and continues to have at least a 90% market share in the B2B

  Credit Score Market.

          255.    Fair Isaac has had and continues to have monopoly power in the B2B Credit Score

  Market.

          256.    Fair Isaac has had and continues to have the power to control prices and/or exclude

  competition in the B2B Credit Score Market.

          257.    Through unlawful, interconnected, and mutually reinforcing anticompetitive and

  exclusionary acts and agreements, Fair Isaac has substantially foreclosed competition in the market



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  for B2B credit scores in the United States in violation of Section 2 of the Sherman Act (15 U.S.C.

  § 2).

          258.    Fair Isaac has demonstrated its ability to control prices and exclude competition by

  raising prices without a corresponding increase in demand to supracompetitive levels.

          259.    Fair Isaac's monopoly is not due to growth or development because of a superior

  product, business acumen, or historic accident.

          260.    Fair Isaac's monopolization has injured and will continue to injure competition in

  this market.

          261.    Fair Isaac's exclusionary and anticompetitive acts substantially affect interstate

  commerce and injure competition nationwide.

          262.    The anticompetitive conduct raised the prices for FICO Scores above the

  competitive level and otherwise injured competition without any offsetting procompetitive benefit

  to consumers.

          263.    Plaintiffs and -members of the Class have been injured in their business or property

  by reason of Fair Isaac's violation of Section 2 of the Sherman Act (15 U.S.C. § 2) within the

  meaning of Section 4 of the Clayton Antitrust Act (15 U.S.C. § 15).

          264.    Plaintiffs and members of the Class are threatened with future injury to their

  business and property by reason of Fair Isaac's continuing violation of Section 2 of the Sherman

  Act (15 U.S.C. § 2) within the meaning of Section 16 of the Clayton Antitrust Act (15 U.S.C. § 26).

                             CLAIM SIX: STATE ANTITRUST LAWS

          265.    Plaintiffs incorporate by reference and re-allege the preceding allegations as though

  fully set forth herein.

          266.    This Claim Six is brought against all Defendants.




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         267.     Defendants' anticompetitive acts described above were knowing, willful, and

  constitute violations or flagrant violations of the following antitrust statutes.

         268.    Arizona: Defendants' anticompetitive conduct has restrained trade in violation of

  Arizona Revised Statutes § 44-1401 et seq. During the Class Period, Defendants' illegal conduct

  substantially affected Arizona commerce. As a direct and proximate result of the unlawful

  conduct, Plaintiffs and members of the Class have been injured in their business and property and

  are threatened with further injury. By reason of the foregoing, Defendants have restrained trade

  in violation of Ariz. Rev. Stat. §§44-1401 et seq. Accordingly, Plaintiffs and members of the

  Class seek all forms of relief available under Ariz. Rev. Stat. §§ 44-1401 et seq.

          269.    California: During the Class Period, Defendants engaged in anticompetitive

  conduct in unreasonable restraint of trade and commerce in violation of California Business &

  Professions Code §§ 16700 et seq. To the extent that Plaintiffs seek recovery for Fair Isaac's acts

  of monopolization under these statutory provisions, while § 16700 does not reach solely unilateral

  conduct by a monopolist, it encompasses agreements between a monopolist and its customers

  where the monopolist effectively coerces the customer to accede to the restraint in order to obtain

  the good or service that is the subject of the agreement. That is what happened here. This conduct

  constitutes a "combination" under the Cartwright Act. As a direct result of Defendants' unlawful

  conduct, Plaintiffs and the Class were overcharged when they purchased their FICO Scores.

  Accordingly, Plaintiffs and members of the Class seek all forms of relief available under §16700.

          270.    Connecticut: Defendants' anticompetitive conduct has restrained trade in violation

  of Connecticut General Statute §§ 35-26 et seq. During the Class Period, Defendants' illegal

   conduct substantially affected Connecticut commerce. As a direct and proximate result of

   Defendants' unlawful conduct, Plaintiffs and members of the Class have been injured in their
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  business and property and are threatened with further injury. By reason of the foregoing,

  Defendants have restrained trade in violation of Connecticut General Statute §§ 35-26 et seq.

  Accordingly, Plaintiffs and members of the Class seek all forms of relief available under

  Connecticut General Statute §§ 3 5-26 et seq.

         271.    District of Columbia: Defendants' anticompetitive conduct has restrained trade in

  violation of District of Columbia Code Annotated §§28-4501 et seq. During the Class Period,

  Defendants' illegal conduct substantially affected District of Columbia commerce. As a direct and

  proximate result of Defendants' unlawful conduct, Plaintiffs and members of the Class have been

  injured in their business and property and are threatened with further injury. By reason of the

  foregoing, Defendants have restrained trade in violation of District of Columbia Code Ann. § 28-

  4501 et seq. Accordingly, Plaintiffs and members of the Class seek all forms of relief available

  under District of Columbia Code Ann. § 28-4501 et seq.

         272.    Illinois: Defendants' anticompetitive conduct has restrained trade in violation of

  the Illinois Antitrust Act (740 ILCS 10/1 et seq.). During the Class Period, Defendants' illegal

  conduct substantially affected Illinois commerce. As a direct and proximate result of Defendants'

  unlawful conduct, Plaintiffs and members of the Class have been injured in their business and

  property and are threatened with further injury. By reason of the foregoing, Defendants have

  restrained trade in violation of the Illinois Antitrust Act (740 ILCS 10/1 et seq.). Accordingly,

  Plaintiffs and members of the Class seek all forms of relief available under the Illinois Antitrust

  Act (740 ILCS 10/1 et seq.).

          273.   Iowa: Defendants' anticompetitive conduct has restrained trade in violation of Iowa

  Code § 553.1 et seq. During the Class Period, Defendants' illegal conduct substantially affected

  Iowa commerce. As a direct and proximate result of Deferidants' unlawful conduct, Plaintiffs and




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  members of the Class have been injured in their business and property and are threatened with

  further injury. By reason of the foregoing, Defendants have restrained trade in violation of Iowa

  Code §§ 553.1 et seq. Accordingly, Plaintiffs and members of the Class seek all forms of relief

  available under Iowa Code §§ 553 et seq.

         274.    Kansas: Defendants' anticompetitive conduct has restrained trade in violation of

  Kansas Statutes Annotated § 50-101 et seq. During the Class Period, Defendants' illegal conduct

  substantially affected Kansas commerce. As a direct and proximate result of Defendants' unlawful

  conduct, Plaintiffs and members of the Class have been injured in their business and property and

  are threatened with further injury. By reason of the foregoing, Defendants have restrained trade

  in violation of Kansas Stat. Ann. §§ 50-101 et seq. Accordingly, Plaintiffs and members of the

  Class seek all forms of relief available under Kansas Stat. Ann. §§ 50-101 et seq.

         275.    Maine: Defendants' anticompetitive conduct has restrained trade in violation of

  Maine Revised Statutes (Maine Rev. Stat. Ann. 10, § 1101 et seq.). During the Class Period,

  Defendants' illegal conduct substantially affected Maine commerce. As a direct and proximate

  result of Defendants' unlawful conduct, Plaintiffs and members of the Class have been injured in

  their business and property and are threatened with further injury. By reason of the foregoing,

  Defendants have restrained trade in violation of Maine Rev. Stat. Ann. 10, § 1101 et seq.

  Accordingly, Plaintiffs and members of the Class seek all relief available under Maine Rev. Stat.

  Ann. 10, §§ 1101 etseq.

         276.    Maryland: Defendants' anticompetitive conduct has restrained trade in violation of

  Maryland Code, Commercial Law, §§11-204 et seq. During the Class Period, Defendants' illegal

  conduct substantially affected Maryland conunerce.         As a direct and proximate result of

  Defendants' unlawful conduct, Plaintiffs and members of the Class have been injured in their




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  business and property and are threatened with further injury. By reason of the foregoing,

  Defendants have restrained trade in violation of Maryland Code, Commercial Law, §§11-204 et

  seq. Accordingly, Plaintiffs and members of the Class seek all relief available under Maryland

  Code, Commercial Law, §§11-204 et seq.

         277.   Michigan: Defendants' anticompetitive conduct has restrained trade in violation of

  Michigan Compiled Laws Annotated §§445.771 et seq. During the Class Period, Defendants'

  illegal conduct substantially affected Michigan commerce. As a direct and proximate result of

  Defendants' unlawful conduct, Plaintiffs and members of the Class have been injured in their

  business and property and are threatened with further injury. By reason of the foregoing,

  Defendants have restrained trade in violation of Michigan Comp. Laws Ann. §§ 445.771 et seq.

  Accordingly, Plaintiffs and members of the Class seek all relief available under Michigan Comp.

  Laws Ann. §§ 445.771 et seq.

         278.   Minnesota: Defendants' anticompetitive conduct has restrained trade in violation

  of Minnesota Annotated Statutes §§ 325D.49 et seq. During the Class Period, Defendants' illegal

  conduct substantially affected Minnesota commerce.        As a direct and proximate result of

  Defendants' unlawful conduct, Plaintiffs and members of the Class have been injured in their

  business and property and are threatened with further injury. By reason of the foregoing,

  Defendants have restrained trade in violation of Minnesota Stat. §§325D.49 et seq. Accordingly,

  Plaintiffs and members of the Class seek all relief available under Minnesota Stat. §§ 325D.49 et

  seq.

         279.   Mississippi: Defendants' anticompetitive conduct has restrained trade in violation

  of Mississippi Code Annotated § 75-21-1 et seq. During the Class Period, Defendants' illegal

  conduct substantially affected Mississippi commerce.      As a direct and proximate result of




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  Defendants' unlawful conduct, Plaintiffs and members of the Class have been injured in their

  business and property and are threatened with further injury. By reason of the foregoing,

  Defendants have restrained trade in violation of Mississippi Code Ann. §§ 75-21-1 et seq.

  Accordingly, Plaintiffs and members of the Class seek all relief available under Mississippi Code

  Ann. §§ 75-21-1 etseq.

         280.    Nebraska: Defendants' anticompetitive conduct has restrained trade in violation of

  Nebraska Revised Statutes §§ 59-801 et seq. During the Class Period, Defendants' illegal conduct

  substantially affected Nebraska commerce. As a direct and proximate result of Defendants'

  unlawful conduct, Plaintiffs and members of the Class have been injured in their business and

  property and are threatened with further injury. By reason of the foregoing, Defendants have

  restrained trade in violation ofNebraska-Revised Statutes §§ 59=801 etseq. Accordingly, Plaintiffs

  and members of the Class seek all relief available under Nebraska Revised Statutes §§ 59-801 et

  seq.

         281.    Nevada: Defendants' anticompetitive conduct has restrained trade in violation of

  Nevada Revised Statutes Annotated §§ 598A.010 et seq. During the Class Period, Defendants'

  illegal conduct substantially affected Nevada commerce. As a direct and proximate result of

  Defendants' unlawful conduct, Plaintiffs and members of the Class have been injured in their

  business and property and are threatened with further injury. By reason of the foregoing,

  Defendants have restrained trade in violation of Nevada Rev. Stat. Ann. §§ 598A et seq.

  Accordingly, Plaintiffs and members of the Class seek all relief available under Nevada Rev. Stat.

  Ann. §§ 598A et seq.

          282.   New Hampshire: Defendants' anticompetitive conduct has restrained trade in

  violation of New Hampshire Revised Statutes §§ 356:1 et seq.           During the Class Period,




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  Defendants' illegal conduct substantially affected New Hampshire commerce. As a direct and

  proximate result of Defendants' unlawful conduct, Plaintiffs and members of the Class have been

  injured in their business and property and are threatened with further injury. By reason of the

  foregoing, Defendants have restrained trade in violation of New Hampshire Revised Statutes

  §§ 3 56:1 et seq. Accordingly, Plaintiffs and members of the Class seek all relief available under

  New Hampshire Revised Statutes § 356:1 et seq.

         283.    New Mexico: Defendants' anticompetitive conduct has restrained trade in violation

  of New Mexico Statutes Annotated § 57-1-1 et seq. During the Class Period, Defendants' illegal

  conduct substantially affected New Mexico commerce. As a direct and proximate result of

  Defendants' unlawful conduct, Plaintiffs and members of the Class have been injured in their

  business and property and are threatened with further injury. By reason of the foregoing,

  Defendants have restrained trade in violation of New Mexico Stat. Ann. §§ 57-1-1 et seq.

  Accordingly, Plaintiffs and members of the Class seek all relief available under New Mexico Stat.

  Ann. §§ 57-1-1 etseq.

         284.    New York: Defendants' anticompetitive conduct has restrained trade in violation

  of New York General Business Laws §§ 340 et seq. During the Class Period, Defendants' illegal

  conduct substantially affected New York commerce.          As a direct and proximate result of

  Defendants' unlawful conduct, Plaintiffs and members of the Class have been injured in their

  business and property and are threatened with further injury. By reason of the foregoing,

  Defendants have restrained trade in violation of the New York's Donnelly Act, § 340 et seq.

  Accordingly, Plaintiffs and members of the Class seek all relief available under New York Gen.

  Bus. Law §§ 340 et seq.




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         285.    North Carolina: Defendants' anticompetitive conduct has restrained trade in

  violation of North Carolina General Statutes § 75-1 et seq. During the Class Period, Defendants'

  illegal conduct substantially affected North Carolina commerce. As a direct and proximate result

  of Defendants' unlawful conduct, Plaintiffs and members of the Class have been injured in their

  business and property and are threatened with further injury. By reason of the foregoing,

  Defendants have restrained trade in violation of North Carolina Gen. Stat. §§ 75-1 et seq.

  Accordingly, Plaintiffs and members of the Class seek all relief available under North Carolina

  Gen. Stat. §§ 75-1 et seq.

         286.    North Dakota: Defendants' anticompetitive conduct has restrained trade in

  violation of North Dakota Cent. Code §§ 51-08.1-01 et seq. During the Class Period, Defendants'

  illegal conduct substantially affected North Dakota commerce. As a direct and proximate result

  of Defendants' unlawful conduct, Plaintiffs and members of the Class have been injured in their

  business and property and are threatened with further injury. By reason of the foregoing,

  Defendants have restrained trade in violation of North Dakota Cent. Code §§ 51-08.1-01 et seq.

  Accordingly, Plaintiffs and members of the Class seek all relief available under North Dakota

  Cent. Code §§ 51-08.1-01 et seq.

         287.    Ore~on: Defendants' anticompetitive conduct has restrained trade in violation of

  Oregon Revised Statutes §§ 646.705 et seq. During the Class Period, Defendants' illegal conduct

  substantially affected Oregon commerce. As a direct and proximate result of Defendants' unlawful

  conduct, Plaintiffs and members of the Class have been injured in their business and property and

  are threatened with further injury. By reason of the foregoing, Defendants have restrained trade

  in violation of Oregon Revised Statutes §§ 646.705 et seq. Accordingly, Plaintiffs and members

  of the Class seek all relief available under Oregon Revised Statutes § 646.705 et seq.




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         288.   Rhode Island: Defendants' anticompetitive conduct has restrained trade in violation

  of Rhode Island General Laws, §§6-36-4 et seq. During the Class Period, Defendants' illegal

  conduct substantially affected Rhode Island commerce. As a direct and proximate result of

  Defendants' unlawful conduct, Plaintiffs and members of the Class have been injured in their

  business and property and are threatened with further injury. By reason of the foregoing,

  Defendants have restrained trade in violation of Rhode Island General Laws, §§6-36-4 et seq.

  Accordingly, Plaintiffs and members of the Class seek all relief available under Rhode Island

  General Laws, §§6-36-4 et seq.

         289.   South Dakota: Defendants' anticompetitive conduct has restrained trade in

  violation of South Dakota Codified Laws Ann. §§ 37-1-3.1 et seq. During the Class Period,

  Defendants' illegal conduct substantially affected South Dakota commerce. As a direct and

  proximate result of Defendants' unlawful conduct, Plaintiffs and members of the Class have been

  injured in their business and property and are threatened with further injury. By reason of the

  foregoing, Defendants have restrained trade in violation of South Dakota Codified Laws Ann.

  § 37-1 et seq. Accordingly, Plaintiffs and members of the Class seek all relief available under

  South Dakota Codified Laws Ann. §§ 37-1 et seq.

         290.   Tennessee: Defendants' anticompetitive conduct has restrained trade in violation

  of Tennessee Code Annotated §§ 47-25-101 et seq. During the Class Period, Defendants' illegal

  conduct substantiall.y affected Tennessee commerce.      As a direct and proximate result of

  Defendants' unlawful conduct, Plaintiffs and members of the Class have been injured in their

  business and property and are threatened with further injury. By reason of the foregoing,

  Defendants have restrained trade in violation of Tennessee Code Ann. §§47-25-101 et seq.




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  Accordingly, Plaintiffs and members of the Class seek all relief available under Tennessee Code

  Ann. §§ 47-25-10 et seq.

         291.    Utah: Defendants' anticompetitive conduct has restrained trade in violation of Utah

  Code Annotated §§ 76-10-911 et seq. During the Class Period, Defendants' illegal conduct

  substantially affected Utah commerce. As a direct and proximate result of Defendants' unlawful

  conduct, Plaintiffs and members of the Class have been injured in their business and property and

  are threatened with further injury. By reason of the foregoing, Defendants have restrained trade

  in violation of Utah Code Annotated §§ 76-10-911 et seq. Accordingly, Plaintiffs and members of

  the Class seek all relief available under Utah Code Annotated § 76-10-911 et seq.

         292.    Vermont: Defendants' anticompetitive conduct has restrained trade in violation of

  Vermont Stat. Ann. 9§§ 2453 et seq. During the Class Period, Defendants' illegal conduct

  substantially affected Vermont commerce. As a direct and proximate result of Defendants'

  unlawful conduct, Plaintiffs and members of the Class have been injured in their business and

  property and are threatened with further injury. By reason of the foregoing, Defendants have

  restrained trade in violation of Vermont Stat. Ann. 9 §§ 2453 et seq. Accordingly, Plaintiffs and

  members of the Class seek all relief available under Vermont Stat. Ann. 9 §§ 2453 et seq.

         293.    West Virginia: Defendants' anticompetitive conduct has restrained trade in

  violation of West Virginia Code §§ 47-18-1 et seq. During the Class Period, Defendants' illegal

  conduct substantially affected West Virginia commerce. As a direct and proximate result of

  Defendants' unlawful conduct, Plaintiffs and members of the Class have been injured in their

  business and property and are threatened with further injury. By reason of the foregoing,

  Defendants have restrained trade in violation of West Virginia Code §§47-18-1 et seq.




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  Accordingly, Plaintiffs and members of the Class seek all relief available under West Virginia

  Code §§47-18-1 etseq.

           294.   Wisconsin: Defendants' anticompetitive conduct has restrained trade in violation

  of Wisconsin Statutes §§ 133.01 et seq. During the Class Period, Defendants' illegal conduct

  substantially affected Wisconsin commerce. As a direct and proximate result of Defendants'

  unlawful conduct, Plaintiffs and members of the Class have been injured in their business and

  property and are threatened with further injury. By reason of the foregoing, Defendants have

  restrained trade in violation of Wisconsin Stat. §§ 133.01 et seq. Accordingly, Plaintiffs and

  members of the Class seek all relief available under Wisconsin Stat. §§ 133.01 et seq.

           295.   Plaintiffs and members of the Class in each of the above states have been injured

  in their business and property by reason of Defendants' unlawful monopolization, and

  anticompetitive agreements. Plaintiffs and members of the Class have paid more for FICO Credit

  Scores than-they otherwise would have paid in the absence of Defendants' unlawful conduct. This

  injury.is of the type that the antitrust laws of the above states were designed to prevent and flows

  from that which makes Defendants' conduct unlawful.

           296.   In addition, Defendants have profited significantly from the aforesaid unlawful

  conduct. Their profits derived from monopolistic and/or and conspiratorial anticompetitive

  conduct that was undertaken at the expense and to the detriment of Plaintiffs and members of the

  Class.

           297. Accordingly, Plaintiffs and members of the Class in each of the above jurisdictions

  seek damages (including statutory darnages where applicable), to be trebled or otherwise increased

  as permitted by a particular jurisdiction's antitrust law, and costs of suit, including reasonable

  attorneys' fees, to the extent permitted by the above state laws.



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      CLAIM SEVEN: STATE UNFAIR AND DECEPTIVE TRADE PRACTICES LAWS

          298.    Plaintiffs incorporate by reference and re-allege the preceding allegations as though

  fully set forth herein.

          299.    This Claim Seven is brought against all Defendants.

          300.    By reason of the foregoing, Defendants have violated, and Plaintiffs and members

  of the Class are entitled to relief under, the Unfair and Deceptive Trade Practices and Consumer

  Protection Laws of the following jurisdictions.

          301.    Arkansas: Defendants have engaged in unfair, unconscionable, and/or deceptive

  practices in violation of Arkansas Code Annotated §§ 4-88-101 et seq. Defendants knowingly

  agreed to, and did in fact, act in restraint of trade or commerce by affecting, fixing, controlling,

  and/or maintaining at nori-competitive and artificially inflated levels, the prices at which FICO

   Scores were sold, distributed, or obtained in Arkansas and took efforts to conceal their agreements

  from Plaintiffs and members of the Class. The aforementioned conduct on the part of Defendants

   constituted "unconscionable" and "deceptive" acts or practices in violation of Arkansas Code

  Annotated, § 4-88-107(a)(10). Defendants' unlawful conduct had the following effects: (1) FICO

   Scores price competition was restrained, suppressed, and eliminated throughout Arkansas;

   (2) FICO Scores prices were raised, fixed, maintained, and stabilized at artificially high levels

   throughout Arkansas; (3) Plaintiffs and members of the Class were deprived of free and open

   competition; and (4) Plaintiffs and members of the Class paid supracompetitive, artificially inflated

   prices for FICO Scores. During the Class Period, Defendants' illegal conduct substantially

   affected Arkansas commerce and consumers. As a direct and proximate result of the unlawful

   conduct of Defendants, Plaintiffs and members of the Class have been injured in their business

   and property and are threatened with further injury.         Defendants have engaged in unfair

   competition or unfair or deceptive acts or practices in violation of Arkansas Code Annotated § 4-
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   88-107(a)(10) and, accordingly, Plaintiffs and members of the Class seek all relief available under

   that statute.

           302.    California: Defendants have engaged in unfair competition or unfair,

  unconscionable, deceptive, or fraudulent acts or practices in violation of California Business &

   Professions Code §§ 17200 et seq. During the Class Period, Defendants marketed, sold, or

   distributed FICO Scores in California, and committed and continue to commit acts of unfair

   competition, as defined by §§ 17200 et seq. of the California Business & Professions Code, by

   engaging in the acts and practices specified above. This claim is instituted pursuant to sections

   17203 and 17204 of the California Business & Professions Code, to obtain restitution from these

   Defendant for acts, as alleged herein, that violated section 17200 of the California Business &

   Professions Code, commonly known as the Unfair Competition Law. Defendants' conduct as

   alleged herein violated section 17200. The acts, omissions, misrepresentations, practices and non-

   disclosures of Defendants, as alleged herein, constituted a common, continuous, and continuing

   course of conduct of unfair competition by means of unfair, unlawful, and/or fraudulent business

   acts or practices within the meaning of California Business & Professions Code §§ 17200 et seq.,

   including, but not limited to, the following: (1) the violations of Sections 1, 2, and 3 of the Sherman

   Act, as set forth above; and (2) the violations of §§ 16720 et seq. of the California Business &

   Professions Code, set forth above. Defendants' acts, omissions, misrepresentations, practices, and

   non-disclosures, as described above, whether or not in violation of §§ 16720 et seq. of the

   California Business & Professions Code, and whether or not concerted or independent acts, are

   otherwise unfair, unconscionable, unlawful or fraudulent; (3) Defendants' acts or practices are

   unfair to purchasers of FICO Scores in the State of California within the meaning of § 17200,

   California Business & Professions Code; and (4) Defendants' acts and practices are fraudulent or




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  deceptive within the meaning of § 17200 of the California Business & Professions Code. Plaintiffs

  and members of the Class are entitled to full restitution and/or disgorgement of all revenues,

   earnings, profits, compensation, and benefits that may have been obtained by Defendants as a

   result of such business acts or practices. The illegal conduct alleged herein is continuing and there

   is no indication that Defendants will not continue such activity into the future. The unlawful and

  unfair business practices of Defendants, and each of them, as described above, have caused and

   continue to cause Plaintiffs and members of the Class to pay supracompetitive and artificially

   inflated prices for FICO Scores. Plaintiffs and members of the Class suffered injury in fact and

   lost money or property as a result of such unfair competition. The conduct of Defendants as alleged

   in this Complaint violated § 17200 of the Califomia Business & Professions Code. As alleged in

   this Complaint, Defendants have been unjustly enriched as a result of their wrongful conduct and

   by Defendants' unfair competition. Plaintiffs and members of the Class are accordingly entitled

   to equitable relief including restitution and/or disgorgement of all revenues, eamings, profits,

   compensation, and benefits that may have been obtained by Defendant as a result of such business

   practices, pursuant to California Business & Professions Code §§ 17203 and 17204.

           303.   District of Columbia: Defendants have engaged in unfair competition or unfair,

   unconscionable, or deceptive acts or practices in violation of District of Columbia Code § 28-

   3901 et seq. Defendants agreed to, and did in fact, act in restraint of trade or commerce by

   affecting, fixing, controlling and/or maintaining, at artificial and/or non-competitive levels, the

   prices at which FICO Scores were sold, distributed, or obtained in the District of Columbia. The

   foregoing conduct constitutes "unlawful trade practices," within the meaning of D.C. Code § 28-

   3904. Plaintiffs and members of the Class were not aware of Defendants' illegal conduct and were

   therefore unaware that they were being unfairly and illegally overcharged. There was a gross
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  disparity of bargaining power between the parties with respect to the price charged by Defendants

  for FICO Scores. Defendants had the sole power to set that price, and Plaintiffs and members of

  the Class had no power to negotiate a lower price. Moreover, Plaintiffs and members of the Class

  lacked any meaningful choice in purchasing FICO Scores because they were unaware of the

  unlawful overcharge and there was no altemative source of supply through which Plaintiffs and

  members of the Class could avoid the overcharges. Defendants' conduct with regard to sales of

  FICO Scores, including their illegal conduct with respect to fixing the price of FICO Scores at

  supracompetitive levels and overcharging consumers, was substantively unconscionable because

  it was one-sided and unfairly benefited Defendants at the expense of Plaintiffs and the public.

  Defendants took grossly unfair advantage of Plaintiffs and members of the Class. The suppression

  of competition that has resulted from Defendants' conduct has ultimately resulted in

  unconscionably higher prices for purchasers so that there was a gross disparity between the price

  paid and the value received for the FICO Scores. Defendants' unlawful conduct had the following

  effects: (1) FICO Scores' price competition was restrained, suppressed, and eliminated throughout

  the District of Columbia; (2) FICO Scores' prices were raised, fixed, maintained, and stabilized at

  artificially high levels•throughout the District of Columbia; (3) Plaintiffs and members of the Class

  were deprived of free and open competition; and (4) Plaintiffs and members of the Class paid

  supracompetitive, artificially inflated prices for FICO Scores. As a direct and proximate result of

  Defendants' conduct, Plaintiffs and members of the Class have been injured and are threatened

  with further injury. Defendants have engaged in unfair competition or unfair or deceptive acts or

  practices in violation of District of Columbia Code §§ 28-3901 et seq., and, accordingly, Plaintiffs

   and members of the Class seek all relief available under that statute.




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          304.     Florida: Defendants have engaged in unfair competition or unfair, unconscionable,

  or deceptive acts or practices in violation of the Florida Deceptive and Unfair Trade Practices Act,

  Fla. Stat. §§ 501.201 et seq. Defendants' unlawful conduct had the following effects: (1) FICO

   Scores' price competition was restrained, suppressed, and eliminated throughout Florida; (2) FICO

   Scores' prices were raised, fixed, maintained, and stabilized at artificially high levels throughout

   Florida; (3) Plaintiffs and members of the Class were deprived of free and open competition; and

   (4) Plaintiffs and members of the Class paid supracompetitive, artificially inflated prices for FICO

   Scores. During the Class Period, Defendants' illegal conduct substantially affected Florida

   commerce and consumers. As a direct and proximate result of Defendants' unlawful conduct,

   Plaintiffs and members of the Class have been injured and are threatened with further injury.

   Defendants have engaged in unfair competition or unfair or deceptive acts or practices in violation

   of Florida Stat. §§ 501.201 et seq., and, accordingly, Plaintiffs and members of the Class seek all

   relief available under that statute.

           305.    Massachusetts: Defendants have engaged in unfair competition or unfair,

   unconscionable, or deceptive acts or practices in violation of the Massachusetts Consumer

   Protection Law (Mass. Gen. Law Ch. 93A et seq.). Defendants' unlawful conduct had the

   following effects: (1) FICO Scores' price competition was restrained, suppressed, and eliminated

   throughout Massachusetts; (2) FICO Scores' prices were raised, fixed, maintained, and stabilized

   at artificially high levels throughout Massachusetts; (3) Plaintiffs and members of the Class were

   deprived of free and open competition; and (4) Plaintiffs and members of the Class paid

   supracompetitive, artificially inflated prices for FICO Scores. During the Class Period, Defendants

   marketed, sold, or distributed FICO Scores in Massachusetts, and Defendants' illegal conduct

   substantially affected Massachusetts commerce and consumers. As a direct and proximate result




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  of Defendants' unlawful conduct, Plaintiffs and members of the Class have been injured and are

  threatened with further injury. Defendants have engaged in unfair competition or unfair or

  deceptive acts or practices in violation of Mass. Gen. Law Ch. 93A et seq., and, accordingly,

  Plaintiffs and members of the Class seek all relief available under Section 11 of that statute.

           306.    Montana:   Defendants have        engaged in unfair competition or unfair,

  unconscionable, or deceptive acts or practices in violation of the Montana Unfair Trade Practices

  and Consumer Protection Act of 1970, Mont. Code, §§ 30-14-103 et seq., and §§ 30-14-201 et seq.

  Defendants' unlawful conduct had the following effects: (1) FICO Scores' price competition was

  restrained, suppressed, and eliminated throughout Montana; (2) FICO Scores' prices were raised,

  fixed, maintained, and stabilized at artificially high levels throughout Montana; (3) Plaintiffs and

  members of the Class were deprived of free and open competition; and (4) Plaintiffs and members

  of the Class paid supracompetitive, artificially inflated prices for FICO Scores. During the Class

   Period, Defendants marketed, sold, or distributed FICO Scores in Montana, and Defendants'

   illegal conduct substantially affected Montana commerce and consumers. As a direct and

   proximate result of Defendants' unlawful conduct, Plaintiffs and members of the Class have been

   injured and are threatened with further injury. Defendants have engaged in unfair competition or

   unfair or deceptive acts or practices in violation of Mont. Code, § 30-14-103 et seq., and §§ 30-

   14-201 et seq., and, accordingly, Plaintiffs and members of the Class seek all relief available under

   that statute.

           307.    New Mexico: Defendants have engaged in unfair competition or unfair,

   unconscionable, or deceptive acts or practices in violation of the New Mexico Stat. §§ 57-12-1 et

   seq. Defendants agreed to, and did in fact, act in restraint of trade or commerce by affecting,

   fixing, controlling and/or maintaining at non-competitive and artificially inflated levels, the prices




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  at which FICO Scores were sold, distributed, or obtained in New Mexico and took efforts to

  conceal their agreements from Plaintiffs and members of the Class. The aforementioned conduct

  on the part of Defendants constituted "unconscionable trade practices," in violation of N.M.S.A.

  § 57-12-3, in that such conduct, inter alia, resulted in a gross disparity between the value received

  by Plaintiffs and members of the Class and the prices paid by them for FICO Scores as set forth in

  N.M.S.A. § 57-12-2E. Plaintiffs and members of the Class were not aware of Defendants' illegal

  conduct and were therefore unaware that they were being unfairly and illegally overcharged. There

  was a gross disparity of bargaining power between the parties with respect to the price charged by

  Defendants for FICO Scores. Defendant Fair Isaac had the sole power to set that price and

   Plaintiffs and members of the Class had no power to negotiate a lower price. Moreover, Plaintiffs

   and members of the Class lacked any meaningful choice in purchasing FICO Scores because they

   were unaware of the unlawful overcharge and there was no alternative source of supply through

   which Plaintiffs and members of the Class could avoid the overcharges. Defendants' conduct with

   regard to sales of FICO Scores, including their illegal conduct to fix the price of FICO Scores at

   supracompetitive levels and overcharge consumers, was substantively unconscionable because it

   was one-sided and unfairly benefited Defendants at the expense of Plaintiffs and the public.

   Defendants took grossly unfair advantage of Plaintiffs and members of the Class. The suppression

   of competition that resulted from Defendants' conduct has ultimately resulted in unconscionably

   higher prices for consumers so that there was a gross disparity between the price paid and the value

   received for the FICO Scores. Defendants' unlawful conduct had the following effects: (1) FICO

   Scores' price competition was restrained, suppressed, and eliminated throughout New Mexico;

   (2) FICO Scores' prices were raised, fixed, maintained, and stabilized at artificially high levels

   throughout New Mexico; (3) Plaintiffs and members of the Class were deprived of free and open




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  competition; and (4) Plaintiffs and members of the Class paid supracompetitive, artificially inflated

  prices for FICO Scores. During the Class Period, Defendants' illegal conduct substantially

  affected New Mexico commerce and consumers. As a direct and proximate result of the unlawful

  conduct of Defendants, Plaintiffs and members of the Class have been injured and are threatened

  with further injury. Defendants have engaged in unfair competition or unfair or deceptive acts or

  practices in violation of New Mexico Stat. § 57-12-1 et seq., and, accordingly, Plaintiffs and

  members of the Class seek all relief available under that statute.

          308.   New York: Defendants have engaged in unfair competition or unfair,

  unconscionable, or deceptive acts or practices in violation of N.Y. Gen. Bus. Law §§ 349 et seq.

  Defendants agreed to, and did in fact, act in restraint of trade or commerce by affecting, controlling

  and/or maintaining, at artificial and non-competitive levels, the prices at which FICO scores were

  sold, distributed, or obtained in New York and took efforts to conceal their agreements from

   Plaintiffs and members of the Class, who are Defendants' consumers. Defendants made public

   statements about the prices of FICO Scores that omitted material information that rendered the

   statements that they made materially misleading; and Defendants alone possessed material

   information that were relevant to consumers but failed to provide the information. Because of

   Defendants' unlawful trade practices in the State of New York, Class members who purchased

   FICO Scores were misled to believe that they were paying a fair price for FICO Scores or the price

   increases for FICO Scores were for valid business reasons; and similarly situated consumers were

   potentially affected by Defendants' conduct. Defendants knew that their unlawful trade practices

   with respect to pricing FICO Scores would have an impact on New York consumers, including

   Plaintiffs and members of the Class. Defendants knew that their unlawful trade practices with

   respect to pricing FICO Scores would have a broad impact, causing Class members who purchased




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  FICO Scores to be injured by paying more for FICO Scores than they would have paid in the

  absence of Defendants' unlawful trade acts and practices. The conduct of Defendants described

  herein constitutes consumer-oriented deceptive acts or practices within the meaning of N.Y. Gen.

  Bus. Law § 349, which resulted in consumer injury and broad adverse impact on the public at large,

  and harmed the public interest of New York State in an honest marketplace in which economic

  activity is conducted in a competitive manner. Defendants' unlawful conduct had the following

  effects: (1) FICO Scores' price competition was restrained, suppressed, and eliminated throughout

  New York; (2) FICO Scores' prices were raised, fixed, maintained, and stabilized at artificially

  high levels throughout New York; (3) Plaintiffs and members of the Class were deprived of free

  and open competition; and (4) Plaintiffs and members of the Class paid supracompetitive,

  artificially inflated prices for FICO Scores. During the Class Period, Defendants marketed, sold,

  or distributed FICO Scores in New York, and Defendants' illegal conduct substantially affected

  New York commerce and consumers. During the Class Period, each Defendant named herein,

  directly, or indirectly and through affiliates they dominated and controlled, manufactured, sold

  and/or distributed FICO Scores in New York. Plaintiffs and members of the Class seek all relief

  available pursuant to N.Y. Gen. Bus. Law § 349(h).

          309.    North Carolina: Defendants have engaged in unfair cornpetition or unfair,

  unconscionable, or deceptive acts or practices in violation of North Carolina Gen. Stat. §§ 75-1.1

  et seq. Defendants agree to, and did in fact, act in restraint of trade or commerce by affecting,

  fixing, controlling and/or maintaining, at artificial and non-competitive levels, the prices at which

   FICO Scores were sold, distributed, or obtained in North Carolina and took efforts to conceal their

  agreements from Plaintiffs and members of the Class. Defendants' conduct could not have

   succeeded absent deceptive conduct by Defendant to cover up their illegal acts. Secrecy was
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  integral to the formation, implementation, and maintenance of Defendants' illegal activity.

  Defendants committed inherently deceptive and self-concealing actions, of which Plaintiffs and

  members of the Class could not possibly have been aware. Defendants' public statements

  concerning the price of FICO Scores created the illusion of competitive pricing controlled by

  market forces rather than supracompetitive pricing driven by Defendants' illegal conduct. The

  conduct of Defendants described herein constitutes consumer-oriented deceptive acts or practices

  within the meaning of North Carolina law, which resulted in consumer injury and broad adverse

  impact on the public at large and harmed the public interest of North Carolina consumers in an

  honest marketplace in which economic activity is conducted in a competitive manner. Defendants'

  unlawful conduct had the following effects: (1) FICO Scores' price competition was restrained,

  suppressed, and eliminated throughout North Carolina; (2) FICO Scores' prices were raised, fixed,

  maintained, and stabilized at artificially high levels throughout North Carolina; (3) Plaintiffs and

  members of the Class were deprived of free and open competition; and (4) Plaintiffs and members

  of the Class paid supracompetitive, artificially inflated prices for FICO Scores. During the Class

  Period, Defendants marketed, sold, or distributed FICO Scores in North Carolina, and Defendants'

  illegal conduct substantially affected North Carolina commerce and consumers. During the Class

  Period, each of the Defendant named herein, directly, or indirectly and through affiliates they

  dominated and controlled, manufactured, sold and/or distributed FICO Scores in North Carolina.

  Plaintiffs and members of the Class seek actual damages for their injuries caused by these

  violations in an amount to be determined at trial and are threatened with further injury. Defendants

  have engaged in unfair competition or unfair or deceptive acts or practices in violation of North

  Carolina Gen. Stat. §§ 75-1.1 et seq., and, accordingly, Plaintiffs and members of the Class seek

  all relief available under that statute.




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          310.    Rhode Island: Defendants have engaged in unfair competition or unfair,

  unconscionable, or deceptive acts or practices in violation of the Rhode Island Unfair Trade

  Practice and Consumer Protection Act (R.I. Gen. Laws § 6-13.1-1 etseq.). Members of this Class

  purchased FICO Scores for personal, family, or household purposes. Defendants agreed to, and

  did in fact, act in restraint of trade or commerce in a market that includes Rhode Island, by

  affecting, controlling, and/or maintaining, at artificial and non-competitive levels, the prices at

  which FICO Scores were sold, distributed, or obtained in Rhode Island. Defendants deliberately

  failed to disclose material facts to Plaintiffs and members of the Class conceming Defendants'

  unlawful activities and artificially inflated prices for FICO Scores. Defendants owed a duty to

  disclose such facts, and they breached that duty by their silence. Defendant misrepresented to all

  purchasers during the Class Period that Defendants' FICO Scores prices were competitive and fair.

  Defendants' unlawful conduct had the following effects: (1) FICO Scores' price competition was

   restrained, suppressed, and eliminated throughout Rhode Island; (2) FICO Scores' prices were

   raised, fixed, maintained, and stabilized at artificially high levels throughout Rhode Island;

   (3) Plaintiffs and members of the Class were deprived of free and open competition; and

   (4) Plaintiffs and mernbers of the Class paid supracompetitive, artificially inflated prices for FICO

   Scores. As a direct and proximate result of Defendants' violations of law, Plaintiffs and members

   of the Class suffered an ascertainable loss of money or property as a result of Defendants' use or

   employment of unconscionable and deceptive commercial practices as set forth above. That loss

   was caused by Defendants' willful and deceptive conduct, as described herein. Defendants'

   deception, including their affirmative misrepresentations and omissions conceming the price of

   the FICO Scores, likely misled all purchasers acting reasonably under the circumstances to believe

   that they were purchasing FICO Scores at prices set by a free and fair market. Defendants'
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   affirmative misrepresentations and omissions constitute information important to Plaintiffs and

  members of the Class as they related to the cost of FICO Scores they purchased. Defendants have

   engaged in unfair competition or unfair or deceptive acts or practices in violation of Rhode Island

  Gen. Laws. §§ 6-13.1-1 et seq., and, accordingly, Plaintiffs and members of the Class seek all relief

  available under that statute.

          311.    South Carolina: Defendants have engaged in unfair competition or unfair,

  unconscionable, or deceptive acts or practices in violation of South Carolina Unfair Trade

  Practices Act (S.C. Code Ann. § 39-5-10 et seq.). Defendants' monopolization had the following

   effects: (1) FICO Scores' price competition was restrained, suppressed, and eliminated throughout

   South Carolina; (2) FICO Scores' prices were raised, fixed, maintained, and stabilized at

   artificially high levels throughout South Carolina; (3) Plaintiffs and members of the Class were

   deprived of free and open competition; and (4) Plaintiffs and members of the Class paid

  supracompetitive, artificially inflated prices for the FICO Scores during the Class Period,

  Defendants' illegal conduct had a substantial effect on South Carolina commerce. As a direct and

  proximate result of Defendants' unlawful conduct, Plaintiffs and members of the Class have been

   injured in their business and property and are threatened with further injury. Defendants have

   engaged in unfair competition or unfair or deceptive acts or practices in violation of S.C. Code

  Ann. §§ 39-5-10 et seq., and, accordingly, Plaintiffs and the members of the Class seek all relief

  available under that statute.

          312.    South Dakota: Defendants have engaged in unfair competition or unfair,

  unconscionable, or deceptive acts or practices in violation of South Dakota Deceptive Trade

  Practices and Consumer Protection Act (S.D: Codified Laws § 37-24-6 et seq.). Defendants

   agreed to, and did in fact, act in restraint of trade or commerce in a market that includes South
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   Dakota, by affecting, controlling, and/or maintaining, at artificial and non-competitive levels, the

  prices at which FICO credit scores were sold, distributed, or obtained in South Dakota. Defendants

   deliberately failed to disclose material facts to Plaintiffs and members of the Class concerning

   Defendants' unlawful activities and artificially inflated prices for FICO credit scores. Defendants

   owed a duty to disclose such facts, and they breached that duty by their silence. Defendant

   misrepresented to all purchasers during the Class Period that Defendants' FICO credit scores prices

   were competitive and fair. Defendants' unlawful conduct had the following effects: (1) FICO

   credit scores price competition was restrained, suppressed, and eliminated throughout South

   Dakota; (2) FICO credit scores prices were raised, maintained, and stabilized at artificially high

   levels throughout South Dakota; (3) Plaintiffs and members of the Class were deprived of free and

   open competition; and (4) Plaintiffs and members of the Class paid supracompetitive, artificially

   inflated prices for FICO credit scores. As a direct and proximate result of Defendants' violations

   of law, Plaintiffs and members of the Class suffered an ascertainable loss of money or property as

   a result of Defendants' use or employment of unconscionable and deceptive commercial practices

   as set forth above. That loss was caused by Defendants' willful and deceptive conduct, as

   described herein. Defendants' deception, including their affirmative misrepresentations and

   omissions concerning the price of the FICO credit scores, likely misled all purchasers acting

   reasonably under the circumstances to believe that they were purchasing FICO credit scores at

   prices set by a free and fair market. Defendants' affirmative misrepresentations and omissions

   constitute information important to Plaintiffs and members of the Class as they related to the cost

   of FICO credit scores they purchased. Defendants have engaged in unfair competition or unfair

   or deceptive acts or practices in violation of S.D. Codified Laws §§37-24-6 et seq., and,

   accordingly, Plaintiffs and members of the Class seek all relief available under that statute.




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          313.    Vermont: Defendants have           engaged in unfair competition or unfair,

   unconscionable, or deceptive acts or practices in violation of 9 Vermont §§ 2451 et seq.

   Defendants agreed to, and did in fact, act in restraint of trade or commerce in a market that includes

   Vermont, by affecting, controlling, and/or maintaining, at artificial and non-competitive levels, the

   prices at which FICO Scores were sold, distributed, or obtained in Vermont.               Defendants

   deliberately failed to disclose material facts to Plaintiffs and members of the Class concerning

   Defendants' unlawful activities and artificially inflated prices for the FICO Scores. Defendants

   owed a duty to disclose such facts, and they breached that duty by their silence. Defendant

   misrepresented to all purchasers during the Class Period that Defendants' FICO Scores prices were

   competitive and fair. Defendants' unlawful conduct had the following effects: (1) FICO Scores'

   price competition was restrained, suppressed, and eliminated throughout Vermont; (2) FICO

   Scores' prices were raised, fixed, maintained, and stabilized at artificially high levels throughout

   Vermont; (3) Plaintiffs and members of the Class were deprived of free and open competition; and

   (4) Plaintiffs and members of the Class paid supracompetitive, artificially inflated prices for the

   FICO Scores. As a direct and proximate result of Defendants' violations of law, Plaintiffs and

   members of the Class suffered an ascertainable loss of money or property as a result of Defendants'

   use or employment of unconscionable and deceptive commercial practices as set forth above. That

   loss was caused by Defendants' willful and deceptive conduct, as described herein. Defendants'

   deception, including their affirmative misrepresentations and omissions concerning the price of

   FICO Scores, likely misled all purchasers acting reasonably under the circumstances to believe

   that they were purchasing FICO Scores at prices set by a free and fair market. Defendants'

   misleading conduct and unconscionable activities constitutes unfair competition or unfair or




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  deceptive acts or practices in violation of 9 Vermont §§ 2451 et seq., and, accordingly, Plaintiffs

  and members of the Class seek all relief available under that statute.

          314.    West Virginia: Defendants have engaged in unfair competition or unfair,

  unconscionable, or deceptive acts or practices in violation of the West Virginia Consumer Credit

  and Protection Act, W. Va. Code, §§46A-6-104 et seq. Defendants' unlawful conduct had the

  following effects: (1) FICO credit scores price competition was'restrained, suppressed, and

  eliminated throughout West Virginia; (2) FICO credit scores prices were raised, maintained, and

  stabilized at artificially high levels throughout West Virginia; (3) Plaintiffs and members of the

  Class were deprived of free and open competition; and (4) Plaintiffs and members of the Class

  paid supracompetitive, artificially inflated prices for FICO credit scores. During the Class Period,

  Defendants marketed, sold, or distributed FICO credit scores in West Virginia, and Defendants'

   illegal conduct substantially affected West Virginia commerce and consumers. As a direct and

   proximate result of Defendants' unlawful conduct, Plaintiffs and members of the Class have been

   injured and are threatened with further injury. Defendants have engaged in unfair competition or

   unfair or deceptive acts or practices in violation of W. Va. Code, §§46A-6-104 et seq., and,

   accordingly, Plaintiffs and members of the Class seek all relief available under that statute.

                                        PRAYER FOR RELIEF

            WHEREFORE, Plaintiffs, on behalf of themselves and members of the Class,

    respectfully prays that This Honorable Court:

            A.      Order that this action may be maintained as a class action pursuant to Rules 23(a)

    & (b) of the Federal Rules of Civil Procedure, that Plaintiffs be named as Class Representatives,

    that the undersigned be named Lead Class Counsel, and that reasonable notice of this action, as

    provided by Rule 23(c)(2), be given to members of the Class;

            B.      Adjudge that Defendants violated the federal antitrust laws as set forth above;

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           C.       Adjudge that Defendants violated the state antitrust and unfair and deceptive

   trade practices laws as set forth above;

           D.       Award Plaintiffs and members of the Class actual, treble, and exemplary damages;

           E.       Award Plaintiffs and members of the Class attorneys' fees and costs of suit,

   including costs of consulting and testifying experts;

           F.       Award Plaintiffs and members of the Class pre- and post-judgment interest;

           G.       Enjoin Defendants from their violations of law; and

           H.       Grant such other, further, and different relief, including structural relief, as may

   be just and proper.

                                    DEMAND FOR JURY TRIAL

          Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demand a trial by jury

  as to all issues so triable.

  Dated: October 30, 2023                            Respectfully submitted,

   /s/Steven F. Molo                                /s/ Carmen Medici
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                                  CERTIFICATE OF SERVICE

         I, Carmen A. Medici, an attorney, hereby certify that on October 30, 2023, I caused a true

  and correct copy of the foregoing Direct Purchaser Plaintiffs' First Amended Consolidated Class

  Action Complaint to be filed and served electronically via the Court's CM/ECF system.

                                              s/ Ccarmen A. Medici
                                              Carmen A. Medici




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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION



   IN RE FICO ANTITRUST LITIGATION            Judge Edmond E. Chang


   This Document Relates to the               Magistrate Judge M. David Weisman
   Following Cases:

   INDIRECT PURCHASER CASES                   No. 1:20-CV-02114

                                              JURY TRIAL DEMANDED .




                       INDIRECT PURCHASER PLAINTIFFS'
                   SECOND AMENDED CLASS ACTION COMPLAINT
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             Plaintiffs Garner Properties & Management LLC ("Garner") and Lake City Exports, Inc.

  ("Lake City") (collectively, "Plaintiffs"), bring this action against Defendants Fair Isaac

   Corporation ("Fair Isaac"), Equifax, Inc. ("Equifax"), Experian Information Solutions, Inc.

  ("Experian"), and TransUnion, LLC ("TransUnion") (collectively "Defendants," with the latter

  three referred to collectively as the "Credit Bureaus" or "CBs"), individually and on behalf of

  proposed Classes of all end-users that purchased FICO Scores l in the B2B Credit Score Market

  from any third-party other than Fair Isaac and/or a Credit Bureau from October 1, 2006 through

  the present.z Defendants have engaged in anticompetitive behavior, which forced Plaintiffs and

   members of the proposed Classes to pay artificially inflated prices for credit scoring services 'and

   generated millions of dollars in supra-competitive annual revenues for Defendants. Fair Isaac has

   maintained a monopoly share in excess of 90% of the market for credit scores by suppressing

   competition and inhibiting innovation. Therefore, Plaintiffs and the proposed Classes seek

   damages, injunctive relief and other relief pursuant to federal antitrust laws, state antitrust, unfair

   competition, and consumer protection laws, and the laws of unjust enrichment, and demand a

   trial by jury.

   I.        INTRODUCTION •

             1.     A "credit score" is a three-digit numerical summary of a customer's

   creditworthiness based on factors such as payment history and the duration of that history;

   balances, available credit, and the percentage of existing credit lines being utilized; public

   records like bankruptcies or adverse judgments; and the assumption of new debt. There are two

   distinct markets for such scores. The first is the market for the sale of such scores to banks,



   1 "FICO Score" includes a credit report that contains a FICO Score.

   2    "Third-party" constitutes any entity that purchased a FICO Score from any Defendant.
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  mortgage companies, credit unions, and other businesses that assess individual credit risk — i.e.,

  business-to- business sales. That market is referred to herein as the "B2B Credit Score Market."

  The second is the market for the sale of such scores to the individual who is the subject of them

  — i.e., business-to-consumer. That market is referred to herein as the "B2C Credit Score Market.

  This case concerns the B2B Credit Score Market.

           2.     According to Fair Isaac, FICO Scores are used for over 90% of all lending

   decisions in the United States. Fair Isaac's FICO credit scores have dominated the market for

   nearly three decades and have "maintained a 90-plus percent market share for at least 13 years."3

           3.     Credit Bureaus collect and maintain information for credit reports. The three

   major CBs in the United States are Defendants Equifax, Experian, and TransUnion. The CB

   Defendants control virtually 100% of aggregate credit-related data formed by aggregating credit

   data collected from businesses, and they jointly dominate the market for B2B credit reports.

           4.     Credit reports list bill payment history, loans, current debt, and other financial

   information. They show where consumers work and live and whether they have been sued,

   arrested, or filed for bankruptcy.

            5.    Credit reports help lenders decide if they will give consumers credit or approve

   a loan. The reports also help determine what interest rates consumers are charged. Employers,

   insurers, and rental property owners also use credit reports.

            6.    CBs purchase FICO Scores and then sell them as part of the credit reporting

   services they provide to millions of lenders, financial institutions, landlords, employers, and

   other businesses, that then use the credit reports to determine credit history and/or default risk.



   3 TransUnion LLC's Redacted Counterclaims, Dkt 38, Fair Isaac Corp. . TransUnion LLC, No.
   1:17-cv-08318, ¶ 32 (N.D. I11. Feb. 12, 2018) ("TransUnion Counterclaims").)
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            7.    Fair Isaac also directly sells FICO Scores to creditors and other businesses —

   bypassing the Credit Bureaus, and competing with them, when it does so.

            8.    Plaintiff Garner is a real estate brokerage and property management company

   that purchases Fair Isaac's FICO scores from third-parties which, in turn, purchase those FICO

   Scores from one of the three major CBs. The third-parties pass on to Gamer and all other Class

   Members the cost of each FICO Score.

            9.    Plaintiff Lake City is a used automobile dealer that purchases Fair Isaac's FICO

   scores from third-parties which, in turn, purchase those FICO Scores from one of the three major

   CBs. The third-parties pass on to Lake City and all other Class Members the cost of each FICO

   Score.

            10.   In 2006, VantageScore Solutions, LLC ("VantageScore Solutions") launched

   VantageScore - a credit score to compete against Fair Isaac's FICO Scores. VantageScore

   Solutions is an independent joint venture of the Credit Bureaus. Similarto FairIsaac'sFICO Score,

   VantageScore Solutions uses scoring codes and algorithms to convert a consumer's information

   in a consumer credit report into a credit score. Thus, VantageScore presented a competitively

   priced alternative to FICO Scores.

            11.   In addition, a VantageScore has relevant and important advantages over a FICO

   Score. For example, a VantageScore considers a consumers' rental and utility payments, which

   enables it to provide a credit score for consumers with less than six months of credit history. Fair

   Isaac's FICO Score cannot do this. A VantageScore therefore provides a credit score for tens of

   millions more Americans than Fair Isaac's algorithms allow. If Plaintiffs and similarly situated

   businesses were able to purchase VantageScores on economically sensible terms, they would be

   able to see credit scores of tens of millions more consumers, enabling them to contract with


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   millions more customers, tenants, and employees than they can using FICO Scores alone.

          12.     Rather than compete on the merits with VantageScore, Fair Isaac undertook a

   lengthy campaign of anticompetitive conduct to discourage the adoption of VantageScore and

   preserve its own monopoly. As part of that campaign Fair Isaac also entered into contracts with

   each CB, which contained substantially similar anticompetitive provisions that were designed

   to, and did, substantially reduce or altogether eliminate the competitive threat posed by

   VantageScore. Through these contracts Fair Isaac imposed unreasonable restraints on trade.

          13.     As another part of that campaign, in 2006, Fair Isaac filed a lawsuit against

   TransUnion, Equifax, and Experian with the intended purpose of driving VantageScore

   Solutions out of business. Experian settled the case in 2008 and entered into a lucrative

   partnership with Fair Isaac following the settlement. TransUnion and Equifax fought on,

   eliminating most of Fair Isaac's claims through a summary judgment motion and winning ajury

   trial on the remaining trademark claim.

          14.     When its lawsuit failed, Fair Isaac engaged in a further pattern of anticompetitive

   conduct designed to discourage use of alternatives to FICO Scores, including VantageScore. Fair

   Isaac accomplished this goal by abusing its monopoly power and entering into contracts with the

   CBs that contained anticompetitive restrictions aimed at extracting supracompetitive profits

   from B2B purchasers. Those contracts include contractual provisions that: (1) prohibit CBs

   from marketing non-FICO credit scores (i.e., VantageScore); (2) charge discriminatory and

   prohibitively high prices for FICO Scores if a CB customer purchases a FICO Score while

   providing the consumer with a competing score (i.e., a VantageScore); and (3) eliminate price

   competition among the CBs, thereby disincentivizing the CBs from negotiating a lower price

   for FICO Scores.

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           15.      The contracts were intended to, and had the effect of, hobbling VantageScore

   Solutions' ability to compete and forcing B2B Purchasers to pay supracompetitive prices for

   credit scores.

           16.      As part of its goal of eliminating competition, Fair Isaac also waged a public

   relations and advertising campaign to disparage VantageScore and create uncertainty about the

   reliability of VantageScores. The purpose of Fair Isaac's anticompetitive scheme is to prevent

   competition from VantageScore and other scoring systems and to preserve Fair Isaac's

   monopoly.

           17.      Fair Isaac's scheme worked. Through the anticompetitive conduct alleged herein,

   Fair Isaac succeeded in preventing VantageScore Solutions from gaining market share and

   thwarted the entry of other entities into the market for credit scores. Having successfully

   suppressed all other competition, Fair Isaac was able to, and did, artificially increase prices for

   its FICO products.

           18.      For example, Fair Isaac's net income for the third quarter of 2021 was more than

   double that of the previous year period, increasing from $64.1 million in Q3 2020 to $151.2

   million in Q3 2021.4 Fair Isaac's yearly net income has remained high and increased year-over-

   year; for example, Fair Isaac reported a net income of $236 million in 2020, $392 million in

   2021, $374 million in 2022, and is on pace to surpass its net earnings in 2023 from the previous

   year.5 Sources in the financial industry have attributed Fair Isaac's profitability to "[p]rice


   4 Press Release, Fair Isaac, FICO Announces Earnings of $5.18 per Sharefor Third Quarter Fiscal
   2021 (Aug. 3, 2021), https://investors.fico.com/news-releases/news-release-details/fico-
   announces-earnings-518-share-third-quarter-fiscal-2021.
   5 Fair Isaac Corporation, Annual Report (Form 10-K), at 36 (Nov. 9, 2022), https://fico.gcs-
   web.com/static-files/9050c8f5-9c87-4d41-8ecd-6d9f3d179a8a (hereinafter, "Fair Isaac 2022 10-
   K"); see also Fair Isaac Corporation, Quarterly Report (Form 10-Q), at 18 (Aug. 2, 2023),

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   increases in its credit scoring segment and gains in applications sold to banking institutions,"

   which have "helped the company log year-over-year gains in revenue and profit."6 But for Fair

   Isaac's and the CBs' anticompetitive conduct, VantageScore and other competitors of Fair Isaac

   would have gained market share, allowing for price competition and reducing the prices

   Plaintiffs and similarly situated businesses paid for FICO Scores.

           19.     Plaintiffs and other indirect purchasers of Fair Isaac's FICO Scores paid

   supracompetitive prices and have therefore suffered harm as a result of Defendants'

   anticompetitive conduct, which harmed competition in the B2B Credit Score Market. Opening

   this market to competition will spur innovation so that credit scores are fairly priced and more

   accurate.                               -

           20.     Plaintiffs and'other similarly situated businesses are indirect purchasers of Fair

   Isaac's FICO Scores. They do not purchase FICO Scores directly from Defendants but instead

   purchase them from third-parties, who purchase them from Defendants.

   II.     PARTIES

           21.     Plaintiff Garner Properties & Management LLC is a real estate brokerage and

   property management company located in Taylor, Michigan. During the Class Period, Garner

   purchased Fair Isaac's FICO Scores from third-parties which, in tum, purchased those FICO

   Scores from one of the CBs. The CBs, through the third-parties, sell FICO Scores to Plaintiffs

   and Class members pursuant to agreements between Fair Isaac and each Credit Bureau, which



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   widget-sec-fil ings-table.
   6 Motley Fool, Fair Isaac Corporation Scores 13% Revenue Growth in the First Quarter (Jan. 31,
   2019), https://www.fool.com/investing/2019/01/31/fair-isaac-corporation-scores-13- revenue-
   growth-in.aspx.
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   provide for royalty payments to be paid to Fair Isaac for each FICO Score sold to the Class. The

   artificially inflated cost of those FICO Scores is then passed on to Garner, and all other Class

   members.

          22.     Plaintiffs Lake City Exports, Inc., is a used automobile dealer located in Maine.

   During the Class Period, Lake City purchased Fair Isaac's FICO Scores from third-parties which,

   in turn, purchased those FICO Scores from one of the CBs. The CBs, through the third-parties,

   sell FICO Scores to Plaintiffs and Class Members pursuant to separate agreements between Fair

   Isaac and each Credit Bureau, which provide for royalty payments to be paid to Fair Isaac for

   each FICO Score sold to the Class. The artificially inflated cost of those FICO Scores is then

   passed on to Lake City, and all other Class members.

          23.     Plaintiffs were injured in their business or property as a direct, proximate, and

   material result of Defendants' violation of the law. Plaintiffs are also threatened with future

   injury to their business and property by reason of Defendants' continuing violations of the law.

          24.     Defendant Fair Isaac is a Delaware corporation, with its principal place of

   business at 181 Metro Drive, Suite 700, San Jose, California, 95110.

          25.     Defendant Equifax is a Credit Bureau incorporated in Georgia that has its

   principalplace of business at 1550 Peachtree St. NW, Atlanta, Georgia.

          26.     Defendant Experian is a Credit Bureau incorporated in Ohio that has its principal

   place of business in the United States at 475 Anton Blvd., Costa Mesa, California.

          27.     Defendant TransUnion is a Delaware limited liability Credit Bureau that has

   its principal place of business at 555 W. Ad'ams St., Chicago, Illinois.

          28.     Plaintiffs bring this state law class action on behalf of the proposed Classes to

   recover actual and/or compensatory damages, double and treble damages as permitted, pre- and


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   post-judgment interest, costs, and attorneys' fees for the injuries caused by Defendants' conduct

   in restricting the development and sale of credit scores and causing the prices of FICO Scores to

   be artificially inflated. Plaintiffs also seek injunctive relief under Sections 1 and 2 of the

   Sherman Act.

   III.    JURISDICTION AND VENUE

           29.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

   §§ 1331, 1332(d) and 1337(a) and Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15(a) and

   26. This Court possesses supplemental jurisdiction over the state law claims under 28 U.S.C. §

   1367.

           30.     This Court has personal jurisdiction over Defendants because Defendants

   transacted business, maintained substantial contacts, and are located and/or committed unlawful

   conduct in this District. Their unlawful scheme was directed at, and had the intended effect of,

   causing injury to persons residing in, located in, or doing business in this District.

           31.    Venue is proper in this District pursuant to, among other statutes, Section 12 of

  the Clayton Act, 15 U.S.C. § 22, and 28 U.S.C. § 1391(b), (c) and (d). Defendants regularly

  transact business within this District and a substantial portion of the affected interstate trade and

   commerce described in this Complaint were carried out in this District.

           32.    Defendants market their products and receive substantial payments across state

   lines. Defendants' business activities that are the subject of this Complaint are within the law of

  and have substantially affected, interstate trade and commerce.

           33.    During the Class Period, Defendants used the instrumentalities of interstate

  commerce, including interstate wires, wireless spectrum, and the United States Mail, to

  effectuate their illegal scheme.


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          34.     Defendants' conduct also had a substantial effect on the intrastate commerce of

   the States listed in counts Seven and Eight of this Complaint.

   IV.    FACTUAL ALLEGATIONS

          A.      Credit Scores and Credit Reports

          35.     A credit score is a numerical expression of a person's credit history and is

   designed to measure their creditworthiness. It helps creditors determine whether to give credit,

   decide the terms they offer and what interest rates consumers pay. Higher scores generally

   indicate that an individual or business poses less credit risk and is more likely to make payments

   under a contract and manage money more responsibly. Thus, having a high credit score can make

   it easier to get a loan, credit card, lower interest rates, rent an apartment, or provide access to

   lower insurance rates.

          36.     Credit scores typically are produced by applying scoring algorithms to a person's

   consumer credit history. A credit score is based on multiple factors, such as payment history,

   outstanding balances, length of credit history, applications for new credit accounts, and types of

   credit accounts (e.g., mortgages, car loans, credit cards).

          37.     Credit scores usually are accompanied by "reason statements," which inform the

   purchaser about the factors that most significantly affected that individual's credit score. A

   number or alphanumeric code - called a "reason code"- is associated with each reason statement.

   Examples of reason statements include: "Account payment history is too new to rate"; "Amount

   owed on accounts is too high"; and "Too many receritly active accounts." VantageScore explains

   this process as follows:

                    No matter where you get your score, the documents that
                    accompany it will include up to four or five statements
                    explaining why your score wasn't higher. These statements
                    are called reason codes and sometimes go by several other
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                 names. Some people call them score factors; others call them
                 adverse action codes. They're all the same thing.

                 The next time you see your credit score, regardless of where
                 it comes from, look for the reason codes. They'll be worded
                 and displayed something like this:

                 Your Credit Score Is: 705

                 32: Balances on bankcard or revolving accounts too high
                 compared to credit limits

                 16: The total of all balances on your open accounts
                 is too high

                 85: You have too many inquiries on your credit
                 report

                 13: Your most recently opened account is too new
                 The numbers preceding each statement are nurrieric
                 identifiers;' sometimes they appear with the text, and
                 sometimes they do not.

                 The four (or five) factors are listed in order of the impact they
                 have. In this example, the number one reason the credit score
                 is not higher is "Balances on bankcard or revolving accounts
                 too high compared to credit limits." That means the
                 consumer's credit card debt is too high relative to his or her
                 credit limits.

                 In our example, the reason with the second-greatest impact is
                 "The total of all balances on your open accounts is too high."
                 That means the consurner is carrying too much debt on his or
                 her open accounts.

                 The third reason the score isn't higher is "You have too many
                 inquiries on your credit report." This means the consumer has
                 recently applied for credit several times, which led to some
                 number of credit inquiries.                         ~

                 The fourth reason the score isn't higher is "Your most
                 recently opened account is too new." Clearly this means the
                 consumer has a very new account on his or her credit report.7


  ' VantageScore Solutions, Reason Codes 101, https://www.reasoncode.org/reasoncode101.
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            38.       Fair Isaac has a webpage that sets forth its various "reason codes."8

   VantageScore also has a dedicated website that explains its various "reason codes."9

            39.       CBs collect and store financial data about individuals that is submitted to them

   by creditors, such as lenders, credit card companies, and other financial companies. Creditors

   are not required to report to every credit-reporting company. Utilizing these files, the CBs create

   a credit report.

            40.       The information in a credit report is often used to calculate a credit score. Credit

   reports list a consumer's bill payment history, loans, current debt, and other financial

   information. They show where the individual works and lives and whether they have been sued,

   arrested, or filed for bankruptcy. CBs essentially collect consumer credit data and present the

   aggregated information in the form of a credit report.

            41.       CBs continually gather credit and financial data about individuals from creditors,

   government entities, public records, collection agencies, and other third parties, and compile this

   information into a credit file. The CBs then use an individual's credit file to populate a credit

   report on that individual for sale to businesses (B2B purchasers) and consumers (B2C purchasers).

            42.       Credit reports help lenders decide if they will give credit or approve a loan. The

   reports also help determine what interest rate to charge. Employers, insurers, and rental property

   owners also look at credit reports.

            43.       Credit scores are the most widely used indicators of consumers' creditworthiness

   in the United States and Fair Isaac's FICO Score is, by far, the most widely-used credit score.



   8 Fair Isaac, US FICO® Score Reason Codes, https://www.fico.com/en/latest-thinking/solution-
   sheet/us-fico-score-reason-codes (link to download).
   9   VantageScore Solutions, ReasonCode.org, https://www.reasoncode.org.
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   According to Fair Isaac, FICO Scores are used in over 90% of U.S. lending decisions.10 They

   are crucial to millions of businesses that rely on indicators of creditworthiness to assess risk and

   make business decisions.

          44.     Credit scores and credit reports are separate and distinct products that can be sold

   together or independently.

          45.     Fair Isaac works with the CBs to perpetuate and extend its monopoly. Fair

   Isaac's relationship with B2B purchasers is often dependent on B2B purchasers' relationships

   with the CBs, which facilitate the sale of FICO Scores to B2B purchasers.

          46.    • FICO Scores and credit reports are often sold to businesses as a bundle. Such

   bundles can be sold by the CBs, which are licensed by Fair Isaac to sell FICO Scores and in

   return, pay a royalty to Fair Isaac. Thus, when a B2B purchaser requires a credit score, it

   purchases a credit report from a CB and a credit score from that CB and Fair Isaac, often through

   a contract with both Fair Isaac and the CB. Although the payment for the credit report and the

   credit score may at times occur in a single transaction, the reality is that both the CB and Fair

   Isaac act as the providers of the FICO Score. In this example, Plaintiffs and proposed Class

   members would then purchase the credit report and credit score from the B2B purchaser.

          47.     In its 2020 Form 10-K filed with the SEC, Fair Isaac states that, "[d]uring fiscal

   2020, 2019 and 2018, revenues generated from our agreements with Experian, TransUnion and

   Equifax collectively accounted for 32%, 29%, and 25% of our total revenues, respectively." 11

          48.     And in its 2022 10-K, Fair Isaac disclosed significant increases in the revenues



   10
    Fair Isaac, FICO: The Decisions Company Investor Overview, at 5 (Dec. 2019), https://fico.gcs-
   web.com/static-files/946e4204-cdbb-4797-b7e0-24d71191698b.
   11
     Fair Isaac Corporation, Annual Report (Form 10-K), at 4(Nov: 12, 2020), https://fico.gcs-
   web.comlnode/2395 1/html (hereinafter, "Fair Isaac 2020 10-K").
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   generated from these same agreements. According to Fair Isaac, "during fiscal 2022, 2021 and

   2020, revenues generated from our agreements with Experian, TransUnion and Equifax

   collectively accounted for 39%, 38% and 33% of our total revenues, respectively."12 Fair Isaac

   characterized the CBs as "partners in offering [FICO's] scoring solutions."

            49.   The FICO Score and credit report bundles can also be sold by Fair Isaac to

   businesses. "In those situations, Fair Isaac requests a credit score and credit report from the CBs-

   selected by the lender or consumer. The Credit Bureau applies Fair Isaac's CB-tailored FICO

   algorithm to a consumer's aggregated credit data and provides the consumer's credit report and

   credit score to Fair Isaac. Fair Isaac then delivers the bundle to the consumer or lender. Fair

   Isaac pays the CB for the cost of processing and providing the bundle."13 Thus, Fair Isaac and

   the CBs act as horizontal competitors and compete with each other for some B2B Purchasers —

   separate and apart from Fair Isaac's competition with VantageScore.

            50.   This direct competition between Fair Isaac and the CBs, as well as the close

   relationship among them, continues to this day. At an August 3, 2021 earnings conference, Fair

   Isaac's CEO, William J. Lansing, said, "we stay close to it [B2B scores] through our channel

   partners, the bureaus. But we also — certainly for all of the major institutions, we have direct

   sales relationships."14 TransUnion's 2022 Form 10-K acknowledges that it "compete[s] with

   FICO in the Financial Services" market for B2B purchasers.15 Similarly, Equifax's 2022 Form



   12 Fair Isaac 2022 10-K at 9.
   13 Fair Isaac Corp. v. Equifax, Inc., No. 06-4112, 2008 WL 623120, at *2 (D. Minn. March 4,
   2008).
   14
      Motley Fool, Fair Isaac Corp. (FICO) Q3 2021 Earnings Call Transcript (Aug. 3, 2021)
   (hereinafter,        "Q3          Earnings        Call"),      https://www.fool.com/earnings/call-
   transcripts/202 1 /08/03/fair-isaac-corporation-fico-q3-2021-earnings-call/.
   ls TransUnion, Annual Report (Form 10-K) (Feb. 14, 2022), at 12.
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   10-K acknowledges that it too "compete[s] with Fair Isaac Corporation with respect to certain

   of [its] analytical tools and solutions."16 Experian has also recognized that its "comparator

   companies" include FICO.17

           B.     The Markets for Credit Scores in The United States

           51.    There are two distinct rnarkets for credit scores—the "B2B Credit Score Market"

   and the "B2C Credit Score Market."

           52.    The "B2B Credit Score Market" consists of sales from a business (a credit score

   generator, such as Fair Isaac, directly or through a CB, or indirectly through a third-party credit

   reporting company) to lenders, such as banks and credit card companies, financial institutions,

   and other businesses. The "B2C Credit Score Market" consists of credit scores sold to consumers

   to monitor their own credit records. The claims in this case concern the B2B Credit Score

   Market. The B2B Credit Score Market is the relevant product market in which the claims that

   require a market definition are to be assessed.

          53.     In the B2B Credit Score Mar-ket, businesses purchase the credit scores of

   individuals and businesses to help them understand credit risk, make better-informed lending

   decisions, assess creditworthiness, and make business decisions. The B2B Credit Score Market

   also includes the FICO Scores that Plaintiffs and other businesses indirectly purchased from Fair

   Isaac and the CBs.

          54.     In the B2C Credit Score Market, Fair Isaac and other credit score producers, as

   well as CBs, sell consumers their own credit scores. A consumer often purchases their own credit




  16 Equifax, Annual Report (Form 10-K) (Feb. 23, 2022), at 8.

   17       Experian     plc,    Annual       Report    .2021        (2022),               at      139,
   https://www.experianplc.com/media/4223/experian-annual-report-2021.pdf.
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  score for personal use, including to see how lenders view their creditworthiness, to understand

  the types and terms of financing they may be able to secure, to monitor their financial health,

   manage their debt, protect their identity, and to determine if they are potentially eligible to make

   certain purchases.

           55.     The B2B Credit Score Market for credit scores is a distinct product market

  for antitrust purposes. The businesses that use credit scores to assess creditworthiness, manage

   risk, and make business decisions do not consider credit reports, insurance scores, or any part

   of an individual's consumer and credit history to be a substitute for credit scores. Likewise, the

   businesses that resell or otherwise provide credit scores to their own downstream customers do

   not consider credit reports, insurance scores, or any part of an individual's consumer and credit

   history to be a substitute for credit scores.

           56.     The relevant geographic market in which B2B credit scores are provided is the

  United States (including its territories). The restraints on competition contained in Defendants'

   contracts relate to business and consumer credit scores in the United States.

           57.     Business customers, such as banks, credit card companies, financial institutions,

   real estate companies, insurance companies and other businesses, in the B2B Credit Score

  Market are a separate and distinct group of purchasers of credit scores. Business customers who

   purchase credit scores in the B2B Credit Score Market do not use credit scores in the same manner

  as consumer customers who purchase credit scores in the B2C Credit Score Market.

           58.     Business customers in the B2B Credit Score Market purchase credit scores to

   make informed decisions, sell, advertise, or complement another product. On the other hand,

   consumer customers in the B2C Credit Score Market purchase the credit scores as an end-

   product.


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             59.    Business customers in the B2B Credit Score Market also purchase credit scores

   in ways that consumer customers do not. For example, business customers in the B2B Credit

   Score Market who engage in pre-screening, such as credit card companies, often purchase credit

   scores in batches as part of their marketing efforts. They use credit scores as a method of

   selecting consumers in a particular credit score range that they wish to extend credit card offers

   to under particular terms. However, consumer customers in the B2C Credit Score Market only

   purchase their own score.

             60.    The Consumer Financial Protection Bureau ("CFPB") noted in a 2011 report to

   Congress that "many of the credit scores sold to lenders are not offered for sale to consumers."18

   The agency went on to explain:

                   When a consumer purchases a score from a CRA [Credit Rating Agency], it is
                   likely that the credit score that the consumer receives will not be the same
                   score as that purchased and used by a lender to whom the consumer applies
                   for a loan. This could occur if the score the consumer purchased is an
                   educational score that is not used by lenders, but differences between the
                   score a consumer buys and the score a lender buys can occur for other reasons
                   as well. Since so many scores are in use in the marketplace, it could also be
                   the case that the particular lender to which the consumer applies uses a
                   different scoring model than the one purchased by the consumer, or that the
                   CRA from which the consumer obtains a score is not the same CRA that the
                   lender uses to obtain scores,or that the underlying data in the consumer's
                   credit report changes significantly between the time the consumer purchases
                   a score and the time the lender obtains a score for that consumer. It is also
                   possible that a consumer and a lender could access different reports from the
                   CRA, if they were to use different identifying information about the
                   consumer. Any of these differences could lead to differences between the
                   credit score a consumer sees and the credit score a lender uses to assess that
                   consumer. 19




   18 Consumer Financial Protection Bureau, The impact of differences between consumer- and
   creditor-purchased credit scores, at 1 (July 19, 2011), https://files.consumerfinance.gov/
   f/2011 /07/Report_20110719_C red itScores.pdf.
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        Id
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           61.    The vast majority of the credit reporting and credit scoring industry, industry

   analysts, policy analysts, and investors recognize the B2B Credit Score Market as a separate

   market from the B2C Credit Score Market. Fair Isaac itself recognizes its Business and

   Consumer offerings as distinct product and revenue lines. Fair Isaac has divided its "Scores"

   profits and revenues into separate "business-to-business" or "B2B" and "business-to-consumer"

   or "B2C" segments in its Securities and Exchange Commission filings and shareholder calls

   over the last several years. In its 10-K and 10-Q filings for the past several years, Fair Isaac has

   distinguished between its "business-to-business scoring solutions and services" and its

   "business-to-consumer scoring solutions and services including my FICO solutions for

   consumers."

           62.    Purchases in the B2B Credit Score Market for credit scores and B2C Credit Score

   Market for credit scores are also different. While business customers purchase credit scores from

   Fair Isaac through CBs and/or third-party intermediaries, credit scores in the B2C Credit Score

   Market are often sold to consumers directly, such as when consumers purchase their credit score

   from Fair Isaac at myFICO.com.

          63.     The B2B Credit Score Market exhibits high barriers to entry. As noted in a 2018

   article: "The deep integration of FICO scores and products into companies' operations has raised

   switching costs."20

          64.     Likewise, VantageScore Solutions has observed that in the residential mortgage

   sector, FICO's "imprint inhibits competition by raising switching costs and granting the

   irreplaceable brand value of utter ubiquity. It gives FICO unparalleled and highly controversial



   20  Fair Isaac: A Royalty on U.S. Credit Scoring (Sept. 25, 2018), https://seekingalpha.com/
   article/4208014-fair-isaac-royalty-on-u-s-credit-scoring.
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   negotiating leverage with almost every participant in the industry."21

          65.     "Larger lenders use the [FICO] score as an input to customized models they've

   built for specific situations or portfolios. After a recent review one major US lender recently

   identified over 600 places they were using a FICO score in their business processes. Switching

   to a new score not only means proving the new score is better (a long process in itself) but

   extensive testing to ensure all of those moving parts are still working as designed. Citibank

   recently announced that after an 18 month review they've decided it's safe to switch to the latest

   version of the FICO score (FICO 8). This wasn't a migration to a new score mind you, just a

   more recent version of the score they're already using. The barriers to entry are indeed high ...

   and expensive."22

          66.     "Network effects" — i.e., the phenomenon where a product or service increases

   in value when the total number of customers increase — serve as a barrier to entry into the B2B

   Credit Score Market. As one analyst has noted: "The `network effects' keeping FICO's

   dominant position [are] indeed incredibly strong."23

          67.     In 2011, at Fair Isaac's Analyst/Investor Day, Fair Isaac's then-CEO, Mark

   Greene, explained: "In about 10 seconds, an entire commerce transaction taking place because

   720 FICO was understood by the broker, by the mortgage banker on the other end of line and




   ' 1 Press Release, VantageScore, VantageScore Solutions Issues Statement Reacting to FHFA's
   Proposed Riiles for Validating and Approving New Credit Scoring Models (Dec. 17, 2018),
   https://vantagescor-e.com/press/vantagescore-so lutions-i ssues-statement-reacting-to-fhfas-
   proposed-rules-for-val idating-and-approving-new-credit-scoring-models.
   22 John Ulzheimer, Why FICO Isn't Going Away Any Time Soon, Smart Credit (July 5, 2011),
   https://blog.smartcredit.com/2011 /07/05/why-fico-isnt-going-away-any-time-soon/.
   23 Harrison Schwartz, Fair Isaac: Share Buybacks Likely To End As Cash Reserves Run Low,
   Seeking Alpha (Dec. 17, 2019), https://seekingalpha.com/article/4312953-fair-isaac-share-
   buybacks-1ikely-to-end-cash-reserves-run-low.
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   the customer to be shorthand for good credit risk, gave this guy a favorable mortgage rate. And

   that network effect, having everybody in the loop understand that shorthand and standardize on

   a FICO Score, that's magic."24

          68.     The anticompetitive conduct by Fair Isaac alleged herein accounts in significant

   part for the FICO Score's dominance in the B2B Credit Score Market.

          69.     The CBs participate in a market for credit reports. A credit report contains

   detailed information about a consumer's credit activity and current credit situation. The detailed

   information in a credit report is used to generate a FICO Score for a specific customer, which

   B2B lenders can use in making their lending decisions.

          70.     On information and belief, the CBs control virtually all of the credit report market

   (they have been called a "triopoly") and enjoy roughly equivalent market shares."Z5

          71.     The three CBs are all members of a trade association called the Consumer Data

   Industry Association ("CDIA"). Through the CDIA, the three CBs frequently work together,

   including to: (i) develop a standard electronic data reporting format called Metro 2®; (ii) issue

   joint statements on matters of public importance; (iii) provide guidelines to businesses that use

   credit reports; and (iv) respond to public criticisms of their industry. The three CBs also

   cooperated in the establishment of VantageScore Solutions as ajoint venture.26


   24 SA Transcripts, Seeking Alpha, Fair Isaac Corp. — Analyst/Investor Day (Nov. 3, 2011),
   https://seekingalpha.com/article/3 07417-fair-isaac-corp-analyst-investor-day.
   25 See Consumer Financial Protection Bureau, List of Consumer Reporting Companies (2021),
   https://files.consumerfinance.gov/fldocuments/cfpb_consumer-reporting-companies- list_202 1-
   06.pdf.
   26 See Consumer Data Industry Ass'n, About CDIA, https://www.cdiaonline.org/about/about-
   cdial; Consumer Data Industry Ass'n, Metro 2 Format for Credit Reporting,
   https://www.cdiaonline.org/resources/furnishers-of-data-overview/metro2-information/;   Dana
   Fowle, Industry Pushes BackAgainst Claims ofHigh Credit Reporting Errors, Fox5 Atlanta (Sept.
   15, 2021), https://www.fox5atlanta.com/news/industry-pushes-back-against-claims-of-high-

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            C.     Fair Isaac's FICO Score Has a Monopoly in the B2B Credit Score Market

            72.    Fair Isaac came into existence in 1956, possessed a monopoly on credit-scoring

   algorithms until the mid-1970s, and continues to wield a dominant market share.27

            73.    Fair Isaac's "FICO Classic" credit scores are the best known and most widely

   used credit scores in the B2B Credit Score Market. Fair Isaac applies an algorithm to each credit

   reporting agency's data to generate a FICO Classic Score between 300 and 850 that purports to

   give an indication of the individual's credit risk. It also generates a set of "reason statements,"

   with corresponding codes, that explain the reasons the consumer has not been assigned the

   maximum score.

            74.    FICO Scores are the credit scores most widely used by lenders and are used in

   over 90% of U.S. credit lending decisions.28 Every year, lenders access billions of FICO Scores

   to help them understand people's credit risk and make better-informed lending decisions.

            75.    On its website, Fair Isaac claims that "10 billion FICO Scores are purchased

   every year" and "27 million Fico Scores are purchased every day." FICO Scores are also used in

   over 30 countries. 29

            76.    Fair Isaac also advertises that its FICO Score is "widely accepted" and "used by


   credit- reporting-errors; Press Release, Consumer Data Industry Ass'n, Consumer Data Industry
   Association Releases Study on the Value of Credit Reporting in U.S. (June 15, 2020), https://cdia-
   news.s3.amazonaws.com/White+Paper+Press+Release+6.15.20.pdf; Consumer Data Industry
   Ass'n,      Equifax,       Experian,      &     TransUnion       Endorse        CARES         Act,
   https://www.cdiaonline.org/equifax-experian-transunion-endorse-cares-act/; Consumer Data
   Industry Ass'n, COVID-19, https://www.cdiaonline.org/covid-19/.
   27 Raymond Anderson, A History of Credit Scoring, at 75-76     (2019),
   https://www.researchgate.net/profile/Raymond_Anderson4/publication/331533723_Chapter_B 0
   6_History_of Credit_Scoring/links/5c7ed843299bfl268d3ccc5d/Chapter-B06-History-of-
   Credit-Scoring.pdf?origin=publication_detail.
   28   https://fico.gcs-web.com/static-files/946e4204-cdbb-4797-b7e0-24d71191698b.
   29 https://www.ficoscore.com/about.
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   90% of top U.S. lenders." FICO Scores have been "an industry standard for over 30 years."3o

            77.    Fair Isaac's executives have confirmed the dominance of Fair Isaac's FICO

   Score. In November 2017, at the JPMorgan Ultimate Services Investor Conference, Fair Isaac's

   CFO and Executive Vice President Michael Pung stated that the FICO scoring system "is the

   most widely used credit scoring system here in the U.S.," that "[v]irtually every major lender in

   the U.S. [uses] the FICO Score for some sort of credit lending decision," and that Fair Isaac has

   "maintained a 90-plus percent market share for at least the [last] 13 years."31 In 2008, Craig

   Watts, a public affairs manager at Fair Isaac, described the FICO Score as the "800 pound

   gorilla."3Z

            78.    Fair Isaac states in its 2020 Form 10-K:

                    Our products and services serve clients in multiple industries,
                    including primarily banking, insurance, retail, healthcare and
                    public agencies. Endusers of our products include 96 of the
                    100 largest financial institutions in the U.S., and two-thirds
                    of the largest 100 banks in the world. Our clients also include
                    more than 600 insurers, including nine of the top ten U.S.
                    property and casualty insurers; more than 300 retailers and
                    general merchandisers; more than 200 govemment or public
                    agencies; and morethan 200 healthcare and pharmaceuticals
                    companies, including nine of the world's top ten
                    pharmaceuticals companies. Eight of the top ten companies
                    on the 2020 Fortune 500 list use one or more of our solutions.
                    In addition, our consumer services are marketed to an
                    estimated 200 million U.S. consumers whose credit
                    relationships are reported to the three major U.S. credit
                    reporting agencies.33

            79.    An infographic on Fair Isaac's website states: "10 BILLION FICO SCORES


   3o Id

   31   TransUnion Counterclaims, ¶ 32.
   32
      Dana Dratch, What Does `Good' Credit Really Mean?, CNBC (Oct. 30, 2008),
   https://www.cnbc.com/id/27458815.
   33 Fair Isaac 2020 10-K at 10.

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   ARE SOLD EACH YEAR," which is "FOUR TIMES the number of hamburgers McDonald's

   sells WORLDWIDE in a year," and "27,400,000 FICO scores are sold every day," which is

  "OVER TWICE the number of cups of coffee Starbucks sells WORLDWIDE in a day."34




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             80.     Fair Isaac's 2020 Form 10-K states that FICO Scores "are used in the majority

   of U.S. credit decisions, by nearly all of the major banks, credit card organizations, mortgage

   lenders and auto loan originators," and it describes FICO Scores as "the standard measure in the

   U.S. of consumer credit risk."3s



   34Fair Isaac, Learn About the FICO     Score and Its Long History, https://www.fico.com/25years/.
   3s
        Fair Isaac 2020 10-K at 3, 7.
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            81.    A May 2021 report by Yale University's Thurman Arnold Project, a

   collaborative project among Yale faculty and students, as well as other scholars dedicated to

   research on competition policy and antitrust enforcement, notes that Fair Isaac "enjoys a virtual

   monopoly in the credit score market" and that "[b]ecause of the lack of competition in this

   domain, there has been limited innovation in scoring methodology."36

            82.    Fair Isaac's monopoly in the B2B Credit Score Market has given it considerable

   power to control prices and impose monopoly rents. Mr. Lansing has noted that, in the B2B Credit

   Score Market, Fair Isaac has "quite a bit of discretion in whether we want our margins to be

   higher or lower or where they are."37

            83.    In February 2013, at a Morgan Stanley Conference, Mr. Lansing explained that

   Fair Isaac's "Scores business, which is the cash generator, is a very, very high-margin business.

   It's deeply embedded into the systems of the bank customers who use it."38

            D.     Fair Isaac Has Been Able to Maintain its Monopoly

            84.    Despite Fair Isaac's 90% share in the Business Market, several companies have

   attempted to compete with Fair Isaac's FICO Scores. These competitors' products use the same

   data as FICO Scores. However, many also incorporate data not used by FICO Scores—data such

   as, rental, utility, and telecom payment data and/or public records information, including

   property deeds, mortgages, liens, personal property titles, tax records, and licensing data.

            85.    Some of these competitors to Fair Isaac's FICO Scores in the B2B Credit Score


   36 Yale University Thurman Arnold Project, UpdatingAntitrust and Competition Policy: Finance
   Issues, at 14, 15 (May 2021), https://som.yale.edu/sites/default/files/TeamFinance- Final.pdf.
   37   TransUnion Counterclaims, ¶ 34.
   38 Seeking Alpha, Fair Isaac's CEO Presents at Morgan Stanley Technology, Media & Telecom
   Conference (Transcript) (Feb. 27, 2013), https://seekingalpha.com/article/1231981-fair- isaacs-
   ceo-presents-at-morgan-stanley-technology-media-and-telecom-conference-transcript.
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   Market include: SageStream's Credit Optics Score; LexisNexis's RiskView score; CoreLogic

   Credco's Anthem Credit Score; PRBC; ChexSystems; L2C's Link2Credit Score; and

   ScoreLogix LLC's JSS Credit Score.

          86. • Another competitor, VantageScore Solutions, represented the biggest threat to

   Fair Isaac's FICO Scores in the B2B Credit Score Market because it was ajoint venture founded

   by the three major CBs. As part of its attempt to compete against Fair Isaac's FICO Scores in

   the B2B Credit Score Market, VantageScore Solutions introduced the VantageScore credit

   scoring system in March 2006. The three CB Defendants continue to own VantageScore

   Solutions.

          87.     VantageScore Solutions does not sell or market its VantageScore credit models

   or credit scores; instead, it licenses them to the three CB Defendants, which may incorporate

   VantageScores in their credit reports.

          88.     VantageScores are a competitor to FICO Scores in the B2B Credit Score Market.

          89.     In addition to being backed by the three major CBs, the VantageScore credit

   scoring model provides reliable credit scores for millions more consumers than FICO Scores by

   relying on additional and alternative sources of data. VantageScore, for example, calculates

   scores for consumers who have not used credit for up to two years and use utility and

   telecommunications payment histories. As such, VantageScore provides insights into

   individuals' and businesses' desirability as customers, clients, and/or tenants that Fair Isaac's

   FICO Scores cannot. In contrast, Fair Isaac's FICO scoring systems do not generate a score if a

   consumer does not have at least one credit account that has been open for six months or more,

   or if no credit account of the consumer has been reported to the reporting CB. Thus, millions of

   otherwise creditworthy individuals do not have a FICO Score.

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            90.    Obtaining a mortgage, car loan, credit card or reasonable interest rates on

   personal lines of credit is almost impossible without a credit score. Landlords are also

   increasingly screening potential tenants using credit scores. Thus, those excluded by Fair Isaac's

   traditional FICO scoring systems--including a disproportionate number of low-income and

   minority consumers--face an increased risk of being denied access to credit in the form of credit

   cards, auto and home loans, and housing.

            91.    For example, the CFPB has found that, as of 2010, 26 million consumers in the

   United States were "credit invisible" — i.e., they lacked credit history with one of the nationwide

   credit reporting companies.39 Those individuals cannot be scored by FICO.ao

            92.    The CFPB's research suggests "a strong relationship between income and having

   a credit record. Almost 30 percent of consumers iri low-income neighborhoods are credit

   invisible and an additional 16 percent have unscored records. These percentages are notably

   lower in higher-income neighborhoods. For example, in upper-income neighborhoods, only 4

   percent of the population is credit invisible and another 5 percent has an unscored record."41

           93.     Moreover, the CFPB found "significant differences in the incidence of having a

   limited credit history across racial and ethnic groups," specifically, while White and Asian

   individuals "are almost equally likely to be credit invisible or have an unscored record, the

   shares of Black and Hispanic individuals with limited credit history are much larger," and

   individuals in those groups are thus less likely to be able to obtain a credit score.42



   39 CFPB Office of Research, Data Point: Credit Invisibles, at 4, 6 (May 2015),
   https://files.consumerfinance.gov/f/201505_cfpb_data-point-credit-invisibles.pdf.
   4o Id
   41 Id. at 24.
  a2 Id.
                                                     25
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           94.       According to the CFPB, "[a]bout 15 percent of Black[ ] and Hispanic[ ]

   [individuals] are credit invisible ... and an additional 13 percent of [Black individuals] and 12

   percent of [Hispanic individuals] have unscored records. ... This elevated incidence ... is

   observed across ages, suggesting that these differences across racial and ethnic groups

   materialize early in the adult lives of these consumers and persist thereafter."43

           95.       The CFPB went on to conclude that "[t]hese results suggest that the problems

   that accompany having a limited credit history are disproportionally bome by Black[ ],

   Hispanic[ ], and lower-income consumers."44

           96.       Furthermore, it is widely recognized that FICO Scores are a measure of past

   ability to pay. Competing products incorporate an analysis of prospective creditworthiness. For

   example, Scorelogix's JSS score incorporates job and income stability to determine whether the

   borrower will have the ability to repay debt in the future. L2C offers an alternative credit score

   that uses utility paymenthistories to determine creditworthiness, including future ability to pay.

           97.       VantageScore has achieved some limited success. In a 2018 report,

   VantageScore Solutions stated:                  _

                     During the twelve months ending in July 2017, over 1.4 billion
                     VantageScore credit scores were delivered directly to consumers by
                     lenders like Chase and Capital One and educational websites like
                     CreditKarma, Lending Tree, and Mint. These scores are calculated
                     using the same VantageScore model used by lenders (i.e., not an
                     "educational" model). They are most often provided free of charge
                     as part of educational offerings that include simulators, credit
                     reports, educational articles, and explanations.4s


   " Id. at 24-25.
   a4 Id. at 25.

   4' VantageScore Solutions, VantageScore© Credit Scores and The Mortgage Market, at 8 (2018)
   ("VantageScore Report"), https://vantagescore.com/pdfs/FAQs-VantageScore-Credit- Scores-
   and-the-Mortgage-Market.pdf.
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           98.    VantageScore Solutions went on to note that "[a]s lenders adopt VantageScore,

   we believe that such adoption will improve consumers' access to credit in certain segments and

   enable many more borrowers to obtain fairer pricing."46 VantageScore Solutions also reported

   that "many of the most sophisticated secondary market participants use the VantageScore model

   to help evaluate and monitor risk, and to price and benchmark deals more accurately."47

           99.    Despite the advantages of using VantageScore or another competing credit

   scoring model, Fair Isaac continues to have a monopoly in the B2B Credit Score Market and

   extracts monopoly rents through anticompetitive and exclusionary conduct and anticompetitive

   agreements with each CB. In February 2013, Mr. Lansing explained that despite the existence

   of VantageScore, "there [is] not that much competition around our Scores business" because

  "FICO Scores are very much part of the fabric of the banking industry" and "really deeply

   embedded."

           E.     Fair Isaac's Conduct in Furtherance of its Anticompetitive Scheme

    _      100.   Fair Isaac anticipated the threat VantageScore could pose to its dominance in the

   B2B Credit Score Market. Fair Isaac's own models of future losses predicted "substantial

   double-digit declines" if the use of VantageScore continued to expand.48

           101.    Faced with the prospect of a significant hit to its niarket dominance, and its

  profits, Fair Isaac used its monopoly power to coordinate a comprehensive attack on

   VantageScore that included filing anticompetitive litigation; enlistingthe Credit Bureaus to sign


  46 Id. at 5.
  47 VantageScore Solutions, Myth: VantageScore Is Not Accepted by. Investors in Securitization
  Markets (Mar. 23, 2016), https://vantagescore.com/education/blog/myth- vantagescore-is-not-
  accepted-by-investors-in-securitization-markets.
  48 Fair Isaac Corp. v.. Experian Info. Sols., Inc., No. CV 06-4112, 2008 WL 11348223, at *2 (D.
  Minn. Nov. 3, 2008).
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  on to licensing agreements with anticompetitive provisions that undermined their own joint

  venture; and undertaking a campaign of disparagement against, and disinformation about,

  VantageScore Solutions and VantageScore.

                 1.         Fair Isaac's Anticompetitive Litigation

         102.     Fair Isaac, recognizing the creation of VantageScore as a competitive threat,

  initiated litigation against Equifax, Experian, TransUnion, and VantageScore Solutions. In

  October 2006, just after the introduction of VantageScore, Fair Isaac filed a meritless lawsuit

  against them, alleging that the development of VantageScore violated the antitrust laws and

  constituted trademark infringement. Fair Isaac sought the elimination of VantageScore Solutions,

  requesting that the "Defendants be ordered to dissolve VantageScore." Fair Isaac Corp. v.

  Equifax, Inc. et al, No. 0:06-cv-04112, Dkt. No. 1-1; at 65 (D. Minn. Oct. 11, 2006). This

  frivolous lawsuit represented Fair Isaac's first attempt to kill VantageScore before it could gain

  traction in the market.

         103.    VantageScore Solutions characterized the litigation that Fair Isaac initiated as a

  "legal battle that sought to put us out of business, even as we scrambled to establish a

  competitive foothold."49 Fair Isaac raised bogus antitrust claims that it knew lacked foundation,

  given its then-94% share of the B2B Credit Score Market. It also alleged trademark infringement

  that a jury found to be based on a trademark that Fair Isaac had fraudulently obtained from the

  U.S. Patent and Trademark Office ("PTO"). In addition, Fair Isaac's contention that the "300-

  850" marks were anything other than "merely" descriptive lacked all foundation because — as

  the U.S. Court of Appeals for the Eighth Circuit later held — "consumers in this market



  a9    VantageScore      Solutions, Inc., 10 years, 10 milestones                   (Mar.     2016),
  https://thescore.vantagescore.com/article/252/10-years-10-milestones.
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   immediately understand `300-850' to describe the qualities and characteristics of FICO's credit

   score — that the credit score will be within the range of 300-850."so

            104.   Equifax settled the litigation in June 2008 and formed "a partnership [with Fair

  Isaac] to develop and sell advanced analytics and scoring solutions for businesses and

  consumers."51

            105.   The litigation against Experian and TransUnion lasted into 2011. While it was

  ongoing, VantageScore Solutions remained under a cloud, with Fair Isaac's lawsuit hobbling its

  commercial prospects: Potential B2B Purchasers for VantageScore had no way of being sure

  that the product might not be declared infringing on Fair Isaac's trademarks or that

  VantageScore Solutions would not be dissolved.

            106.   The district court entered summary judgment in favor of the Credit Bureaus on

  the antitrust and false advertising claims. A jury found against Fair Isaac on the remaining claim

  for trademark infringement, finding that the mark "300-850" (which denoted the range of FICO

  Scores) was merely descriptive. It also found that: (1) Fair Isaac made a false representation

  during the application process to the PTO for the registrations of the "300-850" marks; (2) Fair

  Isaac knew that representation to be false when it was made and intended to deceive the PTO;

  and (3) the PTO relied on the false representation in decidiiig to issue the registrations.5z

            107.   The district court upheld the verdict, noting that "[t]his extensive, expensive

  litigation seems to have been initiated largely in response to a perceived threat to Fair Isaac's



  5o Fair Isaac Corp. v. Experian Info. Sols., Inc., 650 F.3d 1139, 1148 (8th Cir. 2011).
  s 1 Fair Isaac, Equifax and Fair Isaac Enter Partnership to Accelerate Development and Delivery
  ofNew Analytic Solutions (June 10, 2008), https://www.fico.com/en/newsroom/equifax-and-fair-
  isaac-enter-partnership-accelerate-development-and-delivery-new-analytic.
  52
       Fair Isaac, 650 F.3d at 1148-50.
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   dominant position in the credit scoring industry."s3

          108.    In 2011, the United States Court of Appeals for the Eighth Circuit affirmed both

   that decision and the earlier summary judgment ruling.sa

          109.    VantageScore Solutions's growth during its first few years was inhibited by the

   litigation, which was part of a continuing antitrust violation by Fair Isaac that goes on to this

   day.

          110.    In December 2017, Fair Isaac sued TransUnion for unpaid royalties.ss

          111.    In February 2018, TransUnion responded by filing antitrust counterclaims for,

   inter alia, monopolization against Fair Isaac. In paragraphs 42-60 of the counterclaims (which

  was partially redacted), the anticompetitive terms the Credit Bureaus and Fair Isaac had agreed

  upon were disclosed publicly for the first time. Those provisions are described in detail below.

          112.    Fair Isaac moyed to dismiss the counterclaims. Judge Coleman denied the

  motion, ruling that "TransUnion has adequately pled actual and attempted monopolization"

  through allegations that "FICO engages in practices that are intended to drive out competition"

  through "exclusive dealing.provisions [that] are unlawful attempts to `maintain monopoly power

  through exclusionary conduct."56

          113.    In November 2020, TransUnion and Fair Isaac settled on undisclosed terms. One

  effect of this settlement was to cut Plaintiffs and proposed Class members off from obtaining

  further information about the anticompetitive agreements between Fair Isaac and the CBs. Fair


  s3 Fair Isaac Corp. v. Experian Info. Sols., Inc., 711 F. Supp. 2d 991, 1000 (D. Minn. 2010).
  sa Fair Isaac Corp. v. Experian Info. Sols., Inc., 650 F.3d 1139 (8th Cir. 2011).
  ss See Complaint, Dkt. 1, Fair Isaac Corp. v. Trans Union LLC, No. 1 :17-cv-0831 8 (N.D. I11.Nov.
  16, 2017).
  56 Fair Isaac Corp. v. Trans Union, LLC, No. 17:cv-8318, 2019 WL 1382068, at *2 (N.D.I11.
  Mar. 27, 2019).
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   Isaac essentially bought TransUnion off. This inference is bolstered by the fact that, in August

   2021, TransUnion announced that it had entered into a long-term (presumably lucrative)

   contract to distribute FICO Scores to lenders and consumers in Canada.57

           114.    The Antitrust Division of the United States Department of Justice took notice of

   Fair Isaac's conduct alleged in the TransUnion Action and instituted a civil investigation. That

   investigation was closed without action in December 2020, shortly after TransUnion settled with

   Fair Isaac.58

                   2.     Fair Isaac and the Credit Bureaus' Anti-Competitive Agreements

          115.     Business customers in the B2B Credit Score Market purchase credit reports and

   FICO Scores from CBs and third-party credit reporting companies. As part of this process, CBs

   have entered into contractual relationships, called "Credit Scoring Services Agreements"

   ("CSSAs"), with their customers that govern the terms by which businesses purchase FICO

   Scores. These terms include the amount(s) paid to the CB, the fee model for delivery of credit

   score services, the method of payment, the mode of delivery, and restrictions on the business's

   use of FICO Scores.

          116.     The CBs and Fair Isaac have entered into separate licensing agreements which

   set forth the royalties that CBs must pay to Fair Isaac for the FICO Scores that the CBs sell to

   their customers. These royalties are passed on to Plaintiffs and other members of the proposed




  57 See Press Release, TransUnion, TransUnion Enters New Long-term Agreement with FICOto
  Distribute FICO® Score in Canada (Aug. 3, 2021), https://www.globenewswire.com/news-
  release/202 1 /08/03/2273895/0/en/TransUnion-Enters-New-Long-term-Agreement-with-FICO-
  to-Distribute-FICO-Score-in-Canada.html.
   58 See Press Release, Fair Isaac, FICOStatementRegardingAntitrustlnvestigation (Mar. 15,2020),
   https://fico.gcs-web.com/news-releases/news-release-details/fico-statement-regarding-antitrust-
   investigation.
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   Classes.

          117.    After its litigation efforts failed to eliminate VantageScore, Fair Isaac elected to

   take another approach. When its existing licensing agreements with each CB expired in 2013 or

   2015, Fair Isaac reentered agreements containing new anticompetitive provisions with each CB

   that aimed to crush the only real competition, VantageScore, maintain Fair Isaac's monopoly,

   and extract monopoly rents from B2B Purchasers.

          118.    Fair Isaac and the CBs entered into new or renewed agreements that contained

   new provisions designed to restrict the competitive reach of VantageScore. The CBs

   characterized the licensing agreements with Fair Isaac as "vertical distribution agreements" in

   their memorandum of law in support of their motion to dismiss in this litigation.59 The

   anticompetitive contract provisions targeted the only significant competing credit score —

   VantageScore. And they specifically restricted the CBs' ability to market VantageScore to B2B

   purchasers. On information and belief, the CBs agreed to those provisions — cutting their own

  joint venture off at the knees — in return for Fair Isaac's acquiescence to a clause that protected

  them from price competition (and potentially in exchange for other benefits as well). The benefit

  of the quid pro quo to the CBs was that they could charge supracompetitive prices for credit

  scores to the consumers — the B2B purchasers.

          119.    The agreements were consummated at a critical time. In 2011 through the first

  part of 2013, developments occurred that should have furthered VantageScore's ability to

  compete with FICO Scores. In 2011, VantageScore Solutions formed a partnership with the

  Consumer Federation of America, "a nonprofit association of nearly 300 consumer groups



  s9 See The Credit Bureaus' Motion to Dismiss Plaintiffs' Class Action Complaints, Dkt. No. 135,
  In re FICO Antitrust Litig. , No.1 :20-cv-021 14, at 2 (Jan. 18, 2022).
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   founded in 1968 to advance the consumer interest through research, advocacy, and education";

   that alliance led to the "use of annual consumer surveys to gauge awareness of credit scoring

   related issues."60 In October 2012, "the Federal Deposit Insurance Corporation ["FDIC"]

   revised its rules for assessing default risk on loans issued by banks with deposits in excess of

   $10 billion. Instead of evaluating loans on a particular credit score, the revision calls for

   examining the underlying probability of default [] associated with those loans at the time of

   origination."61 In March 2013, VantageScore Solutions debuted a new scoring model,

   VantageScore 3.0, which "built on the strengths of its predecessors and drew extensive news

   coverage for its ability to score 98 percent of adult consumers in the U.S. (including 30-35

   million who cannot get scores from conventional credit-scoring models [i.e., FICO]); its

   disregard of paid collections (including paid medical debt); and its simplified reason codes."62

   And, in July 2013, VantageScore Solutions published a white paper explaining how

   VantageScore could be aligned with the FDIC's new rules for evaluating probability of

   default.63

           120.   Fair Isaac's response to these developments was to agree on anticompetitive

   contract terms with the CBs, commencing with Experian in May 2013, continuing with Equifax

   in November 2013, and culminating with the February 2015 Analytic and Data License

  Agreement ("ADLA") between Fair Isaac and TransUnion. These clauses would preserve Fair

   Isaac's monopoly while compensating the CBs for the marginalization of VantageScore. Fair


  60 VantageScore Solutions, 10 Years, 10 Milestones, supra n. 52.
  61 Id.
  62 VantageScore, 10 years, 10 milestones, supra n. 52.
  63 VantageScore Solutions, FDIC New Definition o,f High Risk
                                                                Consumer Loan Securities (July
  2013),    https://paperzz.com/doc/8033743/fdic-new-definition-of-high-risk-consumer-loan-and-
  securi. 1
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   Isaac and the CBs did not publicly reveal any of the terms of their agreements until February

   2018.

           121.      The necessary (and intended) consequences of the agreements between Fair Isaac

   and the CBs was the stifling of competition in the B2B Credit Score Market.

           122.      In fact, Mr. Lansing, confirmed that the "exclusive deal[s]" Fair Isaac and the Credit

   Bureaus entered into essentially sidelined VantageScore, which never gained "a lot of traction in the

   banking space," and that, even though VantageScore was a joint venture of the Credit Bureaus,

   working together with FICO has been "a good thing for both of us [i.e., both the Credit Bureaus and

   Fair Isaac]."64

           123.      According to Mr. Lansing, instead of being "at war" with one another, the Credit

  Bureaus decided instead "to be partnered" with Fair Isaac. Explaining the relationship with

  Experian, for example, Mr. Lansing stated that Experian and Fair Isaac "have a rev share

  arrangement with them that works for them and works for us really good." Similarly, with

  respect to its arrangement with Equifax, Mr. Lansing stated "it is a rev share model. We're in it

  together." Given Fair Isaac's own admission that all three Credit Bureaus have Level Playing

  Field clauses, it follows that TransUnion would also have a similar revenue sharing arrangement

  with Fair Isaac.

                            a.      Fair Isaac's Anticompetitive Contracts with the CBs

           124.      The terms of the contracts between Fair Isaac and the Credit Bureaus were not

  publicly revealed until February 2018. Many of the contract terms remain confidential to this

  day.



  64 Remarks by William J. Lansing, President, CEO & Director, Fair Isaac, Fair Isaac Corp at
  Barclays Global Financial Services Conference (September 25, 2015).
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           125.   The discussion that follows is based on TransUnion's description of its ADLA

   in its counterclaims against Fair Isaac. The ADLA was filed under seal in the TransUnion action

   and is unavailable to Plaintiffs beyond what TransUnion has quoted in its counterclaims. While

   the counterclaims quote only the ADLA, TransUnion pled that "Fair Isaac represented to

   TransUnion that TransUnion's two major competitors, Experian and Equifax, had already

   agreed to materially similar new contracts with Fair Isaac."65 In fact, Fair Isaac admitted that

   Equifax, Experian, and TransUnion agreed to the same or similar provisions: In FICO's Answer

   to Counterclaims in the TransUnion litigation, Fair Isaac "admit[ed] that prior to January 2015,

   it entered into separate contracts with Experian and Equifax that contained certain terms that

   were similar to certain terms in the ADLA."66

           126.   Furthermore, Fair Isaac "admit[ed] that Equifax and Experian have agreed to `No

   Equivalent Products' provisions with terms similar to the terms agreed to by TransUnion in the

  ADLA."67 FICO also "admit[ted] that Equifax and Experian have agreed to `Dynamic Royalty

   Schedule' terms that are similar to the terms agreed to by TransUnion in the ADLA, and that

  Equifax and Experian are subject to royalty schedules that contain a "Pre-Qualification" royalty

  category similar to that to which TransUnion is subject in its royalty schedule."68 Finally, Fair

  Isaac "admit[ed] that Equifax and Experian have agreed to `Level Playing Field' terms similar

  to the term agreed to by TransUnion in the ADLA."69


  65 TransUnion Counterclaims, ¶43.
  66 Fair Isaac's Redacted Answer to TransUnion Counterclaims, Dkt. No. 62, Fair Isaac Corp. v.
  TransUnion LLC, No 1:17-cv-08318 at 21 (N.D. 111. Apr. 10, 2018) ("FICO Answer to
  Counterclaims").
  67 FICO Answer to Counterclaims at 24
  6s Icl. at 27.
  69 Id. at 27.
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            127.     Fair Isaac has made similar admissions about the contract terms in its Answer in

   this litigation. Fair Isaac admits that its agreement with TransUnion contains the "No Equivalent

   Products" provision.70 It also admits that the "Dynamic Royalty Schedule" and "Level Playing

   Field" terms appear in its agreements with all three credit bureaus,7' and that the latter requires

   it to offer the most favorable royalty pricing as to all three credit bureaus.72 Fair Isaac further

   admits that the "Pre-Qualification" royalty category has applied since 2015.73 Thus,

   substantially similar anticompetitive No Equivalent Products and Dynamic Royalty Schedule

   provisions that exist in the ADLA between TransUnion and Fair Isaac also exist in the

  agreements between Experian and Fair Isaac and Equifax and Fair Isaac. The allegations that

  follow therefore apply to all three Credit Bureau Defendants.

            128.     The restraints imposed in the contracts consist primarily of: (a) "No Equivalent

   Products" provisions; and (b) "Dynamic Royalty Schedule" provisions (the "Restrictive

  Terms"). A third set of provisions, the "Level Playing Field" provisions, compensated the CBs

  for their agreement not to promote VantageScore under the former provisions at the expense of

  B2B Purchasers.

            129.     In an order dated September 28, 2023, this Court held that "the No Equivalent

  [Products] Provision and the Dynamic Royalty Schedule clauses together qualify as sufficient

  allegations of anticompetitive effects" to allow a claim against Fair Isaac under Act §2 of the




  70 Fair Isaac's Answer and Affirmative Defenses to Indirect Purchaser Plaintiffs' Consolidated
  Class Action Complaint, Dkt. No. 183, No. 1:20-cv-02114 ("FICO Answer to IPP Complaint"),
  (Oct. 23, 2023) ¶126.
  71 Id. at ¶125.

  72 Id. at ¶145.

  73 Ia'. at ¶138.

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   Sherman Act to proceed to discovery.74 Those provisions are described in turn below.

                          i.     The "No Equivalent Products Clause"

            130.   The "No Equivalent Products" clause is located at Section 12.5 of the ADLA

   between Fair Isaac and TransUnion. This clause provides that TransUnion may not "internally

   develop" a credit scoring system that is "aligned to the odds-to-score relationship of any Fair

   Isaac Analytic" or uses more than a limited number of reason codes that "match" reason codes

   used by any Fair Isaac Analytic. Section 12.5 of the ADLA further prohibits TransUnion from

   distributing "any competing analytic" (i.e., credit scoring system) that is aligned with FICO

   Scores or uses too many of the same reason codes. The Section also expressly names

   VantageScore Solutions, LLC as a developer of such a scoring system that may not be distributed

   if VantageScore were to offer an "Equivalent Product."75

            131.   On information and belief, Fair Isaac has imposed similar or identical "No

   Equivalent Products" clauses on Equifax and Experian.76 Thus, these CBs have agreed to and

   acquiesced in these anticompetitive agreements and the resulting anticompetitive effects.

            132.   Fair Isaac's "No Equivalent Products" clause has effectively blocked the CBs

   from offering alternative credit scoring products, such as VantageScore, which would allow

   business customers in the B2B Credit Score Market to switch from FICO Scores without

   incurring the significant switching costs that using a new scoring system would entail. It also

  prevents the use of VantageScore or other credit scoring systems alongside or interchangeably

  with FICO Scores without the business customer incurring those same switching costs.


  74    Memorandum Opinion and Order, Dkt. No. 173, No. 1:20-cv-02114 (Sept. 28, 2023) at 13.
  75   TransUnion Counterclaims., ¶44.
  76Fair Isaac has admitted its license agreements with Equifax and Experian include similar "No
  Equivalent Products" provisions. FICO Answer to IPP Complaint, ¶ 127.
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            133.    The "No Equivalent Products" clause thus protects and sustains Fair Isaac's

    monopoly.

            134.    For example, if an alternative credit scoring product such as VantageScore used

    a score of 700 to indicate a less-than-five-percent risk of credit delinquency, and if a FICO Score

    of 700 also indicated the same risk of delinquency, the "No Equivalent Products" clause would

    prevent a CB from distributing the competing product. Similarly, if a competing credit score

    product used reason codes that match 20% of the reason codes used by FICO scoring systems,

    the "No Equivalent Products" clause would prohibit a CB from distributing the product.

            135.    Due to years of Fair Isaac's dominance, many business customers of credit scores

    have modeled and designed their internal systems for FICO Scores. These business customers'

    systems, models, and processes are calibrated to FICO's odds-to-score relationship (i.e.,

    each given score has a given ratio of non-defaulting consumers to defaulting consumers), and

    reason codes (the pai-ticular reasons cited for increased risk of default). For example, a bank's

    software might be designed to accept one or more FICO Scores and reason codes, combine this

    information with data that it collects internally, and automatically produce a lending decision.

    The "No Equivalent Products" clause effectively prohibits the CBs from selling an alternative

    to FICO's Scores since those scores would have to be incompatible with many businesses'

    existing systems. Thus, they are prevented from providing business customers a legitimate

    choice between using FICO Scores and an alternative score.

           136.    Notably, the "No Equivalent Products" clause does not sustain Fair Isaac's

    intellectual property. Rather, it protects and sustains Fair Isaac's monopoly. For example, the

    odds-to-score relationship is not protectable intellectual property. It is the arbitrary assignment

    of a number (score) to a related risk probability. The intellectual property entitled to protection


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   in this product market is the analysis and the process used to predict a consumer's risk of default,

   not the shorthand numerical representation of a "less than-five-percent-risk-of-default" as

   " 700.   "




                137.   Similarly, the reason codes that are prohibited from matching Fair Isaac's, under

   the "No Equivalent Products" clause, were not invented by Fair Isaac. Rather, there is an

   established set of reason codes that reflect well-established industry measures of

   creditworthiness.

                138.   The "No Equivalent Products" clause was an effective restraint of trade because

   when one CB stops using VantageScore, it becomes even less attractive to the other CBs. B2B

   purchasers will not want to use a credit scoring system unless all of the main CBs use it. This

   phenomenon is often referred to as a "network effect." By imposing a"No Equivalent Products"

   term, Fair Isaac sought to block the CBs from enabling B2B purchasers to easily switch from

   FICO Scores to VantageScore without incurring the cost of redesigning their lending programs

   and systems and from using VantageScore alongside or interchangeably with FICO Scores.

                139.   By entering contracts with the anticompetitive "No Equivalent Products"

   provisions, the CBs agreed to anticompetitive terms that had the effect of eliminating or

   drastically reducing the competitive threat posed by VantageScore, thus unreasonably

   restraining trade.

                                     ii.     The "Dynamic Royalty Schedule"

                140.   The contracts between Fair Isaac and Equifax, Experian, and TransUnion,

   respectively, include a similar or identical "Dynamic Royalty Schedule" clause that allowed Fair

   Isaac to replace its existing royalty with a new one and thereby gave Fair Isaac the ability to

   control the prices of FICO Scores. The "Dynamic Royalty Schedule" is detailed in Section 9.2


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   of the ADLA between Fair Isaac and TransUnion. This provision states that "once every twelve

  (12) months during the Term, Fair Isaac shall have the right to replace the Royalty Schedule by

   providing a new royalty schedule to TransUnion in writing."77

           141.   According to TransUnion, "Fair Isaac has abused and exploited this provision in

  2015, 2016, and 2017 by not only raising prices, but also introducing entirely new and non-

  negotiated contract terms, royalty categories, and definitions."78

           142.   In 2015, Fair Isaac inserted a new "Pre-Qualification" royalty category into its

  contracts with CBs. "Pre-Qualification" is defined as "an End User's qualification of a potential

  consumer customer for an End User's own intemal lending offering." This royalty category

  created a distinction between: (1) lenders that use FICO Scores for "Pre-Qualification" without

  providing any credit score or credit data to consumers, and (2) lenders that use FICO Scores for

  "Pre-Qualification" while also providing credit scores or credit data to consumers "in

  connection" with the "Pre-Qualification."

           143.   As an incentive, some business customers in the B2B Credit Score Market

  provide to their consumer customers, to whom they are often offering credit, the opportunity to

  receive their personal credit score. This can serve as a valuable marketing tool for the business

  customers.

           144.   Under Fair Isaac's contracts with the CBs, the royalty price paid to Fair Isaac for

  use of its FICO Score for "Pre-Qualification" is directly tied to whether credit scores or credit

  data are provided to consumers. There is a lower per-score royalty rate if a business customer

  purchases a FICO Score for use in "Pre-Qualification" and does not provide any credit score or



     TransUnion Counterclaims, ¶ 50.
  78 Id.
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   credit data to their consumer customer "in connection" with the "Pre-Qualification." If the

   lender purchases a FICO score for use in `Pre-Qualification' and provides a VantageScore (or

   any other credit score) to the consumer `in connection' with the `Pre- Qualification," Fair Isaac

   charges the lender a seven times penalty rate for that FICO Score. That steep penalty is meant

   to dissuade lenders from providing competing credit scores, such as a VantageScore. 79

           145.      The higher royalty rate can only be avoided if the business customer exclusively

   purchases FICO Scores. One way to avoid paying the higher royalty rate is for the business

   customer to purchase the FICO• Score but not provide a credit score or credit data to the

   consumer. A second way to avoid the higher royalty rate requires the business customer to

   purchase a bundled FICO product from Fair Isaac and provide the bundled FICO Score to its

   consumer customer. Fair Isaac offers bundled products to lenders that combine the use of scores

   designed for use by business customers with the provision of scores to their, consumer

   customers.so

           146.      TransUnion accepted, complied with, and made royalty payments according to

   the new "Pre-Qualification" royalty category. On information and belief, so have Equifax and

  Experian.s 1

           147.      The only reason for the higher royalty rate is to unreasonably restrain trade. There

  is no legitimate business justification for the higher royalty rate Fair Isaac and each CB agreed

  upon for FICO Scores when the business customer also purchases a competing credit score (i.e.

  VantageScore) to provide its consumer customers. The higher royalty rate has anticompetitive




  79 Ic1., ¶52.

  sola'.,¶53.
  sl See id., ¶55.
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   effects and has assisted Fair Isaac in maintaining its monopoly position as, on information and

   belief, few, if any, business customers have opted to pay the higher royalty rate.

            148.       According to TransUnion, "[t]his scheme has been effective, and no B2B

   Purchasers from TransUnion have opted to pay the penalty rate."8'- The purpose and effect of

   this clause was to prevent VantageScore from obtaining market share, thereby unreasonably

   restraining trade.

                                    iii.   The "Level Playing Field"

           149.        In exchange for agreeing to the "No Equivalent Products" and "Dynamic

   Royalty" provisions in their agreements with Fair Isaac — which effectively prevent the CBs

   from marketing VantageScore to B2B purchasers — Fair Isaac committed not to offer any CB a

   more favorable price for FICO Scores than any other CB. This commitment was embodied in

   the "Level Playing Field" clauses of the agreements with the CBs. Those provisions forbid Fair

   Isaac to charge any CB a price that is lower than the price it charges any other CB.83The "Level

   Playing Field" provision of the TransUnion ADLA is contained in §9.16. Fair Isaac's contracts

  with TransUnion, Equifax, and Experian include similar or identical "Level Playing Field" and

  "Dynamic Royalty Schedule" provisions.84 The Credit Bureaus agreed to, and have complied

  with, these contract provisions.

           150.        The Level Playing Field functions as a cost-information-sharing mechanism

  among the CBs. The FTC has determined that "when competing companies," like the Credit

  Bureaus, "exchang[e] price or other commercially sensitive information, that may facilitate


  82 Id., ¶54.

  83   See id., ¶59.
  84 FICO Answer to IPP Complaint, ¶136 (Dynamic Royalty Schedule), ¶145 (The Level Playing
  Field).
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   collusion or otherwise harm competition and consumers in violation of the antitrust laws."

   Indeed, "the sharing of information relating to price, cost, output, customers, or strategic

   planning is more likely to be of competitive concem than the sharing of less competitively

   sensitive information."85

          151.    The Level Playing Field provision offered the CBs several advantages, even

   though it effectively prevented the CBs from marketing VantageScore to B2B purchasers. First,

   it confirmed to each CB how much the other competing CBs are paying for FICO's algorithm.

   This knowledge protected the CBs from the risk that Fair Isaac would grant discounts that could

   expose them each to the risk of losing market share to their competitors. Second, the CBs used

   the information gleaned from the Level Playing Field provision to reduce price competition. As

   Fair Isaac has pointed out, previously, "a Credit Bureau could not be sure what its competitors'

   costs were and, consequently, to what extent its competitors could cut the price of their Credit

   Scores. This uncertainty could be used by Lenders to induce price competition among the Credit

   Bureaus." Fair Isaac claimed in its earlier lawsuit that the Credit Bureaus sought to use

   VantageScore so that "each Credit Bureau will know that it is paying exactly the same cost as

   its competitors for its scoring algorithm, and Lenders will no longer be able to use this

   uncertainty to play one Credit Bureau against the others."86 In a rich irony, the Level Playing

   Field provision does exactly what Fair Isaac accused the CBs of trying to accomplish through

   VantageScore: prevent their customers from playing one CB against the others, thereby reducing




   85 Michael Bloom, Information exchange: be reasonable, FED. TRADE C0MM'N (Dec. 11,
   2014), https://www.ftc.gov/enforcement/competition-matters/2014/12/information-exchange-be-
   reasonable (emphasis added).
   86Third Amended Complaint, Dkt. No. 436, Fair Isaac Corp. v. Experian Info Sols., No. 06-cv-
   4112 (D. Minn. Nov. 10, 2008), ¶138.
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   price competition for credit reports

          152.    It also protected CBs from new market entrants. As Fair Isaac has pointed out,

   the CBs faced "the threat that independent scoring algorithm vendors, such as Fair Isaac, will

   facilitate the entry of new Credit Bureaus."87 But by agreeing to the Level Playing Field

   provisions, Fair Isaac could not carry out that threat — by offering new credit bureaus prices

   lower than those it charges the incumbent CBs. Thus, the CBs have secured from Fair Isaac a

   significant source of protection from future competition in the market for the sale of credit

   reports to B2B Purchasers.

          153. . The provision is demonstrably important to the Credit Bureaus. As was revealed

   through Fair Isaac's suit against TransUnion, in the negotiations over its Canadian contract,

   TransUnion insisted that Fair Isaac include a "Level Playing Field" clause. That clause would

   have given TransUnion Canada a right to any discounts or special pricing terms that Fair Isaac

   might offer other credit bureaus for the license or distribution of FICO scores in Canada. The

   Level Playing Field clause was so valuable to TransUnion of Canada that it continued to insist

   on one until Fair Isaac threatened to withhold its Canadian business entirely.

          154.    Collectively, the "Dynamic Royalty Schedule" and "Level Playing Field" clauses

   allow Fair Isaac to unilaterally increase the royalty prices it charges for FICO Scores. These

   clauses also allow the CBs to extract monopoly prices from B2B Purchasers.

          155.    The "Level Playing Field" and "Dynamic Royalty Schedule" clauses

   disincentivize CBs from negotiating for lower royalty prices for Fair Isaac's FICO Scores,

   because the CBs will not obtain a competitive advantage if they were to obtain lower pricing for



   $7 See Third Amended Complaint, Dkt. 436, Fair Isaac Corporation v. Experian Info. Sols.,No.
   06-CV-4112 (D. Minn. Nov. 10, 2008), ¶140.
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   royalty rates. The "Level Playing Field" clause does not provide Fair Isaac with any rights it

   does not have. Fair Isaac could offer the same royalty rates to all CBs absent the clause. The

   "Level Playing Field" clause exists to inform the CBs that negotiating for lowerprices is useless.

            156.   Thus, Fair Isaac can freely increase prices with little resistance from the Credit

   Bureaus. And it has done so — Fair Isaac admitted in its answer that "over the last several years"

   it has "increased the base (i.e., undiscounted) royalty prices that it charges to the Credit

   Bureaus."88 That price increase is ultimately borne by B2B Purchasers who pay a higher price

   for FICO Scores than they would have but for the CB's agreements and adherence to

   anticompetitive contract provisions.

            157.   After entering into the contracts containing anticompetitive terms with the Credit

   Bureaus, Fair Isaac initiated multiple rounds of price increases. In 2019, Fair Isaac reported:

   "On the B2B side, revencies were up 36% over the previotrs year, due primarily to the

   2018 price adjustments."89 Again, in 2021, Fair Isaac reported that "revenues were $169

   million, up 31% from the same period last year. B2B was up 25% over the same period last

  year, driven by continued high volumes in mortgage originations as well as some unit price

   increases across our different score categories. In the B2B business, we also had a royalty true-

   up and an annual license deal this quarter that had a small positive impact on overall revenues."90

            158.   As TransUnion has explained, taken together with the Dynamic Royalty

   Schedule provisions, the Level Playing Field provisions "enable Fair Isaac to unilaterally

   increase the royalty prices it charges [the Credit Bureaus] for FICO scores."91


   88
        FICO Answer to IPP Complaint, ¶163.
   89 Q 1 2019 Fair Isaac Corp Earning Call — Final (January 30, 2019).
   90 Q2 2021 Fair Isaac Corp Earnings Call — Final (May 5, 2021).

   91   TransUnion Counterclaims, ¶59.
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          159. Notably, TransUnion has admitted that, to the extent the Level Playing Field

  provision resulted in higher rates, those costs were ultimately also borne by "banks [and]

   mortgage lenders" (i.e., B2B purchasers).92 While the CBs' agreement to the restrictive terms

  was against their self-interest, much of the cost was borne by B2B purchasers, while the CBs

  were otherwise compensated by the Level Playing Field provisions.

          160.   Experian Vice President and Chief Financial Officer confirmed during a 2019

  earnings call that while "the FICO price increase impacts" Experian, it also "impacts

  [Experian's] customers" because Experian "pass[es] it through to [its] customers."93

          161.   Equifax's Chief Executive Officer confirmed the same: When Fair Isaac "put

  through a price increase ... Equifax TU and Experian deliver[ed] that price increase to the

  marketplace, when they increase the price of their credit score. So that rolled through."94

          162.   Thus, Fair Isaac and the CBs have used the "Level Playing Field" and "Dynamic

  Royalty Schedule" provisions in their contracts for anticompetitive purposes and to extract

  monopoly prices from all business customers in the B2B Credit Score Market.

                 3.      Fair Isaac's Negative Advertising Campaign in Furtherance of its
                         Scheme

          163.   Having agreed with each of the CBs to impose restrictions on VantageScore's

  ability to compete against FICO, Fair Isaac also engaged in an advertising campaign that

  disseminated false and misleading information with the goal of maintaining its monopoly in the

  B2B Credit Score Market. In advertisements, letters, and blog posts, Fair Isaac disparaged


  92 TransUnion Counterclaims, ¶60.
  93 John W. Gamble, VP & CFO, Remarks at Q1 2019 Equifax Inc. Earnings Call (May 10, 2019)
  (transcript available in Westlaw).
  94 Mark W. Begor, CEO, Remarks at Q2 2023 Equifax Inc. Earnings Call (July 20, 2023)
  (transcript available in Westlaw).
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   VantageScore and other credit scoring systems by calling them "FAKO" scores, falsely claimed

   that VantageScore and other altemative scoring systems do not reliably measure                       '

   creditworthiness, and misrepresented the information considered by VantageScore and other

   credit scoring systems.

          164.    For example, on December 12, 2017 Fair Isaac took out a full-page advertisement

   in the Wall Street Journal addressed to "Lenders, Policymakers and Consumer Advocates." This

   advertisement ttiat attacked VantageScore without identifying it by name. The advertisement

   contrasted Fair Isaac, which "is not owned by the credit bureaus" and whose FICO Scores have

   been used "by lenders and securitization investors for decades," with an alternative credit score,

   which is owned by CBs. According to the advertisement, the credit score owned by CBs

   (impliedly VantageScore) is less reliable than FICO Scores in evaluating credit risk and does

   not use "sound practices" or "science-based credit evaluation." This advertisement conveyed Fair

   Isaac's false message that VantageScore is "Weakening scoring standards, [and] harm[ing]

   consumers, and the lending system."95                     `

          165.    Furthermore, the Wall Steeet Journal advertisement directed readers to "Learn

   more at FICO.com/independent," a Fair Isaac-owned website that links visitors to articles and

   blog posts that disparage VantageScore by name. One of these blog post claims: "Despite claims

   by VantageScore, weakening the minimum scoring criteria will not empower millions of low-

   risk mortgage credit seekers."

          166.    Another example of Fair Isaac's false and misleading advertising campaign can

   be found on its website where a blog post claims that "Research results consistently showed that

   scoring models relying solely on sparse or old credit data were weak and did a poor job


   9s TransUnion Counterclaims, ¶ 66
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   forecasting future performance." This statement is false and misleading. VantageScore and other

   scoring models consider an individual consumer or business's full credit and financial history,

   even if the consumer has not used a traditional credit line in the last six months. Further, studies

   have shown that VantageScore and other competing credit scoring models are strongly

   predictive. 96

           167.     A blog post written by Joanne Gaskin ("Gaskin"), the Vice President of Scores

   and Analytics at Fair Isaac, claims that whereas "FICO Score 9 differentiates medical from non-

   medical collections," "VantageScore does not."97 TransUnion responded "This statement

   conveys the false message that VantageScore does not differentiate medical from non-medical

   collections. In fact, VantageScore 3.0 was the first credit scoring system to address medical

   debt. VantageScore 4.0, the most recent version of VantageScore, distinguishes medical

   collection accounts from non-medical collection accounts and penalizes medical collections less

   than non-medical ones."98

           168.     Similarly, Fair Isaac fought hard against the efforts to create a process that would

   allow alternative credit scoring models to be validated and approved by Fannie Mae and Freddie

   Mac when they purchase mortgages. Such a rule would clearly benefit VantageScore, which

   could then attempt to break Fair Isaac's 100% monopoly in this sector. Public sentiment favored

  this move.99 Fair Isaac did not. Indeed, it deployed Gaskin to give press interviews saying that


  96 See VantageScore Report, supra n.44, at 2, 4, 5-6

  97 Joanne Gaskin, FICO BLOG, Truth Squad: Is FICO Score 700 the Same as VantageScore 700?
  (Feb. 6, 2017), https://www.fico.com/blogs/truth-squad-fico-score-700-same-vantagescore-700.
  98   TransUnion Counterclaims, ¶71.
  99 See Bloomberg Business News, This Monopoly Is Holding Back the Mortgage Market,(Jan.
  18, 2018), https://www.bloomberg.com/opinion/articles/2018-01-18/this-credit-score- monopoly-
  is-holding-back-the-mortgage-market; Paul Weinstein, Jr., No Company Should Have a Monopoly

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   Fair Isaac's alleged monopoly is a"myth." Ioo Fair Isaac also hired a research group to present

   the argument that VantageScore's promise of home ownership to millions more Americans was

   deceptive and that the company's ownership by the CBs was anticompetitive, an argument that

   failed during the trademark litigation discussed above. lo' The FHFA ultimately adopted a final

   rule that permitted rival generators of credit scores to apply to serve Fannie Mae and Freddie

   Mac, saying that "FHFA has concluded that allowing all credit score model developers to submit

   applications is more consistent with [the applicable statute], which does not prevent any credit

   score model from being considered for potential use in the mortgage market." loz

          169.    Fair Isaac's smear campaign against VantageScore was successful in sowing

   doubt about the reliability and accuracy of credit scoring altematives to FICO Scores. For

   example, a media outlet devoted to personal finance issues, thebalance.com, posted in February

   2017 that, "If you purchased your credit score from anywhere but MyFICO.com, then it's a

   FAKO score."

          170.    The public statements described in the foregoing paragraphs were transmitted to

   and seen by a substantial number of businesses and consumers nationwide.

          F.      The Contracts Between Fair Isaac and Each Credit Bureau Containing
                  Anticompetitive Terms, In Combination With Fair Isaac's Anticompetitive
                  Conduct Has Harmed Competition In the B2B Credit Score Market



   on Credit Scoring, The Hill (Dec. 7,2017), https://thehill.com/opinion/finance/363755-no-
   company-should-have-a-monopoly-on-credit- scoring.
   ioo FICO: The `Credit Score Monopoly' is a Myth, DS News (Dec. 18, 2015),
   https://dsnews.com/news/12-1 8-2015/fico-the-credit-score-monopo ly-is-a-myth.
   101
      Quantilytic LLC, Risks and Opportunities in ExpandingMortgage CreditAvailability Through
   New Credit Scores, at 22 (Dec. 2017), https://www.progressivepolicy.org/wp-
   contentluploads/20 17/12/UpdatedCreditScoring_20 1 7.pdf (research sponsored by Fair Isaac).
   102
      Fed. Hous. Fin. Agency, Validation and Approval of Credit Score Models Final Rzile, 12
   C.F.R. 1254 (Aug. 16, 2019).
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               171.   The CBs and Fair Isaac's anticompetitive conduct has harmed and continues to

   harm business customers in the B2B Credit Score Market. Fair Isaac's unlawful conduct,

   including the anticompetitive terms in its agreements with the CBs, has foreclosed competition

   in the B2B Credit Score Market by eliminating fair opportunities for VantageScore or any other

   credit score product to compete with Fair Isaac. This anticompetitive and exclusionary conduct

   has unreasonably restrained trade and maintained Fair Isaac's monopoly, by, among other

   things, allowing it to charge supracompetitive prices for B2B credit scores to B2B purchasers

   during the Class Period.

               172.   FICO's Scores business operates with an incredibly high operating margin of

   86%. 103 To maximize its monopoly rent, Fair Isaac has increased its prices for FICO Scores

   significantly in recent years. In 2018, after securing agreements from each of the three Credit

   Bureaus to abide by anticompetitive contract terms, FICO implemented a special pricing

   increase for mortgage customers that was an approximately 66% increase from $0.06/score to

   $0.10/score.1o4 In the following two years, FICO again rolled out special pricing increases to its

   auto customers and to some credit card customers. l0s

               173.   Fair Isaac's conduct and the anticompetitive provisions contained in contracts

   between the CBs and Fair Isaac, have reduced choice for business customers in the B2B Credit

   Score Market and frustrated the ability of business customers to purchase VantageScore or any

   other competing credit score. As a direct and proximate result of Fair Isaac's exclusionary and



   103
       Jose Karlo Mari Tottoc, Yahoo! Finance, Headwaters Capital.• `Fair Isaac Corp (FICO) Can
   Grow Its Free Cash Flow by 15-20% Annually' (Jan. 23, 2021), https://finance.yahoo.com/
   news/headwaters-capital-fair-isaac-corp-202237954.html.
   104
       Id.
   105
         Id.
                                                     50
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   anticompetitive conduct, Fair Isaac has been able to indirectly charge Plaintiffs and all similarly

   situated businesses supracompetitive prices for credit scores. As indirect buyers of Fair Isaac's

   FICO Scores, Plaintiffs and all similarly situated businesses have been harmed by Fair Isaac's

   supracompetitive royalty prices.

          174.    Fair Isaac's sales in the B2B Credit Score Market over the past five fiscal years

   have been extremely profitable. Fair Isaac maintains a supracompetitive profit margin on the

   revenue it earns from its Business Credit Scoring Products. Plaintiffs and similarly situated

   businesses have vastly overpaid for FICO Scores due to Fair Isaac's and the CBs'

   anticompetitive activities.

   V.     CLASS ACTION ALLEGATIONS

          175.    Plaintiffs bring this action on behalf of themselves and as a class action under Rule

   23(a) and (b)(2) of the Federal Rules of Civil Procedure seeking equitable and injunctive relief

   on behalf of the following class (the "Nationwide Class"):

                  All end-users who purchased a FICO Score in the B2B Credit Score
                  Market from anyone other than Fair Isaac and/or a Credit Bureau
                  from October 1, 2006 through the present (the "Class Period").

          176.    Plaintiffs also bring this action on behalf of themselves and as a class action under

   Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure seeking damages pursuant to state

   antitrust, unfair competition, and consumer protection laws, as well as the law of unjust

   enrichment on behalf of the following class (the "Damages Class"):

                  All end-users who in Indirect Purchaser States lo6 purchased a FICO
                  Score in the B2B Credit Score Market from anyone other than Fair
                  Isaac and/or a Credit Bureau from October 1, 2006 through the present

   106 The "Indirect Purchaser States" are the states and Districts listed in the Seventh, Eighth and
   Ninth Claims for Relief.


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                  (the "Class Period")

           177.   The Nationwide Class and the Damages Class are referred to herein as the

  "Classes."

           178.   These class definitions exclude any and all natural persons who are not members

   of these Classes by their definitions. Also excluded from the Classes are Defendants, their parent

   companies, subsidiaries and affiliates, any co-conspirators, federal governmental entities and

   instrumentalities of the federal governrnent, states and their subdivisions, agencies and

   instrumentalities, and persons who purchased FICO Scores directly or for resale.

          179.    While Plaintiffs do not know the exact number of the members of the Classes,

   Plaintiffs believe there are at least thousands of inembers in each Class. Members of the Classes

  are so numerous and geographically dispersed thatjoinder is impracticable. Further, members of

   the Classes are readily identifiable from information and records in the possession of Defendants.

          180.    Plaintiffs' claims are typical of the claims of the members of the Classes, and

   Plaintiffs will fairly and adequately protect the interests of the Classes. Plaintiffs and members of

  the Classes were damaged by the same wrongful conduct of Defendants.

          181.    The interests of Plaintiffs are coincident with, and not antagonistic to, those of

  members of the Classes.

          182.    Plaintiffs are represented by counsel who are competent and experienced in the

  prosecution of antitrust and class action litigation.

          183.    Questions of law and fact common to ' the members of the Classes predominate

  over questions that may affect only individual Class members, thereby making damages with

  respect to members of the Classes as a whole appropriate. Questions of law and fact common to

  members of the Classes.include, but are not limited to:


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             a     whether Fair Isaac monopolized, and whether Defendants entered into contracts
                   that unreasonably restrain, trade in violation of federal law;

             b.    whether Fair Isaac monopolized, and whether Defendants entered into contracts
                   that unreasonably restrain, trade in violation of certain state antitrust laws;

             c     whether Defendants engaged in unfair or deceptive trade practices in violation of
                   certain state laws;

             d     whether Defendants were unjustly enriched to the detriment of Plaintiffs and
                   members of the Classes, thereby entitling Plaintiffs and members of the Classes to
                   disgorgement of all benefits derived by Defendants;

            e.     what was the duration of the alleged unlawful conduct;

            f      what injury was suffered by Plaintiffs and members of the Classes;

            g      what damages were suffered by Plaintiffs and members of the Classes; and

            h.     whether Defendants acted or refused to act on grounds generally applicable to
                   members of the Classes, thereby making appropriate final injunctive relief or
                   corresponding declaratory relief with respect to members of the Classes as a whole.

            184.   Class action treatment is a superior method for the fair and efficient adjudication

  of the controversy. Such treatment will permit a large number of similarly situated persons to

  prosecute their common claims in a single forum simultaneously, efficiently, and without the

  unnecessary duplication of evidence, effort, or expense that numerous individual actions would

  require.

            185.   The benefit of proceeding through the class mechanism, including providing

  injured persons or entities a method for obtaining redress on claims that could not practicably

  be pursued individually, substantially outweighs potential difficulties in management of this class

  action.

            186.   The prosecution of separate actions by individual members of the Classes would

  create the risk of inconsistent or varying adjudications, establishing incompatible standards of

  conduct for Defendants.


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           187.    Plaintiffs know of no special difficulty to be encountered in the maintenance of

   this action that would preclude its maintenance as a class action.

           188.    Defendants have acted on grounds generally applicable to the Classes, thereby

   making final injunctive relief appropriate with respect to the Classes as a whole.

           189.   Plaintiffs have defined members of the Classes based on currently available

   information and hereby reserves the right to amend the definition of members of the Class,

   including, without limitation, the Class Period.

   VI.     STATUTES OF LIMITATION AND TOLLING

          190.    Plaintiffs had no knowledge of the agreements or of facts sufficient to place them

   on inquiry notice of the claims set forth herein, until (at the earliest) February 12, 2018, the date

   that TransUnion filed its Counterclaims against Fair Isaac. Prior to that time, no information in

   the public domain or available to Plairitiffs suggested that any Defendant was involved in an

   anticompetitive scheme involving the distribution of credit scores.

          191.    Defendants repeatedly and expressly stated throughout the Class Period, including

   on their public websites, that they maintained policies that prohibited the type of anticompetitive

   conduct alleged in this Consolidated Complaint. For example:

                  a       Fair Isaac's Code of Business Conduct and Ethics states: "We seek to
                          outperform our competition fairly and honestly. We seek competitive
                          advantages through superior performance, never through unethical or illegal
                          business practices."'o'

                  b.      Equifax's Code of Ethics and Business Conduct states: "We believe in free
                          and open competition and never engage in improper practices that may limit
                          competition."1os


   107
        Fair Isaac, Code of Bzisiness Conduct and Ethics, https://fico.gcs-web.com/static-
   files/ed6519a4-2148-4166-82fZ-4636e0713531.
   108
     Equifax, Code of Ethics and Bzisiness Condzcct (Aug. 2019), https://assets.equifax.com/
  assets/corp/code_of ethics.pdf..
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                   c.      Experian's Code of Conduct states: "We will not engage in any form of
                           agreement with competitors to fix prices, rig bids, allocate customers and/or
                           restrict supply in the marketplace." "We will comply with all applicable
                           laws, rules, and regulations in every jurisdiction in which we operate,
                           including but not limited to ... antitrust/competition." lo9

                   d       TransUnion's Code of Business Conduct states: "All TransUnion Team
                           Members must understand how competition and antitrust laws affect their
                           daily work. You must fully and consistently comply with applicable
                           competition and antitrust laws. "o

           192.    It was reasonable for Plaintiffs and members of the Classes to believe that

   Defendants were complying with their own policies.

           193.    Moreover, on information and belief, Plaintiffs and members of the Classes could

   not have discovered the anticompetitive provisions in the licensing agreements between Fair Isaac

   and the Credit Bureaus, such as the TransUnion ADLA, as those agreements are subject to

   confidentiality provisions that have prohibited the credit reporting agencies from disclosing their

   terms to third parties absent written authorization from Fair Isaac.l l l

           194.    For these reasons, the statutes of limitations applicable to Plaintiffs' claims did

   not begin to run until the date that TransUnion filed its counterclaims against Fair Isaac and have

   been tolled with respect to the claims that Plaintiffs have alleged in this Complaint.

          195.     The doctrine of fraudulent concealment tolled the statutes of limitations on



  109  Experian, Oztr Code of Conduct (2019), https://www.experian.com/content/dam/
  marketing/na/assets/corp/procurement-documents/experian-code-of-conduct-final-board-
  approved.pdf.
  110 TransUnion, Code of Business Conduct (2017), https://investors.transunion.com/~/media/
  Files/T/Transunion-IR/governance-documents/code-of-business-conduct-150618.pdf.
  111 See Dkt. 32, Motion for Leave to File Under Seal, Fair Isaac Corp. v. Trans Union LLC, No.
   1:17-cv-08318 (N.D. I11. Jan. 22, 2018), ¶ 2 ("contracts between the Parties ... are subject to
   confidentiality provisions that prohibit TransUnion from disclosing the terms of the contract to
   third parties absent written authorization from Fair Isaac").


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   Plaintiffs' claims. During the Class Period, Defendants wrongfully and affirmatively concealed

   their unlawful conduct. Plaintiffs and members of the Classes had no knowledge of Defendants'

   unlawftil scheme and could not have discovered the scheme through the exercise of reasonable

   diligence until (at the earliest) February 12, 2018, when TransUnion filed its Counterclaims

   against Fair Isaac.

          196.    By their very nature, antitrust violations are inherently self-concealing.

   Throughout the Class Period, Defendants entered into confidential contracts with anticompetitive

   provisions that did not put Plaintiffs or the Classes on inquiry notice that the contracts had the

   effect of raising the prices for credit scores above the competitive level. Credit scores are not

   exempt from antitrust regulation, and thus, before TransUnion filed its Counterclaims against

   Fair Isaac, Plaintiffs reasonably considered the market to be competitive. Moreover, Defendants

   employed deceptive tactics and techniques to avoid detection of, and to conceal, their

   anticompetitive provisions.

          197.    Defendants wrongfully and affirmatively concealed the existence of their

   anticompetitive contracts from Plaintiffs and members of the Classes by, among other things:

                  a      agreeing to confidentiality provisions that have prohibited the CBs from
                         disclosing the anticompetitive provisions in the licensing agreements
                         between Fair Isaac and the CBs, such as the TransUnion ADLA;

                  b.     concealing the fact that Fair Isaac and the CBs agreed, through the "No
                         Equivalent Products" clause, not to internally develop a competing credit
                         scoring system that is aligned with FICO Scores or uses too many of the
                         same reason codes;

                  c.     concealing the fact that the purpose of the "No Equivalent Products" clause
                         was to prevent the CBs from offering credit scoring products that would
                         allow business-consumers a legitimate choice between FICO Scores and
                         VantageScore or another alternative scoring product, thereby sustaining
                         FICO Scores dominance in the market;

                  d      concealing the fact that Fair Isaac and the CBs agreed, through the "Level
                         Playing Field" clauses, that prices made available to one credit bureau be
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                          made available to all the others;

                  e       concealing the fact that the purpose and effect of the "Level Playing Field"
                          and "Dynamic Royalty Schedule" clauses is to disincentivize each CB
                          from negotiating lower royalty prices for FICO Scores; and

                  £       as to Fair Isaac, engaging in a false and misleading campaign about
                          VantageScore Solutions and VantageScore to misrepresent
                          VantageScore's viability as a competitor to FICO Scores.

          198.     As a result of Defendants' affirmative acts, misrepresentations, and

   nondisclosures as alleged herein, any applicable statutes of limitation on claims asserted by

   Plaintiffs and members of the Classes have been and are tolled, and Defendants are equitably

   estopped from raising statutes of limitations as a defense.

   VII.   DEFENDANTS' ACTIONS CONSTITUTE CONTINUING VIOLATIONS

          199.     In addition, and in the alternative, this Complaint alleges a continuing course of

   conduct (including conduct within the limitations periods), and Defendants' unlawful conduct

   has inflicted continuing and accumulating harm within the applicable statute of limitations.

          200.    A claim accrued for the Class each time FICO Scores were sold to the Class at

   prices artificially inflated by Defendants' anticompetitive conduct. Each sale of FICO Scores at

   a supracompetitive price constituted another overt act in furtherance of Defendants' continuing

   anticompetitive schemes. Moreover, Defendants' statements and actions described above

   demonstrate that throughout the Class Period they engaged in new overt acts that further served

   the objectives of their anticompetitive schemes.

          201.    Defendants' new overt acts were more than the inertial consequences of

   Defendants' initial violations. Rather, their acts were new and independent acts that perpetuated

   their agreements and kept them current with market conditions, including by renewing

   agreements, or entering into new agreements, with anticompetitive terms. Defendants

   continuously renewed and refined their agreements to reflect market conditions. With each
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   refinement of their agreements, Defendants inflicted new and accumulating injury on Plaintiffs

  and members of the Class. For instance, as alleged above, Fair Isaac exploited the ADLA Royalty

   Schedule Provision in 2015, 2016, and 2017 to introduce entirely new and non-negotiated

  contract terms, royalty categories, and definitions that expanded the anticompetitive schemes.

          202.   Therefore, Plaintiffs and members of the Damages Class are entitled to recover

  damages they suffered during any applicable limitations period.

  VIII. CLAIMS FOR RELIEF

                                   FIRST CLAIM FOR RELIEF:
                         UNREASONABLE RESTRAINT OF TRADE
                 Violation• of Section 1 of the Sherman Act 15 U.S.C. §§ 1, 3
                      (On behalf of Plaintiffs and the Nationwide Class
                               for Injunctive and Equitable Relief) .

          203.   Plaintiffs incorporate by reference the allegations set forth in the preceding

  paragraphs of this Complaint.

          204.   This Claim is brought against Defendant Fair Isaac.

          205.   The relevant period of this Claim is from May 2013 through the date by which the

  anticompetitive effects of Defendant's violations of law shall have ceased.

          206.   The B2B Credit Score Market in the United States and its territories constitutes

  the relevant market.

          207.   Fair Isaac has had and continues to have at least a 90% market share in the B2B

  Credit Score Market in the United States and its territories.

          208.   Fair Isaac has had and continues to have monopoly power in the B2B Credit Score

  Market.

          209.   Fair Isaac has had and continues to have the power to control prices and/or exclude

  competition in the B2B Credit Score Market.

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             210.   Defendant entered into and engaged in contracts, combinations, or conspiracies in

   unreasonable restraint of trade in violation of Sections 1 and 3 of the Sherman Act (15 U.S.C. §§

   1, 3). Specifically, Fair Isaac entered into agreements with Equifax, Experian, and TransUnion

   that contained anticompetitive terms whereby each CB agreed with Fair Isaac to contractual

   limitations that harmed the ability of the CBs to market VantageScore, a competing product, to

   Plaintiffs and members of the Class and forestalled price competition in the B2B Credit Score

   Market. The CBs and Fair Isaac thus knowingly formed schemes to unreasonably restrain trade

   in the B2B Credit Score Market.

             211.   The agreements between Fair Isaac and each of the CBs . had substantial

   anticompetitive effects. The agreements effectively excluded VantageScore Solutions and every

   other competing provider of credit scores from competing for a substantial portion of transactions

   in the B2B Credit Score Market.

             212.   The agreements between Fair Isaac and each of the CBs raised prices for FICO

   Scores above the competitive level and otherwise injured competition without any offsetting

  procompetitive benefit to business customers.

             213.   The acts done by Fair Isaac and each of the CBs as part of, and in furtherance of,

  their contracts, combinations, or conspiracies were authorized ordered, or done by their

  officers, agents, employees, or representatives while actively engaged in the management of its

  affairs.

             214.   The anticompetitive acts were directed at the B2B Credit Score Market in the

  United States and had a substantial and foreseeable effect on interstate commerce and injured

  competition nationwide.

             215.   Fair Isaac's exclusionary and anticompetitive acts have injured and will continue


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   to injure competition in this market.

          216.    Plaintiffs and members of the Nationwide Class have been injured and will

   continue to be injured in their business and property, and will continue to suffer such damages if

   Defendant does not cease its anticompetitive conduct.

          217.    Plaintiffs and all other members of the Nationwide Class are threatened with future

   injury to their business and property by reason of Defendant's continuing violations of Sections

   1 and 3 of the Sherman Act within the meaning of Section 16 of the Clayton Antitrust Act, 15

   U.S.C. § 26.

          218.    The alleged contracts, combinations, or conspiracies violates the federal antitrust

   laws because they are agreements between and among Fair Isaac and the CBs, all of whom are

   horizontal competitors who compete for the sale of credit scores in the B2B Credit Score Market.

   Upon entering the anticompetitive agreement with Fair Isaac, each CB acted against their

   economic self-interest because each agreement undermined the ability of VantageScore to

   compete. The CBs also knew that the Level Playing Field requirement in their agreements with

   Fair Isaac was meant to and did forestall price competition among the CBs in the market for credit

   reports, and hence was mutually beneficial for the CBs.

   219.           Plaintiffs and members of the Nationwide Class are entitled to an injunction

   against Fair Isaac, preventing and restraining the violations alleged herein.

                                 SECOND CLAIM FOR RELIEF:
                          UNREASONABLE RESTRAINT OF TRADE
                     Violation of Section 1 of the Sherman Act 15 U.S.C. §§ 1, 3
                       (On behalf of Plaintiffs and the Nationwide Class
                               for Injunctive and Equitable Relief)

          220.    Plaintiffs incorporate by reference the allegations set forth in the preceding

   paragraphs of this Complaint.


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           221.   This Claim is brought against Defendants Fair Isaac and Experian.

           222.   The relevant period of this Claim is from May 2013 through the date by which the

   anticompetitive effects of Defendants' violations of law shall have ceased.

           223.   The B2B Credit Score Market in the United States and its territories constitutes

   the relevant market.

          224.    Fair Isaac has had and continues to have at least a 90% market share in the B2B

   Credit Score Market in the United States and its territories.

          225.    Fair Isaac has had and continues to have monopoly power in the B2B Credit Score

   Market.

          226.    Fair Isaac has had and continues to have the power to control prices and/or exclude

   competition in the B2B Credit Score Market.

          227.    Fair Isaac entered into an agreement with Experian that contained anticompetitive

   terms whereby Experian agreed with Fair Isaac to contractual limitations that harmed the ability

   of Experian to market VantageScore, a competing product, to Plaintiffs and members of the Class

   and forestalled price competition in the B2B Credit Score Market.

          228.    The agreement between Fair Isaac and Experian had substantial anticompetitive

   effects. The agreement effectively excluded VantageScore and every other competing provider of

   credit scores from competing for a substantial portion of transactions in the relevant market.

          229:    The agreement between Fair Isaac and Experian raised prices for FICO Scores

   above the competitive level and otherwise injured competition without any offsetting

   procompetitive benefit to business customers.

          230.    The acts done by Fair Isaac and Experian as part of, and in furtherance of, their

   contract, combination, or conspiracy were authorized ordered, or done by their officers, agents,

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   employees, or representatives while actively engaged in the management of its affairs.

          231.    The anticompetitive acts were directed at the B2B Credit Score Market and had a

   substantial and foreseeable effect on interstate commerce and injured competition nationwide.

          232.    Fair Isaac's and Experian's exclusionary and anticompetitive acts have injured

   and will continue to injure competition in this market.

          233.    Plaintiffs and members of the Nationwide Class have been injured and will

   continue to be injured in their business and property and will continue to suffer such damages if

   Fair Isaac and Experian do not cease their anticompetitive conduct.

          234.    Plaintiffs and all other members of the Nationwide Class are threatened with future

   injury to their business and property by reason of Fair Isaac's and Experian's continuing violation

   of Sections 1 and 3 of the Sherman Act within the meaning of Section 16 of the Clayton Antitrust

   Act, 15 U.S.C. § 26.

          235.    In addition to competing with Experian in the credit scores market, Fair Isaac

   licenses its algorithm to Experian, which uses the algorithm to calculate credit scores for B2B

   Purchasers. As a result of the exclusionary contract terms, Experian discourages its customers

   from using or purchasing access to competing credit scores. Because Experian has substantial

   market power, it can harm its customers in this way without taking the risk that they will switch

   to competing CBs. In return for acting against its' self-interest and entering into the

   anticompetitive contract with Fair Isaac to restrain trade in the B2B Credit Scores Market,

   Experian benefits from the Level Playing Field clause, which guarantees that Fair Isaac will not

   favor Experian's competitors and reduces competition among the CBs in the B2B Credit Score

   Market.

          236.    Plaintiffs and members of the Nationwide Class are entitled to an injunction


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   against Fair Isaac and Experian, preventing and restraining the violations alleged herein.

                                   THIRD CLAIM FOR RELIEF:
                           UNREASONABLE RESTRAINT OF TRADE
                     Violation of Section 1 of the Sherman Act 15 U.S.C. §§ 1, 3
                             (On behalf of Plaintiffs and the Nationwide
                              Class for Injunctive and Equitable Relief)

          237.    Plaintiffs incorporate by reference the allegations set forth in the preceding

   paragraphs of this Complaint.

          238.    This Claim is brought against Defendants Fair Isaac and Equifax.

          239.    The relevant period of this Claim is from November 2013 through the date by

   which the anticompetitive effects of Defendants' violations of law shall have ceased.

          240.    The B2B Credit Score Market in the United States and its territories constitutes

   the relevant market.

          241.    Fair Isaac has had and continues to have at least a 90% market share in the B2B

   Credit Score Market in the United States and its territories.

          242.    Fair Isaac has had and continues to have monopoly power in the B2B Credit Score

   Market.

          243.    Fair Isaac has had and continues to have the power to control prices and/or exclude

   competition in the B2B Credit Score Market.

          244.    Fair Isaac entered into an agreement with Equifax that contained anticompetitive

   terms whereby Equifax agreed with Fair Isaac to contractual limitations that harmed the ability

   of Equifax to market VantageScore, a competing product, to Plaintiffs and members of the

   Nationwide Class and forestalled price competition in the B2B Credit Score Market.

          245.    The agreement between Fair Isaac and Equifax had substantial anticompetitive

   effects. The agreement effectively excluded VantageScore and every other competing provider of

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   credit scores from competing for a substantial portion of transactions in the relevant market.

          246.    The agreement between Fair Isaac and Equifax raised prices for FICO Scores

   above the competitive level and otherwise injured competition without any offsetting

   procompetitive benefit to business customers.

          247.    The acts done by Fair Isaac and Equifax as part of, and in furtherance of, their

   contract, combination, or conspiracy were authorized ordered, or done by their officers, agents,

   employees, or representatives while actively engaged in the management of its affairs.

          248.    The anticompetitive acts were directed at the B2B Credit Score Market and had a

   substantial and foreseeable effect on interstate commerce and injured competition nationwide.

          249.    Fair Isaac's and Equifax's exclusionary and anticompetitive acts have injured and

  will continue to injure competition in this market.

          250.    Plaintiffs and members of the Nationwide Class have been injured and will

   continue to be injured in their business and property and will continue to suffer such damages if

   Fair Isaac and Equifax do not cease their anticompetitive conduct.

          251.    Plaintiffs and all other members of the Nationwide Class are threatened with future

  injury to their business and property by reason of Fair Isaac's and Equifax's continuing violation

  of Sections 1 and 3 of the Sherman Act within the meaning of Section 16 of the Clayton Antitrust

  Act, 15 U.S.C. § 26.

          252.    In addition to competing with Equifax in the credit scores market, Fair Isaac

  licenses its algorithm to Equifax, which uses the algorithm to calculate credit scores for B2B

  Purchasers. As a result of the exclusionary contract terms, Equifax discourages its customers from

  using or purchasing access to competing credit scores. Because Equifax has substantial market

  power, it can harm its customers in this way without taking the risk that they will switch to


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   competing CBs. In return for acting against its' self-interest and entering an anticompetitive

   agreement with Fair Isaac that had the intent and effect of restraining trade in the B2B Credit

   Score Market, Equifax benefits from the Level Playing Field clause, which guarantees that Fair

   Isaac will not favor Equifax's competitors and reduces competition among the CBs in the B2B

   Credit Score Market.

          253.    Plaintiffs and members of the Nationwide Class are entitled to an injunction

   against Fair Isaac and Equifax, preventing and restraining the violations alleged herein.

                                 FOURTH CLAIM FOR RELIEF:
                           UNREASONABLE RESTRAINT OF TRADE
                     Violation of Section 1 of the Sherman Act 15 U.S.C. §§ 1, 3
                         (On behalf of Plaintiffs and the Nationwide Class
                                for Injunctive and Equitable Relief)

          254.    Plaintiffs incorporate by reference the allegations set forth in the preceding

  paragraphs of this Complaint.

          255.    This Claim is brought against Defendants Fair Isaac and TransUnion.

          256.    The relevant period of this Claim is from February 2015 through the date by which

  the anticompetitive effects of Defendants' violations of law shall have ceased.

          257.    The B2B Credit Score Market in the United States and its territories constitutes

  the relevant market.

          258.    Fair Isaac has had and'continues to have at least a 90% market share in the B2B

  Credit Score Market in the United States and its territories.

          259.    Fair Isaac has had and continues to have monopoly power in the B2B Credit Score

  Market.

          260.    Fair Isaac has had and continues to have the power to control prices and/or exclude

  competition in the B2B Credit Score Market.


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          261.    Fair Isaac entered into an agreement with TransUnion that contained

   anticompetitive terms whereby TransUnion agreed with Fair Isaac to contractual limitations that

   harmed the ability of TransUnion to market VantageScore, a competing product, to Plaintiffs and

   members of the Nationwide Class and forestalled price competition in the B2B Credit Score

   Market.

          262.    The agreement between Fair Isaac and TransUnion had substantial

  anticompetitive effects. The agreement effectively excluded VantageScore and every other

   competing provider of credit scores from competing for a substantial portion of transactions in the

   relevant market.

          263.    The agreement between Fair Isaac and TransUnion raised prices for FICO Scores

  above the competitive level and otherwise injured competition without any offsetting

  procompetitive benefit to business customers.

          264.    The acts done by Fair Isaac and TransUnion as part of, and in furtherance of, their

  contract, combination, or conspiracy were authorized ordered, or done by their officers, agents,

  employees, or representatives while actively engaged in the management of its affairs.

          265.    The anticompetitive acts were directed at the B2B Credit Score Market and had a

  substantial and foreseeable effect on interstate commerce and injured competition nationwide.

          266.    Fair Isaac's and TransUnion's exclusionary and anticompetitive acts have injured

  and will continue to injure competition in this market.

          267.    Plaintiffs and members of the Nationwide Class have been injured and will

  continue to be injured in their business and property and will continue to suffer such damages if

  Fair Isaac and TransUnion do not cease their anticompetitive conduct.

          268.    Plaintiffs and all other members of the Nationwide Class are threatened with future
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   injury to their business and property by reason of Fair Isaac's and TransUnion's continuing

   violation of Sections 1 and 3 of the Sherman Act within the meaning of Section 16 of the Clayton

   Antitrust Act, 15 U.S.C. § 26.

          269.    In addition to competing with TransUnion in the credit scores market, Fair Isaac

   licenses its algorithm to TransUnion, which uses the algorithm to calculate credit scores for B2B

   Purchasers. As a result of the exclusionary contract terms, TransUnion discourages its customers

   from using or purchasing access to competing credit scores. Because TransUnion has substantial

   market power, it can harm its customers in this way without taking the risk that they will switch

   to competing CBs. In return for against its' self-interest and entering an anticompetitive

   agreement with Fair Isaac that had the intent and effect of restraining trade in the B2B Credit

   Score Market, TransUnion benefits from the Level Playing Field clause, which guarantees that

   Fair Isaac will not favor TransUnion's competitors and reduces competition among the CBs in

   the B2B Credit Score Market.

          270.    Plaintiffs and members of the Nationwide Class are entitled to an injunction

   against Defendants, preventing and restraining the violations alleged herein.

                       FIFTH CLAIM FOR RELIEF: MONOPLIZATON
                      Violation of Section 2 of the Sherman Act 15 U.S.C. § 2
                        (On behalf of Plaintiffs and the Nationwide Class
                                for Injunctive and Equitable Relief)

          271.    Plaintiffs incorporate by reference the allegations set forth in the preceding

   paragraphs of this Complaint.

          272.    This Claim is brought against Defendant Fair Isaac.

          273.    The B2B Credit Score Market in the United States and its territories constitutes

   the relevant market.

          274.    Fair Isaac has had and continues to have at least a 90% market share in the B2B
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   Credit Score Market.

          275.    Fair Isaac has had and continues to have monopoly power in B2B Credit Score

   Market.

          276.    Fair Isaac has had and continues to have the power to control prices and/or exclude

   competition in the B2B Credit Score Market.

          277.    Fair Isaac entered into agreements with Equifax, Experian, and TransUnion that

   contained anticompetitive terms that were designed to eliminate Fair Isaac's competitors and to

   keep prices for FICO Scores artificially high.

          278.    The agreements between Fair Isaac and the CBs had substantial anticompetitive

   effects. The agreements effectively excluded VantageScore Solutions and every other competing

   provider of credit scores from competing in the B2B Credit Score Market in the United States in

   violation of Section 2 of the Sherman Act (15 U.S.C. § 2).

          279.    Fair Isaac has demonstrated its ability to control prices and exclude competition

   by raising prices without a corresponding increase in demand to supracompetitive levels.

          280.    Fair Isaac's monopoly is not due to growth or development because of a superior

   product, business acumen, or historic accident.

          281.    Fair Isaac's monopolization has raised prices for FICO Scores above the

   competitive level and otherwise injured competition without any offsetting procompetitive

   benefit to business customers.

          282.    The acts done by the Fair Isaac were authorized, ordered, or done by its officers,

  agents, employees, or representatives while actively engaged in the management of its affairs.

          283.    The anticompetitive acts were directed at the B2B Credit Score Market in the

  United States and had a substantial and foreseeable effect on interstate commerce and injured


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   competition nationwide.

           284.    Fair Isaac's exclusionary and anticompetitive acts have injured and will continue

   to injure competition in this market.

           285.    Plaintiffs and members of the Nationwide Class have been injured and will

   continue to be injured in their business and property, and Plaintiffs and all other similarly situated

   businesses will- continue to be injured if Fair Isaac does not cease its anticompetitive conduct.

           286.    Plaintiffs and all other similarly situated businesses are threatened with future

   injury to their business and property by reason of Fair Isaac's continuing violation of Section 2

   of the Sherman Act within the meaning of Section 16 of the Clayton Antitrust Act, 15 U.S.C. §

   26.

           287.    Plaintiffs and members of the Nationwide Class are entitled to an injunction

   against Defendants, preventing and restraining the violations alleged herein.

                                   SIXTH CLAIM FOR RELIEF
                          VIOLATION OF STATE ANTITRUST STATUTES
                            (on behalf of Plaintiffs and the Damages Class)

           288.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs of

   this Complaint.

           289.    Defendants' anticompetitive acts described above were knowing and willful and

   constitute violations or flagrant violations of the following state antitrust statutes.

           290.    This Claim is brought against all Defendants.

           291.    Arizona: By reason of the conduct alleged herein, Defendants have violated

   Arizona Rev. Stat. § 44-1401, et seq.

                   a.      Defendants entered into contracts, combinations, or conspiracies

            between two or more persons in restraint of; or to monopolize, trade or commerce
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         in the Business Market for credit scores, a substantial part of which occurred within

         Arizona.

                b.      Defendants' combinations or conspiracies had the following effects:

         (1) credit score price competition was restrained, suppressed, and eliminated

         throughout Arizona; (2) credit score prices were raised, fixed, maintained and

         stabilized at artificially high levels throughout Arizona; (3) Plaintiffs and members

         of the Damages Class were deprived of free and open competition; and (4)

         Plaintiffs and members of the Damages Class paid supra-competitive, artificially

         inflated prices for credit scores.

                c.      Defendants established, maintained, or used a monopoly, or

         attempted to establish a monopoly, of trade or commerce in the B2B Credit Score

         Market, a substantial part of which occurred within Arizona, for the purpose of

         excluding competition or controlling, fixing, or maintaining prices in the B2B

         Credit Score Market.

                d.      During the Class Period, Defendants' illegal conduct substantially

         affected Arizona commerce.

                e.      By reason of the foregoing, Defendants entered into agreements in

         restraint of trade in violation of Ariz. Rev. Stat. §§ 44-1401, et seq.

                f.      Under Arizona law, indirect purchasers have standing to maintain an

         action under the Antitrust Act based on the facts alleged in this Complaint.

         Bunker's Glass Co. v. Pilkington PLC, 206 Ariz. 9, 11-20 (2003).

                g.      As a direct and proximate cause of Defendants' unlawful conduct,

         Plaintiffs and members of the Damages Class have been injured in their business
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           or property and are threatened with further injury.

                 h.      By reason of the foregoing, Plaintiffs and members of the Damages

           Class are entitled to seek all forms of relief available under Arizona Revised

           Statute § 44-1401, etseq.

          292.   California: By reason of the conduct alleged herein, Defendants have violated

   California Business and Professions Code, § 16700, etseq.

                 a       The California Business & Professions Code generally governs

          conduct of corporate entities. The Cartwright Act, Cal. Bus. & Prof. Code §§

          16700-16770, governs antitrust violations in California.

                 b.      California policy is that "vigorous representation and protection of

          consumer interests are essential to the fair and efficient functioning of a free

          enterprise market economy," including by fostering competition in the

          marketplace. Cal. Bus. & Prof. Code § 301.

                 c.      Under the Cartwright Act, indirect purchasers have standing to

          maintain an action based on the facts alleged in this Complaint. Cal. Bus. & Prof.

          Code § 16750(a).

                 d       A trust in California is any combination of capital, skills or acts by

          two or more persons intended for various purposes, including but not limited to

          creating or carrying out restrictions in trade or commerce, limiting or reducing the

          production or increasing the price of any commodity, or preventing competition

          in the market for a commodity. Cal. Bus. & Prof. Code § 16720. Every trust in

          California is unlawful except as provided by the Code. Id. at § 16726.

                 e.      Defendants entered into contracts, combinations, or conspiracies

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          between two or more persons in restraint of, or to monopolize, trade or commerce

          in the B2B Credit Score Market, a substantial part of which occurred within

          California.

                 £       Defendants established, maintained, or used a monopoly, or

          attempted to establish a monopoly, of trade or commerce in the B2B Credit Score

          Market, a substantial part of which occurred within Califomia, for the purpose of

          excluding competition or controlling, fixing, or maintaining prices in the B2B

          Credit Score Market.

                 g       But for Defendants' conduct set forth herein, the price of FICO

          Scores would have been lower, in an amount to be determined at trial.

                 h.      Defendants enacted a combination of capital, skill or acts for the

          purpose of creating and carrying out restrictions in trade or commerce, in violation

          of Cal. Bus. & Prof. Code § 16700, et seq.

                 i       Plaintiffs and members of Damages Class were injured in their

          business or property, with respect to purchases of FICO Scores in Califomia and

          are entitled to all forms of relief, including recovery of treble damages, interest,

          and injunctive relief, plus reasonable attorneys' fees andcosts.

          293.   Connecticut: By reason of the conduct alleged herein, Defendants have violated

   Connecticut General Statute § 35-26 et seq.

                 a       During the Class Period, Defendants' illegal conduct substantially

          affected Connecticut commerce.

                 b       Defendants' combinations or conspiracies had the following

          effects: (1) Credit score price competition was restrained, suppressed, and

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         eliminated throughout Connecticut; (2) Credit score prices were raised, fixed

         maintained and stabilized at artificially high levels throughout Connecticut; (3)

         Plaintiffs and members of the Damages Class were deprived of free and open

         competition; and (4) Plaintiffs and members of the Damages Class paid supra-

         competitive, artificially inflated prices for credit scores.

                 c.      As a direct and proximate result of Defendants' unlawful conduct,

         Plaintiffs and members of the Class have been injured in their business and

         property and are threatened with further injury.

                 d       By reason of the foregoing, Defendants have restrained trade in

         violation of Connecticut General Statute § 35-26 et seq.

                 e.      Accordingly, Plaintiffs and members of the Class seek all forms of

         relief available under Connecticut General Statute §§ 35-26 et seq.

         294.    District of Columbia: By reason of the conduct alleged herein, Defendants have

  violated District of Columbia Code, Title 28, Chapter 45 (Restraints of Trade).

                 a       Defendants contracted, combined or conspired to act in restraint of

         trade within the District of Columbia, and monopolized or attempted to

         monopolize the B2B Credit Score Market within the District of Columbia, in

         violation of D.C. Code § 28-4501, et seq.

                 b.      Defendants' combinations or conspiracies had the following

         effects: (1) Credit score price competition was restrained, suppressed, and

         eliminated throughout the District of Columbia; (2) Credit score prices were

         raised, fixed maintained and stabilized at artificially high levels throughout the

         District of Columbia; (3) Plaintiffs and members of the Damages Class were

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           deprived of free and open competition; and (4) Plaintiffs and members of the

           Damages Class paid supra-competitive, artificially inflated prices for credit scores.

                     c.   During the Class Period, Defendants' illegal conduct substantially

           affected District of Columbia commerce.

                     d    As a direct and proximate result of Defendants' unlawful conduct,

           Plaintiffs and members of the Damages Class have been injured in their business

           and property and are threatened with further injury.

                  e.      By reason of the foregoing, Defendants have entered into

          agreements in restraint of trade in violation of District of Columbia Code Ann. §§

           28-4501, et seq.

                  £       Under District of Columbia law, indirect purchasers have standing

          to maintain an action under the antitrust provisions of the D.C. Code based on the

          facts alleged in this Complaint, because "[a]ny indirect purchaser in the chain of

          manufacture, production or distribution of goods or services ... shall be deemed

          to be injured within the meaning of this chapter." D.C. Code § 28- 4509(a).

                  g       Accordingly, Plaintiffs and members of the Damages Class seek all

          forms of relief available under District of Columbia Code Ann. §§ 28-4501, etseq.

          295.    Illinois: By reason of the conduct alleged herein, Defendants have violated the

   Illinois Antitrust Act, 740111. Comp. Stat. Ann. 10/1, et seq.

                 a        Members of the Illinois Damages Class purchased FICO Scores

          within the State of Illinois during the Class Period.

                  b.      But for Defendants' conduct set forth herein, the price of FICO

          Scores would have been lower, in an amount to be determined at trial.

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                  c      Under the I1linois Antitrust Act, indirect purchasers have standing

         to maintain an action for damages based on the facts alleged in this Complaint.

         740 I11. Comp. Stat. Ann. 10/7(2).

                  d      Defendants entered into contracts or engaged in combinations or

         conspiracies for the purpose of fixing, controlling or maintaining prices for FICO

         Scores sold within the State of Illinois.

                  e.     Defendants further unreasonably restrained trade or commerce and

         established, maintained, or attempted to acquire monopoly power over the B2B

         Credit Score Market in Illinois for the purpose of excluding competition, in

         violation of 740 Ill. Comp. Stat. Ann. 10/1, et seq.

                  f      During the Class Period, Defendants' illegal conduct substantially

         affected Illinois commerce.

                  g      As a direct and proximate result of Defendants' unlawful conduct,

         Plaintiffs and members of the Class have been injured in their business and

         property and are threatened with further injury.

                  h      Members of the Illinois Damages Class were injured with respect

         to purchases of FICO Scores in Illinois and are entitled to all forms of relief,

         including actual damages, treble damages, and reasonable attorneys' fees and

         costs.

         296.     Iowa: By reason of the conduct alleged herein, Defendants have violated the Iowa

  Competition Law, Iowa Code § 553.1, et seq.

                  a.     Defendants contracted, combined or conspired to restrain or

         monopolize trade in the B2B Credit Score Market, and attempted to establish or

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         did in fact establish a monopoly for the purpose of excluding competition or

         controlling, fixing or maintaining prices for credit scores, in violation of Iowa Code

         § 553.1, etseq.

                 b.      Defendants' combinations or conspiracies had the following

         effects: (1) Credit score price competition was restrained, suppressed, and

         eliminated throughout Iowa; (2) Credit score prices were raised, fixed maintained

         and stabilized at artificially high levels throughout Iowa; (3) Plaintiffs and

         members of the Damages Class were deprived of free and open competition; and

         (4) Plaintiffs and members of the Damages Class paid supra-competitive,

         artificially inflated prices for credit scores.

                 c.      During the Class Period, Defendants' illegal conduct substantially

         affected Iowa commerce.

                 d       As a direct and proximate result of Defendants' unlawful conduct,

         Plaintiffs and members of the Damages Class have been injured in their business

        and property and are threatened with furtherinjury.

                 e.      By reason of the foregoing, Defendants have entered into

        agreements in restraint of trade in violation of Iowa Code § 553.1, et seq.

                 f.      Under Iowa law, indirect purchasers have standing to maintain an

        action under the Iowa Competition Law based on the facts alleged in this

        Complaint. Comes v. Microsoft Corp., 646 N.W.2d 440, 449 (Iowa 2002).

                g.       Accordingly, Plaintiffs and members of the Damages Class seek all

        forms of relief available under Iowa Code §§ 553.1, etseq.

        297.    Kansas: By reason of the conduct alleged herein, Defendants have violated Kan.

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   Stat. Ann. § 50-101, et seq.

                  a.      Defendants' combinations or conspiracies had the following effects:

          (1) Credit score price competition was restrained, suppressed, and eliminated

          throughout Kansas; (2) Credit score prices were raised, fixed maintained and

          stabilized at artificially high levelsthroughout Kansas; (3) Plaintiffs and members

          of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

          and members of the Damages Class paid supra-competitive, artificially inflated

          prices for credit scores.

                  b.      Defendants combined capital, skills or acts for the purposes of

          creating restrictions in trade or commerce of credit scores, increasing the price of

          credit scores, or preventing competition in the sale of credit scores, in a manner that

          established the price of credit scores and precluded free and unrestricted

          competition among themselves in the sale of credit scores, in violation of Kan. Stat.

          Ann. § 50-101, etseq

                  c.     During the Class Period, Defendants' illegal conduct substantially

          affected Kansas commerce.

                  d.     As a direct and proximate result of Defendants' unlawful conduct,

          Plaintiffs and members of the Damages Class have been injured in their business and

          property and are threatened with furtherinjury.

                  e.     By reason of the foregoing, Defendants have entered into

          agreements in restraint of trade in violation of Kansas Stat. Ann. §§ 50- 101, et seq.

                  f.     Under the Kansas Restraint of Trade Act, indirect purchasers have

          standing to maintain an action based on the facts alleged in this Complaint. Kan.


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         Stat. Ann § 50-161(b).

                 g.        Accordingly, Plaintiffs and members of the Damages Class seek all

         forms of relief available under Kansas Stat. Ann. § 50-101, et seq.

         298.    Maine: By reason of the conduct alleged herein, Defendants have violated Me.

  Rev. Stat. Ann. Tit. 10, § 1101, et seq.

                 a.        Defendants contracted, combined or conspired in restraint of trade or

         commerce of credit scores within the intrastate commerce of Maine, and

         monopolized or attempted to monopolize the trade or commerce of credit scores

         within the intrastate commerce of Maine, in violation of Me. Rev. Stat. Ann. Tit. 10,

         § 1101, et seq.

                 b.        Defendants' combinations or conspiracies had the following effects:

         (1) Credit score price competition was restrained, su'ppressed, and eliminated

         throughout Maine; (2) Credit score prices were raised, fixed maintained and

         stabilized at artificially high levels throughout Maine; (3) Plaintiffs and members

         of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

         and members of the Damages Class paid supra-competitive, artificially inflated

         prices for credit scores.

                 c.        During the Class Period, Defendants' illegal conduct substantially

         affected Maine commerce.

                 d.        As a direct and proximate result of Defendants' unlawful conduct,

         Plaintiffs and members of the Damages Class have been injured in their business

         and property and are threatened with further injury.

                 e.        By reason of the foregoing, Defendants have entered into

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         agreements in restraint of trade in violation of Maine Rev. Stat. Ann. 10, § 1101,

         etseq.

                  f.     Under Maine law, indirect purchasers have standing to maintain an

         action based on the facts alleged in this Complaint. Me. Rev. Stat. Ann. Tit. 10, §

         1104(1).

                  g.    Accordingly, Plaintiffs and members of the Damages Class seek all

         relief available under Maine Rev. Stat. Ann. 10, §§ 1101, et seq.

         299.     Maryland: By reason of the conduct alleged herein, Defendants have violated

   Maryland Code, Commercial Law, §§11-204 et seq.

                  a.    During the Class Period, Defendants' illegal conduct substantially affected

         Maryland commerce.

                  b.    Defendants' combinations or conspiracies had the following effects: (1)

         Credit score price competition was restrained, suppressed, and eliminated throughout

         Maryland; (2) Credit score prices were raised, fixed maintained and stabilized at

         artificially high levels throughout Maryland; (3) Plaintiffs and members of the Damages

         Class were deprived of free and open competition; and (4) Plairitiffs and members of the

         Damages Class paid supra-competitive, artificially inflated prices for credit scores.

                  c.    As a direct and proximate result of Defendants' unlawful conduct,

         Plaintiffs and members of the Class have been injured in their business and property and

         are threatened with further injury.

                  d.    By reason of the foregoing, Defendants have restrained trade in violation

         ofMaryland Code, Commercial Law, §§11-204 etseq.

                  e.    Accordingly, Plaintiffs and members of the Class seek all relief available
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        under Maryland Code, Commercial Law, §§11-204 etseq.

        300.    Michigan: By reason of the conduct alleged herein, Defendants have violated the

  Michigan Compiled Laws Annotated §§ 445.771, etseq.

                a.      Defendants contracted, combined or conspired to restrain

        or monopolize trade or commerce in B2B Credit Score Market, in violation

        of Mich. Comp. Laws § 445.771, et seq.

                b.      Defendants' combinations or conspiracies had the following

        effects: (1) Credit score price competition was restrained, suppressed, and

        eliminated throughout Michigan; (2) Credit score prices were raised, fixed

        maintained and stabilized at artificially high levels throughout Michigan; (3)

        Plaintiffs and members of the Damages Class were deprived of free and open

        competition; and (4) Plaintiffs and members of the Damages Class paid

        supra-competitive, artificially inflated prices for credit scores.

                c.      During the Class Period, Defendants' illegal conduct

        substantially affected Michigan commerce.

                d.      As a direct and proximate result of Defendants' unlawful

        conduct, Plaintiffs and members of the Damages Class have been injured in

        their business and property and are threatened with furtherinjury.

                e.      By reason of the foregoing, Defendants have entered into

        agreements in restraint of trade in violation of Michigan Comp. Laws Ann.

        §§ 445.771, etseq.

                f.      Under the Michigan Antitrust Reform Act, indirect

        purchasers have standing to maintain an action based on the facts alleged in

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          this Complaint. Mich. Comp. Laws. § 445.778(2).

                  g.      Accordingly, Plaintiffs and members of the Damages Class

          seek all relief available under Michigan Comp. Laws Ann. §§ 445.771, et

          seq.

          301.    Minnesota: By reason of the conduct alleged herein, Defendants have violated the

   Minnesota Annotated Statutes §§ 325D.49, etseq.

                  a. Defendants contracted, combined or conspired in unreasonable

          restraint of trade or commerce in the B2B Credit Score Market within the intrastate

          commerce of and outside of Minnesota; established, maintained, used or attempted

          to establish, maintain or use monopoly power over the trade or commerce in the

          B2B Credit Score Market within the intrastate commerce of and outside of

          Minnesota; and fixed prices for credit scores within the intrastate commerce of and

          outside of Minnesota, in violation of Minn. Stat. § 325D.49, et seq.

                  b.      Defendants' combinations or conspiracies had the following

          effects: (1) Credit score price competition was restrained, suppressed, and

          eliminated throughout Minnesota; (2) Credit score prices were raised, fixed

          maintained and stabilized at artificially high levels throughout Minnesota; (3)

          Plaintiffs and members of the Damages Class were deprived of free and open

          competition; and (4) Plaintiffs and members of the Damages Class paid supra-

          competitive, artificially inflated prices for credit scores.

                  c.      During the Class Period, Defendants' illegal conduct substantially

          affected Minnesota commerce.

                  d.      As a direct and proximate result of Defendants' unlawful conduct,

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          Plaintiffs and members ofthe Damages Class have been injured in their business

          and property and are threatened with furtherinjury.

                 e.      By reason of the foregoing, Defendant has entered into agreements

          in restraint of trade in violation of Minnesota Stat. §§ 325D.49, et seq.

                 f.      Under the Minnesota Antitrust Act of 1971, indirect purchasers

          have standing to maintain an action based on the facts alleged in this Complaint.

          Minn. Stat. § 325D.57.

                 g.      Accordingly, Plaintiffs and members of the Damages Class seek

          all relief available under Minnesota Stat. §§ 325D.49, et seq.

          302.   Mississippi: By reason of the conduct alleged herein, Defendants have violated

   Mississippi Code Annotated §§ 75-21-1, etseq.

                 a.      Defendants entered into contracts, combinations, or conspiracies

          between two or more persons in restraint of, or to monopolize, trade or commerce

          in the B2B Credit Score Market, a substantial part of which occurred within

          Mississippi.

                 b.      Defendants established, maintained, or used a monopoly, or

          attempted to establish a monopoly, of trade or commerce in the B2B Credit Score

          Market, a substantial part of which occurred within Mississippi, for the purpose of

          excluding competition or controlling, fixing, or maintaining prices in the B2B

          Credit Score Market.

                 c.      Defendants' combinations or conspiracies had the following

          effects: (1) Credit score price competition was restrained, suppressed, and

          eliminated throughout Mississippi; (2) Credit score prices were raised, fixed

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          maintained and stabilized at artificially high levels throughout Mississippi; (3)

          Plaintiffs and members of the Damages Class were deprived of free and open

          competition; and (4) Plaintiffs and members of the Damages Class paid supra-

          competitive, artificially inflated prices for credit scores.

                   d.     During the Class Period, Defendants' illegal conduct substantially

         affected Mississippi commerce.

                   e.     As a direct and proximate result of Defendants' unlawful conduct,

         Plaintiffs and members of the Damages Class have been injured in their business

         and property and are threatened with furtherinjury.

                   f.     By reason of the foregoing, Defendants have entered into

         agreements in restraint of trade in violation of Mississippi Code Ann. §§ 75-21-1,

         et seq.

                   g.     Under Mississippi law, indirect purchasers have standing to

         maintain an action under the antitrust provisions of the Mississippi Code based on

         the facts alleged in this Complaint. Miss. Code Ann. § 75-21-9.

                   h.     Accordingly, Plaintiffs and members of the Damages Class seek all

         relief available under Mississippi Code Ann. §§ 75-21-1, et seq.

         303.      Missouri: By reason of the conduct alleged herein, Defendants have violated Mo.

  Ann. Stat. § 407.010, et seq.

                   a.     Defendants contracted, combined or conspired in restraint of trade

         or commerce of credit scores within the intrastate commerce of Missouri, and

         monopolized or attempted to monopolize the Business Market for credit scores

         within the intrastate commerce of Missouri by possessing monopoly power in the

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         market and willfully maintaining that power through agreements to fix prices and

         otherwise control trade, in violation of Mo. Ann. Stat. § 407.010, et seq.

                 b.      Defendants' combinations or conspiracies had the following

         effects: (1) Credit score price competition was restrained, suppressed, and

         eliminated throughout Missouri; (2) Credit score prices were raised, fixed

         maintained and stabilized at artificially high levels throughout Missouri; (3)

         Plaintiffs and members of the Damages Class were deprived of free and open

         competition; and (4) Plaintiffs and members of the Damages Class paid supra-

         competitive, artificially inflated prices for credit scores.

                 c.      During the Class Period, Defendants' illegal conduct substantially

         affected Missouri commerce.

                 d.      As a direct and proximate result of Defendants' unlawful conduct,

         Plaintiffs and members of the Damages Class have been injured in their business

         and property and are threatened with furtherinjury.

                 e.      By reason of the foregoing, Defendants have entered into

         agreements in restraint of trade in violation of Mo. Ann. Stat. § 407.010, et seq.

                f.       Under Missouri law, indirect purchasers have standing to maintain

         an action under the MMPA based on the facts alleged in this Complaint. Gibbons

         v. J. Nuckolls, Inc., 216 S.W.3d 667, 669 (Mo. 2008).

                g.      Accordingly, Plaintiffs and members of the Damages Class seek all

         forms of relief available under Mo. Ann. Stat. § 407.010, et seq.

         304.   Nebraska: By reason of the conduct alleged herein, Defendants have violated the

  Nebraska Revised Statutes §§ 59-801, etseq.

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                 a.      Defendants contracted, combined or conspired in restraint of trade

         or commerce of credit scores within the intrastate commerce of Nebraska, and

         monopolized or attempted to monopolize the B2B Credit Score Market within the

         intrastate commerce of Nebraska by possessing monopoly power in the market

         and willfully maintaining that power through agreements to fix prices and

         otherwise control trade, in violation of Neb. Rev. Stat. § 59-801, et seq.

                 b.      Defendants' combinations or conspiracies had the following

         effects: (1) Credit score price competition was restrained, suppressed, and

         eliminated throughout Nebraska; (2) Credit score prices were raised, fixed

         maintained and stabilized at artificially high levels throughout Nebraska; (3)

         Plaintiffs and members of the Damages Class were deprived of free and open

         competition; and (4) Plaintiffs and members of the Damages Class paid supra-

         competitive, artificially inflated prices for credit scores.

                 c.      During the Class Period, Defendants' illegal conduct substantially

         affected Nebraska commerce.

                 d.      As a direct and proximate result of Defendants' unlawful conduct,

         Plaintiffs and members of the Damages Class have been injured in their business

         and property and are threatened with furtherinjury.

                 e.      By reason of the foregoing, Defendants have entered into

         agreements in restraint of trade in violation of Nebraska Revised Statutes §§ 59-

         801, et seq.

                f.       Under Nebraska law, indirect purchasers have standing to maintain

         an action under the Junkin Act based on the facts alleged in this Complaint. Neb.


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          Rev. Stat. § 59-821.

                  g.     Accordingly, Plaintiffs and members of the Damages Class seek all

          relief available under Nebraska Revised Statutes §§ 59-801, etseq.

          305.   Nevada: By reason of the conduct alleged herein, Defendants have violated the

   Nevada Revised Statutes Annotated § 598A.010, etseq.

                 a.      Defendants contracted, combined or conspired to restrain or

          monopolize trade in the B2B Credit Score Market, and attempted to establish or

          did in fact establish a monopoly for the purpose of excluding competition or

          controlling, fixing or maintaining prices for credit scores, in violation of Nev. Rev.

          Stat. Ann. § 598A.010, et seq.

                 b.      Defendants' combinations or conspiracies had the following

         effects: (1) Credit score price competition was restrained, suppressed, and

         eliminated throughout Nevada; (2) Credit score prices were raised, fixed

         maintained and stabilized at artificially high levels throughout Nevada; (3)

         Plaintiffs and members of the Damages Class were deprived of free and open

         competition; and (4) Plaintiffs and members of the Damages Class paid supra-

         competitive, artificially inflated prices for credit scores.

                 c.      During the Class Period, Defendants' illegal conduct substantially

         affected Nevada commerce.

                 d.      As a direct and proximate result of Defendants' unlawful conduct,

         Plaintiffs and members of the Damages Class have been injured in their business

         and property and are threatened with further injury.

                 e.      By reason of the foregoing, Defendants have entered into

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         agreements in restraint of trade in violation of Nevada Rev. Stat. Ann. §§

         598A.010, et seq.

                 f.     Under Nevada law, indirect purchasers have standing to maintain

         an action under NUTPA based on the facts alleged in this Complaint. Nev. Rev.

         Stat. Ann. §598A.210(2).

                g.      Accordingly, Plaintiffs and members of the Damages Class seek all

         relief available under Nevada Rev. Stat. Ann. §§ 598A.010, et seq.

         306.   New Hampshire: By reason of the conduct alleged herein, Defendants have

  violated the New Hampshire Revised Statutes §§ 356:1, etseq.

                a.      Defendants fixed, controlled or maintained prices for credit

         scores and established, maintained or used monopoly power, or attempted to,

         constituting contracts, combinations or conspiracies in restraint of trade in

         violation of N.H. Rev. Stat. Ann. § 356:1, et seq.

                 b.     Defendants' combinations or conspiracies had the following

         effects: (1) Credit score price competition was restrained, suppressed, and

         eliminated throughout New Hampshire; (2) Credit score prices were raised,

         fixed maintained and stabilized at artificially high levels throughout New

         Hampshire; (3) Plaintiffs and members of the Damages Class were deprived of

         free and open competition; and (4) Plaintiffs and members of the Damages

         Class paid supra-competitive, artificially inflated prices for credit scores.

                c.      During the      Class Period, Defendants'         illegal conduct

         substantially affected New Hampshire commerce.

                d.      As a direct and proximate result of Defendants' unlawful

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         conduct, Plaintiffs and members ofthe Damages Class have been injured in their

         business and property and are threatened with furtherinjury.

                e.      By reason of the foregoing, Defendants have entered into

         agreements in restraint of trade in violation ofNew Hampshire Revised Statutes

         §§ 356:1, etseq.

                f.      UnderNew Hampshire law, indirect purchasers have standing to

         maintain an action based on the facts alleged in this Complaint. N.H. Rev. Stat.

         Ann. § 356:11(II).

                g.      Accordingly, Plaintiffs and members of the Damages Class seek

         all relief available under New Hampshire Revised Statutes §§ 356:1, etseq.

         307.   New Mexico: By reason of the conduct alleged herein, Defendants have violated

  the New Mexico Statutes Annotated § 57-1-1, etseq.

                a.      Defendants contracted, agreed, combined or conspired, and

         monopolized or attempted to monopolize trade for credit scores within the

         intrastate commerce of New Mexico, in violation of N.M. Stat. Ann. § 57-1-1, et

        seq.

                b.      Defendant's combinations or conspiracies had the following

        effects: (1) Credit score price competition was restrained, suppressed, and

        eliminated throughout New Mexico; (2) Credit score prices were raised, fixed

        maintained and stabilized at artificially high levels throughout New Mexico; (3)

        Plaintiffs and members of the Damages Class were deprived of free and open

        competition; and (4) Plaintiffs and members of the Damages Class paid supra-

        competitive, artificially inflated prices for credit scores.

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                   c.     During the Class Period, Defendants' illegal conduct substantially

         affected New Mexico commerce.

                   d.     As a direct and proximate result of Defendants' unlawful conduct,

         Plaintiffs and members of the Damages Class have been injured in their business

         and property and are threatened with furtherinjury.

                   e.     By reason of the foregoing, Defendants have entered into

         agreements in restraint of trade in violation of New Mexico Stat. Ann. § 57-1-1,

         et seq.

                   f.     Under New Mexico law, indirect purchasers have standing to

         maintain an action based on the facts alleged in this Complaint. N.M. Stat. Ann. §

         57-1-3(A).

                   g.     Accordingly, Plaintiffs and members ofthe Damages Class seek all

         relief available under New Mexico Stat. Ann. §§ 57-1-1, et seq.

         308.      New York: By reason of the conduct alleged herein, Defendants have violated the

  New York General Business Laws §§ 340, etseq.

                   a.     Defendants established or maintained a monopoly within the

         intrastate commerce of New York for the trade or commerce of credit scores and

         restrained competition in the free exercise of the conduct of the business of credit

         scores within the intrastate commerce of New York, in violation of N.Y. Gen. Bus.

         Law § 340, et seq.

                   b.     Defendants' combinations or conspiracies had the following

         effects: (1) Credit score price competition was restrained, suppressed, and

         eliminated throughout New York; (2) Credit score prices were raised, fixed

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         maintained and stabilized at artificially high levels throughout New York; (3)

         Plaintiffs and members of the Damages Class were deprived of free and open

         competition; and (4) Plaintiffs and members of the Damages Class paid supra-

         competitive, artificially inflated prices for credit scores.

                   c.    During the Class Period, Defendants' illegal conduct substantially

         affected New York commerce.

                   d.    As a direct and proximate result of Defendants' unlawful conduct,

         Plaintiffs and members of the Damages Class have been injured in their business

         and property and are threatened with furtherinjury.

                   e.    By reason of the foregoing, Defendants have entered into

         agreements in restraint of trade in violation of the New York Donnelly Act, §§

         340, et seq. The conduct set forth above is a per se violation of the Act.

                   f.    Under New York law, indirect purchasers have standing to maintain

         an action based on the facts alleged in this Complaint. N.Y. Gen. Bus. Law §

         340(6).

                   g.    Accordingly, Plaintiffs and members of the Damages Class seek all

         relief available under New York Gen. Bus. Law §§ 340, etseq.

         309.      North Carolina: By reason of the conduct alleged herein, Defendants have

  violated the North Carolina General Statutes §§ 75-1, etseq.

                   a.    Defendants contracted, combined or conspired to restrain or

         monopolize trade in the Business Market for credit scores, and attempted to

         establish or did in fact establish a monopoly for the purpose of excluding

         competition or controlling, fixing or maintaining prices for credit scores, in

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         violation ofNorth Carolina General Statutes § 75-1, etseq.

                 b.      Defendants' combinations or conspiracies had the following

         effects: (1) Credit score price competition was restrained, suppressed, and

         eliminated throughout North Carolina; (2) Credit score prices were raised, fixed

         maintained and stabilized at artificially high levels throughout North Carolina; (3)

         Plaintiffs and members of the Damages Class were deprived of free and open

         competition; and (4) Plaintiffs and members of the Damages Class paid supra-

         competitive, artificially inflated prices for credit scores.

                 c.      During the Class Period, Defendants' illegal conduct substantially

         affected North Carolina commerce.

                 d.      As a direct and proximate result of Defendants' unlawful conduct,

         Plaintiffs and members of the Damages Class have been injured in their business

         and property and are threatened with furtherinjury.

                e.       By reason of the foregoing, Defendants have entered into

         agreements in restraint oftrade in violation ofNorth Carolina Gen. Stat. §§ 75-1, et

        seq.

                f.       Under North Carolina law, indirect purchasers have standing to

         maintain an action based on the facts alleged in this Complaint. Hyde v. Abbott

         Labs., Inc., 123 N.C. App. 572, 584 (1996).

                g.      Accordingly, Plaintiffs and members of the Damages Class seek all

         relief available under North Carolina Gen. Stat. § 75-1, et. seq.

        310.    North Dakota: By reason of the conduct alleged herein, Defendants have violated

  the North Dakota Century Code § 51-08.1-01, etseq.

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                 a.      Defendants contracted, combined or conspired to restrain or

         monopolize trade in the Business Market for credit scores, and attempted to

         establish or did in fact establish a monopoly for the purpose of excluding

         competition or controlling, fixing or maintaining prices for credit scores, in

         violation of North Dakota Century Code §§ 51-08.1-01, et seq. Defendants'

         violations of North Dakota law were flagrant.

                 b.      Defendants' combinations or conspiracies had the following

         effects: (1) Credit score price competition was restrained, suppressed, and

         eliminated throughout North Dakota; (2) Credit score prices were raised, fixed

         maintained and stabilized at artificially high levels throughout North Dakota; (3)

         Plaintiffs and members of the Damages Class were deprived of free and open

         competition; and (4) Plaintiffs and members of the Damages Class paid supra-

         competitive, artificially inflated prices for credit scores.

                 c.      During the Class Period, Defendants' illegal conduct substantially

         affected North Dakota commerce.

                 d.      As a direct and proximate result of Defendants' unlawful conduct,

         Plaintiffs and members of the Damages Class have been injured in their business

         and property and are threatened with furtherinjury.

                 e.      By reason of the foregoing, Defendants have entered into

         agreements in restraint of trade in violation ofNorth Dakota Cent. Code §§ 51-08.1-

         01, et seq.

                 f.      Under North Dakota law, indirect purchasers have standing to

         maintain an action under the Antitrust Act based on the facts alleged in this
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         Complaint. See, e.g., Howe v. Microsoft Corp., 656 N.W.2d 285, 298 (N.D. 2003).

                   g.     Accordingly, Plaintiffs and members of the Damages Class seek all

         relief available under North Dakota Cent. Code §§ 51-08.1-01, et seq.

         311.      Oregon: By reason of the conduct alleged herein, Defendants have violated the

  Oregon Revised Statutes §§ 646.705, etseq.

                   a.     Defendants contracted, combined, or conspired in restraint of trade

         or commerce of credit scores, and monopolized or attempted to monopolize the

         trade or commerce of credit scores, in violation of Or. Rev. Stat. § 646.705, et seq.

                   b.     Defendants' combinations or conspiracies had the following effects:

         (1) Credit score price competition was restrained, suppressed, and eliminated

         throughout Oregon; (2) Credit score prices were raised, fixed maintained and

         stabilized at artificially high levels throughout Oregon; (3) Plaintiffs and members

         of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

         and members of the Damages Class paid supra-competitive, artificially inflated

         prices for credit scores.

                   c.     During the Class Period, Defendants' illegal conduct substantially

         affected Oregon commerce.

                   d.     As a direct and proximate result of Defendants' unlawful conduct,

         Plaintiffs and members of the Damages Class have been injured in their business and

         property and are threatened with further injury.

                   e.     By reason of the foregoing, Defendants have entered into

         agreements in restraint of trade in violation of Oregon Revised Statutes §§ 646.705,

         et seq.

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                 f.      Under Oregon law, indirect purchasers have standing under the

         antitrust provisions of the Oregon Revised Statutes to maintain an action based on

         the facts alleged in this Complaint. Or. Rev. Stat. § 646.780(1)(a).

                 g.      Accordingly, Plaintiffs and members of the Damages Class seek all

         relief available under Oregon Revised Statutes § 646.705, et seq.

         312.    Rhode Island: By reason of the conduct alleged herein, Defendants have violated

  R.I. Gen. Laws § 6-36-1, et seq.

                 a.      Defendants contracted, combined or conspired to restrain or

         monopolize trade in the B2B Credit Score Market, and attempted to establish or did

         in fact establish a monopoly for the purpose of excluding competition or controlling,

         fixing or maintaining prices for credit scores, in violation of R.I. Gen. Laws § 6-36-

         1, et seq.

                 b.      Defendants' combinations or conspiracies had the following effects:

         (1) Credit score price competition was restrained, suppressed, and eliminated

         throughout Rhode Island; (2) Credit score prices were raised, fixed maintained and

         stabilized at artificially high levels throughout Rhode Island; (3) Plaintiffs and

         members of the Damages Class were deprived of free and open competition; and

         (4) Plaintiffs and members of the Damages Class paid supra-competitive,

         artificially inflated prices for credit scores.

                 c.      During the Class Period, Defendants' illegal conduct substantially

         affected Rhode Island commerce.

                 d.      As a direct and proximate result of Defendants' unlawful conduct,

         Plaintiffs and members of the Damages Class have been injured in their business and

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         property and are threatened with further injury.

                 e.      By reason of the foregoing, Defendants have entered into

         agreements in restraint of trade in violation of R.I. Gen. Laws § 6-36-1, et seq.

                 f.      Under the Rhode Island Antitrust Act, indirect purchasers have

         standing to maintain an action based on the facts alleged in this Complaint. R.I.

         Gen. Laws § 6-36-11(a).

                 g.      Accordingly, Plaintiffs and members of the Damages Class seek all

         forms of relief available under R.I. Gen. Laws § 6-36-1, et seq.

         313.    South Dakota: By reason of the conduct alleged herein, Defendants have violated

  South Dakota Codified Laws §§ 37-1-3.1, etseq.

                a.       Defendants contracted, combined or conspired in restraint of trade

         or commerce of credit scoreswithin the intrastate commerce of South Dakota, and

         monopolized or attempted to monopolize trade or commerce of credit scores

         within the intrastate commerce of South Dakota, in violation of S.D. Codified

         Laws § 37-1-3.1, et seq.

                 b.      Defendants' combinations or conspiracies had the following

         effects: (1) Credit score price competition was restrained, suppressed, and

         eliminated throughout South Dakota; (2) Credit score prices were raised, fixed

         maintained and stabilized at artificially high levels throughout South Dakota; (3)

         Plaintiffs and members of the Damages Class were deprived of free and open

         competition; and (4) Plaintiffs and members of the Damages Class paid supra-

         competitive, artificially inflated prices for credit scores.

                 c.      During the Class Period, Defendants' illegal conduct substantially

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         affected South Dakota commerce.

                d.      As a direct and proximate result of Defendants' unlawful conduct,

         Plaintiffs and members of the Damages Class have been injured in their business

         and property and are threatened with furtherinjury.

                e.      By reason of the foregoing, Defendants have entered into

         agreements in restraint of trade in violation of South Dakota Codified Laws Ann.

         §§ 37-1, etseq.

                f.      Under South Dakota law, indirect purchasers have standing under

         the antitrust provisions of the South Dakota Codified Laws to maintain an action

         based on the facts alleged in this Complaint. S.D. Codified Laws § 37-1-33.

                g.      Accordingly, Plaintiffs and members of the Damages Class seek all "

         relief available under South Dakota Codified Laws Ann. §§ 37-1, etseq.

         314.   Tennessee: By reason of the conduct alleged herein, Defendants have violated the

   Tennessee Code Annotated § 47-25-101, etseq.

                a.      Defendants contracted, combined or conspired to restrain or

         monopolize trade in the B2B Credit Score Market, and attempted to establish or did

         in fact establish a monopoly for the purpose of excluding competition or controlling,

         fixing or maintaining prices for credit scores, in violation of Tenn. Code, § 47-25-

         101, etseq.

                b.      Defendants' combinations or conspiracies had the following effects:

         (1) Credit score price competition was restrained, suppressed, and eliminated

         throughout Tennessee; (2) Credit score prices were raised, fixed maintained and

         stabilized at artificially high levels throughout Tennessee; (3) Plaintiffs and

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         members of the Damages Class were deprived of free and open competition; and

         (4) Plaintiffs and members of the Damages Class paid supra-competitive,

         artificially inflated prices for credit scores.

                   c.     During the Class Period, Defendants' illegal conduct substantially

         affected Tennessee commerce.

                   d.     As a direct and proximate result of Defendants' unlawful conduct,

         Plaintiffs and members ofthe Damages Class have been injured in their business and

         property and are threatened with furtherinjury.

                   e.     By reason of the foregoing, Defendants have entered into

         agreements in restraint of trade in violation of Tennessee Code Ann. §§ 47-25-101,

         et seq.

                   f.     Under Tennessee law, indirect purchasers have standing under the

        Tennessee Trade Practice Acts to maintain an action based on the facts alleged in

         this Complaint. Freeman Indus., LLC v. Eastman Chem. Co., 172 S.W.3d 512, 520

        (Tenn. 2005).

                   g.     Accordingly, Plaintiffs and members of the Damages Class seek all

        relief available under Tennessee Code Ann. § 47-25- 101, et seq.

        315.       Utah: By reason of the conduct alleged herein, Defendants have violated Utah

  Code Annotated § 76-10-3101, etseq.

                   a.     Defendants contracted, combined or conspired to restrain or

        monopolize trade in the B2B Credit Score Market, and attempted to establish or

        did in fact establish a monopoly for the purpose of excluding competition or

        controlling, fixing or maintaining prices for credit scores, in violation of Utah Code

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         Ann. § 76-10-3101, et seq.

                 b.      Defendants' combinations or conspiracies had the following

         effects: (1) Credit score price competition was restrained, suppressed, and

         eliminated throughout Utah; (2) Credit score prices were raised, fixed maintained

         and stabilized at artificially high levels throughout Utah; (3) Plaintiffs and

         members of the Damages Class were deprived of free and open competition; and

         (4) Plaintiffs and members of the Damages Class paid supra-competitive,

         artificially inflated prices for credit scores.

                 c.      During the Class Period, Defendants' illegal conduct substantially

         affected Utah commerce.

                 d.      As a direct and proximate result of Defendants' unlawful conduct,

         Plaintiffs and members of the Damages Class have been injured in their business

         and property and are threatened with furtherinjury.

                 e.      By reason of the foregoing, Defendants have entered into

         agreements in restraint of trade in violation of Utah Code Annotated §§ 76-10-

         3101, et seq.

                 f.      Under the Utah Antitrust Act, indirect purchasers who are either

         Utah residents or Utah citizens have standing to maintain an action based on the

         facts alleged in this Complaint. Utah Code Ann. § 76-10-3109(1)(a).

                 g.      Accordingly, Plaintiffs and members of the Damages Class seek all

         relief available under Utah Code Annotated §§ 76-10-3101, et seq.

         316.    Vermont: By reason of the conduct alleged herein, Defendants have violated

  Vermont Stat. Ann. 9§§ 2453, etseq.

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                a.      Defendants contracted, combined or conspired to restrain or

        monopolize trade in the B2B Credit Score Market, and attempted to establish or did

        in fact establish a monopoly for the purpose of excluding competition or controlling,

        fixing or maintaining prices for credit scores, in violation of Vermont Stat. Ann. 9

        §§ 2453, etseq. Defendants' violations of Vermont law were flagrant.

                b.      Defendants' combinations or conspiracies had the following effects:

        (1) Credit score price competition was restrained, suppressed, and eliminated

        throughout Vermont; (2) Credit score prices were raised, fixed maintained and

        stabilized at artificially high levels throughout Vermont; (3) Plaintiffs and members

        of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

        and members of the Damages Class paid supra-competitive, artificially inflated

        prices for credit scores.

                c.      During the Class Period, Defendants' illegal conduct substantially

        affected Vermont commerce.

                d.      As a direct and proximate result of Defendants' unlawful conduct,

        Plaintiffs and members ofthe Damages Class have been injured in their business and

        property and are threatened with further injury.

                e.      By reason of the foregoing, Defendants have entered into

        agreements in restraint of trade in violation of Vermont Stat. Ann. 9§§ 2453, etseq.

                f.      Under Vermont law, indirect purchasers have standing to maintain

        an action under Vermont's antitrust laws based on the facts alleged in this

        Complaint. Elkins v. Microsoft Corp., 174 Vt. 328, 341 (2002).

                g.      Accordingly, Plaintiffs and members of the Damages Class seek all


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          relief available under Vermont Stat. Ann. 9§§ 2453, etseq.

          317.   West Virginia: By reason of the conduct alleged herein, Defendants have violated

   West Virginia Code §§ 47-18-1, etseq.

                 a.      Defendants contracted, combined or conspired to restrain or

          monopolize trade in the B2B Credit Score Market, and attempted to establish or did

          in fact establish a monopoly for the purpose of excluding competition or controlling,

          fixing or maintaining prices for credit scores, in violation of West Virginia Code §§

          47-18-1, et seq. Defendants' anticompetitive acts were knowing, willful and

          constitute violations or flagrant violations of the West Virginia Antitrust Act.

                 b.      Defendants' combinations or conspiracies had the following effects:

         (1) Credit score price competition was restrained, suppressed, and eliminated

         throughout West Virginia; (2) Credit score prices were raised, fixed maintained and

         stabilized at artificially high levels throughout West Virginia; (3) Plaintiffs and

         members of the Damages Class were deprived of free and open competition; and

         (4) Plaintiffs and members of the Damages Class paid supra-competitive,

         artificially inflated prices for credit scores.

                 c.      During the Class Period, Defendants' illegal conduct substantially

         affected West Virginia commerce.

                 d.      As a direct and proximate result of Defendants' unlawful conduct,

         Plaintiffs and members of the Damages Class have been injured in their business and

         property and are threatened with furtherinjury.

                 e.      By reason of the foregoing, Defendants have entered into

         agreements in restraint of trade in violation of West Virginia Code §§ 47-18-1, et

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          seq.

                  f.      Under West Virginia law, indirect purchasers have standing to

          maintain an action under the West Virginia Antitrust Act based on the facts alleged

          in this Complaint. W. Va. Code R. 142-9-2.

                  g.      Accordingly, Plaintiffs and members of the Damages Class seek all

          relief available under West Virginia Code § 47-18-1,etseq.

          318.    Wisconsin: By reason of the conduct alleged herein, Defendants have violated

   Wisconsin Statutes §§ 133.01, etseq.

                  a.      Defendants contracted, combined or conspired in restraint of trade

          or commerce of credit scores, and monopolized or attempted to monopolize the

          trade or commerce of credit scores, with the intention of injuring or destroying

          competition therein, in violation of Wis. Stat. § 133.01, et seq

                  b.      Defendants' combinations or conspiracies had the following effects:

          (1) Credit score price competition was restrained, suppressed, and eliminated

          throughout Wisconsin; (2) Credit score prices were raised, fixed maintained and

          stabilized at artificially high levels throughout Wisconsin; (3) Plaintiffs and

          members of the Damages Class were deprived of free and open competition; and

          (4) Plaintiffs and members of the Damages Class paid supra-competitive,

          artificially inflated prices for credit scores.

                  c.      During the Class Period, Defendants' illegal conduct substantially

          affected Wisconsin commerce.

                  d.      As a direct and proximate result of Defendants' unlawful conduct,

          Plaintiffs and members of the Damages Class have been injured in their business and

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          property and are threatened with further injury.

                 e.      By reason of the foregoing, Defendants have entered into

         agreements in restraint of trade in violation of Wisconsin Stat. §§ 133.01, et seq.

                 f.      Under Wisconsin law, indirect purchasers have standing under the

         antitrust provisions of the Wisconsin Statutes to maintain an action based on the

         facts alleged in this Complaint. Wis. Stat. 133.18(1)(a).

                 g.      Accordingly, Plaintiffs and members of the Damages Class seek all

         relief available under Wisconsin Stat. §§ 133.01, etseq.

         319.    Defendants' anticompetitive activities have directly, foreseeably and proximately

  caused injury to members of the Damages Class. Plaintiffs and members of the Class in each of

  the above states have been injured in their business and property by reason of Defendants'

  unlawful monopolization and anticompetitive agreements. Their injuries consist of: (1) being

  denied the opportunity to purchase lower-priced credit scores from Defendants and/or other

  sellers of credit scores, and/or (2) paying higher prices for FICO Scores than they would have in

  the absence of Defendants' conduct. These injuries are of the type of the laws of the above States

  were designed to prevent, and flow from that which makes Defendants' conduct unlawful.

         320.    In addition, Defendants have profited significantly from the aforesaid unlawful

  conduct. Defendants' profits derived from their anticompetitive conduct come at the expense and

  detriment of the Plaintiffs and the members of the Damages Class.

         321.    Accordingly, Plaintiffs and the members of the Damages Class in each of the

  above jurisdictions seek damages (including statutory damages where applicable), to be trebled

  or otherwise increased as permitted by a particular jurisdiction's antitrust law, and costs of suit,

  including reasonable attorneys' fees, to the extent permitted by the above state laws.

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                              SE~ENTH CLAIM FOR RELIEF:
                   VIOLATIONS OF STATE CONSUMER PROTECTION LAWS
                         (on behalf of Plaintiffs and the Damages Class)

           322.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs of

   this Complaint.

           323.    This Claim is brought against all Defendants.

           324.   Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

   fraudulent acts or practices in violation of the state consumer protection and unfair competition

   statutes listed below.

           325.   Arkansas: Defendants have knowingly entered into unlawful agreements in

   restraint of trade in violation of the Arkansas Code Annotated, § 4-88-101, etseq.

                  a.        Defendants knowingly agreed to, and did in fact, act in restraint of

          trade or commerce by affecting, fixing, controlling, and/or maintaining at non-

          competitive and artificially inflated levels, the prices at which credit scores were

          sold in Arkansas and took efforts to conceal their agreements from Plaintiffs and

          members of the Damages Class.

                  b.        The aforementioned conduct on the part of the Defendants

          constituted "unconscionable" and "deceptive" acts or practices in violation of

          Arkansas Code Annotated, § 4-88-107(a)(10).

                       c. Defendants' unlawful conduct had the following effects: (1) credit

          score price competition was restrained, suppressed, and eliminated throughout

          Arkansas; (2) credit score prices were raised, fixed, maintained, and stabilized at

          artificially high levels throughout Arkansas; (3) Plaintiffs and the members of the

          Damages Class were deprived of free and open competition; and (4) Plaintiffs
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         and the members of the Damages Class paid supra-competitive, artificially

         inflated prices for credit scores.

                    d. During the Class Period, Defendants' illegal conduct substantially

         affected Arkansas commerce and consumers.

                    e. As a direct and proximate result of the unlawful conduct of

         Defendants, Plaintiffs and the members of the Damages Class have been injured

         in their business and property and are threatened with further injury.

                    f. Defendants have engaged in unfair competition or unfair or

         deceptive acts or practices in violation of Arkansas Code Annotated, § 4-88-

         107(a)(10) and, accordingly, Plaintiffs and the members of the Damages Class

         seek all relief available under that statute.

         326.    California:     Defendants have engaged in unfair competition or unfair,

  unconscionable, deceptive or fraudulent acts or practices in violation of California Business and

  Professions Code § 17200, et seq.

                 a. During the Class Period, Defendants marketed, sold, or distributed

         FICO Scores in California, and committed and continue to commit acts of unfair

         competition, as defined by Sections 17200, et seq. of the California Business and

         Professions Code, by engaging in the acts and practices specified above.

                 b. The violations of federal antitrust law set forth above constitute

         violations of section 17200, et seq. of California Business and Professions Code.

                 c. This claim is instituted pursuant to sections 17203 and 17204 of

         California Business and Professions Code, to obtain restitution from these

         Defendants for acts, as alleged herein, that violated section 17200 of the California

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         Business & Professions Code, commonly known as the Unfair Competition Law.

                d. Defendants' conduct as alleged herein violated the UCL. The acts,

         omissions, misrepresentations, practices and non-disclosures of Defendants, as

        alleged herein, constituted a common, continuous, and continuing course of

         conduct of unfair competition by means of unfair, unlawful, and/or fraudulent

         business acts or practices within the meaning of the UCL, including, but not

         limited to, the violations of section 16720, et seq., of California Business and

         Professions Code, set forth above.

               e.        Defendants' acts, omissions, misrepresentations, practices, and non-

         disclosures, as described above, whether or not in violation of section 16720, et

        seq., of Califomia Business and Professions Code, and whether or not concerted

         or independent acts, are otherwise unfair, unconscionable, unlawful or fraudulent.

               f.           Defendants' acts or practices are unfair to purchasers of FICO Scores in the

         State of California within the meaning of § 17200, California Business & Professions Code.

                    g.      Defendants' acts and practices are fraudulent or deceptive within

        the meaning of § 17200 of the California Business & Professions Code.

                         h. Plaintiffs and members of the Damages Class are entitled to full

         restitution and/or disgorgement of all revenues, eamings, profits, compensation,

        and benefits that may have been obtained by Defendants as a result of such

         business acts or practices.

                         i. The illegal conduct alleged herein is continuing and there is no

        indication that Defendants will not continue such activity into the future.

                         j. The unlawful and unfair business practices of Defendants, as

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         described above, have caused and continue to cause Plaintiffs and members of the

         Damages Class to pay supra-competitive and artificially inflated prices for FICO

         Scores sold in the State of California. Plaintiffs and members of the Damages Class

         suffered injury in fact and lost money or property as a result of such unfair

         competition.

                      k. The conduct of Defendants as alleged in this Complaint violated §

         17200 of the California Business & Professions Code.

                      1. As alleged in this Complaint, Defendants and their co-conspirators          ~

         have been unjustly enriched as a result of their wrongful conduct and by

         Defendants' unfair competition.

                      m. Plaintiffs and, members of the Damages Class are accordingly

         entitled to equitable relief including restitution and/or disgorgement of all

         revenues, earnings, profits, compensation, and benefits that may have been

         obtained by Defendants as a result of such business practices, pursuant to

         California Business & Professions Code §§ 17203 and 17204.

         327.    District of Columbia: Defendants have engaged in unfair competition or unfair,

  unconscionable, or deceptive acts or practices in violation of District of Columbia Code §§ 28-

  3901 et seq.

                 a.      Defendants agreed_ to, and did in fact, act in restraint of trade or commerce

         by affecting, fixing, controlling and/or maintaining, at artificial and/or non-competitive

         levels, the prices at which FICO Scores were sold, distributed or obtained in the District of

         Columbia.

                 b.      The foregoing conduct constitutes "unlawful trade practices," within the

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         meaning of D.C. Code § 28- 3904.

                  c.    Plaintiffs and members of the Class were not aware of Defendants' illegal

         conduct and were therefore unaware that they were being unfairly and illegally

         overcharged.

                  d.    There was a gross disparity of bargaining power between the parties with

         respect to the price charged by Defendants for FICO Scores. Defendants had the sole power

         to set that price, and Plaintiffs and members of the Class had no power to negotiate a lower

         price.

                  e.    Moreover, Plaintiffs and members of the Class lacked any meaningful

         choice in purchasing FICO Scores because they were unaware of the unlawful overcharge

         and there was no altemative source of supply through which Plaintiffs and members of the

         Class could avoid the overcharges.

                  f.    Defendants' conduct with regard to sales of FICO Scores, including their

         illegal conduct with respect to fixing the price of FICO Scores at supracompetitive levels

        and overcharging consumers, was substantively unconscionable because it was one-sided

        and unfairly benefited Defendants at the expense of Plaintiffs and the public.

                  g.    Defendants took grossly unfair advantage of Plaintiffs and members of the

        Class.

                  h.    The suppression of competition that has resulted from Defendants' conduct

        has ultimately resulted in unconscionably higher prices for purchasers so that there was a

        gross disparity between the price paid and the value received for the FICO Scores.

        Defendants' unlawful conduct had the following effects: (1) FICO Scores' price

        competition was restrained, suppressed, and eliminated throughout the District of
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         Columbia; (2) FICO Scores' prices were raised, fixed, maintained, and stabilized at

         artificially high levels throughout the District of Columbia; (3) Plaintiffs and members of

         the Class were deprived of free and open competition; and (4) Plaintiffs and members of

         the Class paid supracompetitive, artificially inflated prices for FICO Scores.

                i.       As a direct and proximate result of Defendants' conduct, Plaintiffs and

         members of the Class have been injured and are threatened with further injury. Defendants

         have engaged in unfair competition or unfair or deceptive acts or practices in violation of

         District of Columbia Code § 28-3901 et seq., and, accordingly, Plaintiffs and members of

         the Class seek all relief available under that statute.

         328.    Florida: Defendants have engaged in unfair competition or unfair, unconscionable,

  or deceptive acts or practices in violation of the Florida Deceptive and Unfair Trade Practices Act,

  Fla. Stat. §§ 501.201, etseq.

                a.       The primary policy of the FDUTPA is "[t]o protect the consuming public

         and legitimate business enterprises from those who engage in unfair methods of

         competition, or unconscionable, deceptive, or unfair acts or practices in the conduct of any

         trade or commerce." Fla. Stat. § 501.202(2).

                b.       A claim for damages under the FDUTPA has three elements: (1) a

         prohibited practice; (2) causation; and (3) actual damages.

                c.       Under Florida law, indirect purchasers have standing to maintain an action

         under the FDUTPA based on the facts alleged in this Complaint. Fla. Stat. § 501.211(a)

         ("anyone aggrieved by a violation of this [statute] may bring an action ...")

                d.       Members of the Damages Class purchased FICO Scores within the State of

         Florida during the Class Period. But for Defendants' conduct set forth herein, the price of
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         FICO Scores would have been lower, in an amount to be determined at trial.

                e.      Defendants entered into contracts, combinations or conspiracies between

         two or more persons in restraint of, or to monopolize, trade or commerce in the B2B

         Credit Score Market, a substantial part of which occurred within Florida.

               f.       Defendants established, maintained or used a monopoly, or attempted to

         establish a monopoly, of trade or commerce in the B2B Credit Score Market, for the

         purpose of excluding competition or controlling, fixing or maintaining prices in Florida at

         a level higher than the competitive market level, beginning at least as early as 2006 and

         continuing through the date of this filing.

               g.       Accordingly, Defendants' conduct was an unfair method of competition,

         and an unfair or deceptive act or practice within the conduct of commerce within the State of

         Florida.

               h.       Defendants' unlawful conduct had the following effects: (1) FICO Scores'

         price competition was restrained, suppressed, and eliminated throughout Florida; (2) FICO

         Scores' prices were raised, fixed, maintained, and stabilized at artificially high levels

         throughout Florida; (3) Plaintiffs and members of the Class were deprived of free and open

         competition; and (4) Plaintiffs and members of the Class paid supracompetitive, ai-tificially

         inflated prices for FICO Scores.

               i.       Defendants' unlawful conduct substantially affected Florida's trade and

         commerce.

               j.       As a direct and proximate cause of Defendants' unlawful conduct, members

         of the Class have been injured in their business or property by virtue of overcharges for

         FICO Scores and are threatened with further injury.
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                k.       By reason of the foregoing, the members of the Damages Class are entitled

         to seek all forms of,relief, including injunctive relief pursuant to Florida Stat. § 501.208

         and declaratory judgment, actual damages, reasonable attorneys' fees and costs pursuant

         to Florida Stat. § 501.211.

         329.    Hawaii: Defendants have engaged in unfair competition or unfair, unconscionable,

  or deceptive acts or practices in violation of the Hawaii Revised Statutes Annotated §§ 480-1, et

  seq.

                a.       Defendants' unlawful conduct had the following effects: (1) credit score

         price competition was restrained, suppressed, and eliminated throughout Hawaii; (2) credit

         score prices were raised, fixed, maintained, and stabilized at artificially high levels

         throughout Hawaii; (3) Plaintiffs and members of the Damages Class were deprived of free

         and open competition; and (4) Plaintiffs and members of the Damages Class paid supra-

         competitive, artificially inflated prices for credit scores.

                b.       During the Class Period, Defendants' illegal conduct substantially affected

         Hawaii commerce and consumers.

                c.       As a direct and proximate result of Defendants' unlawful conduct, Plaintiffs

         and members ofthe Damages Class have been injured and are threatened with further injury.

                d.       Defendants have engaged in unfair competition or unfair or deceptive acts

         or practices in violation of Hawaii Rev. Stat. § 480, et seq., and, accordingly, Plaintiffs and

         members of the Damages Class seek all relief available under that statute.

         330.    Missouri: Defendants have engaged              in      unfair competition   or   unfair,

  unconscionable, or deceptive acts or practices in violation of the Missouri Merchandising Practices

  Act, Mo. Rev. Stat. § 407.010, et. seq.
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                  a.     Plaintiffs and the Damages Class purchased FICO Scores for personal,

         family, or household purposes.

                  b.    Defendants engaged in the conduct described herein in connection with the

         sale of credit scores in trade or commerce in a market that includes Missouri.

                  c.    Defendants agreed to, and did in fact affect, fix, control, and/or maintain, at

         artificial and non-competitive levels, the prices at which credit scores were sold,

         distributed, or obtained in Missouri, which conduct constituted unfair practices in that it

         was unlawful under federal and state law, violated public policy, was unethical, oppressive

         and unscrupulous, and caused substantial injury to Plaintiffs and members of the Damages

         Class.

                  d.    Defendants concealed, suppressed, and omitted to disclose material facts to

         Plaintiffs and members of the Damages Class concerning Defendants' unlawful activities

         and artificially inflated prices for credit scores. The concealed, suppressed, and omitted

         facts would have been important to Plaintiffs and members of the Damages Class as they

         related to the cost of credit scores they purchased.

                  e.    Defendants' conduct concerning the price of credit scores was deceptive as

         it had the tendency or capacity to mislead Plaintiffs and members of the Damages Class to

         believe that they were purchasing credit scores at prices established by a free and fair

         market.

                  f.    Defendants' unlawful conduct had the following effects: (1) credit score

         price competition was restrained, suppressed, and eliminated throughout Missouri; (2)

         credit score prices were raised, fixed, maintained, and stabilized at artificially high levels

         throughout Missouri; (3) Plaintiffs and members of the Damages Class were deprived of
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          free and open competition; and (4) Plaintiffs and members of the Damages Class paid

          supra- competitive, artificially inflated prices for credit scores.

                   g.     The foregoing acts and practices constituted unlawful practices in violation

          of the Missouri Merchandising Practices Act.

                   h.     As a direct and proximate result of the above-described unlawful practices,

          Plaintiffs and members of the Damages Class suffered ascertainable loss of money or

          property.

                   i.     Accordingly, Plaintiffs and members of the Damages Class seek all relief

          available under Missouri's Merchandising Practices Act, specifically Mo. Rev. Stat. §

          407.020, which prohibits "the act, use or employment by any person of any deception, fraud,

          false pretense, false promise, misrepresentation, unfair practice or the concealment,

          suppression, or omission of any material fact in connection with the sale or advertisement

          of any merchandise in trade or commerce...," as further interpreted by the Missouri Code

          of State Regulations, 15 CSR 60-7.010, et seq., 15 CSR 60-8.010, et seq., and 15 CSR 60-

          9.010, et seq., and Mo. Rev. Stat. § 407.025, which provides for the relief sought in this

          count.

          331.      Montana: Defendants have engaged             in   unfair competition    or unfair,

   unconscionable, or deceptive acts or practices in violation of the Montana Consumer Protection Act,

  Mont. Code, §§ 30-14-101, etseq. and §§ 30- 14-201 etseq.

                   a.     Defendants' unlawful conduct had the following effects: (1) credit score

          price competition was restrained, suppressed, and eliminated throughout Montana; (2)

          credit score prices were raised, fixed, maintained, and stabilized at artificially high levels

          throughout Montana; (3) Plaintiffs and members of the Damages Class were deprived of
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          free and open competition; and (4) Plaintiffs and members of the Damages Class paid

          supra- competitive, artificially inflated prices for credit scores.

                 b.       During the Class Period, Defendants marketed, sold, or distributed FICO

          Scores in Montana, and Defendants' illegal conduct substantially affected Montana

          commerce and consumers.

                 c.       As a direct and proximate result of Defendants' unlawful conduct, Plaintiffs

          and members ofthe Damages Class have been injured and are threatened with further injury.

                 d.       Defendants have engaged in unfair competition or unfair or deceptive acts

          or practices in violation of Mont. Code, §§ 30-14-101, et seq., and §§ 30- 14-201 et seq.,

          and, accordingly, Plaintiffs and members of the Damages Class seek all relief available

          under that statute.

          332.    Nebraska: By reason of the conduct alleged herein, Defendants have violated Neb.

   Rev. Stat. § 59-1602, et seq.

                 a.       Under Nebraska law, indirect purchasers have standing to maintain an

          action under the Nebraska Consumer Protection Act based on the facts alleged in this

          Complaint. Neb. Rev. Stat. § 59-1609.

                 b.       Defendants have entered into contracts, combinations, or conspiracies

          between two or more persons in restraint of, or to monopolize, trade or commerce in the

          B2B Credit Score Market, a substantial part of which occurred within Nebraska.

                 c.       Defendants established, maintained, or used a monopoly, or attempted to

          establish a monopoly, of trade or commerce in the B2B Credit Score Market, for the

          purpose of excluding or limiting competition or controlling or maintaining prices, a


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         substantial part of which occurred within Nebraska.

                d.        Defendants' conduct was conducted with the intent to deceive Nebraska

         consumers regarding the nature of Defendants' actions within the stream of Nebraska

         commerce.

                e.        Defendants' conduct was unfair, unconscionable, or deceptive within the

         conduct of commerce within the State of Nebraska.

                f.        Defendants' conduct misled consumers, withheld material facts, and had a

         direct or indirect impact upon Plaintiffs and members-of-the-Class's ability to protect

         themselves.

                g.        Defendants' unlawful conduct substantially affected Nebraska's trade and

         commerce.

                   h.     As a direct and proximate cause of Defendants' unlawful conduct, members

         of the Class have been injured in their business or property and are threatened with further

         injury.

                   i.     By reason of the foregoing, the members of the Class are entitled to seek all

         forms of relief available under Neb. Rev. Stat. § 59-1602, et seq.

         333.      New Hampshire: By reason of the conduct alleged herein, Defendants have violated

  N.H. Rev. Stat. T. XXXI, § 358-A, et seq.

                a.        Under New Hampshire law, indirect purchasers have standing to maintain

         an action under the New Hampshire Consumer Protection Act based on the facts alleged

         in this Complaint. LaChance v. U.S. Smokeless Tobacco Co., 156 N.H. 88, 92-100 (2007).

                b.        Defendants have entered into contracts, combinations, or conspiracies

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         between two or more persons in restraint of, or to monopolize, trade or commerce in the

         B2B Credit Score Market, a substantial part of which occurred within New Hampshire.

                   c.     Defendants established, maintained, or used a monopoly, or attempted to

         establish a monopoly, of trade or commerce in B2B Credit Score Market, for the purpose

         of excluding or limiting competition or controlling or maintaining prices, asubstantial part

         of which occurred within New Hampshire.

                   d.     Defendants' conduct was conducted with the intent to deceive New

         Hampshire consumers regarding the nature of Defendants' actions within the stream of

         New Hampshire commerce.

                   e.     Defendants' conduct was unfair or deceptive within the conduct of

         commerce within the State of New Hampshire.

                   f.     Defendants' conduct was willful and knowing.

                   g.     Defendants' conduct misled consumers, withheld material facts, and had a

         direct or indirect impact upon members-of-the-Class's ability to protect themselves.

                   h.     Defendants' unlawful conduct substantially affected New Hampshire's

         trade and commerce.

                   i.     As a direct and proximate cause of Defendants' unlawful conduct, members

       ' of the Class have been injured in their business or property and are threatened with further

         injury.

                j.        By reason of the foregoing, the members of the Class are entitled to seek all

         forms of relief available underN.H. Rev. Stat. T. XXXI, §§ 358-A:10 and 358-A:10-

         334.      New Mexico: By reason of the conduct alleged herein, Defendants have violated

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   N.M. Stat. Ann. § 57-12-1, etseq.

                   a.    Defendants entered into contracts, combinations, or conspiracies between

          two or more persons in restraint of, or to monopolize, trade or commerce in the Business

          Market for credit scores, a substantial part of which occurred within New Mexico.

                   b.    Defendants agreed to, and did in fact, act in restraint of trade or commerce

          by affecting, fixing, controlling and/or maintaining at non-competitive and artificially

          inflated levels, the prices at which FICO Scores were sold, distributed or obtained in New

          Mexico and took efforts to conceal their agreements from Plaintiffs and members of the

          Class.

                   c.    Defendants established, maintained, or used a monopoly, or attempted to

          establish a monopoly, of trade or commerce in the Business Market for credit scores, a

          substantial part of which occurred within New Mexico, for the purpose of excluding

          competition or controlling, fixing, or maintaining prices in the B2B Credit Score Market.

                   d.    Defendants' conduct was unfair, unconscionable, or deceptive within the

          conduct of commerce within the State of New Mexico.

                   e.    Defendants' conduct misled consumers, withheld material facts, and

          resulted in material misrepresentations to and the members of the Damages Class.

                   f.    Defendants' unlawful conduct substantially affected New Mexico's trade

         and commerce.

                   g.    Plaintiff and members of the Class were not aware of Defendants' illegal

          conduct and were therefore unaware that they were being unfairly and illegally

          overcharged. There was a gross disparity of bargaining power between the parties with


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         respect to the price charged by Defendants for FICO Scores. Defendant Fair Isaac had the

         sole power to set that price and Plaintiffs and members of the Class had no power to

         negotiate a lower price. Moreover, Plaintiffs and members of the Class lacked any

         meaningful choice in purchasing FICO Scores because they were unaware of the unlawful

         overcharge and there was no alternative source of supply through which Plaintiffs and

         members of the Class could avoid the overcharges. Defendants' conduct with regard to

        sales of FICO Scores, including their illegal conduct to fix the price of FICO Scores at

        supracompetitive levels and overcharge consumers, was substantively unconscionable

         because it was one-sided and unfairly benefited Defendants at the expense of Plaintiffs and

        the public. Defendants took grossly unfair advantage of Plaintiffs and members of the

         Class.

                  h.    The suppression of competition that resulted from Defendants' conduct has

         ultimately resulted in unconscionably higher prices for consumers so that there was a gross

        disparity between the price paid and the value received for the FICO Scores.

                  i.    Defendants' unlawful conduct had the following effects: (1) FICO Scores'

        price competition was restrained, suppressed, and eliminated throughout New Mexico; (2)

        FICO Scores' prices were raised, fixed, maintained, and stabilized at artificially high levels

        throughout New Mexico; (3) Plaintiffs and members of the Class were deprived of free and

        open competition; and (4) Plaintiffs and members of the Class paid supracompetitive,

        artificially inflated prices for FICO Scores. During the Class Period, Defendants' illegal

        conduct substantially affected New Mexico commerce and consumers.

                  j.    Defendants' conduct constituted "unconscionable trade practices" in that

        such conduct, inter alia, resulted in a gross disparity between the value received by the

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          members of the Class and the price paid by them for FICO Scores as set forth in N.M. Stat.

          Ann. § 57-12-2E.

                 k.       Defendants' conduct was willful.

                 1.       As a direct and proximate cause of Defendants' unlawful conduct, Plaintiffs

          and the members of the Damages Class have been injured and are threatened with further

          injury.

                 m.       By reason of the foregoing, members of the Damages Class are entitled to

          seek all forms of,
                           relief, including actual damages or up to $300 per violation, whichever is

          greater, plus reasonable attorney's fees under N.M. Stat. Ann. § 57-12-10.

          335.      New York: Defendants have engaged in unfair competition or unfair,

   unconscionable, or deceptive acts or practices in violation of N.Y. Gen. Bus. Law §§ 349 et seq.

                 a.       Defendants agreed to, and did in fact, act in restraint of trade or commerce

          by affecting, controlling and/or maintaining, at artificial and non-competitive levels, the

          prices at which FICO scores were sold, distributed, or obtained in New York and took

          efforts to conceal their agreements from Plaintiffs and members of the Class, who are

          Defendants' consumers.

                 b.      Defendants made public statements about the prices of FICO Scores that

          omitted material information that rendered the statements that they made materially

          misleading; and Defendants alone possessed material information that were relevant to

          consumers but failed to provide the information.

                 c.      Because of Defendants' unlawful trade practices in the State of New York,

          Class members who purchased FICO Scores were misled to believe that they were paying


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        a fair price for FICO Scores or the price increases for FICO Scores were for valid business

         reasons; and similarly situated consumers were potentially affected by Defendants'

        conduct.

               d.      Defendants knew that their unlawful trade practices with respect to pricing

        FICO Scores would have an impact on New York consumers, including Plaintiffs and

        members of the Class.

               e.      Defendants knew that their unlawful trade practices with respect to pricing

        FICO Scores would have a broad impact, causing Class members who purchased FICO

        Scores to be injured by paying more for FICO Scores than they would have paid in the

        absence of Defendants' unlawful trade acts and practices.

              f.       The conduct of Defendants described herein constitutes consumer-oriented

        deceptive acts or practices within the meaning of N.Y. Gen. Bus. Law § 349, which resulted

        in consumer injury and broad adverse impact on the public at large and harmed the public

        interest of New York State in an honest marketplace in which economic activity is

        conducted in a competitive manner. Defendants' unlawful conduct had the following

        effects: (1) FICO Scores' price competition was restrained, suppressed, and eliminated

        throughout New York; (2) FICO Scores' prices were raised, fixed, maintained, and

        stabilized at artificially high levels throughout New York; (3) Plaintiffs and members of

        the Class were deprived of free and open competition; and (4) Plaintiffs and members of

        the Class paid supracompetitive, artificially inflated prices for FICO Scores.

              g.       During the Class Period, Defendants marketed, sold, or distributed FICO

        Scores in New York, and Defendants' illegal conduct substantially affected New York

        commerce and consumers.
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                h.       During the Class Period, each Defendant named herein, directly, or

          indirectly and through affiliates they dominated and controlled, manufactured, sold and/or

         distributed FICO Scores in New York.

                i.       Plaintiffs and members of the Class seek all relief available pursuant to N.Y.

         Gen. Bus. Law § 349(h).

         336.    North Carolina: By reason of the conduct alleged herein, Defendants have violated

  N.C. Gen. Stat.§ 75-1, et seq.

                a.       Under Noi-th Carolina law, indirect purchasers have standing to maintain an

         action based on the facts alleged in this Complaint. Hyde v. Abbott Labs., Inc., 123 N.C.

         App. 572, 584 (1996).

                b.       Defendants entered into contracts, combinations, or conspiracies in restraint

         of, or to monopolize, trade or commerce in the B2B Credit Score Market, a substantial part

         of which occurred within North Carolina.

                c.       Defendants agreed to, and did in fact, act in restraint of trade or commerce

         by affecting, fixing, controlling and/or maintaining, at artificial and non-competitive levels,

         the prices at which FICO Scores were sold, distributed or obtained in North Carolina and

         took efforts to conceal their agreements from Plaintiffs and members of the Class.

         Defendants' conduct could not have succeeded absent deceptive conduct by Defendants to

         cover up their illegal acts. Secrecy was integral to the formation, implementation, and

         maintenance of Defendants' illegal activity. Defendants committed inherently deceptive

         and self-concealing actions, of which Plaintiffs and members of the Class could not

         possibly have been aware. Defendants' public statements concerning the price of FICO

         Scores created the illusion of competitive pricing controlled by market forces rather than
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         supracompetitive pricing driven by Defendants' illegal conduct.

               d.       Defendants' conduct was unfair, unconscionable, or deceptive within the

         conduct of commerce within the State of North Carolina.

               e.       Defendants' trade practices are and have been immoral, unethical,

         unscrupulous, and substantially injurious to consumers.

               £        Defendants' conduct misled consumers, withheld material facts, and

         resulted in material misrepresentations to members of the Class.

               g.       Defendants' unlawful conduct substantially affected North Carolina's trade

         and commerce.

               h.       Defendants' conduct constitutes consumer-oriented deceptive acts or

         practices within the meaning of North Carolina law, which resulted in consumer injury and

         broad adverse impact on the public at large and harmed the public interest ofNorth Carolina

         consumers in an honest marketplace in which economic activity is conducted in a

         competitive manner.

               i.       Defendants' unlawful conduct had the following effects: (1) FICO Scores'

         price competition was restrained, suppressed, and eliminated throughout North Carolina;

        (2) FICO Scores' prices were raised, fixed, maintained, and stabilized at artificially high

         levels throughout North Carolina; (3) Plaintiffs and members of the Class were deprived

        of free and open competition; and (4) Plaintiffs and members of the Class paid

        supracompetitive, artificially inflated prices for FICO Scores.

               j.       During the Class Period, Defendants marketed, sold, or distributed FICO

         Scores in North Carolina, and Defendants' illegal conduct substantially affected North


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           Carolina commerce and consumers. During the Class Period, each Defendant named

           herein, directly, or indirectly and through affiliates they dominated and controlled,

           manufactured, sold and/or distributed FICO Scores in North Carolina.

                 k.       As a direct and proximate cause of Defendants' unlawful conduct, members

           of the Class have been injured and are threatened with further injury.

                 1.       By reason of the foregoing, members of the Class are entitled to seek all

          forms of,
                  relief, including treble damages under N.C. Gen. Stat. § 75-16.

          337.    Oregon: By reason of the conduct alleged herein, Defendants have violated Or. Rev.

   Stat. § 646.608, et seq.

                 a.       Defendants entered into contracts, combinations, or conspiracies between

          two or more persons in restraint of, or to monopolize, trade or commerce in the B2B Credit

           Score Market, a substantial part of which occurred within Oregon.

                 b.       Defendants established, maintained, or used a monopoly, or attempted to

          establish a monopoly, of trade or commerce in the B2B Credit Score Market, for the

          purpose of excluding or limiting competition or controlling or maintaining prices, a

          substantial part of which occurred within Oregon.

                 c.       Defendants' conduct was conducted with the intent to deceive Oregon

          consumers regarding the nature of Defendants' actions within the stream of Oregon

          commerce.

                 d.       Defendants' conduct was unfair or deceptive within the conduct of

           commerce within the State of Oregon.

                 e.       Defendants' conduct misled consumers, withheld material facts, and had a

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          direct or indirect impact upon members-of-the-Class's ability to protect themselves.

                 f.       Defendants' unlawful conduct substantially affected Oregon's trade and

          commerce.

                 g.       As a direct and proximate cause of Defendants' unlawful conduct, members

          of the Class have been injured in their business or property and are threatened with further

          injury.

                 h.       By reason of the foregoing, the members of the Class are entitled to seek all

          forms of relief available under Or. Rev. Stat. § 646.638.

          338.      Rhode Island: Defendants have engaged in unfair competition or unfair,

   unconscionable, or deceptive acts or practices in violation of the Rhode Island Unfair Trade

  Practice and Consumer Protection Act (R.I. Gen. Laws § 6-13.1-1 et seq.).

                 a.       Members of this Class purchased FICO Scores for personal, family, or

          household purposes.

                 b.       Defendants agreed to, and did in fact, act in restraint of trade or commerce

          in a market that includes Rhode Island, by affecting, controlling, and/or maintaining, at

          artificial and non-competitive levels, the prices at which FICO Scores were sold,

          distributed, or obtained in Rhode Island.

                 c.       Defendants deliberately failed to disclose material facts to Plaintiffs and

          members of the Class concerning Defendants' unlawful activities and artificially inflated

          prices for FICO Scores. Defendants owed a duty to disclose such facts, and they breached

          that duty by their silence.

                 d.       Defendants misrepresented to all purchasers during the Class Period that

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          Defendants' FICO Scores prices were competitive and fair.

                 e.      Defendants' unlawful conduct had the following effects: (1) FICO Scores'

          price competition was restrained, suppressed, and eliminated throughout Rhode Island; (2)

          FICO Scores' prices were raised, fixed, maintained, and stabilized at artificially high levels

          throughout Rhode Island; (3) Plaintiffs and members of the Class were deprived of free

          and open competition; and (4) Plaintiffs and members of the Class paid supracompetitive,

          artificially inflated prices for FICO Scores.

                 f.      As a direct and proximate result of Defendants' violations of law, Plaintiffs

          and members of the Class suffered an ascertainable loss of money or property as a result

          of Defendants' use or employment of unconscionable and deceptive commercial practices

          as set forth above. That loss was caused by Defendants' willful and deceptive conduct, as

          described herein. Defendants' deception, including their affirmative misrepresentations

          and omissions concerning the price of the FICO Scores, likely misled all purchasers acting

          reasonably under the circumstances to believe that they were purchasing FICO Scores at

          prices set by a free and fair market.

                 g.      Defendants' affirmative misrepresentations and omissions constitute

          information important to Plaintiffs and members of the Class as they related to the cost of

          FICO Scores they purchased.

                 h.      Defendants have engaged in unfair competition or unfair or deceptive acts

          or practices in violation of Rhode Island Gen. Laws. §§ 6-13.1-1 et seq., and, accordingly,

          Plaintiffs and members of the Class seek all relief available under that statute.

          339.   South Carolina: By reason of the conduct alleged herein, Defendants have violated

   S.C. Code Ann. §§ 39-5-10, et seq.
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                a.       Defendants have entered into contracts, combinations, or conspiracies

         between two or more persons in restraint of, or to monopolize, trade or commerce in the

         B2B Credit Score Market, a substantial part of which occurred within South Carolina.

                b.   •   Defendants established, maintained, or used ;a monopoly, or attempted to

         establish a monopoly, of trade or commerce in the B2B Credit Score Market, for the

         purpose of excluding or limiting competition or controlling or maintaining prices, a

         substantial part of which occurred within South Carolina.

                c.       Defendants' monopolization had the following effects: (1) FICO Scores'

         price competition was restrained, suppressed, and eliminated throughout South Carolina;

         (2) FICO Scores' prices were raised, fixed, maintained, and stabilized at artificially high

         levels throughout South Carolina; (3) Plaintiffs and memliers of the Class were deprived

         of free and open competition; and (4) Plaintiffs and members of the Class . paid

         supracompetitive, artificially'inflated prices for the FICO Scores during the Class Period.

               d.        Defendants' conduct was conducted with the intent to deceive South

         Carolina consumers regarding the nature of Defendants' actions within the stream of South

         Carolina commerce.

               e.        Defendants' conduct was unfair, unconscionable, or deceptive within the

         conduct of commerce within the State of South Carolina.

               f.        Defendants' conduct misled consumers, withheld material facts, and had a

         direct or indirect impact upon members-of-the-Class's ability to protect themselves.

               g.        Defendants' unlawful conduct substantially affected South Carolina trade

         and commerce.


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                 h.        Defendants' unlawful conduct substantially harmed the public interest of

          the State of South Carolina, as at least thousands of South Carolina businesses purchase

          FICO Scores.

                 i.        As a direct and proximate result of Defendants' unlawful conduct, Plaintiffs

          and members of the Class have been injured in their business and property and are

          threatened with further injury. Defendants have engaged in unfair competition or unfair or

          deceptive acts or practices in violation of S.C. Code Ann. §§ 39-5-10 et seq., and,

          accordingly, Plaintiffs and the members of the Class seek all relief available under that

          statute.

          340.       South Dakota: Defendants have engaged in unfair competition or unfair,

   unconscionable, or deceptive acts or practices in violation of South Dakota Deceptive Trade

   Practices and Consumer Protection Act (S.D. Codified Laws §§ 37-24-6 et seq.).

                 a.        Defendants agreed to, and did in fact, act in restraint of trade or commerce

          in a market that includes South Dakota, by affecting, controlling, and/or maintaining, at

          artificial and non-competitive levels, the prices at which FICO credit scores were sold,

          distributed, or obtained in South Dakota.

                 b.        Defendants deliberately failed to disclose material facts to Plaintiffs and

          members of the Class concerning Defendants' unlawful activities and artificially inflated

          prices for FICO credit scores. Defendants misrepresented to all purchasers during the Class

          Period that Defendants' FICO credit scores prices were competitive and fair Defendants

          owed a duty to disclose such facts, and they breached that duty by their silence.

                 c.        Defendants' unlawful conduct had the following effects: (1) FICO credit

          scores price competition was restrained, suppressed, and eliminated throughout South
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          Dakota; (2) FICO credit scores prices were raised, maintained, and stabilized at artificially

          high levels throughout South Dakota; (3) Plaintiffs and members of the Class were

          deprived of free and open competition; and (4) Plaintiffs and members of the Class paid

          supracompetitive, artificially inflated prices for FICO credit scores.

                 d.      As a direct and proximate result of Defendants' violations of law, Plaintiffs

          and members of the Class suffered an ascertainable loss of money or property as a result

          of Defendants' use or employment of unconscionable and deceptive commercial practices

          as set forth above.

                 e.      That loss was caused by Defendants' willful and deceptive conduct, as

          described herein. Defendants' deception, including their affirmative misrepresentations

          and omissions concerning the price of the FICO credit scores, likely misled all purchasers

          acting reasonably under the circumstances to believe that they were purchasing FICO credit

          scores at prices set by a free and fair market.

                 f.      Defendants' affirmative misrepresentations and omissions constitute

          information important to Plaintiffs and members of the Class as they related to the cost of

          FICO credit scores they purchased.

                 g.      Defendants have engaged in unfair competition or unfair or deceptive acts

          or practices in violation of S.D. Codified Laws §§37-24-6 et seq., and, accordingly,

          Plaintiffs and members of the Class seek all relief available under that statute.

          341.    Utah: By reason of the conduct alleged herein, Defendants have violated Utah

   Code Ann. §§ 13-11-1, et seq.

                 a.      Defendants entered into contracts, combinations, or conspiracies between

          two or more persons in restraint of, or to monopolize, trade or commerce in the B2B Credit
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         Score Market, a substantial part of which occurred within Utah.

               b.         Defendants are suppliers within the meaning of Utah Code Ann. §§ 13-11

               c.         Defendants established, maintained, or used a monopoly, or attempted to

        establish a monopoly, of trade or commerce in the business market for credit scores, a

        substantial part of which occurred within Utah, for the purpose of excluding competition

        or controlling, fixing, or maintaining prices in the B2B Credit Score Market.

               d.         Defendants' conduct was unfair, unconscionable, or deceptive within the

        conduct of commerce within the State of Utah.

               e.         Defendants' conduct and/or practices were unconscionable and were

         undertaken in connection with consumer transactions within the meaning of Utah Code

        Ann. §§ 13-11-3.

               f.         Defendants knew or had reason to know that its conduct was

        unconscionable.

               g.         Defendants' conduct misled consumers, withheld material facts, and

         resulted in material misrepresentations to members of the Class.

               h.         Defendants' unlawful conduct substantially affected Utah's trade and

        commerce.

               i.         As a direct and proximate cause of Defendants' unlawful conduct, the

         members Class have been injured in their business or property and are threatened with

        further injury.

               j.         By reason of the foregoing, the members of the Class are entitled to seek

        all forms of relief, including declaratory judgment, injunctive relief, and ancillary relief,

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           pursuant to Utah Code Ann. §§ 13-11-19(5) and 13-11-20.

           342.    Utah: By reason of the conduct alleged herein, Defendants have violated

  Utah Code Ann. § 13-5-1, etseq.

                  a.       Defendants entered into contracts, combinations, or conspiracies between

           two or more persons in restraint of, or to monopolize, trade or commerce in the B2B Credit

           Score Market, a substantial part of which occurred within Utah.

                  b.       Defendants established, maintained, or used a monopoly, or attempted to

           establish a monopoly, of trade or commerce in the B2B Credit Score Market, a substantial

           part of which occurred within Utah, for the purpose of excluding competition or

           controlling, fixing, or maintaining prices in the B2B Credit Score Market.

                  c.       Defendants' conduct caused or was intended to cause unfair methods of

           competition within the State of Utah.

                  d.       Defendants' unlawful conduct substantially affected Utah's trade and

           commerce.

                  e.       As a direct and proximate cause of Defendants' unlawful conduct, the

           members of the Class have been injured in their business or property and are threatened

           with further injury.

                  f.       By reason of the foregoing, the members of the Class are entitled to seek

           all forms of relief, including actual damages or $2000 per Class member, whichever is

           greater, plus reasonable attorney's fees under Utah Code Ann. §§ 13-5- 14, et seq.

           343.    Vermont: By reason of the conduct alleged herein, Defendants have violated Vt.

   Stat.Ann. tit. 9, § 2451, et seq.

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                a.      Defendants entered into contracts, combinations, or conspiracies between

         two or more persons in restraint of, or to monopolize, trade or commerce in the B2B Credit

         Score Market, a substantial part of which occurred within Vermont.

                b.      Defendants established, maintained, or used a monopoly, or attempted to

         establish a monopoly, of trade or commerce in the B2B Credit Score Market, a substantial

         part of which occurred within Vermont, for the purpose of excluding competition or

         controlling, fixing, or maintaining prices in the B2B Credit Score Market.

                c.      Defendants have engaged in unfair competition or unfair, unconscionable,

         or deceptive acts or practices in violation of 9 Vermont §§ 2451 et seq. Defendants agreed

         to, and did in fact, act in restraint of trade or commerce in a market that includes Vermont,

         by affecting, controlling, and/or maintaining, at artificial and non-competitive levels, the

         prices at which FICO Scores were sold, distributed, or obtained in Vermont. Defendants

         deliberately failed to disclose material facts to Plaintiffs and members of the Class

         concerning Defendants' unlawful activities and artificially inflated prices for the FICO

         Scores.

               d.       Defendants owed a duty to disclose such facts, and they breached that duty

         by their silence. Defendants misrepresented to all purchasers during the Class Period that

         Defendants' FICO Scores prices were competitive and fair.

               e.       Defendants' unlawful conduct had the following effects: (1) FICO Scores'

         price competition was restrained, suppressed, and eliminated throughout Vermont; (2)

         FICO Scores' prices were raised, fixed, maintained, and stabilized at artificially high levels

         throughout Vermont; (3) Plaintiffs and members of the Class were deprived of free and

         open competition; and (4) Plaintiffs and members of the Class paid supracompetitive,
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          artificially inflated prices for the FICO Scores.

                 f.       Defendants' conduct caused or was intended to cause unfair methods of

          competition within the State of Vermont.

                 g.       Defendants' unlawful conduct substantially affected Vermont's trade and

          commerce.

                 h.       Defendants' misleading conduct and unconscionable activities constitutes

          unfair competition or unfair or deceptive acts or practices in violation of 9 Vermont §§

          2451 et seq.       -

                 i.       As a direct and proximate cause of Defendants' unlawful conduct, the

          members of the Class have suffered an ascertainable loss of money or property as a result

          of Defendants' use or employment of unconscionable and deceptive commercial practices

          as set forth above. That loss was caused by Defendants' willful,and deceptive conduct, as

          described herein. Defendants' deception, including their affirmative misrepresentations

          and omissions concerning the price of FICO Scores, likely misled all purchasers acting

          reasonably under the circumstances to believe that they were purchasing FICO Scores at

          prices set by a free and fair market.

                 j.       By reason of the foregoing, members of Class are entitled to seek all forms

          of relief available under Vt. Stat. Ann. tit. 9, § 2451, et seq.

          344.    West Virginia: Defendants have engaged in unfair competition or unfair,

   unconscionable, or deceptive acts or practices in violation of the West Virginia Consumer Credit

   and Protection Act, W. Va. Code, §§46A-6-104 et seq.

                 a.       Defendants' unlawful conduct had the following effects: (1) FICO credit


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           scores price competition was restrained, suppressed, and eliminated throughout West

           Virginia; (2) FICO credit scores prices were raised, maintained, and stabilized at artificially

           high levels throughout West Virginia; (3) Plaintiffs and members of the Class were

           deprived of free and open competition; and (4) Plaintiffs and members of the Class paid

          supracompetitive, artificially inflated prices for FICO credit scores.

                 b.       During the Class Period, Defendants marketed, sold, or distributed FICO

          credit scores in West Virginia, and Defendants' illegal conduct substantially affected West

          Virginia commerce and consumers.

                 c.       As a direct and proximate result of Defendants' unlawful conduct, Plaintiffs

          and members of the Class have been injured and are threatened with further injury.

          345.    Defendants have engaged in unfair competition or unfair or deceptive acts or

   practices in violation of W. Va. Code, §§46A-6-104 et seq., and, accordingly, Plaintiffs and

   members of the Class seek all relief available under that statute.

                                   EIGTH CLAIM FOR RELIEF
                                      UNJUST ENRICHMENT
                          (O.n behalf of Plaintiffs and the Nationwide Class)

          346.    Plaintiffs incorporate by reference the allegations in the precedingparagraphs.

          347.    This Claim is brought against all Defendants.

          348.    As a result of its unlawful conduct described above, Defendants have and will

   continue to be unjustly enriched by the receipt of unlawfully inflated prices of and unlawful profits

   from FICO Scores.

          349.    Defendants have benefited from their unlawful acts and it would be inequitable for

  Defendants to be permitted to retain any of the ill-gotten gains.


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           350.   Under common law principles of unjust enrichment, Defendants should not be

   permitted to retain the benefits conferred on them by overpayments by Plaintiffs and members of

   the Class in the following states: Arizona, California, District of Columbia, Florida, Hawaii,

   Illinois, Iowa, Kansas, Maine, Massachusetts, Michigan, Minnesota, Mississippi, Missouri,

   Montana, Nebraska, Nevada, New Hampshire, New Mexico, North Carolina, Oregon, Rhode

   Island, South Carolina, South Dakota, Tennessee, Utah, Vermont, West Virginia, and Wisconsin.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly situated,

   respectfully pray that this Honorable Court:

                  Order that this action may be maintained as a class action pursuant to Rules 23(a)

   and (b) of the Federal Rules of Civil Procedure, that they be named Representatives of the Classes,

   that the undersigned Interim Co-Lead Counsel be named Co-Lead Class Counsel, and that

   reasonable notice of this action be provided to members of the Class as provided by Rule 23(c)(2)

   of the Federal Rules of Civil Procedure;

          2.      Adjudge that Defendants violated the federal antitrust laws as set forth above;

          3.      Adjudge that Defendants violated the state antitrust and unfair trade practices laws

   as set forth above;

          4.      Adjudge that Defendants were unjustly enriched as set forth above;

          5.      Award Plaintiffs and members of the Damages Class actual, double, treble,

   and exemplary damages as permitted;

          6.      Award Plaintiffs and members of the Classes pre-and post-judgment interest;

          7.      Enjoin Defendants from continuing the unlawful actions alleged herein;

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          8.       Award Plaintiffs attorneys' fees and all other costs, including costs of consulting

   and testifying experts, reasonably incurred in prosecution of this action; and

          9.      Award such other relief as it deems just and proper.

                                      DEMAND FOR JURY TRIAL

               Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demand a

      Trial by Jury as to all issues so triable.


      October 30, 2023                             Respectfully submitted,


                                                   By     /s/Garrett D. Blanchfìeld
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS

    IN RE: FICO ANTITRUST LITIGATION
    RELATED CASES                                              No. 1:20-CV-02114

    This document relates to:
                                                               Judge Edmond E. Chang
    ALL ACTIONS
                                                               Magistrate Judge David E. Weisman



                     STIPULATION AND ORDER ESTABLISHING THE
                 PROTOCOL FOR THE PRODUCTION OF DOCUMENTS AND
                   ELECTRONICALLY STORED INFORMATION ("ESI")

            Pursuant to the agreement reached between Plaintiffs and Defendants herein, this Court

   adopts and orders the following Protocol relating to the Production of Documents and

   Electronically Stored Information, which binds all parties and their counsel of record in the above-

   captioned case (the "Action"), whether they currently are involved or become so in the future

   (collectively, the "Parties"). The failure of this Protocol to address any particular issue is without

   prejudice to any position that a Party may take on that issue.

            The parties are aware of the importance the Court places on cooperation and commit to

   cooperate in good faith regarding discovery issues pertaining to ESI, consistent with the Seventh

   Circuit Electronic Discovery Pilot Program Principle 1.02.

   I.       DEFINITIONS

            a.    "Action" means the above-captioned matter, and any and all cases consolidated or

   coordinated with it.

            b.    "Document" shall have the same meaning as set forth in Federal Rule of Civil

   Procedure ("FRCP") 34(a)(1)(A) and when used herein, refers to both ESI and hard copy

   documents.
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           c.      "Electronically Stored Information" ("ESI") shall have the same meaning as set

   forth in FRCP 34(a)(1)(A) and refers to computer-generated information or data of any kind

   (including, but not limited to, Email, Structured and Unstructured Data, and data compilations),

   stored in or on any medium from which information can be obtained, such as computers, cellular

   telephones, file servers, disks, tape or other real or virtualized devices or media.

           d.      "Email" means an electronic means for sending, receiving, and managing

   communications via different structured data applications (Email client software), including, but

   not limited to, Microsoft Outlook, Google Gmail, Yahoo Mail, or Lotus Notes, and the file(s)

   created or received by such means.

           e.     "Instant Messages" means communications involving immediate correspondence

   between two or more users sent via chat application that are maintained in the ordinary course of

   business.

           f.     "Extracted Text" means the text extracted from a native document, and includes all

   header, footer, and document body information, including any hidden content, when available. A

   "Text File" is a file containing the full multi-page text of native or near-native files extracted

   directly from the native file, or, in the case of documents subject to OCR, a file containing the text

   resulting from the OCR.

           g.     "Load File" means an electronic file containing information identifying a set of

   paper-scanned images or processed ESI and indicating where individual pages or files belong

   together as documents, including attachments, and where each document begins and ends. A Load

   File will also contain data relevant to the individual Documents, including extracted and user-

   created Metadata, as well as identification of OCR or Extracted Text, should such data be available.




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             h.   "Media" means an object or device, including but not limited to a disc, tape,

   computer, or other device on which data is or was stored.

             i.   "Metadata" means (i) information associated with or about a file that is not

   ordinarily viewable or printable from the application that generated, edited, or modified such

   native file, and which describes the characteristics, origins, or usage or validity of the electronic

   file; and (ii) information generated automatically by the operation of a computer or other

   information technology system when a native file is created, modified, transmitted, deleted, saved,

   or otherwise manipulated by a user of such system.

          j.      "Native Format" means and refers to the file structure of a document created by the

   original creating application (in contrast to a Static Image).

             k.   "OCR" means optical character recognition technology that is capable of reading

   text-based or paper/hard copy documents and making such documents searchable using

   appropriate software.

          1.      "Parties" collectively shall mean all named parties to the above-captioned Action,

   including any Party added or joined to any complaint filed in the above-captioned Action, as well

   as named parties to actions that may be consolidated into or coordinated with the above-captioned

   Action.

             m.   "Predictive Coding/Technology Assisted Review" shall mean processes for

   prioritizing or coding a collection of documents using computerized systems, such as machine-

   learning algorithms, that may rely on the judgments of one or more attorneys experienced in the

   subject matter of a litigation regarding the responsiveness of a subset of documents and that

   extrapolates thosejudgments to the remaining document collection. For purposes of this Protocol,

   Predictive Coding/Technology Assisted Review is synonymous with computer-assisted review,




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   computer-aided review, content-based advanced analytics, or other terms used to refer to search

   methodologies that rely on machine-based learning to identify responsive documents.

             n.    "Production" includes any exchange of Documents or ESI between the Parties,

   whether voluntarily or in response to a formal or informal request.

             o.    "Search Term" means a combination of words (including synonyms) and phrases

   designed to capture potentially relevant ESI and includes strings of words and phrases joined by

   proximity and Boolean connectors.

            p.     "Static Image" means or refers to a representation of ESI produced by converting a

   native file into a standard image format capable of being viewed and printed on standard computer

   systems. A Tagged Image File Format ("TIFF") image is an example of a Static Image.

             q.    "Structured Data" means ESI stored in a structured format, such as databases or

   data sets according to specific form and content rules as defined by each field of the database.

            r.     "Unstructured Data" refers to free-form data that either does not have a data

   structure or has a data structure not easily readable by a computer without the use of a specific

   program designed to interpret the data, such as word processing documents, slide presentations,

   Email, and image files.

   II.      SCOPE

            a.     General. Pursuant to FRCP 5(b)(2)(E), the Parties agree to serve written discovery

   electronically. The procedures and protocols outlined herein govern the Production of Documents

   and ESI by all Parties. The Parties will take reasonable steps to comply with this agreed-upon

   Protocol. Nothing in this Protocol is intended to be an exhaustive list of discovery obligations or

   rights of a Party requested to produce Documents or ESI ("Producing Party") or a Party requesting

   Documents or ESI ("Requesting Party")




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           The production specifications in this Protocol apply to Documents and ESI that are

   produced in the first instance in this Action. To the extent any Party is required to or agrees to

   produce Documents or ESI in this Action that originally were collected or produced in other cases

   or government investigations, such Documents or ESI may be produced in the same format in

   which they originally were produced in the other cases or to the government.

           The Parties agree that nothing in this Protocol is intended to revise or alter the local rules,

   applicable state or federal statutes, the FRCP, Advisory Committee Notes, or other authorities with

   regard to the preservation and production of ESI, including but not limited to FRCP 26(b)(1)

   concerning the Scope in General of Discovery; FRCP 26(b)(2)(B) concerning the Specific

   Limitations on ESI; FRCP 26(c)(1) concerning Protective Orders; or FRCP 34 concerning

   Production of ESI.

           b.     Limitations and Non-Waiver. The Parties and their attorneys intend by this

   Protocol to make the mutual disclosures promised herein. The Parties and their attorneys do not

   intend by this Protocol to waive their rights to any protection or privilege, including the attomey-

   client privilege and the work-product doctrine. All Parties preserve their attorney-client privileges,

   work-product protection, and other privileges. The Parties and their attorneys are not waiving, and

   specifically reserve, the right to object to any discovery request on any grounds. Further, nothing

   in this Protocol shall be construed to affect the admissibility of Documents and ESI. All objections

   to the discoverability or admissibility of any Documents and ESI are preserved and may be asserted

   at any time.

          c.      Reservation of Rights. For the avoidance of doubt, the inclusion of any platform,

   program, application, or software in this Protocol as an example does not create any independent

   obligation or commitment to preserve or collect ESI from such platform, program, application, or




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   software. The Parties reserve all rights to object to any demand to collect or produce ESI from

   any or all of the examples listed in Section I, subject to the provisions of Section V.

          d.      Modification by Agreement. Any practice or procedure set forth herein may be

   varied by agreement of affected Parties, which will be confirmed in, writing, where such variance

   is deemed' appropriate to facilitate the timely and economical exchange of Documents and ESI.

  Any Party added or joined to any complaint in this Action and any Party to actions that may be

   consolidated into or coordinated with the above-captioned matter after the date of this Protocol

  that seeks to deviate from this Protocol must obtain leave of Court to do so unless all affected

  Parties otherwise consent in writing. Before seeking Court intervention, all affected Parties shall

  meet and confer in good faith regarding any modification.

          e. '    Modification by Court Order. Nothing in this Protocol waives the right"of any

  Party to petition the Court for an Order modifying its terms upon good cause shown,'provided,

  however, that counsel for such Party must first meet and confer with the counsel for the opposing

  Party and the Parties shall 'use reasonable best efforts to negotiate an exception from or

  modification to this Protocol prior to seeking relief from the Court.

  III.    PRESERVATION                                                       '

          The Parties agree to take reasonable steps to preserve relevant Documents and ESI, in

  accordance with their obligations under applicable law. By preserving or producing information

  for the purpose of this Action, the Parties are not conceding that such material is discoverable. The

  Parties will meet and confer regarding the scope of preservation, including custodians, data

  sources, date ranges, and categories of information that have been or should be preserved in

  connection with this Action.
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   IV.      PRODUCTION OF STRUCTURED DATA

            Where a discovery request requires production of Structured Data, in lieu of producing

   structured data systems or applications, the Parties shall meet and confer on the content and format

   of a data sample from such structured data source. The Parties shall discuss and attempt to agree

   upon the sets of data or fields to be included in the sample and the format in which sample data

   extracted shall be produced, and the Producing Party shall make all necessary disclosures for the

   Requesting Party to understand and evaluate whether the content and format of the data sample

   would satisfy a production request, such as the data fields available, the meaning of data fields, as

   well as codes and abbreviations used in the data source and whether a data dictionary exists, the

   time period over which data exists, any database schema, or other relevant information. The

   Producing Party shall generate a report of such data sample for review by the Requesting Party or

   counsel after meeting and conferring with the Requesting Party as to the fields to be produced and

   the format of production. Nothing in this provision is meant to expand the producing party's

   obligations under FRCP 34. The Parties reserve all rights to object, including but not limited to

   objections for relevance, undue burden, and/or inaccessibility.

   V.      IDENTIFICATION OF RESPONSIVE ESI

           The Parties shall meet and confer in good faith regarding the methods to be used and

   locations identified to search Documents and ESI for potentially responsive documents or filter

   out Documents and ESI that are not subject to discovery, and such meet and confers will include

   disclosures necessary for the Requesting Party to understand and assess the sufficiency of the

  proposed search or filtering methodology, such as the nature of and processes of the search

  technology employed, the custodians and data sources and types to which it will and will not be

  applied, date ranges that may be used to filter documents, file types subject to or excluded from

  the methodology, search terms proposed to be used (if any), statistical sampling or validation


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   techniques the Producing Party has used or intends to use to evaluate the sufficiency of the

   methodology, and whether different search methodologies will be applied to different types or

   sources of data.

          The Producing Party shall retain the sole right and responsibility to manage and control

   searches of its data files, including the right to propose revisions to search-term methods or

   advanced-technology procedures in order to make them more accurate and/or cost-effective and

   will disclose those proposed search methods and any revisions prior to implementation. Nothing

   in this section shall limit a Party's right to reasonably seek agreement from the other Parties or a

   Court ruling to modify previously agreed-upon search terms or other search parameters at any time

   prior to the completion of discovery.

          A Producing Party need not provide discovery of ESI from sources that the Producing Party

   identifies as not reasonably accessible because of undue burden or cost. The Parties will identify

   and meet and confer over those sources of information that they propose should not be preserved,

   such as the following:

                  1.        Backup data that is substantially duplicative of data that is more accessible

          elsewhere (utilized for disaster recovery purposes);

                  2.        Random access memory (RAM), temporary files, or other ephemeral data

          that is difficult to preserve without disabling the operating system;

                  3.        Obsolete legacy data (i.e., information stored in an obsolete format);

                  4.        Residual, fragmented, damaged, or other data only accessible by forensics;

                  5.        Information stored in unallocated space in file systems on magnetic media;

                  6.        On-line access data such as temporary internet files, history, cache, cookies,

          and the like;




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                     7.    Server, system, or network logs; and

                     8.    Information created or copied during the routine, good-faith performance of

           processes for the deployment, maintenance, retirement, and disposition of computer

           equipment by the Party.

           If any Producing Par`ty identifies additional sources of not reasonably accessible ESI

   beyond those listed above that are believed to contain responsive information, it will notify the

   Requesting Party of that fact and those sources. Nothing in this paragraph shall relieve a Party of

   its obligation to produce otherwise readily accessible, responsive ESI that the Party knows to exist.

           a.        Search Terms:

           Where the Parties agree that potentially responsive ESI shall be searched through the use

   of search terms, the Parties shall meet and confer to provide reasonable assurances to the

   Requesting Party that the Producing Party's search terms and methodology used to apply them are

   reasonably calculated to identify responsive Documents and ESI. Prior to or during such meet and

   confer, the Producing Party shall make the disclosures identified above.

           If, after disclosure of the Producing Party's proposed search method, search parameters,

   and search terms, and prior to the conduct of any searches, and after a reasonable meet and confer

   process, a Requesting Party believes in good faith that the Producing Party's proposals regarding

   search, retrieval and production would result in deficiencies in production, .the Requesting Party

   may make prompt requests for different or additional search methods, parameters, or search terms,

   but such requests shall only be made after the Parties have met and conferred as to the alleged

   deficiencies identified by the Requesting Party. If the Parties cannot resolve their disagreements

   regarding the above search term methodologies, they shall promptly bring the dispute to the Court

   for resolution.




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                    DocumentDocument
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          b.      Technology-Assisted-Review:

          No Party shall use predictive coding/technology-assisted review for the purpose of culling

   the documents to be reviewed or produced without notifying the opposing Party prior to use and

   with ample time to meet and confer in good faith regarding a mutually agreeable protocol for the

   use of such technologies, if any. If the Parties cannot resolve their disagreements regarding

   technology-assisted review methodologies, they shall promptly bring the dispute to the Court for

   resolution. The fact that a Document or ESI is responsive to a search term or identified as

   responsive by any other technology used to identify potentially responsive Documents and ESI

   shall not prevent any Party from withholding such file from production on the grounds that the file

   is not responsive, that it is protected from disclosure by applicable privilege or work-product

   protection.

          The Parties will not seek Court intervention on discovery matters without first attempting

   to resolve any disagreements in good faith, based upon all reasonably available information.

   VI.    PRODUCTION OF DOCUMENTS ORIGINATING AS PAPER

          The following production specifications apply to Documents that existed in paper format

   prior to production ("hard copy documents"). Documents that originated as paper but that were

   scanned and maintained electronically by a Party prior to inception of this Action shall be produced

   in accordance with Part VII of this Protocol. The Parties agree to produce hard copy documents

   in the formats described below, to the extent reasonably practicable and not unduly burdensome.

   These formats are deemed to be productions in reasonably usable form. If a Producing Party

   intends to produce any hard copy documents in any manner other than as specified herein, the

   Producing Party shall notify the Requesting Party of its intent, including production format (e.g.,

   produced as paper, made available for inspection). If the proposed production format is not




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   acceptable to the Requesting Party, the Parties shall meet and confer to determine a mutually

   acceptable production format for such Documents.

           a.     TIFFs. Documents should be produced as single-page, black and white, group IV

   TIFFs imaged at 300 dpi. Bates numbers, confidentiality designations (in accordance with the

   protective order governing the case), and redactions (to the extent they are necessary) should be

   burned into the image. TIFF image files should be provided in an "Images" folder.

           b.     Unitizing Documents. If a document is more than one page, the unitization of the

   document will be maintained as it existed when collected by the Producing Party to the extent

   practicable. Parties may unitize their documents using either physical unitization (i.e., based on

   physical binding or organizational elements present with the original paper documents, like

   staples, clips, and binder inserts) or logical unitization (i.e., a manual review of the paper to

   determine what logically constitutes a document, like page numbers or headers).

          c.      Parent-Child Relationships. The Parties agree that if any part of a Document or

   its attachments is responsive, the entire Document and attachments will be produced, except any

   portions of the Document or attachments that must be withheld or redacted on the basis of privilege

   or work-product protection. The Parties shall take reasonable steps to ensure that parent-child

   relationships within a document family (the association between an attachment and its parent

   document) are preserved. The child-document(s) should be consecutively produced immediately

  after the parent-document. Each document shall be produced with the production number for the

   first and last page of that document in the "BegBates" and "EndBates" fields of the data load file

  and with the "BegAttach" and "EndAttach" fields listing the production number for the first and

   last page in the document family.




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                    DocumentDocument
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                                                                     of 320 #:6260
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          d.      OCR. Documents shall also be produced with the associated OCR, and with an

   image cross-reference file and a load file. No Producing Party shall be required to ensure that the

   OCR is an exact duplicate of the contents of the TIFF image. The OCR software shall maximize

   text quality. Settings such as "auto-skewing" and "auto-rotation" should be turned on during the

   OCR process. To the extent that a document is redacted, the text files should not contain the text

   of the redacted portions. OCR should be delivered in an appropriately formatted text file (.txt) that

   is named to match the first Bates number of the document. All text files shall be provided as a

   single document level text file for each item, not one text file per page. Text files should be

   provided in a "Text" folder.

          e.      Unique IDs. Each TIFF image should have a unique filename, which corresponds

   to the Bates number of that page. The filename should not contain any blank spaces and should

   be zero-padded (e.g., ABC-000001), taking into consideration the estimated number of pages to

   be produced. If a Bates number or set of Bates numbers is skipped in a production, the Producing

   Party, to the extent it is aware of the issue, will so note in a cover letter or production log

   accompanying the production. Bates numbers will be unique across the entire production and

   prefixes will be consistent across all documents a Party produces in the Action.

          f.      Data Load Files. Documents should be provided with an Opticon Cross-Reference

   File and Concordance data load file using standard Concordance delimiters:

                  1. Field Separator: ASCII character 20 ("¶"); and

                  2. Quote: ASCII character 254 ("p")

          Concordance-compatible image and data load files should be provided in a "Data" folder.

   The following information shall be produced in the load file accompanying production of hard

   copy documents: (a) BegBates, (b) EndBates, (c) BegAttach, (d) EndAttach, (e) Custodian,




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   (f) AllCustodian, (g) Page Count, (h) Production Volume, (i) Confidentiality, (j) Privilege; and (k)

   Redacted (Y/N) or otherwise indicating that a redaction is present.

          g.      Metadata. Each of the Metadata and coding fields set forth in Appendix A under

   the heading Hard Copy shall be produced for that Document.

          h.      Color. Documents containing color need not be produced in color in the first

   instance, provided however, that the Producing Party shall retain a copy of produced hard copy

   documents in color. However, if good cause exists for the Requesting Party to request production

   of certain documents in color, the Requesting Party may request production of such documents in

   color by providing (1) a list of the Bates numbers of documents it requests to be produced in color

   format; and (2) an explanation of the need for production in color format. The Producing Party

   shall not unreasonably deny such requests.

   VII.   PRODUCTION FORMAT FOR UNSTRUCTURED ESI

          The Parties agree to produce in the formats described below. These formats are deemed to

   be productions in reasonably usable form. If any Party contends that particular Documents or ESI

   warrant a different format, the Parties will meet and confer to determine a mutually acceptable

   production format for such Documents.

          a.      TIFFs. Documents and ESI should be produced as single-page, black and white,

   group IV 300 DPI TIFFs images. The document's original orientation should be maintained

   (i.e., portrait to portrait and landscape to landscape). Hidden content, tracked changes or edits,

   comments, notes, and other similar information, to the extent •viewable within a document in its

   native file format, shall also be imaged so that such content is viewable on the image file. Bates

   numbers, confidentiality designations (in accordance with the protective order governing the case),

   and redactions (to the extent they are necessary) should be burned into the image. TIFF image

   files should be provided in an "Images" folder. Where Presentation files (.PPT, .PPTX, etc.) are


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   produced in a static, rather than native, format, they will be processed to TIFF format showing

   comments, hidden slides, speakers' notes, and similar data.

          b.      Extracted Text Files. The full text of native files should be extracted directly from

   the native file (not OCR), to the extent such extracted text is available, and should be delivered in

   an appropriately formatted text file (.txt) that is named to match the first Bates number of the

   document. All text files shall be provided as a single document level text file for each item, not

   one text file per page. Text files should be provided in a "Text" folder. To the extent that a

   document is redacted, the document should undergo OCR after the text has been redacted in order

   to remove the redacted text.

          c.      Instant Messages. If Instant Messages are to be produced, the Parties will meet

   and confer to discuss the form of production and the producing party should use best efforts to

   produce such Instant Messages in a readily usable format.

          d.      Unique IDs. Each image should have a unique filename, which corresponds to the

   Bates number of that page. The filename should not contain any blank spaces and should be zero-

   padded (e.g., ABC-000001), taking into consideration the estimated number of pages to be

   produced. If a Bates number or set of Bates numbers is skipped in a production, the Producing

   Party will so note in a cover letter or production log accompanying the production. Bates numbers

   will be unique across the entire production and prefixes will be consistent across all documents a

   party produces in this Action.

          e.      Parent-Child Relationships. The Parties agree that if any part of an Email or its

   attachments is responsive, the entire Email and attachments will be produced, except any portions

   of the Email or attachments that must be withheld or redacted on the basis of privilege or work-

   product protection. The relationship between attachments, enclosures, embedded files, and/or




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                    DocumentDocument
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   exhibits to any parent document shall be preserved. The child-document should be consecutively

   produced immediately after the parent-document. Each document shall be produced with the

   production number for the first and last page of that document in the "BegBates" and "EndBates"

   fields of the data load file and with the "BegAttach" and "EndAttach" fields listing the production

   number for the first and last page in the document family.

          f.      Metadata. The Parties agree that Metadata will be produced for all ESI, whether

   produced in Native Format or Static Image formats. Appendix A sets forth the minimum Metadata

   fields that must be produced to the extent that Metadata exists for a particular document. To the

   extent that Metadata does not exist, is not reasonably accessible or available, or, would be unduly

   burdensome to collect, nothing in this ESI Protocol shall require any party to extract, capture,

   collect or produce such data except for those fields marked for Hard Copy Documents in Appendix

   A, provided, however, that where such Metadata is not produced on such grounds, the Producing

   Party shall disclose which fields it will not produce. If Metadata is redacted or withheld, the

   Producing Party will so inform the Requesting Party and record the redaction on any privilege log

   prepared by the Producing Party; redacted Metadata shall be preserved.

          g.      Production of Documents in Native Format.

                  1.      The processed native for all spreadsheets (i.e., .XLS, .XLSX, .CSV, or

          similar), presentation files maintained in Microsoft Powerpoint format (.PPT, .PPTX, etc.),

          and electronic information containing audio or video components should be produced and

          linked to the database by the Metadata field "NativeLink."

                  2.      Where native files are produced in lieu of TIFF images, each native file will

          be assigned a unique Bates number. The Producing Party will produce a placeholder (a

          single-page TIFF slip sheet indicating that the native item was produced) along with the




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         file itself in Native Format. The placeholder will be branded with the production number

         in the lower right hand corner and the phrase "PRODUCED IN NATIVE ONLY" branded

         in the center of the page. The Producing Party will also brand any confidentiality or similar

         endorsements in the lower left hand corner of the placeholder.

                3.      To the extent that a native spreadsheet must be redacted, the Producing

         Party rr~ay redact either the native file or produce TIFF images with burned in redactions

         in lieu of a native file and TIFF placeholder image. If redacting TIFF images and to the

         extent that any of the following can be automated, the Producing Party, or its ediscovery

         vendor, should make reasonable efforts to: (1) reveal hidden rows, columns or sheets prior

         to converting the document to TIFF; (2) clear any filters that may conceal information;

         (3) adjust column widths so that numbers do not appear as symbols (e.g., "########");

         (4) ensure that column and row headings print; (5) ensure that the tab name appears in the

         header or footer of the document; (6) process comments so that they are produced at the

         end of the spreadsheet; and (7) process spreadsheets so that they print across then down.

         If good cause exists, the Requesting Party may ask the Producing Party to manually

         undertake the foregoing for certain documents identified by Bates number by the

         Requesting Party to the extent the document was originally produced with concealed

         information. The Producing Party shall not unreasonably deny such a request.

                4.      Request for Native Format Production. Other than as specifically set

         forth above, a Producing Party need not produce documents in Native Format. If good

         cause exists for the Requesting Party to request production of certain documents in Native

         Format, the Requesting Party may request production in Native Format by providing (1) a

         list of the Bates numbers of documents it requests to be produced in Native Format; and




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          (2) an explanation of the need for reviewing such documents in Native Format. The

          Producing Party shall not unreasonably deny such requests. The Producing Party shall

          produce an overlay to ensure that the "NativeLink" entry in the data load file indicates the

          relative file path to each native file in such production, and all Extracted Text and

          applicable metadata fields.

          h.      Cellphone and Personal Device Data: The Parties will meet and confer regarding

   whether ESI maintained on any custodian's cellphone(s) and/or personal device(s) is within the

  scope of permissible discovery in this Action. If such discovery is agreed upon by the Parties or

   ordered by the Court, the Parties will meet and confer regarding (1) the identity of any document

   custodian that may possess unique, responsive ESI maintained on their cellphone(s) and/or

   personal device(s) that is within the responding Party's possession, custody, or control, and (2) the

   appropriate search parameters and form of any production of such information.

          i.      Track Changes and Comments. To the extent that a Document or ESI contains

   tracked changes or comments, the Document or ESI should be imaged showing tracked changes

   and comments using standard functionality available from the software used to facilitate the

   Producing Party's review and production of Documents and ESI in this Action.

          j.      Password-Protected Files. The Parties will make reasonable efforts to ensure that

  all encrypted or password-protected Documents and ESI are successfully processed for review and

   production. The Producing Party will identify relevant and responsi.ve encrypted or password-

   protected Documents and ESI that it cannot process so that the parties can meet and confer to

   determine if there are any alternative means to have such information produced in a usable format.

          k.      Embedded Documents.          Embedded files in responsive documents shall be

   extracted during processing and produced as separate documents, to the extent practicable given




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   the application used. To the extent the Producing Party becomes aware in the ordinary course of

   discovery that extracted documents cannot be produced, the Producing Party will notify the

   Requesting Party of the types of files, and Custodian for which such extracted documents cannot

   be produced. The Bates Number of the source file from which the embedded file is extracted shall

   be provided as metadata associated with the embedded file, as described in Appendix A.

                  Data Load Files. Documents should be provided with an Opticon Cross-Reference

   File and Concordance data load file using standard Concordance delimiters:

                  1.     Field Separator

                  2.     ¶ (ASCII 020) Text Qualifier p(ASCII 254)

                  3.     Substitute Carriage Return or New Line in data ®(ASCII 174)

                  4.     Multi-value separator (followed by a space) ; (ASCII 059)

   All rows will contain the same number of delimiters and fields. The multi-value field delimiter

   must be consistent across all fields. For example, if the CC field contains semi-colons between

   Email addresses, the Tag field should also contain semi-colons. Concordance-compatible image

   and data load files should be provided in a "Data" folder. Parties have the option to exchange

   sample load files. If this exchange occurs, the Requesting Party will have fourteen (14) days to

   respond with Load File change requests. Nothing in this Order will limit the Parties from

   discussing Load File changes throughout the course of the Action.

          m.     Email Collection and Processing.

                         Email Threading: The Parties may use Email thread suppression to avoid

          review and production of identical or duplicative information contained within an existing

          Email thread in another document being reviewed and produced, provided, however, that

          an Email that includes an attachment or content in the BCC or other blind copy field shall




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          not be treated as a lesser included version of an Email that does not include the attachment

          or content, even if all remaining content in the Email is identical. Under no circumstances

          will Email thread suppression eliminate (a) the ability of a requesting Party to identify

          every custodian who had a copy of a produced document or Email, to the extent this

           information is available on an automated basis through the use of industry-standard Email

          threading methods consistent with this paragraph; or (b) remove from a production any

          unique branches and/or attachments contained within an Email thread.

                  2.      Email Domains: Producing parties may utilize an ESI search process to

           identify categories of documents, such as Emails from domains typically associated with

          junk Email (e.g., fantasy football-related Emails, retailer advertising, and newsletters or

          alerts from non-industry sources).

          n.      Deduplication. A Producing Party shall globally deduplicate by exact duplicate

   families provided that (i) only exact duplicates are subject to deduplication; (ii) the Producing

   Party identifies all custodians in the main All Custodian metadata field, to the extent this

   information is available on an automated basis through the use of industry-standard deduplication

   methods consistent with this paragraph; and (iii) an Email that includes content in the BCC or

   other blind copy fields shall not be treated as a duplicate of an Email that does not include content

   in the BCC or other blind copy field, even if all remaining content in the Email is identical.

   Duplicate electronic documents shall be identified based on MD5 or SHA-1 hash values at the

   document family level. All electronic documents bearing an identical value are a duplicate group.

   De-duplication must be performed at the document family level. Stand-alone files will de-

   duplicate against other stand-alone files, but not against attachments contained in document

   families. Each party may also de-duplicate Emails in such a way as to eliminate earlier or




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   incomplete chains of Emails and therefore produce only the most complete iteration of an Email

   chain. In performing de-duplication described above, a Producing Party may not eliminate any

   unique, non-duplicative responsive information from chains of Emails that are not contained

   within the most complete iteration of an Email chain. Any other methodology for identification

   of duplicates, including Email field selection for hash value creation, must be discussed with the

   Requesting Party and approved in writing before implementation. If the Requesting Party objects

   to the methodology, it shall timely raise those concerns with the Producing Party. If a party opts

   not to deduplicate, it shall disclose such fact to the Requesting pai-ty prior to production of such

   non-deduplicated data.

          o.      Custodian or Originating Source. The custodian or originating source shall be

   identified in the Custodian field of the database load files. Documents found in the possession of

   a natural person (or on a natural person's allocated hardware or storage media) should be produced

   in such fashion as to identify the natural person. Documents found in the possession of a

   department, group, entity, or other common facility (e.g., office, file room, archive, network

   storage, file share, back-up, hard drive, etc.) should be produced in such a fashion as to identify

   the department, group, entity, or facility. A Producing Party shall use a uniform description of a

   particular custodian across productions.

          p.      Color. Except for PowerPoint and other Documents produced natively, Documents

   containing color need not be produced in color in the first instance. However, if good cause exists

   for the Requesting Party to request production of certain documents in color, the Requesting Party

   may request production of such documents in color by providing (1) a list of the Bates numbers of

   documents it requests to be produced in color format; and (2) an explanation of the need for

   production in color format. The Producing Party shall not unreasonably deny such requests.




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           q.     Foreign Language. Foreign language text files and Metadata should be delivered

   with the correct encoding to enable the preservation of the documents' original language.

           r.     Date Format:

                          Documents and ESI shall be processed using a single standard time zone

          (e.g., GMT) selected by the Producing Party.

                  2.      If a time is not available, such as the estimate date for a coded document,

          then 12:00 am, or 00:00 should be assigned, i.e., 12/21/1999 00:00

                  3.      Date delimiters, such as slashes and colons, must be consistent across all

          fields. In the format of MM/DD/YYYY, there are no spaces and only forward slashes.

                  4.      Date formats must be consistent within any one field.

                  5.      Date formats must be consistent across all fields, i.e., a record with a sent

          date should have the same format in the last modified date field.

          s.      Production Media. Producing documents may be done via secure FTP or secure

   file share, via CD, DVD, flash drive, or hard drive. To the extent possible, physical media should

   be protected before it is produced.

                  1.      Naming Convention for Production Media. Whether produced via secure

   FTP, file share, or physical media, the files produced should be combined into a compressed file

   such as .zip, .rar, etc. The compressed file should be named so as to indicate Producing Party, the

   date of the production, and the sequence of the production (e.g., "Fourth Production 20180508-

   001"). If the production is made using physical media, the media should be labeled to include the

   aforementioned information, as well as the Bates range of the materials contained on the media.

          t.      Replacement Productions. Any replacement production will be transmitted with

   a cover letter or Email to identify the production as a replacement and shall cross-reference the




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   BegBates and EndBates of the documents being replaced. If the replacement production is being

   transmitted by physical media, the media shall include the phrase "Replacement Production."

          u.      Encrypted Data. To the extent a production is encrypted before it is produced, the

   Producing Party shall contemporaneously transmit the credentials necessary to decrypt the data

   under separate cover.

          v.      Zero-byte Files. The Parties may, but are not required to, filter out stand-alone

   files identified as zero-bytes in size that do not contain responsive file links or file names. If the

   Requesting Party in good faith believes that a zero-byte file was withheld from production and

   contains information responsive to a request for production, the Requesting Party may request that

   the Producing Party produce the zero-byte file. The Requesting Party may provide a Bates number

   to the Producing Party of any document that suggests a zero-byte file was withheld from

   production and contains information responsive to a request for production.

   VIII. ASSERTIONS OF PRIVILEGE

          a.      Privilege Logs.      Privilege Logs shall be provided containing the following

   information, which may, in part, be supplied by metadata associated with the document that

   reasonably supplies the information identified below:

                  1.       A sequential number associated with each Privilege Log record;

                  2.       The date of the document redacted or withheld;

                  3.       The Bates numbers of documents redacted or withheld;

                  4.       The identity of all persons who sent, authored, signed or otherwise prepared

          the document or withheld portion of the document, and identification of which of them are

           attorneys;

                   5.      The identity of all persons designated as addressees or copyees, and

           identification of which of them are attorneys;


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                      6.      The title or subject of a document unless providing this information would

              reveal information that is itself privileged or protected;

                      7.      A description of the contents of the document that, without revealing

              information itself privileged or protected, is sufficient to understand the subject matter of

              the document and the basis of the claim of privilege or immunity; and

                      8.      The type or nature of the privilege asserted (e.g., attorney-client privilege;

              work-product doctrine).

Privilege                      From                                                      Privilege
            Date
 Log #/            Author       or       Recipient   CC         BCC   Title   Subject      Log           Privilege
 Bates #                      Sender                                                    Description
   i, iii    ii       iv         iv          v         v         v     vi       vi          vii             viii


              b.      Logging of Document Families.              Where multiple members of a document

      "family" (e.g., an Email and its attachment, multiple Email attachments, etc.) are withheld or

      redacted on the grounds of privilege, immunity, or any similar claim, these families may be jointly

      logged as a single entry on the privilege log with an indication in the description field that describes

      the family relationship, provided however, that information logged must be sufficient to assess the

      privilege for each family member. For document families in which fewer than all of the documents

      are withheld or redacted as privileged or protected, the privilege log entry for the withheld

      document(s) shall identify the Bates number of the produced family member.

             c.       The following documents presumptively need not be included on a Privilege Log:

                              Communications exclusively between a Party and its outside counsel

             regarding this Action dated after the commencement of this Action;

                     2.       Work product created by outside counsel, or by an agent of outside counsel

             other than a Party, regarding this Action and created after commencement of this Action;




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                   3.     Communications exclusively between a Party and its outside counsel, or

           work product created by outside counsel, or by an agent of outside counsel other than a

           Party, concerning the action Fair Isaac Corporation v. Trans Union LLC, Case No. 1:17-

           cv-08318 (N.D. Ill.), provided that the Party claiming privilege or immunity over the

           communication or work product was a party to that action.

                  4.      Documents not responsive to the Requesting Party's substantive document

           requests (as modified by the Producing Party's responses and objections to such requests).

   IX.    COST ALLOCATION

          Pursuant to FRCP 26, the Parties generally presume that the Producing Party bears all costs

   of preservation, retrieval, and production of its reasonably accessible ESI. However, there may be

   cost-sharing or cost-shifting upon agreement of the Producing and Requesting Parties or upon

   proper motion and Order of the Court, such as for ESI that is not reasonably accessible.

   X.     THIRD PARTY DOCUMENTS

          A Party that issues a non-party subpoena ("Issuing Party") shall include a copy of this

   Protocol with the subpoena and state that the Parties to the Action have requested that third parties

   produce Documents in accordance with the specifications set forth herein. The Issuing Party shall

   timely notify other Parties when it receives non-party productions, and shall, upon request by other

   Parties ("Requesting Parties" for purposes of this paragraph), provide copies of such productions

   to Requesting Parties in the format in which they were received from the third party. Nothing in

  this Protocol is intended to or should be interpreted as narrowing, expanding, or otherwise

  affecting the rights of the Parties or third parties to object to a subpoena.

  XI.     AUTHENTICATION

           The Parties will meet and confer regarding an authentication stipulation concerning

  Documents produced in this Action.


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   IT IS SO ORDERED.

   Dated: 11 /29/2023
                                               Edmond E. Chang
                                               United States District Court Judge




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   Dated: November 6, 2023                      Respectfully Submitted,

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                                                     Corporation




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                       APPENDIX A: REQUIRED METADATA FIELDS



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      Attachment Count          Email                 x     x
                                Primary Individual
                                Custodian Name
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                                Resource Name
                                the document was
                                processed for
                                production --
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      Custodian                 productions.
                                Production
                                custodians or non-
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                                data sources
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                                Last, First or ABC
      AllCustodian              De t.                 x     x            x
                                File name of
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     Field                       Description             Email ESI          Copy
                                 original file(s); any
                                 container name is
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                                 pages in the
                                 document; for
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      Page Count                 1 (for placeholder)     x     x            x
      Email Subject              Subject of Email        x     x
                                 Any value
                                 populated in the
                                 Author field of the
                                 document
     Author                      properties                    x
     From                        Email author            x     x
     To                          Email recipients        x     x
     CC                          Email copyees           x     x
                                 Email blind
      BCC                        copyees                 x     x
                                 Email importance
      Importance                 flag                    x     x
                                 Date sent
                                 (MM/DD/YYYY
      Date Sent                  format)                 x     x
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                                   Last modification
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     DateLastModified              format)             x     x
                                   Unique electronic
                                  signature of Email
     Hash Value (MD5 or SHA-1) or electronic file      x     x
     NativeFile                   Native File Link     x     x
                                  Unique identifier
                                  from Email
                                  threading
                                  algorithm to
                                  denote Emails
     Email Thread Family ID (if   from a single
     Email threading is used by   thread and all
     Producing Party)             attachments          x     x
                                  Production volume
     Production Volume            name                 x     x            x
                                  Confidentiality
                                  designation
                                  pursuant to the
     Confidentiality            . Protective Order     x     x            x
                                  Descriptor for
                                  documents that
                                  have been redacted
     Redacted                       < es> or <no>      x     x            x
                                  To the extent a
                                  document family
                                  member is fully
                                  withheld on the
                                  basis of privilege
                                  and other
                                  documents in that
                                  family are
                                  produced, this
                                  field must be
                                  populated with a
     Withheld Placeholder         "Y"                  x     x
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                                  privilege is being
     Privilege                    asserted             x     x            x
                                  File name of
     Attachname                   attachment           x


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      Field                      Descri tion            Email ESI          Copy
                                 Any value
                                 populated in the
                                 Title field of the
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      Title                      properties                   x
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                          EXHIBIT 4
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS


    IN RE: FICO ANTITRUST LITIGATION
    RELATED CASES                                                No. 1:20-CV-02114

    This document relates to:
                                                                 Judge Edmond E. Chang
    ALL ACTIONS
                                                                 Magistrate Judge David E. Weisman


                               AGREED CONFIDENTIALITY ORDER

          The partiesl to this Agreed Confidentiality Order have agreed to the terms of this Order;

   accordingly, it is ORDERED:

          1.      Scope. All materials produced or adduced in the course of discovery, including

   initial disclosures, responses to discovery requests, deposition testimony and exhibits, and

   information derived directly. therefrom (hereinafter collectively "documents"), shall be subject to

   this Agreed Confidentiality Order, as defined below. This Order is subject to the Local Rules of

   this District and the Federal Rules of Civil Procedure ("FRCP") on matters of procedure and

   calculation of time periods.

          2.      Confidential Information. As used in this Order, "Confidential Information" means

   information designated as "CONFIDENTIAL" by the producing party, that falls within one or

   more of the following categories: (a) information prohibited from disclosure by statute;

   (b) research, technical, or commercial information that the party has maintained as confidential;

   (c) personally identifying information; (d) personal or financial information that the party has




  I For purposes of this Order, "parties" shall mean the named parties in the above-referenced litigation. In
  addition, any non-party that produces discovery pursuant to a subpoena or other process issued in this
  litigation shall have the rights and protections set forth in this Order.
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   maintained as confidential; or (e) other information the producing party reasonably believes is

   subject to protection. These categories are expressly provided for illustrative purposes only, and

   are not intended to be and should not be construed as exhaustive of the types of information that

   may be appropriately designated as "Confidential Information." The parties will make reasonable

   efforts to ensure that information or documents that are available to the public are not designated

   as Confidential Information.

          3.      Highly Confidential Information. As used in this Order, "Highly Confidential

   Information" means information designated as "HIGHLY CONFIDENTIAL - OUTSIDE

   ATTORNEYS' EYES ONLY" by the producing party that is of a highly sensitive nature the

   disclosure of which could result in significant harm, including but not limited to competitive harm,

  to the business or operations of that party or non-party or to an individual. By way of example

  only, Highly Confidential Information may include but is not limited to: (a) documents or

   information relating to or reflecting nonpublic business or market strategies and research and

   development activities; (b) documents or information relating to or reflecting other trade secrets

  or nonpublic proprietary business information that bestows a competitive advantage on the

  producing party; (c) documents or information relating to or reflecting revenue, profit, costs or

  pricing; (d) documents or information reflecting customer details that could be used to subject the

  party to a competitive disadvantage; (e) copyrighted software and information reflecting computer

  or programming code and associated comments and revision histories, formulas, engineering

  specifications, or schematics that define or otherwise describe in detail the algorithms or structure

  of software or hardware designs; or (f) other information the disclosure of which would, in the

  good faith judgment of the designating party, create a risk of serious harm. The parties will make




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   reasonable efforts to ensure that information or documents that are available to the public are not

   designated as Highly Confidential Information.

            4.    Desi nation.

            (a)   A party may designate a document as Confidential Information or Highly

   Confidential Information for protection under this Order by placing or affixing the words

   "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY"

   on the document and on all copies in a manner that will not interfere with the legibility of the

   document.

            (b)   To the extent a document is produced in a form in which placing or affixing the

   words "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES

   ONLY" on the document is not feasible, the producing party may designate the document as

   confidential by inserting a slip sheet, by affixing a label to the production media containing the

   document, by including the designation in the file title, or, if necessary, by including such

   designation in a cover letter. As used in this Order, "copies" includes electronic images,

   duplicates, extracts, summaries, or descriptions that contain either Confidential Information or

   Highly    Confidential   Information.     The marking "CONFIDENTIAL" or "HIGHLY

   CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY" shall be applied prior to or at the

   time the documents are produced or disclosed. Applying the marking "CONFIDENTIAL" or

  "HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY" to a document does not

  mean that the document has any status or protection by statute or otherwise except to the extent

  and for the purposes of this Order. Any copies that are made of any documents marked

  "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY"

  shall also be so marked, except that indices, electronic databases, or lists of documents that do not




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   contain substantial portions or images of the text of marked documents and do not otherwise

   disclose the substance of the Confidential,Information or Highly Confidential Information are not

   required to be marked.

          (c)     Upward Designation of Information or Items Produced by Other Parties or Non-

   Parties. Subject to the definitions set forth in Paragraphs 2 and 3, a party may upward designate

   (i.e., change a document produced without a designation to a designation of Confidential

   Information or Highly Confidential Information or designate a document produced as Confidential

   Information to a designation of Highly Confidential Information) any document produced by

   another party or non-party, provided that said document contains the upward designating party's

  own information it believes is Confidential Information or Highly Confidential Information.

  Upward designation shall be accomplished by providing written notice to all parties identifying

  (by Bates number or other individually identifiable information) the document to be re-designated

  upwardly. Any party may object to the upward designation of any document pursuant to the

  procedures set forth in Paragraph 11 regarding challenging designations.

          5.      Depositions.

          (a)     A party or non-party may designate some or all of a witness's deposition testimony

  as Confidential or Highly Confidential Information for protection under this Order by orally

  designating the relevant testimony as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL -

  OUTSIDE ATTORNEYS' EYES ONLY" on the record at the time the testimony is taken.

  Inadvertent failure to do so does not operate as a waiver. The designating party must provide the

  specific page and line designations over which the party or non-party claims confidentiality within

  thirty (30) days after delivery of the final transcript by the court reporter to the designating party

  or non-party.    Deposition testimony shall be treated as "CONFIDENTIAL" or "HIGHLY




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   CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY," as orally designated, prior to the

   deadline. Thereafter, only those portions identified in the Notice of Designation shall remain

   protected under the terms of this Order.

          (b)     In the event information designated as Confidential or Highly Confidential

   Information is to be shown to a witness at deposition, hearing, trial or otherwise, the witness shall

   be provided with a copy of this Order at the start of the examination, and the witness must comply

   with the terms of this Order. Except as provided herein, if the witness has refused to execute

   Attachment A as required by this Order, the party taking the deposition will read the text of

   Attachment A on the record, which shall serve as a substitute for the execution of Attachment A

   and shall permit examination of the witness on documents or other materials containing

   Confidential Information or Highly Confidential Information.

          6.      Protection of Confidential Information or Highly Confidential Information.

          (a)     General Protections. Except as set forth below, Confidential Information or Highly

   Confidential Information shall not be used or disclosed by the parties, counsel for the parties, or

   any other persons identified in Paragraph 6(b) for any purpose whatsoever other than prosecuting,

   defending, or settling this litigation, including any appeal thereof. Confidential Information or

   Highly Confidential Information may be disclosed only to the named plaintiff(s) and not to any

   other member of the putative class except under circumstances permitting such disclosure set forth

   in Paragraphs 6(b) and 7.

          (b)     Limited Disclosures of Confidential Information. The parties and counsel for the

  parties shall not disclose or permit the disclosure of any Confidential Information to any person or

   entity except as set forth in subparagraphs 6(b)(1)-(12). Subject to these requirements, the

   following categories of persons may be allowed to review Confidential Information:
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           (1)     Counsel. Outside or in-house counsel for the parties and employees or support staff

   of such counsel (including but not limited to attorneys, paralegals, information technology,

   litigation support, secretaries, law clerks, and investigators) who have responsibility for the

   preparation and trial of the action;

           (2)     Parties. Individual parties and employees of the parties, but only to the extent

   counsel determines in good faith that disclosure is reasonably necessary to the conduct of the

   litigation and the person has been advised of their obligations hereunder;

           (3)     Court. The Court and its personnel;

           (4)     Court Reporters and Video Recorders. Court reporters and video recorders engaged

   for depositions, but only after such persons have completed the certification contained in

   Attachment A;

           (5)     Contractors. Those persons specifically engaged for the purpose of providing

   litigation support, including computerized or electronic discovery support, providing photocopies,

   organizing or processing documents, including outside vendors hired to collect, process, or host

   electronically stored documents, but only after such persons have completed the certification

   contained in Attachment A;

           (6)     Consultants and Experts. Consultants, investigators, or experts or support staff of

   such consultants, investigators, or experts retained by the parties or Counsel for the parties to assist

   in the preparation and trial of this action, but only after such consultants, investigators, experts, or

   support staff have completed the certification contained in Attachment A. This definition includes

   professional jury or trial consultants retained in connection with this litigation;




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            (7)     Witnesses at Trial. Any witness at trial during the pendency of that trial, to whom

   counsel believes, in good faith, that such disclosure is reasonably necessary for the prosecution or

   defense of these proceedings and who has completed the certification contained in Attachment A;

           (8)      Witnesses at Depositions. During their depositions, witnesses in this action (and

   their counsel) if the witness has completed the certification contained in Attachment A, and to

   whom disclosure is limited to documents that (1) were produced by the witness's employer and

   created during the period of the witness's employment, (2) show on their face that the witness2

   authored or received them, (3) memorialize that the witness was privy to the document's contents

   (e.g., a document refers to a meeting attended by the witness), or (4) are reasonably necessary to

   be shown to the witness according to the good faith judgment of counsel. Neither witnesses nor

   their counsel shall retain a copy of any exhibit designated as Confidential Information, except

   witnesses and their counsel may receive copies of all exhibits marked at their depositions in

   connection with review of the deposition transcript. After the conclusion of the litigation such

   witnesses and their counsel shall destroy those copies;

           (9)     Author or Recipient. Persons whom the Confidential material itself indicates, or

   the receiving party otherwise has a good-faith basis to believe, were the author, creator, producer,

   addressee, source, or recipient of a document (not including a person who received the document

   in the course of this action) may be shown only those documents that he or she authored or

   received; and any person whose statements, communications or actions are expressly mentioned,

   discussed, or referred to by actual name in the material as indicated on its face may be shown that




   2       For purposes of this paragraph, a witness designated to testify on behalf of an organization taken
   pursuant to FRCP 30(b)(6) may be deemed to have "author[ed]" or "received" a document designated by
   that organization as Confidential so long as at least one employee of the organization authored or received
   the document.


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   portion of the document referring to them and such other portions as necessary to provide context

   for the reference to that person;

          (10)     Special Masters. Special masters and their direct staff;

          (11)     Mediators. Mediators and their direct staff, provided that they are bound by a

   confidentiality agreement acceptable to all parties; and

          (12)     Others by Consent. Other persons only by written consent of the producing party

   or upon order of the Court and on such conditions as may be agreed or ordered.

          (c)      Disclosures of Highly Confidential Information. The parties and counsel for the

   parties shall not disclose or permit the disclosure of any Highly Confidential Information to any

   person or entity except as set forth in subparagraphs 6(c)(1)-(10). Subject to these requirements,

   the following categories of persons may be allowed to review Highly Confidential Information:

          (1)      Outside Counsel. Outside counsel for the parties who have appeared in this action

   and employees or support staff of such counsel (including but not limited to attorneys, paralegals,

   secretaries, law clerks, and investigators), provided that such individuals do not regularly

   participate in the commercial business activities of the receiving party;

          (2)      Court. The Court and its personnel;

          (3)      Court Reporters and Video Recorders. Court reporters and video recorders engaged

   for depositions, but only after such persons have completed the certification contained in

   Attachment A;

          (4)      Contractors. Those persons specifically engaged for the purpose of providing

   litigation support, including computerized or electronic discovery support, providing photocopies,

   organizing or processing documents, including outside vendors hired to collect, process, or host




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   electronically stored documents, but only after such persons have completed the certification

   contained in Attachment A;

           (5)     Consultants and Experts. Consultants, investigators, or experts employed by the

   parties or Counsel for the parties to assist in the preparation and trial of this action or support staff

   of such consultants, investigators, or experts, so long as any such consultants, investigator, experts

   or support staff are not employees or regular contractors of the parties or any affiliated entity, but

   only after such consultants, investigators, experts, or support staff have completed the certification

   contained in Attachment A. This definition includes professional jury or trial consultants retained

   in connection with this litigation;

           (6)     Witnesses at Depositions. During their depositions, witnesses in this action to

   whom disclosure is limited to documents that (1) were produced by the witness's employer and

   created during the period of their employment, (2) show on their face that the witness3 authored or

   received them, or (3) memorialize that the witness was privy to the document's contents (e.g., a

   document refers to a meeting attended by the witness). Neither witnesses nor their counsel shall

   retain a copy of any exhibit designated as Highly Confidential Information, except witnesses and

   their counsel may receive copies of all exhibits marked at their depositions in connection with

   review of the deposition transcript. After the conclusion of the litigation witnesses and their

   counsel shall destroy those copies;

           (7)     Author or Recipient.       Persons whom the Highly Confidential material itself

   indicates, or the receiving party otherwise has a good-faith basis to believe, were the author,

   creator, producer, addressee, source, or recipient of a document (not including a person who


   3       For purposes of this paragraph, a witness designated to testify on behalf of an organization taken
   pursuant to FRCP 30(b)(6) may be deemed to have "author[ed]" or "received" a document designated by
   that organization as Highly Confidential Information so long as at least one employee of the organization
   authored or received the document.


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   received the document in the course of this action) may be shown only those documents that he or

   she authored or received; and any person whose statements, communications or actions are

   expressly mentioned, discussed, or referred to by actual name in the material as indicated on its

   face may be shown that portion of the document referring to them and such other portions as

   necessary to provide context for the reference to that person;

          (8)     Special Masters. Special masters and their direct staff;

          (9)     Mediators. Mediators and their direct staff, provided that they are bound by a

   confidentiality agreement acceptable to all parties; and

          (10)    Others by Consent. Other persons only by written consent of the producing party

   or upon order of the Court and on such conditions as may be agreed or ordered.

          (d)     To the extent any person is required to complete the certification contained in

  Attachment A to this Order, facsimile signatures or signatures transferred in electronic format (e.g.,

   PDF) shall be treated as original signatures purposes of this Order.

          (e)     Control of Documents. Counsel for the parties shall make reasonable efforts to

  prevent unauthorized or inadvertent disclosure of Confidential Information or Highly Confidential

  Information.

          (f)     Acknowledgment of Understanding and Agreement To Be Bound (Attachment A).

  To the extent that this Order requires any persons to acknowledge their obligations under this

  Order, that acknowledgment shall be accomplished by the execution of the Acknowledgment of

  Understanding and Agreement To Be Bound (Attachment A). The counsel for the party that

  obtains such signed agreements shall maintain the originals of those forms for a period of one.year

  after the termination of the case, including any appeal(s) thereof.




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           7.      Failure To Designate.       A failure to designate a document or testimony as

   Confidential Information or Highly Confidential Information does not, standing alone, waive the

   right to so designate the document or testimony. If a party designates a document as Confidential

   Information or Highly Confidential Information after it was initially produced, the receiving party,

   on notification of the designation, must make a reasonable effort to ensure that the document is

   treated in accordance with the provisions of this Order. No party shall be found to have violated

  this Order for failing to maintain the confidentiality of material during a time when that material

   has not been designated Confidential Information or Highly Confidential Information, even where

   the failure to so designate was inadvertent and where the material is subsequently designated

   Confidential Information or Highly Confidential Information.

           8.      Inadvertent Disclosure of Attorney-Client Privileced or Work-Product Protected

   Documents and Clawback Procedures. Pursuant to Federal Rule of Evidence 502(d) and (e), if, in

   connection with the action, information subject to a claim of attorney-client privilege, attorney

   work-product protection, or other evidentiary privilege or protection ("Protected Documents") is

   inadvertently disclosed, the disclosure does not constitute a waiver or forfeiture of such privilege

   or protection with respect to the privileged information or its subject matter, in this litigation or in

   any other federal or state proceeding. Instead; the producing party shall be entitled to assert such

   privilege or protection, except as further discussed below, and the information and its subject

   matter shall be treated as if there has been no such disclosure.

                   (a)     Upon discovering the disclosure of information that the producing party

           believes in good faith to be covered by attorney-client privilege, work-product protection,

           or other evidentiary privilege or protection, the producing party shall promptly provide

           written notification to the receiving party identifying the documents or portions thereof that




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         contain privileged or protected information, in accordance with the requirements of FRCP

         26(b)(5)(A).

                (b)     Upon written notice of the production of a Protected Document by the

         producing party or oral notice if such notice is delivered on the record at a deposition, the

         receiving party must within seven (7) days, return, sequester, or destroy the specified

         document and any electronic or hard copies the receiving party has, and may not further

         use or disclose the Protected Document until the claim that it is a Protected Document has

         been resolved. The receiving party may retain and sequester a copy of the document

         asserted to be privileged or protected for the purpose of resolving a dispute with the

         producing party as to whether the document is privileged or protected from disclosure, and

         the receiving party need not remove from the record any document that has been previously

         introduced until such dispute is resolved. If the receiving party agrees that the document

         is privileged, it will promptly confirm in writing to the producing party that it has either

         returned or destroyed all versions of the document and will make no use of the information.

         Promptly following notification by the receiving party, the producing party shall provide

         the receiving party with a replacement production in the same format as the original

         production, with the protected information appropriately withheld or redacted. If the

         receiving party disputes that material noticed pursuant to this paragraph is privileged or

         protected from disclosure, then the retention and sequester of such material shall be

         govemed by Paragraph 8(f).

                (c)     Where a producing party seeks to invoke its rights to claw back a document

         under Federal Rule of Evidence 502(d) and this Order with respect to a document that has

         been submitted to the Court as an exhibit or used as an exhibit in a deposition, the producing




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         party must do so within fourteen (14) days of the document being so filed or used. To the

         extent that the information contained in a document submitted to the Court as an exhibit or

         used as an exhibit in a deposition is subject to a claim that it contains privileged or protected

         information, then the receiving party will not further use such document(s) until the claim

         has been resolved. However, while the receiving party need not remove from the record

         any document that has been previously introduced until such dispute is resolved, the

         producing party may notify the Court and/or_court reporting service that a dispute under

         this paragraph is pending and ask that the document(s) be sequestered and made not

         accessible to the public or parties until the dispute is resolved. To the extent a producing

         party does not seek to invoke its rights under Federal Rule of Evidence 502(d) and this

         Order to claw back a document that has been submitted to the Court as an exhibit or used

         as an exhibit in a deposition within fourteen (14) days of the document being so filed or

         used, the parties agree that Federal Rule of Evidence 502(d) will not apply to such filed or

         used document. However a party may seek to invoke its rights under Federal Rule of

         Evidence 502(b) to claw back such filed or used document.

                 (d)     If the receiving party has disclosed the specified document before being

         notified of its inadvertent production, it must take reasonable steps to retrieve it.

                 (e)     The producing party shall provide an updated privilege log as called for in

         Section VIII of the Stipulation and Order Establishing the Protocol for the Production of

         Documents and Electronically Stored Information, as well as any portion of the document

         that does not contain privileged or protected information.

                 (f)     The receiving pai-ty may challenge the assertion of any privilege discussed

         in this paragraph. Any challenge that cannot be resolved by the parties will be filed with




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        the court presiding over this litigation in the Northern District of Illinois and subject to the

         law in that District. It shall be the receiving party's responsibility to initiate Court

         proceedings, if any. The receiving party may not, however, publicly assert as a ground for

        such motion the fact or circumstances of the production or reveal the substance of the

        protected contents of the materials (including in contesting the assertion of protection or

        privilege). Any motion contesting the privilege or work-product claim shall be submitted

        to the Court in camera for review or, if the Court directs, filed under seal. Pending

         resolution of such a challenge, the receiving party must continue to sequester the

         information contained in any notes and, in the event the Court concludes that the

         information is protected from disclosure, delete the information from any notes or any

        portions thereof that reveal the substance of the privileged or protected information. The

        producing party must preserve the information pending resolution of the challenge and, in

        the event the Court concludes that the information is not protected from disclosure,

        promptly provide the receiving party with a replacement production.

                (g)     The producing party may challenge the receiving party's use of any

         Protected Document. Any challenge that cannot be resolved by the parties will be filed

        with the court presiding over this litigation in the Northern District of Illinois and will be

        subject to the laws of that District. In all instances in which the producing party asserts a

         privilege or protection, the producing party must preserve a copy of the document asserted

        to be privileged or protected until the claim of privilege is resolved.

                (h)     The obligation of the receiving party to return or to destroy materials under

         this Order does not apply to multi-case disaster recovery databases maintained by the

         receiving party. If these disaster recovery databases are accessed or restored, however,




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           then any Protected Documents on those databases relating to this action shall be destroyed

           if destruction is required elsewhere in this Order.

                   (i)     If a party independently discovers that it has received documents or

           information that reasonably appear to be privileged, the party shall timely notify the other

           party, and in any event, no later than ten (10) days after such discovery.

                   (j)     Except as otherwise set forth in Paragraph 8(c), where a document has been,

           submitted to the Court as an exhibit or used as an exhibit in a deposition and no party has

           sought to claw back such document within fourteen (14) days of the document being so

           filed or used, this Order shall be interpreted to provide the maximum protection allowed

           by Federal Rule of Evidence 502(d) and (e), and Federal Rule of Evidence 502(b) shall not

           otherwise apply. Nothing contained herein is intended to or shall limit a party's right to

           conduct a pre-production review of hard-copy documents, electronically stored

           information ("ESI") or any other information (including metadata) for relevance,

           responsiveness, privilege and/or protection, and nothing herein is intended to curtail a

           party's right to challenge any documents, ESI or any other information withheld based on

           a claim of relevance, responsiveness, privilege and/or protection.

                   (k)     Nothing in Paragraph 8 shall limit the right of any party to petition the Court

           for an in camera review of inadvertently disclosed Protected Documents.

           9.      Filing of Confidential Information or Highly Confidential Information. This Order

   does not, by itself, authorize the filing of any document under seal. Any party wishing to file a

   document designated as Confidential Information or Highly Confidential Information in

   connection with a motion, brief or other submission to the Court must comply with LR 26.2 of the

   District Court for the Northern District of Illinois.




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          10.     No Greater Protection of Specific Documents. Except on privilege grounds not

  addressed by this Order, no party may withhold information from discovery on the ground that it

  requires protection greater than that afforded by this Order unless the party moves for an order

  providing such special protection or the parties otherwise agree.

          11.     Challenges by a Party to Designation as Confidential Information or Highly

  Confidential Information.      The designation of any material or document as Confidential

  Information or Highly Confidential Information is subject to challenge by any party. A party does

  not waive its right to challenge a designation by electing not to mount a challenge promptly after

  the original designation is disclosed. The following procedure shall apply to any such challenge.

          (a)     Meet and Confer. A party challenging the designation of Confidential Information

  or Highly Confidential Information must do so in good faith and must begin the process by

  conferring directly with counsel for the designating party. In conferring, the challenging party

  must identify in writing by Bates number or privilege log identifying number the material

  challenged and explain the basis for its belief that the designation was not proper. The designating

  party or nonparty must respond to the challenge within ten (10) business days. If agreement is

  reached confirming, changing or waiving the designation as to any material subject to the

  objection, the designating party or nonparty shall serve on all parties a notice specifying the

  document and the nature of the agreement. If the designation is changed or waived, the designating

  party or nonparty shall also produce copies of all materials with the amended, agreed-upon

  designation at the expense of the designating party or nonparty.

          (b)     Judicial Intervention. A party that elects to challenge a confidentiality designation

   may file and serve a motion that identifies the challenged material and sets forth in detail the basis

  for the challenge. The burden of persuasion in any such challenge proceeding shall be on the




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   designating party or nonparty. Until the Court rules on the challenge, all parties shall continue to

   treat the materials as Confidential Information or Highly Confidential Information under the terms

   of this Order.

           12.      Challenges to Privilege Claims. Following its receipt of a privilege/redaction log

   produced in this action, a party may identify, in writing (by Bates/unique identifying number), the

   particular documents that it believes require further explanation. The producing party shall

   endeavor to respond to such a request within ten (10) business days. If a party challenges a request

   for further information, the parties shall meet and confer to try to reach a mutually agreeable

  solution. If they cannot agreè, the matter may be brought to the Court.

          13.       Action by the Court. Nothing in this Order or any action or agreement of a party

  under this Order limits the Court's power to make orders concerning the disclosure of documents

   produced in discovery or at trial.

          14.       Use of Confidential Information or Highly Confidential Information at Motion

  Hearings. Except as expressly set forth herein, nothing in this Order shall be construed to affect

  the use of Confidential Information or Highly Confidential Information in connection with any

  presentation of evidence and argument at hearings or trial. The parties will confer with each other

  and, as necessary, any affected non-party reasonably in advance of a hearing where Confidential

  Information or Highly Confidential Information will be discussed so that a designating party may

  request procedures it deems necessary to protect against the disclosure of proprietary or

  competitively sensitive information, including whether, or to what extent, the Court should restrict

  public attendance at the hearing. The Court may make such orders as are necessary to govern the

  use of Confidential Information or Highly Confidential Information at a hearing.




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           15.     Use of Confidential Information or Highly Confidential Information at Trial. The

   use of Confidential Information or Highly Confidential Information at any trial in this matter will

   be addressed by a separate stipulation or pretrial order of the Court.

           16.    Third Parties. In seeking discovery from third parties, the parties shall attach this

   Order to a copy of any subpoena or other discovery request. Third parties from whom discovery

   is requested are entitled to the protections of this Order in responding to such requests.

           17.    Confidential Information or Highly Confidential Information Subpoenaed or

   Ordered Produced in Other Litigation:

          (a)     If a receiving party is served with a discovery request, subpoena, civil investigative

   demand, grand jury subpoena, or an order issued in other litigation that would compel disclosure

   of any material or document designated in this action as Confidential Information or Highly

   Confidential Information, the receiving party must so notify the designating party, in writing,

   immediately and in no event more than five (5) business days after receiving the subpoena or order.

   Such notification must include a copy of the subpoena or court order.

          (b)     The receiving party also must immediately inform in writing the party who caused

   the subpoena or order to issue in the other litigation that some or all of the material covered by the

   subpoena or order is the subject of this Order. In addition, the receiving party must deliver a copy

   of this Order promptly to the party in the other action that caused the subpoena to issue.

          (c)     The purpose of imposing these duties is to alert the interested persons to the

   existence of this Order, and to afford the designating party in this case an opportunity to try to

   protect its Confidential Information or Highly Confidential Information in the court from which

   the subpoena or order issued. If the designating party or nonparty timely seeks a protective order,

   the receiving party served with the request shall not produce any information designated in this




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   action as "Confidential Information" or "Highly Confidential Information" before a determination

   by the court from which the request issued, unless the receiving party has obtained the designating

   party's permission. The receiving party shall cooperate with respect to all reasonable procedures

   sought to be pursued by the designating party or nonparty whose designated material may be

   affected. The designating party or nonparty shall bear the burden and the expense of seeking

   protection in that court of its Confidential Information or Highly Confidential Information, and

   nothing in these provisions should be construed as authorizing or encouraging a receiving party in

   this action to disobey a lawfiil directive from another court. The obligations set forth in this

   paragraph remain in effect while the party has in its possession, custody, or control Confidential

   Information or Highly Confidential Information produced by another party or nonparty to this case.

          18.     Challenges by Members of the Public to Sealing Orders. A member of the public

   may have a right to challenge the sealing of particular documents that have been filed under seal,

   and the party asserting confidentiality will have the burden of demonstrating the propriety of filing

   under seal.

          19.     Unauthorized Disclosure or Use. If a party learns that it or its counsel, officers,

   directors, employees, consultants, experts or other agents have disclosed documents designated as

   Confidential Information or Highly Confidential Information in any circumstance not authorized

   under this Order, that party must within two (2) business days of learning of such disclosure

   (a) notify the designating party of the disclosure and all pertinent facts relating thereto, (b) make

   every reasonable effort to prevent disclosure by each unauthorized person who received such

   information, (c) use reasonable best efforts to retrieve all copies of the protected documents

   disclosed to unauthorized persons, (d) inform the person or persons to whom unauthorized

   disclosures were made of the terms of this Order, and (e) request that each such person execute the




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   certification contained in Attachment A. Nothing contained herein shall limit the right of the

   designating party to seek relief against the party responsible for such disclosure.

          20.     Obligations on Conclusion of Liti g. ation.

                  (a)     Order Continues in Force. Unless otherwise agreed or ordered, this Order

          shall remain in force after dismissal or entry of final judgment not subject to further appeal.

                  (b)     Obligations at Conclusion of Litigation.        Within sixty (60) days after

          dismissal or entry of final judgment not subject to further appeal, all Confidential

          Information and Highly Confidential Information marked either as "CONFIDENTIAL" or

          "HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY" under this

          Order, including copies as defined in Paragraph 4(b), shall be returned to the producing

          party or destroyed to the extent practicable unless it has been offered into evidence or filed

          without restriction as to disclosure. Within sixty-five (65) days after the final termination

          of this action, including any appeals, counsel for the receiving party shall certify in writing

          to the producing party that all such Confidential Information and Highly Confidential

          Information has been destroyed.

                  (c)     Retention of Work Product and Filed Documents. Notwithstanding the

          above requirements to return or destroy documents, outside or in-house counsel for the

          parties may retain archival copies of all pleadings, motion papers, transcripts, drafts or final

          expert reports, legal memoranda, correspondence, and all attorney work product, even if

          such materials contain Confidential Information or Highly Confidential Information. Any

          retained Confidential Information or Highly Confidential Information shall continue to be

          protected under this Order and subject to the restrictions on third-party disclosures set forth

          in Paragraph 6. An attorney may use his or her work product in subsequent litigation,




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          provided that its use does not disclose Confidential Information or Highly Confidential

          Information. Nothing in this Order shall be construed to require the destruction or return

          of Confidential Information or Highly Confidential Information stored in counsels'

          archives, back-up media, or disaster recovery media.

                   (d)    Deletion of Documents Filed Under Seal from Electronic Case Filing (ECF)

          System. Filings under seal shall be deleted from the ECF system only upon order of the

          Court.

          21.      Order Subiect to Modification. This Order shall be subject to modification by the

  Court on its own initiative or on motion of a party or any other person with standing concerning

  the subject matter.

          22.      No Prior Judicial Determination. This Order is entered based on the representations

  and agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall

   be construed or presented as a judicial determination that any document or material designated

  Confidential Information or Highly Confidential Information by counsel or the parties is entitled

  to protection under FRCP 26(c) or otherwise until such time as the Court may rule on a specific

  document or issue.

          23.      Persons Bound. This Order shall take effect when entered and shall be binding

   upon all counsel of record and their law firms, the parties, and persons made subject to this Order

   by its terms.

          24.      Future Parties. The terms of this Order shall be binding upon all current and future

  parties to this litigation and their counsel; any party appearing in the litigation following entry of

  this Order shall be deemed to have joined the case subject to its provisions.




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          25.     Computing Time. For deadlines and time periods that are stated in this Order as a

   number of "days," time shall be computed in accordance with FRCP 6(a)(1). For deadlines and

   time periods that are stated in this Order as a number of "business days," time shall be computed

   in accordance with FRCP 6(a)(1) except that Saturdays, Sundays, and legal holidays shall not be

   counted.



          SO ORDERED.

  Dated: 11 / 16/2023
                                                       Edmond E. Chang
                                                       U.S. District Court Judge




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                                            ATTACHMENT A

                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS


    IN RE: FICO ANTITRUST LITIGATION
    RELATED CASES                                              No. 1:20-CV-02114

    This document relates to:
                                                               Judge Edmond E. Chang
    ALL ACTIONS
                                                               Magistrate Judge David E. Weisman




                  ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

           The undersigned hereby acknowledges that he/she/they has read the Confidentiality Order

   dated                             in the above-captioned action and attached hereto, understands the

  terms thereof, and agrees to be bound by its terms. The undersigned submits to the jurisdiction of

   the United States District Court for the Northern District of Illinois in matters relating to the

   Confidentiality Order and understands that the terms of the Confidentiality Order obligate

   him/her/them to use materials designated as Confidential Information or Highly Confidential

   Information, in accordance with the Order solely for the purposes of the above-captioned action,

   and not to disclose any such Confidential Information or Highly Confidential Information to any

   other person, firm, or concern.




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            The undersigned acknowledges that violation of the Confidentiality Order may result in

   penalties for contempt of court.

   Name:

   Job Title:

   Employer:

   Business Address:




   Dated:
                                                        Signature




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